       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 1 of 371




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         |
LONTEX CORPORATION,                                      |     Civil Action No.: 18-cv-5623
                                Plaintiff,               |
                                                         |     (Hon. Michael M. Baylson)
        v.                                               |
                                                         |
NIKE, INC.,                                              |
                                Defendant.               |
                                                         |



JOINT STIPULATION TO MODIFY THE RECORD PURSUANT TO FEDERAL RULE
                OF APPELLATE PROCEDURE 10(e)(2)(A)


       The parties in the above-captioned action, having met and conferred, and upon determining

that good cause exists for the foregoing, hereby stipulate to modify the record in this action to

include the “clip reports” of the designated, pre-recorded deposition testimony that was presented

to the jury at trial. In support of this stipulation, the parties aver as follows:

        1.      This Court presided over a two-week civil jury trial in October 2021.

        2.      During trial, the parties presented the jury with exhibits, live witness testimony

(both in-person and remote testimony), and pre-recorded deposition testimony that the parties

respectively designated and counter-designated.

        3.      The Court Reporter transcribed the live witness testimony, which appears on the

final trial transcripts that have been filed on ECF.

        4.      The designated, pre-recorded deposition testimony that was presented to the jury

was not transcribed, however. As a result, that testimony is not reflected in the final trial transcripts

that were filed on ECF.




                                                    1
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 2 of 371




       5.      During trial, the parties exchanged and agreed upon the contents of transcribed “clip

reports” of the designated, pre-recorded deposition testimony shown to the jury. Those “clip

reports” contain complete and accurate transcriptions of the pre-recorded deposition testimony.

The clip reports are attached to this stipulation as Exhibit A.

       6.      This case is now on appeal to the U.S. Court of Appeal for the Third Circuit. The

appeal has been stayed pending this Court’s entry of a final Amended Judgment, which this Court

entered on April 18, 2022.

       7.      The parties agree that the designated, pre-recorded deposition testimony shown to

the jury is trial evidence that should be included in the record for appeal in order to most accurately

and completely reflect the trial proceedings that occurred in this Court.

       8.      Federal Rule of Appellate Procedure 10(e)(2)(A) permits parties to correct or

modify the appellate record based on a stipulation of the parties: “If anything material to either

party is omitted from or misstated in the record by error or accident, the omission or misstatement

may be corrected and a supplemental record may be certified and forwarded: (A) on stipulation of

the parties.” Fed. R. App. P. 10(e)(2)(A).

       9.      Accordingly, the parties hereby stipulate that the clip reports attached to this

Stipulation were unintentionally omitted from the record and should be included as part of the

supplemental record that is certified and forwarded to the Third Circuit in connection with the

pending appeal and cross-appeal.




                                                  2
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 3 of 371




SO STIPULATED.                             Dated: April 27, 2022


Respectfully submitted,

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                                       3
Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 4 of 371




                EXHIBIT A
        Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 5 of 371

                              Designation Run Report




      Nike Initials + Lontex Counters


      __________________________________________________________________
                          Bechtel, Benjamin 01-10-2020
      __________________________________________________________________




                         Nike Initial Designations01:07:05
     ____________________________________________________________________
                            Lontex Counters00:00:38
    _____________________________________________________________________
     ____________________________________________________________________
                              Total Time01:07:43




ID:Bechtel
                  Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 6 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                           ID

   11:15 - 11:19            Bechtel, Benjamin 01-10-2020 (00:00:06)                            Bechtel.1

                            11:15 Q. Good morning, Mr. Bechtel.
                            11:16 A. Good morning.
                            11:17 Q. Could you state your full name
                            11:18 for the record?
                            11:19 A. It's Benjamin Ryan Bechtel.
   13:15 - 13:18            Bechtel, Benjamin 01-10-2020 (00:00:09)                            Bechtel.2

                            13:15 Do you understand, Mr. Bechtel,
                            13:16 that you are here today as a corporate
                            13:17 representative for 1SEO Technologies?
                            13:18 A. Yes.
    27:2 - 28:4             Bechtel, Benjamin 01-10-2020 (00:01:02)                            Bechtel.3

                            27:2 Q. Have you spoken to anybody at
                            27:3 Lontex about the lawsuit that Lontex has
                            27:4 filed against Nike?
                            27:5 A. Not recently.
                            27:6 Q. When you say "not recently," I
                            27:7 assume you mean to say that you have spoken
                            27:8 to somebody before about it; is that correct?
                            27:9 A. Not about a lawsuit. I can say
                            27:10 that a few years ago, maybe three or four
                            27:11 years ago, it was mentioned about something
                            27:12 that Nike was doing, but there was no mention
                            27:13 of the lawsuit.
                            27:14 Q. And when you say it was
                            27:15 mentioned, who mentioned something?
                            27:16 A. The president of Lontex.
                            27:17 Q. Who is that?
                            27:18 A. Efraim Nathan.
                            27:19 Q. What did he mention at the
                            27:20 time?
                            27:21 A. That Nike was using one of his
                            27:22 trademarked names.
                            27:23 Q. What else did he say about this
                            27:24 supposed use of one of his trademark names?
                            27:25 A. Nothing really else. That was
                            28:1 really the extent of it.
                            28:2 Q. Do you recall what that
                            28:3 trademark name was?
                            28:4 A. It was Cool Compression.



Nike Initial Designations      Lontex Counters
                                                                                           Page 2/41
                  Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 7 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                           ID

   29:14 - 30:17            Bechtel, Benjamin 01-10-2020 (00:01:22)                            Bechtel.4

                            29:14 Q. So you said, then, there was
                            29:15 some reference to marketing materials. What
                            29:16 did that mean?
                            29:17 A. My company works with his
                            29:18 online marketing, so we work with social
                            29:19 media, search engine optimization, ads on
                            29:20 Google, so we work with promoting his
                            29:21 products on those platforms.
                            29:22 Q. So what was the discussion with
                            29:23 regard to marketing materials in Cool
                            29:24 Compression related to that conversation you
                            29:25 recall having a couple of years ago?
                            30:1 A. A couple -- you know, in that
                            30:2 time frame, it was the usage of the name with
                            30:3 his -- I don't know the exact which one it
                            30:4 was, the trademark, the registered copyright,
                            30:5 whichever one it was, the mark that goes
                            30:6 along with it, but it was the conversation of
                            30:7 utilizing that as -- you know, more in his
                            30:8 marketing material.
                            30:9 Q. So what exactly did he want to
                            30:10 use more in his marketing materials?
                            30:11 A. Cool Compression.
                            30:12 Q. Well, had he ever used it in
                            30:13 his marketing materials before that time to
                            30:14 your knowledge?
                            30:15 A. Not consistently. We had
                            30:16 mentioned it before, along with his other
                            30:17 brand or the brand Sweat It Out.
    33:2 - 33:7             Bechtel, Benjamin 01-10-2020 (00:00:18)                            Bechtel.5

                            33:2 So what I'm trying to drill down
                            33:3 on is whether you can recall ever seeing a
                            33:4 single piece of material, whether digitally
                            33:5 or in print, where you saw the words "Cool
                            33:6 Compression" prior to that conversation you
                            33:7 had with Mr. Nathan a couple of years ago.
   33:9 - 33:14             Bechtel, Benjamin 01-10-2020 (00:00:11)                            Bechtel.6

                            33:9 THE WITNESS: I can't or I
                            33:10 cannot -- I cannot recall or I can



Nike Initial Designations      Lontex Counters
                                                                                           Page 3/41
                  Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 8 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                           ID


                            33:11 recall either seeing or not seeing.
                            33:12 That's what I'm saying. I couldn't
                            33:13 tell you if I -- if there was one or
                            33:14 not.
   33:24 - 34:4             Bechtel, Benjamin 01-10-2020 (00:00:12)                            Bechtel.7

                            33:24 Q. (BY MS. DURHAM) So let's just
                            33:25 be clear for the record: You can never
                            34:1 recall seeing a printed paper that said Cool
                            34:2 Compression on it prior to this conversation
                            34:3 you had with Mr. Nathan a couple of years
                            34:4 ago; correct?
    34:7 - 34:8             Bechtel, Benjamin 01-10-2020 (00:00:02)                            Bechtel.8

                            34:7 THE WITNESS: I don't remember
                            34:8 one, no.
    39:3 - 40:8             Bechtel, Benjamin 01-10-2020 (00:01:23)                            Bechtel.9

                            39:3 Q. Okay. It says here you're the                              DX806.1

                            39:4 vice president of digital marketing for                      DX806.1.1

                            39:5 1SEO.com. Is that your current title?
                            39:6 A. Yes.
                            39:7 Q. And it looks like maybe prior
                            39:8 to being vice president of digital marketing,
                            39:9 you were senior project manager?                             DX806.1.2

                            39:10 A. Yes.
                            39:11 Q. So what did you do for the
                            39:12 company as senior project manager?
                            39:13 A. Primarily work with our clients
                            39:14 in regards to their marketing programs.
                            39:15 Q. And so what types of things                              DX806.1.3

                            39:16 would you do in terms of working with
                            39:17 marketing programs?
                            39:18 A. Specifically we would, you
                            39:19 know, work on strategies. We would work, you
                            39:20 know, on certain tasks within the program.
                            39:21 We would report on the data that has been
                            39:22 accumulated and, you know, how they're, for
                            39:23 example, traffic to their website, that type
                            39:24 of thing.
                            39:25 Q. So what are the goals of these                           DX806.1.4

                            40:1 programs that you work on with clients, or
                            40:2 did at that time?



Nike Initial Designations      Lontex Counters
                                                                                           Page 4/41
                  Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 9 of 371

                                                  Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                     Source                           ID


                            40:3 A. The goals of the programs are
                            40:4 to increase traffic in business for business
                            40:5 owners.
                            40:6 Q. To their websites, primarily,
                            40:7 or to other places as well?                                     clear

                            40:8 A. Primarily their website.
   42:25 - 43:4             Bechtel, Benjamin 01-10-2020 (00:00:13)                            Bechtel.10

                            42:25 Q. So I believe we discussed
                            43:1 earlier that 1SEO's involvement with Lontex
                            43:2 began in 2011; is that correct?
                            43:3 A. I believe that is accurate,
                            43:4 yes.
   44:12 - 44:19            Bechtel, Benjamin 01-10-2020 (00:00:18)                            Bechtel.11

                            44:12 Q. What was the structure of the
                            44:13 relationship? Was it contract-based or --
                            44:14 A. Yes.
                            44:15 Q. And what was the nature of the
                            44:16 contracted services?
                            44:17 A. At the time, the contract was,
                            44:18 you know, for website work, marketing
                            44:19 program.
   48:22 - 50:13            Bechtel, Benjamin 01-10-2020 (00:02:02)                            Bechtel.12

                            48:22 Q. What does maintenance of the
                            48:23 website include?
                            48:24 A. Updates to the website. For
                            48:25 example, changing a photo.
                            49:1 Q. Anything else?
                            49:2 A. It depends on what is needed.
                            49:3 It's a case-by-case situation.
                            49:4 Q. What does the SEO program work
                            49:5 include?
                            49:6 A. That includes optimization of
                            49:7 the keywords that were originally selected,
                            49:8 and helping the client to be relevant for
                            49:9 those.
                            49:10 Q. When you say "optimization of
                            49:11 the keywords that were originally selected,"
                            49:12 who originally selected keywords?
                            49:13 A. It was a process between the
                            49:14 company, 1SEO, and the client, Mr. Nathan.



Nike Initial Designations       Lontex Counters
                                                                                            Page 5/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 10 of 371

                                                  Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                     Source                           ID


                            49:15 Q. When you say "originally
                            49:16 selected," what are you referring to?
                            49:17 A. At the beginning of our
                            49:18 programs, the optimization includes what the
                            49:19 clients desire to be -- desire to target.
                            49:20 Within the next steps involves
                            49:21 research, to see what are appropriate terms
                            49:22 based off of search volume competition, those
                            49:23 types of things.
                            49:24 And then the next step in the
                            49:25 process is the client and my company going
                            50:1 through those keywords together to determine
                            50:2 what would be the best ones to move forward
                            50:3 with or at least to focus on.
                            50:4 Q. So have the keywords that
                            50:5 Lontex has used over time changed?
                            50:6 A. There has been some, yes.
                            50:7 Q. What changes can you recall?
                            50:8 A. The ones I can recall regard
                            50:9 specific terms like Cool Max, and I believe
                            50:10 the other one was Invista.
                            50:11 Q. What do you recall about those?
                            50:12 A. We took them out of the keyword
                            50:13 list that we had.
    51:6 - 51:8             Bechtel, Benjamin 01-10-2020 (00:00:05)                            Bechtel.13

                            51:6 Q. Any other changes that you can
                            51:7 recall?
                            51:8 A. Nothing major, no.
   51:19 - 51:22            Bechtel, Benjamin 01-10-2020 (00:00:08)                            Bechtel.14

                            51:19 Q. What do you do for Lontex? Do
                            51:20 you do a blog?
                            51:21 A. I know we do a blog. I believe
                            51:22 we do press releases as well.
   55:4 - 55:10             Bechtel, Benjamin 01-10-2020 (00:00:17)                            Bechtel.15

                            55:4 Q. Well, let me just clarify. So
                            55:5 you said that last year you talked about a
                            55:6 website redesign; is that correct?
                            55:7 Or a new website.
                            55:8 A. Correct.
                            55:9 Q. And has that work begun yet?



Nike Initial Designations       Lontex Counters
                                                                                            Page 6/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 11 of 371

                                                  Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                     Source                           ID


                            55:10 A. Yes.
   55:19 - 56:3             Bechtel, Benjamin 01-10-2020 (00:00:32)                            Bechtel.16

                            55:19 Q. And why was a new website
                            55:20 developed?
                            55:21 A. Multiple reasons.
                            55:22 Q. What are the multiple reasons?
                            55:23 A. One being the website itself
                            55:24 being extremely outdated, the current web
                            55:25 site, in terms of the actual coding, being
                            56:1 mobile friendly, being able to make updates
                            56:2 which help with the optimization and the
                            56:3 results that we get.
   56:12 - 56:17            Bechtel, Benjamin 01-10-2020 (00:00:20)                            Bechtel.17

                            56:12 Q. What aspects are outdated?
                            56:13 A. For example, the platform. The
                            56:14 version that the platform is using is
                            56:15 outdated. And to update it could cause
                            56:16 potential problems in terms of things
                            56:17 breaking on the current site.
    58:2 - 58:9             Bechtel, Benjamin 01-10-2020 (00:00:24)                            Bechtel.18

                            58:2 Q. Thank you. So just to be
                            58:3 clear, 1SEO built the current Sweat It Out
                            58:4 website on Magento; is that correct?
                            58:5 A. Correct.
                            58:6 Q. And when did they build that
                            58:7 website originally?
                            58:8 A. The completion of it, I
                            58:9 believe, was 2012.
   59:3 - 59:17             Bechtel, Benjamin 01-10-2020 (00:00:41)                            Bechtel.19

                            59:3 Q. And I believe you told me a
                            59:4 moment ago that the website is not mobile
                            59:5 friendly; is that correct?
                            59:6 A. Correct.
                            59:7 Q. What does it mean it's not
                            59:8 "mobile friendly"?
                            59:9 A. If you were to view it on a
                            59:10 mobile device -- you know, I'm sure everyone
                            59:11 here has a mobile device, but you would
                            59:12 notice the content is very small; the picture
                            59:13 is very small. It's not conducive to viewing



Nike Initial Designations       Lontex Counters
                                                                                            Page 7/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 12 of 371

                                                  Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                     Source                           ID


                            59:14 on a mobile device, whereas most websites
                            59:15 today you'll see the images are very big and
                            59:16 clear. The content is going to respond and
                            59:17 appear based off of the size of the device.
   60:14 - 61:10            Bechtel, Benjamin 01-10-2020 (00:00:58)                            Bechtel.20

                            60:14 Q. Can they process a credit card
                            60:15 transaction on the website?
                            60:16 A. I don't believe currently. I
                            60:17 believe that was removed.
                            60:18 Q. Okay. So I can't go onto the
                            60:19 website and put my credit card in and buy a
                            60:20 product; is that correct?
                            60:21 A. I don't know exactly. I think
                            60:22 you can through PayPal still.
                            60:23 Q. And why do you believe that the
                            60:24 credit card capability was stopped?
                            60:25 A. Because of the functionality of
                            61:1 the website and the API connection, which is
                            61:2 basically the two languages talking to each
                            61:3 other of -- the website and the processing
                            61:4 platform, the merchant account, talking to
                            61:5 each other. Again, the website being
                            61:6 outdated was not -- you know, was not a good
                            61:7 connection, so we made the change.
                            61:8 Q. Okay. So how long has it been,
                            61:9 then, that there is no credit card capability
                            61:10 on the website?
   61:13 - 61:14            Bechtel, Benjamin 01-10-2020 (00:00:02)                            Bechtel.21

                            61:13 THE WITNESS: I don't know
                            61:14 exactly how long.
   63:18 - 63:24            Bechtel, Benjamin 01-10-2020 (00:00:12)                            Bechtel.22

                            63:18 Q. (BY MS. DURHAM) But you don't
                            63:19 know how long the credit card capacity --
                            63:20 capability lasted?
                            63:21 A. An exact time frame, no.
                            63:22 Q. Can you narrow it down to any
                            63:23 time period?
                            63:24 A. Honestly, no.
   68:17 - 68:19            Bechtel, Benjamin 01-10-2020 (00:00:08)                            Bechtel.23

                            68:17 Q. And what about other



Nike Initial Designations       Lontex Counters
                                                                                            Page 8/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 13 of 371

                                                  Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                     Source                           ID


                            68:18 optimization issues that you believe exist
                            68:19 with the sweatitout.com website?
   68:21 - 70:7             Bechtel, Benjamin 01-10-2020 (00:01:34)                            Bechtel.24

                            68:21 THE WITNESS: When you look at
                            68:22 optimizations, Google and the other
                            68:23 search engines read information on the
                            68:24 site. They read information off the
                            68:25 site. They look at over 200 different
                            69:1 factors when they look at a site and
                            69:2 give it relevancy, give it importance,
                            69:3 give it some form of a ranking, right?
                            69:4 So when you look at a site,
                            69:5 current web site, for example Sweat It
                            69:6 Out, where it has outdated
                            69:7 information, Google is not able to see
                            69:8 that information as well as a current
                            69:9 up-to-date site. It's kind of like --
                            69:10 I'm going to go back to a car again.
                            69:11 It's kind of like you're going to put
                            69:12 a 2017, let's say a Nissan Maxima,
                            69:13 against a 1985 Datsun. I can tell you
                            69:14 who's going to win just based off of
                            69:15 how they function.
                            69:16 Now, if it's the same year car,
                            69:17 then you're just looking at models,
                            69:18 you're looking at the different bells
                            69:19 and whistles, the engines, that kind
                            69:20 of thing, more details. But when
                            69:21 Google looks at something that they
                            69:22 can't get through cleanly, it slows
                            69:23 them down. So when it slows them
                            69:24 down, they're not able to give you as
                            69:25 much credibility as you deserve, if
                            70:1 that makes sense.
                            70:2 Q. (BY MS. DURHAM) It does. And
                            70:3 when you say it doesn't give you as much
                            70:4 credibility as you deserve, it means you're
                            70:5 not going to show up as high in organic
                            70:6 search, for example?
                            70:7 A. That's an example.



Nike Initial Designations       Lontex Counters
                                                                                            Page 9/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 14 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID

   71:20 - 72:3             Bechtel, Benjamin 01-10-2020 (00:00:27)                           Bechtel.25

                            71:20 Q. Did 1SEO at any time manage any
                            71:21 of the social media accounts for Lontex?
                            71:22 A. Yes.
                            71:23 Q. Which social media accounts did
                            71:24 it manage?
                            71:25 A. I don't recall exactly, but
                            72:1 Twitter, Facebook, I would say are the two
                            72:2 main ones, but I don't remember exactly the
                            72:3 scope of it at that time.
    72:4 - 72:7             Bechtel, Benjamin 01-10-2020 (00:00:08)                           Bechtel.26

                            72:4 Q. Have you done anything for
                            72:5 Lontex with respect to digital marketing of
                            72:6 products on Amazon?
                            72:7 A. No.
   82:7 - 82:10             Bechtel, Benjamin 01-10-2020 (00:00:05)                           Bechtel.27

                            82:7 Q. (BY MS. DURHAM) I just want
                            82:8 you to characterize how you would -- what you
                            82:9 think about the volume to the sweatitout.com
                            82:10 website.
   82:14 - 82:18            Bechtel, Benjamin 01-10-2020 (00:00:11)                           Bechtel.28

                            82:14 THE WITNESS: There's a lot of
                            82:15 potential for more, which is why we're
                            82:16 building a new website, so we can look
                            82:17 to get more as well as do additional
                            82:18 programs such as the ad words again.
   90:25 - 91:12            Bechtel, Benjamin 01-10-2020 (00:00:33)                           Bechtel.29

                            90:25 Q. (BY MS. DURHAM) Mr. Bechtel,
                            91:1 over the time period that you've worked on
                            91:2 sweatitout.com, have you done any -- have you
                            91:3 optimized the website for anything in
                            91:4 particular?
                            91:5 A. In terms of searches?
                            91:6 Q. Correct.
                            91:7 A. Yes, the previously mentioned
                            91:8 keyword list is what we would optimize for.
                            91:9 Q. So that -- those keyword lists
                            91:10 used throughout the years were what was
                            91:11 primarily used for an optimization strategy?
                            91:12 A. Yes.



Nike Initial Designations      Lontex Counters
                                                                                           Page 10/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 15 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID

   92:21 - 93:8             Bechtel, Benjamin 01-10-2020 (00:00:51)                           Bechtel.30

                            92:21 Q. (BY MS. DURHAM) So,
                            92:22 Mr. Bechtel, I'm handing you what's been                      DX19.1

                            92:23 marked Exhibit 254. It is labeled at the
                            92:24 bottom 1SEO_EDPA_7077. And that is an e-mail
                            92:25 string. And then also there is an attachment
                            93:1 to the e-mail that is labeled 7079.
                            93:2 Do you see those labels on the
                            93:3 document?
                            93:4 A. Yes.
                            93:5 Q. Let's start with the e-mail                                DX19.1.1

                            93:6 that's on top. Do you recognize this as a
                            93:7 communication that you had about Lontex?                      DX19.1.2

                            93:8 A. Yes, that's what it looks like.
   93:14 - 95:12            Bechtel, Benjamin 01-10-2020 (00:02:25)                           Bechtel.31

                            93:14 Q. And that's your e-mail there,
                            93:15 the bbechtel@1seo.com?
                            93:16 A. Yes.
                            93:17 Q. And do you see here the subject
                            93:18 is Sweat It Out Keyword list?                                DX19.1.3

                            93:19 A. Yes.
                            93:20 Q. And it looks like -- this was
                            93:21 Mr. Nathan that you were corresponding with,                 DX19.1.4

                            93:22 based on the signature block; correct?
                            93:23 A. Yes.
                            93:24 Q. And he says -- actually, let's
                            93:25 go down to the original e-mail, because it                   DX19.1.5

                            94:1 looks like the e-mail at the top of the page,
                            94:2 Mr. Nathan was responding to an e-mail that
                            94:3 you had written to him earlier that day,
                            94:4 February 22nd, 2018; is that correct?
                            94:5 A. Yes.
                            94:6 Q. Okay. And you said in that
                            94:7 e-mail, for the subject line Sweat It Out
                            94:8 Keyword list: See attached.                                   DX19.1.6

                            94:9 And then we see here the
                            94:10 attachment at 7079; correct?                                  DX19.4

                            94:11 A. I believe if that was the
                            94:12 attachment then that would be it.
                            94:13 Q. Okay. So -- and it looks like



Nike Initial Designations      Lontex Counters
                                                                                           Page 11/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 16 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            94:14 Mr. Nathan then responded back to you and                    DX19.1.4

                            94:15 said: We are returning back to you the                       DX19.1.7

                            94:16 attached spreadsheet. Column #1 is the list                  DX19.1.8

                            94:17 you sent to us that you have been using.
                            94:18 Column #2 is the list of changes and some                    DX19.1.9

                            94:19 additions. The additions are the cool                       DX19.1.10

                            94:20 compression keywords we talked about this
                            94:21 morning-URGENT.
                            94:22 Did I read that correctly?
                            94:23 A. That's how I'm reading it.
                            94:24 Q. Well, let's refer to the
                            94:25 attachment and look at column one.                            DX19.4

                            95:1 Do you see that the header from
                            95:2 that column is keywords from 1seo                             DX19.4.1

                            95:3 February 2018?
                            95:4 A. Yes.
                            95:5 Q. Is this a document that you
                            95:6 created or someone at 1SEO created?
                            95:7 A. I don't recall, but if you're
                            95:8 saying this was what is attached, then it
                            95:9 would have been.
                            95:10 Q. And do you see that keyword
                            95:11 list from 1seo February 2018 does not include
                            95:12 any reference to Cool Compression, does it?
   95:14 - 96:7             Bechtel, Benjamin 01-10-2020 (00:01:03)                           Bechtel.32

                            95:14 THE WITNESS: I do see that.
                            95:15 Q. (BY MS. DURHAM) But column
                            95:16 two, which, as Mr. Nathan says, is the list                  DX19.4.2

                            95:17 of changes and some additions, now that does
                            95:18 include Cool Compression.
                            95:19 Do you see that?
                            95:20 A. I do.
                            95:21 Q. And, in fact, at the bottom of
                            95:22 column two it says: NEW TO ADD URGENT. And                   DX19.5.1

                            95:23 then we see cool compression shorts, cool                    DX19.5.2

                            95:24 compression tights, cool compression shirts,
                            95:25 cool compression pants, buy cool compression
                            96:1 shirts, buy cool compression tights, buy cool
                            96:2 compression shirts, and buy cool compression
                            96:3 pants.



Nike Initial Designations      Lontex Counters
                                                                                           Page 12/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 17 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            96:4 So what is your understanding
                            96:5 of why these Cool Compression keywords were
                            96:6 urgently added by Mr. Nathan in a revised
                            96:7 list of keywords in February of 2018?
   96:9 - 96:15             Bechtel, Benjamin 01-10-2020 (00:00:18)                           Bechtel.33

                            96:9 THE WITNESS: My understanding
                            96:10 is that we were removing Cool Max and
                            96:11 anything Invista, and adding in
                            96:12 different keywords, revised keywords.
                            96:13 Q. (BY MS. DURHAM) And, in fact,
                            96:14 here the "new to add" were the Cool
                            96:15 Compression keywords, weren't they, sir?
   96:17 - 96:18            Bechtel, Benjamin 01-10-2020 (00:00:02)                           Bechtel.34

                            96:17 THE WITNESS: That's what it
                            96:18 looks like, according to this.
   96:21 - 97:11            Bechtel, Benjamin 01-10-2020 (00:00:49)                           Bechtel.35

                            96:21 Q. (BY MS. DURHAM) Mr. Bechtel,
                            96:22 showing you what's been marked Exhibit 255,                   DX20.1

                            96:23 this appears to be another e-mail                            DX20.1.1

                            96:24 communication between Mr. Nathan and someone                 DX20.1.2

                            96:25 named Bill Leifholtz?
                            97:1 Do you know who this is?
                            97:2 A. Yes.
                            97:3 Q. Who is he?
                            97:4 A. He was a content writer at
                            97:5 1SEO.
                            97:6 Q. Okay. What responsibility did
                            97:7 he have with respect to the Lontex
                            97:8 sweatitout.com account?
                            97:9 A. I believe at this time his
                            97:10 duties included writing blogs and press
                            97:11 releases.
   97:12 - 98:13            Bechtel, Benjamin 01-10-2020 (00:01:30)                           Bechtel.36

                            97:12 Q. And do you see here on the
                            97:13 first page, 7333, there's an e-mail dated                    DX20.1.3

                            97:14 March 8, 2018 at 3:00 p.m. where Mr. Nathan
                            97:15 wrote to Bill and said: Please add after                     DX20.1.4

                            97:16 every "SWEAT IT OUT" this phrase IN CAPITAL
                            97:17 LETTERS WITH THE "circle R," "COOL
                            97:18 COMPRESSION" and then send back over for me



Nike Initial Designations      Lontex Counters
                                                                                           Page 13/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 18 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            97:19 to review.
                            97:20 Did I read that correctly?
                            97:21 A. Yes.
                            97:22 Q. And do you see what Bill said                             DX20.1.5

                            97:23 in return? He responded on March 8, 2018 and
                            97:24 he said: Hey Efraim, I went in and added                     DX20.1.6

                            97:25 sweatitout.com COOL COMPRESSION throughout
                            98:1 the PR and blog. I attached both documents
                            98:2 to this e-mail and will have my team post
                            98:3 them once they're approved.
                            98:4 Did I read that correctly?
                            98:5 A. No. It's SWEAT IT OUT, not
                            98:6 sweatitout.com that's labeled there. But
                            98:7 other than that, it would be correct.
                            98:8 Q. Okay. Thank you for that
                            98:9 correction.
                            98:10 So do you understand from this
                            98:11 e-mail that Bill was adding that phrase,
                            98:12 Sweat It Out Cool Compression throughout the
                            98:13 PR and blog as of March 8, 2018?
   98:16 - 98:17            Bechtel, Benjamin 01-10-2020 (00:00:02)                           Bechtel.37

                            98:16 THE WITNESS: That's what it
                            98:17 appears to -- from this.
  100:23 - 101:2            Bechtel, Benjamin 01-10-2020 (00:00:16)                           Bechtel.38

                            100:23 Pursuant to this e-mail that
                            100:24 Bill sent to Mr. Nathan on March 8, 2018,
                            100:25 that is when he added this phrase, Sweat It
                            101:1 Out Cool Compression throughout the PR and
                            101:2 blog; is that correct?
  101:4 - 101:19            Bechtel, Benjamin 01-10-2020 (00:00:45)                           Bechtel.39

                            101:4 THE WITNESS: That's what it
                            101:5 appears to me.
                            101:6 Q. (BY MS. DURHAM) And you have
                            101:7 no reason to doubt that that is actually the
                            101:8 case; correct?
                            101:9 A. That's what it looks like to me
                            101:10 from what is read here.
                            101:11 Q. And, in fact, it looks like
                            101:12 Mr. Nathan responded on March 8th of 2018 to                DX20.1.7

                            101:13 Bill, and he said: Excellent! Run it..thank



Nike Initial Designations      Lontex Counters
                                                                                           Page 14/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 19 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            101:14 you.
                            101:15 Does that mean that he was
                            101:16 giving Bill authorization to now include that
                            101:17 new phrase throughout the PR and the blog?
                            101:18 A. I read that as he's giving him
                            101:19 approval to post the blog and publish the PR.
 110:25 - 112:11            Bechtel, Benjamin 01-10-2020 (00:01:57)                           Bechtel.40

                            110:25 Q. (BY MS. DURHAM) So this looks                             DX17.1

                            111:1 to be another e-mail string that you
                            111:2 exchanged with Lontex, this time in May of                   DX17.1.1

                            111:3 2019; is that correct?
                            111:4 A. That is what it looks like,
                            111:5 correct.
                            111:6 Q. Well, let's start with what I                             DX17.3.1

                            111:7 believe is the original, or the first e-mail
                            111:8 in the string that's on 6911. It's the
                            111:9 e-mail you sent on May 6, 2019 at 10:48 p.m.
                            111:10 The subject is Sweat It Out Home Page Design.
                            111:11 A. Okay.
                            111:12 Q. You say: Hello Efraim &                                  DX17.3.2

                            111:13 Samantha. I hope you are both having a good                 DX17.3.3

                            111:14 week. I have attached the home page design                  DX17.3.4

                            111:15 for the new website for your review.
                            111:16 And then it looks like you've
                            111:17 attached some potential images for the new                  DX17.4.1

                            111:18 website; is that correct?
                            111:19 A. This is one image,
                            111:20 specifically, of what -- the portrayal of the
                            111:21 new website design.
                            111:22 Q. Okay. So would this be for --
                            111:23 I think you said the home page; correct?
                            111:24 A. Correct.
                            111:25 Q. And how did you pull together
                            112:1 this information for the proposed home page?
                            112:2 A. This was based off of my
                            112:3 meeting with the client as well as developers
                            112:4 within my company, which was then developed
                            112:5 by my team of developers based off of that
                            112:6 feedback and, you know, what we were looking
                            112:7 at before from a design standpoint.



Nike Initial Designations      Lontex Counters
                                                                                           Page 15/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 20 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            112:8 Q. And you didn't reference Cool
                            112:9 Compression anywhere on this proposed home
                            112:10 page, did you?
                            112:11 A. I don't see it there.
 112:21 - 113:20            Bechtel, Benjamin 01-10-2020 (00:01:29)                           Bechtel.41

                            112:21 Q. So on May 17th, 2019 at                                  DX17.2.1

                            112:22 12:58 p.m., it looks like Lontex wrote you
                            112:23 back and said: Hi Ben: Thanks very
                            112:24 much--some good things here on the prototype.
                            112:25 PLEASE NOTE: Attached is our COOL                           DX17.2.2

                            113:1 COMPRESSION logo--two different file types.
                            113:2 Please -- or Use the best one.
                            113:3 And then he says: WHEREVER THE                               DX17.2.3

                            113:4 SWEAT IT OUT SUN LOGO IS, WE NEED TO ALSO ADD
                            113:5 COOL COMPRESSION LOGO.
                            113:6 What was your understanding of
                            113:7 what Mr. Nathan was conveying to you in that
                            113:8 e-mail?
                            113:9 A. My understanding is that he
                            113:10 wanted the Cool Compression logo to sit next
                            113:11 to the Sweat It Out logo.
                            113:12 Q. And on May 17th, 2019, it looks                          DX17.1.2

                            113:13 like you thanked him for the feedback. You
                            113:14 said you'd update it.
                            113:15 And then it looks like you                                  DX17.1.3

                            113:16 e-mailed further, on May 31st, 2019, and
                            113:17 provided an updated design where you say:
                            113:18 Please see the updated design with the COOL
                            113:19 COMPRESSION logo as well; is that correct?
                            113:20 A. Yes.
 114:11 - 114:16            Bechtel, Benjamin 01-10-2020 (00:00:16)                           Bechtel.42

                            114:11 Q. All right. Well, when, if
                            114:12 ever, before that did you ever apply that
                            114:13 Cool Compression logo with that man design to
                            114:14 the sweatitout.com website?
                            114:15 A. I don't think we did implement
                            114:16 it to the website.
  116:20 - 119:9            Bechtel, Benjamin 01-10-2020 (00:03:56)                           Bechtel.43

                            116:20 Q. (BY MS. DURHAM) Showing you
                            116:21 what's marked Exhibit 261, I see here an                     DX31.1




Nike Initial Designations      Lontex Counters
                                                                                           Page 16/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 21 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            116:22 e-mail string that appears to be from someone               DX31.1.1

                            116:23 named Britt Rawcliffe. And it looks like
                            116:24 it's -- one of the e-mails is to you, and                   DX31.1.2

                            116:25 then there's somebody named BJ Bergey and                   DX31.1.3

                            117:1 Nikki Violi and Dylan Varian copied.
                            117:2 Is this an e-mail that was
                            117:3 exchanged internally within 1SEO?
                            117:4 A. Yes.
                            117:5 Q. Who is Britt Rawcliffe?
                            117:6 A. Britt is one of our team
                            117:7 leaders, who is also -- assists in
                            117:8 photography as well as social media.
                            117:9 Q. So it looks like she --
                            117:10 Let's start, actually, up in
                            117:11 the beginning. On page 25525, it looks like                 DX31.3.1

                            117:12 you wrote to Britt on June 24, 2019; is that                DX31.3.2

                            117:13 correct?
                            117:14 A. Yes, that's what it looks like.
                            117:15 Q. And what were you trying to
                            117:16 communicate to Britt in this e-mail here from
                            117:17 June of 2019?
                            117:18 A. This was -- I was communicating
                            117:19 to the team about using new images on the
                            117:20 website, and their thoughts based off of
                            117:21 their experience in the photography and
                            117:22 videography world that they have on what they
                            117:23 thought about moving forward, the ability to
                            117:24 use existing photos -- or, yeah, photos on
                            117:25 the existing site for the new site, and also
                            118:1 having new ones created or shot for the new
                            118:2 website.
                            118:3 Q. And at one point in this e-mail
                            118:4 you say: There were some photos they had                     DX31.3.3

                            118:5 taken and I think they are pretty bad
                            118:6 honestly.
                            118:7 Are you referring to images --
                            118:8 or photos that Lontex had taken?
                            118:9 A. Yes.
                            118:10 Q. It looks like Britt then
                            118:11 responded to you on June 24th of 2019 and                   DX31.1.4




Nike Initial Designations      Lontex Counters
                                                                                           Page 17/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 22 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            118:12 gave you some further feedback; is that
                            118:13 correct?
                            118:14 A. Yes.
                            118:15 Q. And she says: Here are my                                DX31.1.5

                            118:16 thoughts -- you definitely want someone to
                            118:17 model these. No mannequins. The images they
                            118:18 have on their site are pretty terrible and                  DX31.1.6

                            118:19 wildly inconsistent. If they are springing
                            118:20 for a beautiful new site, they definitely
                            118:21 want to enhance it with fresh images.
                            118:22 Did I read that correctly?
                            118:23 A. Yes.
                            118:24 Q. And then it looks like you
                            118:25 provide her some further feedback, again on                 DX31.1.7

                            119:1 June 24th, where you say: That would be great                DX31.1.8

                            119:2 and I agree with you. We can talk in more
                            119:3 detail if the client moves forward, but his
                            119:4 target audience is a little different than
                            119:5 the normal under armor or nike type crowd,
                            119:6 he's really focusing on athletes and the real
                            119:7 benefits of the product he has.
                            119:8 Did I read that correctly?
                            119:9 A. Yes.
 124:11 - 124:13            Bechtel, Benjamin 01-10-2020 (00:00:07)                           Bechtel.44

                            124:11 Q. (BY MS. DURHAM) Showing you
                            124:12 what's been marked Exhibit 263, can you                      DX8.1

                            124:13 describe to me what this document is?                       DX8.1.1
 124:14 - 124:19            Bechtel, Benjamin 01-10-2020 (00:00:16)                           Bechtel.45

                            124:14 [Document review.]
                            124:15 A. This looks like a report from
                            124:16 what we used back in the very early days of                 DX8.1.1

                            124:17 the company -- and I see it was dated 2012,
                            124:18 so I was correct in that -- that were sent
                            124:19 and produced.
  124:24 - 125:2            Bechtel, Benjamin 01-10-2020 (00:00:07)                           Bechtel.46

                            124:24 Q. So this is something that 1SEO
                            124:25 then created for sweatitout.com in 2012; is
                            125:1 that correct?
                            125:2 A. Yes.
 129:21 - 129:22            Bechtel, Benjamin 01-10-2020 (00:00:06)                           Bechtel.47




Nike Initial Designations      Lontex Counters
                                                                                           Page 18/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 23 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            129:21 Q. Let's look back at, then,                                 DX8.37

                            129:22 page 37 of 47 in the report.
 129:23 - 131:15            Bechtel, Benjamin 01-10-2020 (00:01:57)                           Bechtel.48

                            129:23 This portion of the report has                              DX8.37.1

                            129:24 some language that says SERP Tracker Report,                DX8.37.4

                            129:25 and then Ranking Results. What does that
                            130:1 mean?
                            130:2 A. Search Engine Results Page is
                            130:3 what SERP stands for. And in previous
                            130:4 reporting we used to track the actual
                            130:5 ranking, because it basically existed.
                            130:6 It's extremely difficult to
                            130:7 track now, based off a lot of factors within
                            130:8 Google and the algorithms, so whole 'nother
                            130:9 story.
                            130:10 So in this case, at the time,
                            130:11 this tracked what position certain phrases
                            130:12 appeared in the search engine result,
                            130:13 specifically Google.
                            130:14 Q. For sweatitout.com?
                            130:15 A. In this page, yes.
                            130:16 Q. What does this Average Rank                              DX8.37.2

                            130:17 mean, 34, and then in parens 44 percent
                            130:18 ranked?
                            130:19 A. That percentage -- that number
                            130:20 is the number of keywords listed there, and
                            130:21 the percentages percent ranked in the top 100
                            130:22 positions.
                            130:23 Q. And what are -- where did the
                            130:24 keywords that are listed here come from?                    DX8.37.3

                            130:25 A. The keywords were created and
                            131:1 addressed in the same process described
                            131:2 before, where the client provides
                            131:3 information, you know, terms that are
                            131:4 important to them. We go through as a
                            131:5 company, research in different aspects, and
                            131:6 then collaborate on that final list is what
                            131:7 we use in the optimization, which is what
                            131:8 we're seeing here.
                            131:9 Q. Okay. So this was a list of



Nike Initial Designations      Lontex Counters
                                                                                           Page 19/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 24 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            131:10 the company's keywords for sweatitout.com in
                            131:11 2012?
                            131:12 A. Yes.
                            131:13 Q. And Cool Compression is not
                            131:14 here, is it?
                            131:15 A. I do not see it there.
  135:21 - 137:3            Bechtel, Benjamin 01-10-2020 (00:01:29)                           Bechtel.49

                            135:21 Q. Let's look at page 43 of 47.                              DX8.43

                            135:22 This is a report about landing
                            135:23 pages. What does this generally report on?                  DX8.43.1

                            135:24 A. Landing pages means the page of
                            135:25 the website that the end user came to the
                            136:1 site on.
                            136:2 Q. And I see a number of URLs for                            DX8.43.2

                            136:3 those landing pages. How are those URLs
                            136:4 generated?
                            136:5 A. A URL of a page is generated
                            136:6 when the page is created for a specific
                            136:7 product. So that's just based off of what's
                            136:8 on the site.
                            136:9 Q. So does -- I mean, and this is
                            136:10 not my world, so you'll have to explain it to
                            136:11 me. Does somebody actually select the words
                            136:12 that go into the URL, or does it happen
                            136:13 through an algorithm? How does it work?
                            136:14 A. That's part of the optimization
                            136:15 and the optimization of the keywords.
                            136:16 So if you have -- you can see
                            136:17 wicking underwear at this time was a -- you
                            136:18 know, one of the top ones not only searched
                            136:19 but also they came to the page. So when they
                            136:20 searched wicking underwear, the page most
                            136:21 relevant was the wicking underwear page.
                            136:22 So that was the one that came
                            136:23 up in the search engines, not the -- the home
                            136:24 page doesn't come up for everything. So the
                            136:25 wicking underwear page came up for those
                            137:1 searches, and that's how they entered into
                            137:2 the site or landed on the site, through that
                            137:3 page itself.



Nike Initial Designations      Lontex Counters
                                                                                           Page 20/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 25 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID

   138:5 - 138:8            Bechtel, Benjamin 01-10-2020 (00:00:32)                           Bechtel.50

                            138:5 Q. And if I look through these                                DX8.44

                            138:6 landing pages, I don't see any reference to                   DX8.45

                            138:7 Cool Compression; is that correct?                            DX8.46

                            138:8 A. I do not see any.                                          DX8.47
  138:11 - 139:1            Bechtel, Benjamin 01-10-2020 (00:00:49)                           Bechtel.51

                            138:11 Q. (BY MS. DURHAM) Showing you
                            138:12 what's been marked Exhibit 264, what is this                 DX9.1

                            138:13 document?
                            138:14 A. This looks like another report
                            138:15 similar to the previous one.
                            138:16 Q. Okay. So I guess I would be
                            138:17 able to read it the same way as we just
                            138:18 talked about in the previous document?
                            138:19 A. Yes.
                            138:20 Q. Okay. And so is this for a
                            138:21 date range of June 2012, based on the
                            138:22 information in this report?
                            138:23 A. That is what it looks like.
                            138:24 Q. And if I look at the keywords                             DX9.33

                            138:25 listed on pages 33 and 34, I don't see Cool
                            139:1 Compression anywhere there, do I?                             DX9.34
   139:3 - 139:4            Bechtel, Benjamin 01-10-2020 (00:00:01)                           Bechtel.52

                            139:3 THE WITNESS: I do not see it
                            139:4 there.
   143:1 - 144:6            Bechtel, Benjamin 01-10-2020 (00:01:25)                           Bechtel.53

                            143:1 Q. (BY MS. DURHAM) I'm showing
                            143:2 you what's been marked Exhibit 266. Is this                   DX13.1

                            143:3 a printout of a communication from 1SEO's                    DX13.1.1

                            143:4 Base Camp system?
                            143:5 A. Yes, that's what it looks like.
                            143:6 Q. And it looks like it's a
                            143:7 communication from May 2012; is that correct?                DX13.1.2

                            143:8 A. Yes, that is what it looks
                            143:9 like.
                            143:10 Q. And I see this checkmark, and                            DX13.1.3

                            143:11 then it says: For the WHOLE website, anywhere               DX13.1.4

                            143:12 "Sweat It Out" Appears, it must be in all
                            143:13 caps like this, SWEAT IT OUT...our client
                            143:14 loves caps. Everywhere SWEAT IT OUT



Nike Initial Designations      Lontex Counters
                                                                                           Page 21/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 26 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            143:15 appears -- yes, it must be in Caps, but
                            143:16 please do -- but please also have the
                            143:17 registered trademark symbol, circle R, as in:
                            143:18 SWEAT IT OUT, circle R.
                            143:19 Who wrote that?
                            143:20 A. It looks like from the printout
                            143:21 that I did, but I can't confirm without
                            143:22 seeing it in Base Camp.
                            143:23 Q. Okay. And who were you
                            143:24 communicating this information to? Who is
                            143:25 Ashish?                                                     DX13.1.5

                            144:1 A. It looks like Ashish was
                            144:2 assigned to it. He was a developer.
                            144:3 Q. There's no reference to cool
                            144:4 and compression being -- needing a trademark
                            144:5 symbol or being anywhere on the whole website
                            144:6 in this Base Camp communication, is there?
   144:8 - 144:9            Bechtel, Benjamin 01-10-2020 (00:00:02)                           Bechtel.54

                            144:8 THE WITNESS: I do not see it
                            144:9 anywhere here, no.
  147:13 - 148:8            Bechtel, Benjamin 01-10-2020 (00:01:23)                           Bechtel.55

                            147:13 Q. (BY MS. DURHAM) Looking at
                            147:14 Exhibit 268, which is an e-mail string that                  DX22.1

                            147:15 is Bates labeled 8137 through 8143. It's
                            147:16 quite long, so let's take it in chunks.
                            147:17 It looks like the first e-mail                              DX22.3.1

                            147:18 in the string is the one that begins on 8139.
                            147:19 It is dated August 19th, 2011, sent at                      DX22.3.2

                            147:20 2:12 p.m. from Lontex to somebody at
                            147:21 sswaim@1seo.com.
                            147:22 A. Yes, that's what it looks.
                            147:23 Q. Who is sswain@1seo?
                            147:24 A. That was Shawn Swain. At the
                            147:25 time I believe Shawn was heading up the
                            148:1 development department.
                            148:2 Q. Development of what?
                            148:3 A. Development of websites.
                            148:4 Q. So it looks like here, Lontex
                            148:5 was communicating with Shawn about certain                   DX22.3.3

                            148:6 domain names that he owns. Is that a fair



Nike Initial Designations      Lontex Counters
                                                                                           Page 22/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 27 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            148:7 interpretation of this e-mail?
                            148:8 A. Yes, that's what it looks like.
  148:18 - 149:9            Bechtel, Benjamin 01-10-2020 (00:00:58)                           Bechtel.56

                            148:18 Q. So I see in the list of URLs                              DX22.4

                            148:19 that there is a URL -- or a domain name,
                            148:20 sorry, for Cool Compression.com and                         DX22.4.1

                            148:21 cool-compression.com. Do you see that?                      DX22.4.2

                            148:22 A. Yes, I do.
                            148:23 Q. But I also see where Mr. Nathan
                            148:24 tells Shawn that: Our main site is                          DX22.3.4

                            148:25 www.sweatitout.com; is that correct?
                            149:1 A. Yes.
                            149:2 Q. And it looks like, then, you
                            149:3 took over and responded to this e-mail chain                 DX22.2.1

                            149:4 on May 22nd, 2012; is that correct?                          DX22.2.2

                            149:5 A. That's what it looks like, yes,
                            149:6 correct.
                            149:7 Q. And you said: Hello Efraim, I                             DX22.2.3

                            149:8 checked out these URLs and no one has come to
                            149:9 your site from them.
  149:23 - 150:2            Bechtel, Benjamin 01-10-2020 (00:00:16)                           Bechtel.57

                            149:23 For those domain names
                            149:24 referenced on page 8140, did you in fact
                            149:25 check each of them and confirm that no one
                            150:1 had accessed the sweatitout.com website
                            150:2 through them?
   150:4 - 150:9            Bechtel, Benjamin 01-10-2020 (00:00:06)                           Bechtel.58

                            150:4 THE WITNESS: That's what it
                            150:5 looks like.
                            150:6 Q. (BY MS. DURHAM) Well, that's
                            150:7 what you said in the e-mail, isn't it,
                            150:8 Mr. Bechtel?
                            150:9 A. In 2012, yes.
 150:24 - 151:15            Bechtel, Benjamin 01-10-2020 (00:00:59)                           Bechtel.59

                            150:24 Q. (BY MS. DURHAM) You go on to
                            150:25 say: There really is no benefit to having                   DX22.2.4

                            151:1 these point to your site unless someone
                            151:2 directly types in that url, but then when you
                            151:3 see your site come up they might just close
                            151:4 out of it anyway.



Nike Initial Designations      Lontex Counters
                                                                                           Page 23/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 28 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                           ID


                            151:5 What did you mean by that?
                            151:6 A. So I think what I meant at the
                            151:7 time, almost eight years ago, or over eight
                            151:8 years ago, you could see if somebody went to
                            151:9 a domain and then went to the site. But at
                            151:10 that time, when you redirected to a domain,
                            151:11 unless you're using it somewhere for somebody
                            151:12 to see or to use, it's not going to be out
                            151:13 there. So nobody would actually go to that
                            151:14 domain unless you're telling them to, as
                            151:15 opposed to a website where there's pages and
 151:16 - 151:18            Bechtel, Benjamin 01-10-2020 (00:00:06)                           Bechtel.105

                            151:16 products that exist. So, in other words, no                 DX22.2.4

                            151:17 one was going to Cool Compression.com or
                            151:18 cool-compression.com at this time; correct?
 151:20 - 152:25            Bechtel, Benjamin 01-10-2020 (00:01:12)                           Bechtel.60

                            151:20 THE WITNESS: At this time it
                            151:21 does not look like it.
                            151:22 Q. (BY MS. DURHAM) And you say:
                            151:23 In my opinion I think we should remove them                 DX22.2.5

                            151:24 pointing to your site and you can keep them
                            151:25 and try to sell them or whatever else you
                            152:1 want to do with them. Please let me know
                            152:2 what you would like to do so we can take
                            152:3 action. Thank you.
                            152:4 Did I read that correctly in
                            152:5 terms of the opinion you expressed to
                            152:6 Mr. Nathan at that time?
                            152:7 A. Yes, that was read correctly,
                            152:8 that was my opinion at that time.
                            152:9 Q. And, in fact, Mr. Nathan                                  DX22.1.1

                            152:10 responded to you on May 22nd, 2012 at                       DX22.1.2

                            152:11 3:08 p.m., didn't he?
                            152:12 Can you see that next e-mail in
                            152:13 the string?
                            152:14 A. Yes.
                            152:15 Q. And he says: Ben: No problem,                            DX22.1.3

                            152:16 please remove them from pointing to
                            152:17 sweatitout.com. We will decide about future
                            152:18 uses for them later.                                        DX22.2.6




Nike Initial Designations      Lontex Counters
                                                                                           Page 24/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 29 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            152:19 Did I read that correctly?
                            152:20 A. Yes.
                            152:21 Q. So, in other words, in May of
                            152:22 2012, Mr. Nathan had no problem with you
                            152:23 removing any redirection from Cool
                            152:24 Compression.com or cool-compression.com to
                            152:25 Sweat It Out; correct?
   153:2 - 153:3            Bechtel, Benjamin 01-10-2020 (00:00:02)                           Bechtel.61

                            153:2 THE WITNESS: In 2012, that is
                            153:3 correct.
 158:14 - 159:13            Bechtel, Benjamin 01-10-2020 (00:00:59)                           Bechtel.62

                            158:14 Q. (BY MS. DURHAM) Showing you
                            158:15 what's been marked Exhibit 270, do you know                  DX43.1

                            158:16 what this is, Mr. Bechtel?
                            158:17 A. Yes.
                            158:18 Q. What is it?
                            158:19 A. It looks like the ranking                                DX43.1.1

                            158:20 report from December -- or November 2012.                   DX43.1.2

                            158:21 Q. For sweatitout.com?
                            158:22 A. Yes.
                            158:23 Q. And what does this list of
                            158:24 keywords mean with respect to the ranking
                            158:25 report for sweatitout.com?
                            159:1 A. It's -- well, in reference to
                            159:2 the same report as earlier, it's the same
                            159:3 numbers in terms of where they appear in the
                            159:4 search engine results for Google
                            159:5 specifically.
                            159:6 Q. Okay. And these were the
                            159:7 keywords that were selected between Lontex
                            159:8 and your own research to try to optimize the
                            159:9 sweatitout.com page?
                            159:10 A. That's correct.
                            159:11 Q. And I don't see Cool
                            159:12 Compression anywhere on this keyword list; is
                            159:13 that correct?
 159:15 - 159:19            Bechtel, Benjamin 01-10-2020 (00:00:07)                           Bechtel.63

                            159:15 THE WITNESS: That's correct.
                            159:16 Q. (BY MS. DURHAM) Why isn't it
                            159:17 here?



Nike Initial Designations      Lontex Counters
                                                                                           Page 25/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 30 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            159:18 A. It does not look like it was
                            159:19 part of the keywords in 2012.                                clear
  159:22 - 161:2            Bechtel, Benjamin 01-10-2020 (00:01:38)                           Bechtel.64

                            159:22 Q. (BY MS. DURHAM) Showing you
                            159:23 what's been marked Exhibit 271, this is an                   DX42.1

                            159:24 e-mail labeled 34552 and 34553, and then
                            159:25 there is an attachment to that e-mail that is                DX42.3

                            160:1 34554.
                            160:2 Do you see that, Mr. Bechtel?
                            160:3 A. Yes.
                            160:4 Q. Okay. And it looks like in the
                            160:5 e-mail portion of this exhibit you had sent                  DX42.1.1

                            160:6 an e-mail to Lontex, again addressed to                      DX42.1.2

                            160:7 Efraim and Samantha, on December 10, 2012; is
                            160:8 that correct?
                            160:9 A. Yes.
                            160:10 Q. And it says -- the subject is
                            160:11 the Sweat It Out Ranking Report.                            DX42.1.3

                            160:12 So you say here: I have
                            160:13 attached --
                            160:14 Well, and I'm skipping the
                            160:15 first sentence, which is some pleasantries,
                            160:16 and then you say: I have attached your most                 DX42.1.4

                            160:17 recent ranking report and you can see that
                            160:18 your keywords are continuing to rank very
                            160:19 well and make significant progress. Here are
                            160:20 a few keywords I'd like to highlight from the               DX42.1.5

                            160:21 past month.
                            160:22 You reference football sleeves,                             DX42.1.6

                            160:23 running compression shirt, running
                            160:24 compression gear, best compression shorts for
                            160:25 running, and lycra shorts.
                            161:1 You don't reference any Cool
                            161:2 Compression keywords, do you?
  161:4 - 161:22            Bechtel, Benjamin 01-10-2020 (00:00:47)                           Bechtel.65

                            161:4 THE WITNESS: No, I do not.
                            161:5 Q. (BY MS. DURHAM) Who picked the
                            161:6 keywords that you're discussing here?
                            161:7 A. The ones in the e-mail?
                            161:8 Q. Yes.



Nike Initial Designations      Lontex Counters
                                                                                           Page 26/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 31 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            161:9 A. I was highlighting them from
                            161:10 the full list of keywords.
                            161:11 Q. And is the full list of                                   DX42.3

                            161:12 keywords here at the exhibit that we see at
                            161:13 34554?
                            161:14 A. No, it is not.
                            161:15 Q. Well, it says page 1 of 1.                               DX42.3.1

                            161:16 What would you assume is missing?
                            161:17 A. This report is specifically the
                            161:18 top 20 keywords.
                            161:19 Q. Oh, I see. Okay.
                            161:20 So nowhere in the top 20                                    DX42.3.2

                            161:21 keywords is there any reference to Cool
                            161:22 Compression in November of 2012; correct?
  161:24 - 162:6            Bechtel, Benjamin 01-10-2020 (00:00:16)                           Bechtel.66

                            161:24 THE WITNESS: None that were
                            161:25 ranking, no. Or ranking in the top
                            162:1 20.
                            162:2 Q. (BY MS. DURHAM) Well, in fact
                            162:3 when we looked at Exhibit 270, we saw that                   DX43.1.1

                            162:4 there were -- there was no Cool Compression
                            162:5 for all keywords; correct?
                            162:6 A. Correct.
 163:12 - 163:24            Bechtel, Benjamin 01-10-2020 (00:00:37)                           Bechtel.67

                            163:12 Q. (BY MS. DURHAM) Showing you
                            163:13 what's been marked Exhibit 272, Mr. Bechtel,                 DX51.1

                            163:14 what is this document?
                            163:15 A. This looks like targeted
                            163:16 keywords.
                            163:17 Q. What does that mean?
                            163:18 A. It looks like the same list
                            163:19 from the last keyword report.
                            163:20 Q. But this time it's for
                            163:21 February 9th, 2013; isn't that correct?                     DX51.1.2

                            163:22 A. Yes.
                            163:23 Q. And is Cool Compression a                                DX51.1.1

                            163:24 targeted keyword for 2013 in this report?
   164:1 - 164:7            Bechtel, Benjamin 01-10-2020 (00:00:09)                           Bechtel.68

                            164:1 THE WITNESS: I do not see it.
                            164:2 Q. (BY MS. DURHAM) Okay. Why is



Nike Initial Designations      Lontex Counters
                                                                                           Page 27/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 32 of 371

                                                  Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                     Source                          ID


                            164:3 that?
                            164:4 A. Same reason it wasn't on the
                            164:5 previous one.
                            164:6 Q. And that is?
                            164:7 A. We did not select it.                                       clear
  166:3 - 166:12            Bechtel, Benjamin 01-10-2020 (00:00:22)                            Bechtel.69

                            166:3 Q. (BY MS. DURHAM) Showing you
                            166:4 what's been marked Exhibit 274, what is this,                  DX47.1

                            166:5 Mr. Bechtel?
                            166:6 A. This looks like another keyword
                            166:7 report.
                            166:8 Q. This is a keyword ranking                                   DX47.2

                            166:9 report for sweatitout.com for April of 2013?                  DX47.2.1

                            166:10 A. Yes.
                            166:11 Q. And is Cool Compression
                            166:12 anywhere in the keywords here?
 166:14 - 166:17            Bechtel, Benjamin 01-10-2020 (00:00:07)                            Bechtel.70

                            166:14 THE WITNESS: No, it is not.
                            166:15 Q. (BY MS. DURHAM) Why is that?
                            166:16 A. Because it was not selected at
                            166:17 the beginning of the process.
 168:24 - 169:10            Bechtel, Benjamin 01-10-2020 (00:00:21)                            Bechtel.71

                            168:24 Q. (BY MS. DURHAM) Showing you                                DX45.1

                            168:25 what's been marked Exhibit 277, what is this,
                            169:1 Mr. Bechtel?
                            169:2 A. This is another keyword ranking
                            169:3 report.
                            169:4 Q. Is this again for                                          DX45.1.1

                            169:5 sweatitout.com but here at August 4th of
                            169:6 2013?
                            169:7 A. Yes, it is.
                            169:8 Q. And is Cool Compression used
                            169:9 anywhere here in the keywords for
                            169:10 sweatitout.com?
 169:12 - 169:13            Bechtel, Benjamin 01-10-2020 (00:00:01)                            Bechtel.72

                            169:12 THE WITNESS: No, I do not see
                            169:13 it.
 171:17 - 172:18            Bechtel, Benjamin 01-10-2020 (00:00:59)                            Bechtel.73

                            171:17 Q. (BY MS. DURHAM) Showing you                                DX49.1

                            171:18 what's been marked Exhibit 280, what is this,



Nike Initial Designations       Lontex Counters
                                                                                            Page 28/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 33 of 371

                                                  Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                     Source                          ID


                            171:19 sir?
                            171:20 A. This is another report from                               DX49.1.1

                            171:21 Google Analytics.
                            171:22 Q. What does it show here?
                            171:23 I see some social networks                                   DX49.1.4

                            171:24 referenced.
                            171:25 A. This looks like it's showing
                            172:1 the visits from the specific social networks.
                            172:2 Q. So visits to sweatitout.com
                            172:3 from the social networks listed here in
                            172:4 numbers 1 through 5?
                            172:5 A. Correct.
                            172:6 Q. So am I reading this correctly
                            172:7 if I conclude that there are only 14 visits                   DX49.1.5

                            172:8 to sweatitout.com from Twitter in this time
                            172:9 period?
                            172:10 A. Yes.
                            172:11 Q. Only five from Facebook?                                  DX49.1.6

                            172:12 A. Yes.
                            172:13 Q. And only one from the others?                             DX49.1.7

                            172:14 A. Yes.
                            172:15 Q. And the average visit duration                            DX49.1.8

                            172:16 for Twitter was just around a minute; is that
                            172:17 correct?
                            172:18 A. Yes.
  172:21 - 173:7            Bechtel, Benjamin 01-10-2020 (00:00:30)                            Bechtel.74

                            172:21 Q. (BY MS. DURHAM) Showing you
                            172:22 what's been marked Exhibit 289, what is this                  DX50.1

                            172:23 document -- Exhibit 281, what are we looking
                            172:24 at here, Mr. Bechtel?
                            172:25 A. This looks like a keyword
                            173:1 ranking report.
                            173:2 Q. A keyword ranking report for                               DX50.1.1

                            173:3 sweatitout.com for September of 2013; is that
                            173:4 correct?
                            173:5 A. That looks correct.
                            173:6 Q. And is Cool Compression in here                            DX50.1.2

                            173:7 as a keyword?
   173:9 - 173:9            Bechtel, Benjamin 01-10-2020 (00:00:01)                            Bechtel.75

                            173:9 THE WITNESS: I do not see it.



Nike Initial Designations       Lontex Counters
                                                                                            Page 29/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 34 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID

  182:20 - 183:2            Bechtel, Benjamin 01-10-2020 (00:00:37)                           Bechtel.76

                            182:20 Q. (BY MS. DURHAM) I'm showing                               DX53.1

                            182:21 you an e-mail string that's been marked
                            182:22 Exhibit 284, and it appears to be a string
                            182:23 between you and Lontex that dates over
                            182:24 several years. So if I go to the very bottom
                            182:25 of the string, it looks like it starts off                  DX53.1.1

                            183:1 with an e-mail from U.S. Trademark Exchange
                            183:2 to sales@sweatitout.com on December 17, 2014.
  183:12 - 184:7            Bechtel, Benjamin 01-10-2020 (00:00:58)                           Bechtel.77

                            183:12 Q. And the subject is Hard Copy
                            183:13 Cool Compression Video; is that correct?
                            183:14 A. Yes.
                            183:15 Q. And there's some reference to                            DX53.2.1

                            183:16 uploading a video to media -- to our
                            183:17 mediafire account, et cetera, in that e-mail
                            183:18 string?
                            183:19 A. Yes.
                            183:20 Q. But then it looks like, in a                             DX53.1.2

                            183:21 couple months later, on February 9th, 2015,                 DX53.1.3

                            183:22 Mr. Nathan writes to you and says: Ben:
                            183:23 Please place this video on our sweatitout                   DX53.1.4

                            183:24 YouTube channel.
                            183:25 Do you see that there?
                            184:1 A. Yes.
                            184:2 Q. Okay. Do you recall placing
                            184:3 that video on the sweatitout YouTube channel
                            184:4 for Lontex?
                            184:5 A. I don't recall, but I'm going
                            184:6 to say it was done based off of the request
                            184:7 and our process.
 185:13 - 185:17            Bechtel, Benjamin 01-10-2020 (00:00:19)                           Bechtel.78

                            185:13 Q. do you believe that that
                            185:14 video was up from February -- or around
                            185:15 February 2015 through the time that
                            185:16 Mr. Nathan asked you to take it down ASAP in
                            185:17 January of 2016?
 185:19 - 185:20            Bechtel, Benjamin 01-10-2020 (00:00:03)                           Bechtel.79

                            185:19 THE WITNESS: It appears to
                            185:20 have been have, yes.



Nike Initial Designations      Lontex Counters
                                                                                           Page 30/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 35 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID

  186:2 - 187:25            Bechtel, Benjamin 01-10-2020 (00:02:23)                           Bechtel.80

                            186:2 Q. (BY MS. DURHAM) Showing you                                DX52.1

                            186:3 what's been marked Exhibit 285, it's an
                            186:4 e-mail chain again. Let's start with what I
                            186:5 believe is the first in the string on                        DX52.3.1

                            186:6 page 6587. It's an e-mail from you on
                            186:7 January 29th, 2016 to Lontex.                                DX52.3.2

                            186:8 Do you see that one there?
                            186:9 A. Yes.
                            186:10 Q. The subject is Sweat It Out                              DX52.3.3

                            186:11 Content For Review.
                            186:12 And you say: Hello Efraim,                                  DX52.3.4

                            186:13 Please see the most recent blogs and press                  DX52.3.5

                            186:14 releases attached for your review and
                            186:15 approval.
                            186:16 Was it consistent with your
                            186:17 business relationship with Lontex to provide
                            186:18 the blog content and press release content
                            186:19 for Lontex's review?
                            186:20 A. Yes. Any posting would
                            186:21 typically go through for final approval
                            186:22 before we did.
                            186:23 Q. I believe you've already talked
                            186:24 about what the goal was with the press
                            186:25 releases that 1SEO was creating, but what was
                            187:1 the goal with the blog content?
                            187:2 A. Blog content on a website has a
                            187:3 couple of different functions. One of the
                            187:4 primary ones is that it consistently places
                            187:5 fresh content on a website.
                            187:6 So Google obviously has
                            187:7 millions and millions of websites to crawl,
                            187:8 so by kind of sending them it's message of
                            187:9 hey, we have new content on our site, it kind
                            187:10 of entices them, hey, make sure you're paying
                            187:11 attention to us, kind of thing.
                            187:12 It can also have the off
                            187:13 opportunity of going viral, so to speak.
                            187:14 Sometimes blogs can catch on, depending on
                            187:15 the nature of their -- the subject or the



Nike Initial Designations      Lontex Counters
                                                                                           Page 31/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 36 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            187:16 nature. For example, we had a tailor who
                            187:17 wrote a blog on how to tie a bow tie, and it
                            187:18 had thousands and thousands and thousands of
                            187:19 views every month.
                            187:20 So that is another function of
                            187:21 it, as well as just getting additional
                            187:22 information on your website.
                            187:23 Q. So would it have been important
                            187:24 to include Cool Compression in blog content
                            187:25 if that was a brand of Lontex?
   188:2 - 189:6            Bechtel, Benjamin 01-10-2020 (00:01:37)                           Bechtel.81

                            188:2 THE WITNESS: If they wanted
                            188:3 to, and if it was relative to the
                            188:4 nature of the specific piece.
                            188:5 Q. (BY MS. DURHAM) So it looks
                            188:6 like here on February 1st of 2016, Lontex                    DX52.2.1

                            188:7 wrote back to you and said: I read the PR and                DX52.2.2

                            188:8 the blog for December 2015/January 2016 and
                            188:9 I liked the content very much. One thing
                            188:10 PLEASE: Our trademark is SWEAT IT OUT is our                DX52.2.3

                            188:11 asset and must appear with the Registered
                            188:12 symbol, and everywhere it is shown, it should
                            188:13 be the phrase in capitals and the registered
                            188:14 mark.
                            188:15 What is your understanding of
                            188:16 what Mr. Nathan is telling you there?
                            188:17 A. My understanding is to make
                            188:18 sure that registered symbol is listed every
                            188:19 time when Sweat It Out is stated in the
                            188:20 pieces of content.
                            188:21 Q. And I see here you wrote back                            DX52.1.1

                            188:22 on February 1st, 2016, and you wrote: Thank
                            188:23 you Efraim. Please see the attached press                   DX52.2.5

                            188:24 releases and blogs for your final approval.
                            188:25 Also, the updates to the website for COOL                   DX52.2.6

                            189:1 COMPRESSION have been added.
                            189:2 What does that mean?
                            189:3 A. I don't know exactly without
                            189:4 seeing more information, but it sounds like
                            189:5 there were changes to the website made



Nike Initial Designations      Lontex Counters
                                                                                           Page 32/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 37 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            189:6 regarding Cool Compression.
 189:12 - 189:16            Bechtel, Benjamin 01-10-2020 (00:00:12)                           Bechtel.82

                            189:12 Q. And then you say here on                                 DX52.1.3

                            189:13 February 2nd, 2016: Everything should be                    DX52.1.4

                            189:14 completed for the COOL COMPRESSION updates
                            189:15 for you as well; correct?
                            189:16 A. Correct.
 194:22 - 196:14            Bechtel, Benjamin 01-10-2020 (00:02:10)                           Bechtel.83

                            194:22 Q. (BY MS. DURHAM) Showing you an
                            194:23 e-mail string again marked as 286. This one                  DX39.1

                            194:24 is 32443 through 32448. Let's just start
                            194:25 with the e-mail string that -- or the actual                DX39.2.1

                            195:1 e-mail that Lontex sent to you on
                            195:2 January 31st, 2016.                                          DX39.2.2

                            195:3 Do you see that? He sent it to
                            195:4 you, and he copied Megan -- is it dite-er or                 DX39.2.3

                            195:5 A. Dik-ter
                            195:6 Q. Dik-ter? Okay.
                            195:7 The subject is COOL                                          DX39.2.4

                            195:8 COMPRESSION-Urgent Addition to our website
                            195:9 sweatitout.com 6 places:
                            195:10 Hey Ben: URGENT, MUST BE                                    DX39.2.5

                            195:11 COMPLETED BY 5PM Monday February 1/16.
                            195:12 What is Mr. Nathan asking of
                            195:13 you there, sir?
                            195:14 A. It looks like he's asking for
                            195:15 Cool Compression to be added to the                         DX39.3.1

                            195:16 sweatitout.com website. Please use it
                            195:17 exactly as it appears above with the
                            195:18 registered symbol following the phrase in
                            195:19 capitals.
                            195:20 Please add to the following
                            195:21 places: On -- in the heading between the
                            195:22 flag and "The Compression Experts!"
                            195:23 In the footer, between "in" and                             DX39.3.2

                            195:24 "testimonials."
                            195:25 The footer again, adding the
                            196:1 copyright line beneath the copyright for
                            196:2 Sweat It Out.
                            196:3 It looks like also on e-mail                                 DX39.4.1




Nike Initial Designations      Lontex Counters
                                                                                           Page 33/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 38 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            196:4 order confirmations, and changing the text on
                            196:5 the image and the slider to Cool Compression.
                            196:6 Q. So those were all of the things
                            196:7 that were added --
                            196:8 A. And then switching image on                               DX39.5.1

                            196:9 Facebook page to the new one with the same
                            196:10 image using a Cool Compression text.
                            196:11 Q. So those were all of the places
                            196:12 that Mr. Nathan sought to have Cool
                            196:13 Compression added urgently in January 31st --
                            196:14 or January of 2016?
  196:16 - 197:3            Bechtel, Benjamin 01-10-2020 (00:00:25)                           Bechtel.84

                            196:16 THE WITNESS: That's what it
                            196:17 looks like, yes.
                            196:18 Q. (BY MS. DURHAM) And did you in                           DX39.2.5

                            196:19 fact follow through and add Cool Compression
                            196:20 to all of those places you just mentioned?
                            196:21 A. It looks like it from this
                            196:22 e-mail and the image attached which shows it
                            196:23 and the verification of the e-mail --
                            196:24 Q. And they were --
                            196:25 A. -- so --
                            197:1 Q. I'm sorry.
                            197:2 A. So I was going to say, yes, it
                            197:3 does look like it.
  198:5 - 198:21            Bechtel, Benjamin 01-10-2020 (00:00:50)                           Bechtel.85

                            198:5 Q. (BY MS. DURHAM) What is this
                            198:6 that I'm looking here in Exhibit 287,                         DX14.1

                            198:7 Mr. Bechtel?                                                 DX14.1.1

                            198:8 A. That is a good question. It
                            198:9 looks like an e-mail sent, and it's a link
                            198:10 for Twitter, but I'm not sure exactly what
                            198:11 the link would be for.
                            198:12 I'd be guessing if I -- but I
                            198:13 don't know exactly what it's for, but it's a
                            198:14 link to Twitter.
                            198:15 Q. Why would you be sending a link
                            198:16 to Twitter to Mr. Nathan in 2016 that
                            198:17 referenced Nike?
                            198:18 A. I couldn't answer that question



Nike Initial Designations      Lontex Counters
                                                                                           Page 34/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 39 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            198:19 without other information. This is one
                            198:20 e-mail and a link. I couldn't give you an
                            198:21 honest answer.
  199:22 - 200:9            Bechtel, Benjamin 01-10-2020 (00:00:33)                           Bechtel.86

                            199:22 Q. And I just want to go back to
                            199:23 something you said. What did you mean when
                            199:24 you said you talked to Lontex about
                            199:25 e-commerce and how Nike displays their
                            200:1 products online and in online stores?
                            200:2 A. In reference to the e-mail that
                            200:3 we went over a while ago, we used that in
                            200:4 reference to how they display products online
                            200:5 and in reference to a possible way of
                            200:6 designing his new site.
                            200:7 Q. So, in other words, you were
                            200:8 holding up Nike's website as an example as to
                            200:9 how you might redesign Lontex's website?
 200:11 - 200:17            Bechtel, Benjamin 01-10-2020 (00:00:12)                           Bechtel.87

                            200:11 THE WITNESS: No. It was
                            200:12 actually in the opposite fashion,
                            200:13 because he's a different -- somewhat
                            200:14 of a different audience.
                            200:15 Q. (BY MS. DURHAM) So you wanted
                            200:16 to differentiate yourself, because he has a
                            200:17 different audience?
 200:19 - 200:20            Bechtel, Benjamin 01-10-2020 (00:00:03)                           Bechtel.88

                            200:19 THE WITNESS: From an overall
                            200:20 perspective, yes.
  205:1 - 205:24            Bechtel, Benjamin 01-10-2020 (00:01:11)                           Bechtel.89

                            205:1 Q. (BY MS. DURHAM) Showing you
                            205:2 what's been marked Exhibit 289, this is an                    DX30.1

                            205:3 e-mail string that involves you, Rebecca                     DX30.1.1

                            205:4 Young, and Lontex on December 15th, 2016.
                            205:5 Who is Rebecca Young?                                        DX30.1.2

                            205:6 A. She was a website developer at
                            205:7 1SEO.
                            205:8 Q. Okay. And it looks like she
                            205:9 wrote to Lontex on December 15, 2016 and                     DX30.1.3

                            205:10 said: I hope you are doing well-sorry we will               DX30.1.4

                            205:11 not be seeing you at the party tomorrow. I



Nike Initial Designations      Lontex Counters
                                                                                           Page 35/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 40 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            205:12 wanted to let you know I made the call to --
                            205:13 I made the "Call to Make Payment" message on
                            205:14 the checkout page larger and bolder for you.
                            205:15 Please see screenshot below and let me know
                            205:16 if it all looks good, thanks!
                            205:17 Do you see that screen shot                                 DX30.2.1

                            205:18 there?
                            205:19 A. Yes, I do.
                            205:20 Q. Does that mean you had to call
                            205:21 in to make a payment at that point, and you
                            205:22 couldn't enter a credit card either directly
                            205:23 or through PayPal on the website?
                            205:24 A. Yes.
  206:2 - 206:24            Bechtel, Benjamin 01-10-2020 (00:01:10)                           Bechtel.90

                            206:2 Q. (BY MS. DURHAM) Showing you
                            206:3 what's been marked Exhibit 290, is this a                     DX11.1

                            206:4 communication from SEO's Base Camp?
                            206:5 A. I'm sorry?
                            206:6 Q. Is this a communication --
                            206:7 A. Yes.
                            206:8 Q. -- from your Base Camp?                                   DX11.1.1

                            206:9 Okay. What is going on here?
                            206:10 It says checkmark, put together some posts                  DX11.1.2

                            206:11 around "COOL Compression" for Efraim to
                            206:12 review, on November 17th, 2016.
                            206:13 A. So that looks like a task
                            206:14 assigned to Michael, to create social media                 DX11.1.3

                            206:15 posts. It doesn't say what platform, I don't
                            206:16 think, but it looks possibly like just
                            206:17 Twitter. Could be Facebook as well. For our
                            206:18 social media representative Michael to put
                            206:19 together for review.
                            206:20 Q. Why was Michael putting
                            206:21 together all of the social media posts that
                            206:22 reference Cool Compression in the end of
                            206:23 2016?
                            206:24 A. To promote the product.
 215:19 - 216:15            Bechtel, Benjamin 01-10-2020 (00:00:54)                           Bechtel.91

                            215:19 Q. (BY MS. DURHAM) I'm showing
                            215:20 you what's been marked Exhibit 291. There's                  DX38.1




Nike Initial Designations      Lontex Counters
                                                                                           Page 36/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 41 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            215:21 an e-mail that Mr. Nathan sent to you on                    DX38.1.2

                            215:22 May 13th, 2016, subject line
                            215:23 cool-compression.com-Urgently need to point
                            215:24 to our website sweatitout.com.
                            215:25 Do you see that e-mail?
                            216:1 A. Yes.
                            216:2 Q. He says: Hi Ben: This is a                                DX38.1.3

                            216:3 legal matter: we need our url that currently
                            216:4 doesn't point anywhere: cool-compression.com
                            216:5 to be pointed to our Sweat It Out dot -- our
                            216:6 sweatitout.com website. Please let me know
                            216:7 when this work is finished.
                            216:8 Did he elaborate on what the
                            216:9 legal matter was that he was referring to
                            216:10 here?
                            216:11 A. Not in this e-mail, no.
                            216:12 Q. Well, do you know what it was
                            216:13 referring to?
                            216:14 A. I'm going to connect and say it
                            216:15 was in regards to this.
 219:15 - 220:11            Bechtel, Benjamin 01-10-2020 (00:01:01)                           Bechtel.92

                            219:15 Q. (BY MS. DURHAM) Showing you
                            219:16 what's been marked Exhibit 293, what is this?                DX37.1

                            219:17 A. This looks like a report from
                            219:18 2016.
                            219:19 Q. Is this a report for                                      DX37.3

                            219:20 sweatitout.com in November of 2016?
                            219:21 A. Yes.
                            219:22 Q. And what am I looking at here
                            219:23 in -- on the page that is 3 of 16, where it
                            219:24 says Rankings?                                              DX37.3.1

                            219:25 A. These are some of the terms and
                            220:1 where they're ranking organically.
                            220:2 Q. So are these the keywords for
                            220:3 the sweatitout.com website?
                            220:4 A. On these three pages, yes.
                            220:5 Q. So the keywords for the
                            220:6 sweatitout.com website in November 2016 can
                            220:7 be viewed at pages 3, 4, and 5 of this                        DX37.4

                            220:8 report?                                                       DX37.5




Nike Initial Designations      Lontex Counters
                                                                                           Page 37/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 42 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            220:9 A. Yes.
                            220:10 Q. And nowhere in here is there                             DX37.3.1

                            220:11 Cool Compression; is that correct?
 220:13 - 220:17            Bechtel, Benjamin 01-10-2020 (00:00:07)                           Bechtel.93

                            220:13 THE WITNESS: I do not see it
                            220:14 in there.
                            220:15 Q. (BY MS. DURHAM) Why is that?
                            220:16 A. Because it was not added to the
                            220:17 list at that time.
 220:18 - 220:21            Bechtel, Benjamin 01-10-2020 (00:00:09)                           Bechtel.94

                            220:18 Q. So is it fair to say, then,
                            220:19 that the sweatitout.com website as of
                            220:20 November 2016 was not keyword optimized for
                            220:21 Cool Compression?
 220:23 - 220:24            Bechtel, Benjamin 01-10-2020 (00:00:02)                           Bechtel.95

                            220:23 THE WITNESS: It does not look
                            220:24 like it.                                                     clear
  221:6 - 221:18            Bechtel, Benjamin 01-10-2020 (00:00:31)                           Bechtel.96

                            221:6 Q. (BY MS. DURHAM) What are we
                            221:7 looking at here in Exhibit 294?                               DX36.1

                            221:8 A. This looks like the December
                            221:9 report on the next month of 2016.
                            221:10 Q. Again, for sweatitout.com?
                            221:11 A. Yes.
                            221:12 Q. And does Cool Compression                                 DX36.3

                            221:13 appear anywhere in the keywords for the
                            221:14 sweatitout.com website in December 2016?
                            221:15 A. It does not look like it.
                            221:16 Q. So in this, is it fair to say
                            221:17 that the website was not optimized for Cool
                            221:18 Compression in December of 2016?
 221:20 - 221:21            Bechtel, Benjamin 01-10-2020 (00:00:02)                           Bechtel.97

                            221:20 THE WITNESS: Not in this
                            221:21 report.
   222:3 - 222:5            Bechtel, Benjamin 01-10-2020 (00:00:08)                           Bechtel.98

                            222:3 Q. (BY MS. DURHAM) Showing you
                            222:4 what's been marked Exhibit 295, what is
                            222:5 Exhibit 295, sir?
  222:6 - 222:11            Bechtel, Benjamin 01-10-2020 (00:00:18)                           Bechtel.99

                            222:6 A. This looks like a keyword



Nike Initial Designations      Lontex Counters
                                                                                           Page 38/41
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 43 of 371

                                                 Bechtel-Nike Initials + Lontex Counters

    Page/Line                                                    Source                           ID


                            222:7 ranking report from January 2017.
                            222:8 Q. For Sweat It Out?
                            222:9 A. Yes.
                            222:10 Q. Okay. And for January 2017, is                            DX35.3

                            222:11 Cool Compression anywhere in the keywords?
 222:13 - 222:18            Bechtel, Benjamin 01-10-2020 (00:00:09)                           Bechtel.100

                            222:13 THE WITNESS: It does not look
                            222:14 like it.
                            222:15 Q. (BY MS. DURHAM) So is it fair
                            222:16 to say that in January of 2017, the
                            222:17 sweatitout.com website was not optimized for
                            222:18 Cool Compression?
 222:20 - 222:21            Bechtel, Benjamin 01-10-2020 (00:00:01)                           Bechtel.101

                            222:20 THE WITNESS: Not in this
                            222:21 report.                                                       clear
 237:20 - 237:22            Bechtel, Benjamin 01-10-2020 (00:00:07)                           Bechtel.102

                            237:20 Q. So is it fair to say, then,
                            237:21 that the sweatitout.com website was not being
                            237:22 optimized for Cool Compression in 2015?
  237:24 - 238:9            Bechtel, Benjamin 01-10-2020 (00:00:26)                           Bechtel.103

                            237:24 THE WITNESS: Yes.                                             clear

                            237:25 Q. (BY MS. DURHAM) So you've
                            238:1 worked closely with Mr. Nathan for at least
                            238:2 eight years now; right?
                            238:3 A. Yes.
                            238:4 Q. Has he ever told you at any
                            238:5 point that he thought that Nike did anything
                            238:6 that impacted the traffic to his
                            238:7 sweatitout.com website?
                            238:8 A. That specifically, no, I don't
                            238:9 recall anything like that.
 244:17 - 245:25            Bechtel, Benjamin 01-10-2020 (00:01:39)                           Bechtel.104

                            244:17 Q. And in -- or your e-mail to
                            244:18 Britt on June 24, 2019, you mentioned that
                            244:19 the target audience for Lontex is a little
                            244:20 different than Under Armor or Nike. Can you
                            244:21 elaborate a little bit as to why you made
                            244:22 that statement?
                            244:23 A. I made that statement because
                            244:24 the audience and target audience for Sweat It



Nike Initial Designations      Lontex Counters
                                                                                           Page 39/41
                   Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 44 of 371

                                                   Bechtel-Nike Initials + Lontex Counters

      Page/Line                                                    Source                          ID


                              244:25 Out is more medical-based. And what I mean
                              245:1 by that is it's targeted towards -- towards
                              245:2 athletes, people who are athletic and run
                              245:3 marathons, play tennis, those type of
                              245:4 activities, for prevention and recovery of
                              245:5 injuries. And that's -- it's a very
                              245:6 functional product, and that's its pretty
                              245:7 much sole purpose.
                              245:8 What I referred to in that
                              245:9 statement is Under Armor and Nike, from an
                              245:10 apparel standpoint, have a wide array of
                              245:11 products, from shoes to regular shorts and
                              245:12 clothing to compression gear.
                              245:13 So when you're talking about
                              245:14 audience, I look at Under Armor and Nike as
                              245:15 more of a fashion type of thing, and that
                              245:16 people wear their clothes and other athletic
                              245:17 apparel, including compression gear, to just
                              245:18 normal every-day activities, whereas Sweat It
                              245:19 Out's products are geared towards, you know,
                              245:20 those weakened athletes or professional
                              245:21 athletes or athletic trainers or people who
                              245:22 are doing rehab specifically because of the
                              245:23 functionality of the product. So when I look
                              245:24 at the audience, that's how I differentiate
                              245:25 between the two.
_____________________________________________________________________

Nike Initial Designations = 01:07:05
Lontex Counters = 00:00:38
Total Time = 01:07:43

Documents Shown
DX11
DX13
DX14
DX17
DX19
DX20
DX22




  Nike Initial Designations      Lontex Counters
                                                                                             Page 40/41
                  Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 45 of 371

                                               Bechtel-Nike Initials + Lontex Counters

     Page/Line                                                 Source                          ID

DX30
DX31
DX34
DX35
DX36
DX37
DX38
DX39
DX42
DX43
DX45
DX47
DX49
DX50
DX51
DX52
DX53
DX8
DX806
DX9




 Nike Initial Designations   Lontex Counters
                                                                                         Page 41/41
             Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 46 of 371
                              Case Clips Detailed Report
                                           10290_Lontex v Nike


   CUNNINGHAM, SEAN - VOL 1 - 8/25/2021 1 Clips (Running 00:42:11.417)


       CUNNINGHAM DIRECT (Running        00:42:11.417)

         1. Page 04:15 to 20:24 (Running 00:19:23.500)

            15   Counsel, please identify yourselves and

            16 state who your represent.

            17   MR. WAGNER: This is Ben Wagner with

            18 Troutman Pepper representing Lontex Corporation.

            19   MR. HYNES: Michael Hynes from DLA Piper

            20 for Nike, with me is my colleague, Marc Miller.

            21   VIDEOGRAPHER: Okay. The court reporter

            22 today is Paige Kelleher and she may now swear or

            23 affirm the deponent.

            24   COURT REPORTER: Okay. Sir, can you raise

            25 your right hand for me, please.

            01   THE WITNESS: (Complies.)

            02   COURT REPORTER: Do you solemnly swear the

            03 testimony you're about to give is the truth, the

            04 whole truth, and nothing but the truth?

            05   THE WITNESS: Yes.

            06   DIRECT EXAMINATION

            07 MR. WAGNER:

            08   Q. Please state your name for the

            09 record.

            10   A. Sean Cunningham.

                                                                              Total Number of Clips:1
                                                                          Total Number of Segments:9
                                                                      Total Running Time:00:42:11.417
                                                                                        Page 1 of 36
 Case
11  Q.2:18-cv-05623-MMB
       And you understand thatDocument    406 Filed 04/27/22 Page 47 of 371
                               the testimony

12 you are giving in trial deposition today is the

13 same as if you were sitting on the stand in front

14 of a judge and jury, correct?

15   A. Yes, I do.

16   Q. And your testimony is to be your full

17 and complete and accurate testimony?

18   A. Yes.

19   Q. What is your profession,

20 Mr. Cunningham?

21   A. I am an athletic trainer.

22   Q. And how long have you been in that

23 profession?

24   A. I have been an athletic trainer for

25 roughly 34 years now.

01   Q. Did you go to college?

02   A. I went to school -- undergraduate

03 work at Canisius College in Buffalo New York where

04 I got a degree -- BS degree in sports medicine.

05 And then I went to -- got a post-graduate master's

06 degree in exercise science from Florida Atlantic

07 University in 1994, I think is when I graduated.

08   Q. And who did you work for out of

09 college?

10   A. I worked for the Montreal Expos for

11 about 15 years right out of school from 1987 to

                                                                Total Number of Clips:1
                                                            Total Number of Segments:9
                                                        Total Running Time:00:42:11.417

                                                                          Page 2 of 36
 Case
12    2:18-cv-05623-MMB
    2001. At which point in timeDocument
                                I moved on 406
                                           to the Filed 04/27/22 Page 48 of 371

13 Miami Marlins and worked for the Florida Marlins

14 which became the Miami Marlins from 2002 until

15 April 2016.

16   Q. And for the Expos what was your

17 title?

18   A. I was -- I had several titles while I

19 was with the Expos. I was the minor league trainer

20 for -- from probably about 1987 to 1992. I moved

21 up to be director and coordinator of rehab from '92

22 to '96. I moved up to the major league club in '97

23 as a strength coach and third head athletic

24 trainer. I was up in Montreal from 1987 to 2001 in

25 that capacity. And then I became the head athletic

01 trainer for the Florida/Miami Marlins in 2002 and

02 did that for a little over 14 years.

03   Q. Do you hold any position for the

04 Marlins other than head athletic trainer?

05   A. No -- No, I did not.

06   Q. And what was the role of the head

07 athletic trainer for the Marlins?

08   A. We -- you know, the head athletic

09 trainer serves a lot of purposes or has -- has a

10 lot of roles. We -- you know, obviously we're

11 dealing with the athletes. You know, I was

12 overseeing the medical department, working liaison

                                                                 Total Number of Clips:1
                                                             Total Number of Segments:9
                                                         Total Running Time:00:42:11.417

                                                                            Page 3 of 36
 Case
13     2:18-cv-05623-MMB
    with the doctors in the front Document      406 Filed 04/27/22 Page 49 of 371
                                  office. I oversee

14 all the care -- care -- any of the medical care

15 with any of the athletes, which involved injury

16 assessment; injury evaluation; injury prevention;

17 injury rehabilitation following the injury. I had

18 to do a budget. I had budgets, so it was equipment

19 purchasing. And then facility -- I also oversaw

20 the facility construction both at Roger Dean

21 Stadium and Jupiter, our spring training facility,

22 and then also our new -- our new complex down in --

23 down in Miami, Marlins Park, in 2012.

24   Q. You said a new complex, did the

25 Marlins move to a new complex?

01   A. Yeah. The Marlins were -- we shared

02 a complex with the Dolphins when I first started

03 working with them in 2002. And we shared that

04 complex for roughly 10 years. And then we had a

05 new complex built in 2012 further down in the city

06 of Miami on the old Orange Bowl site; so right down

07 in Miami.

08   Q. And as a head athletic trainer did

09 your involvement with the athletes go beyond

10 helping them after an injury?

11   A. Yeah. Like I said, you know, from an

12 athletic injury standpoint, you know, we dealt with

13 injury prevention. We dealt with the diagnosis.

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                                                 -- you

15 know, a lot of what we did was proactive from a

16 prevention standpoint, as well as what we had to do

17 post-injury.

18   Q. While you were a head athletic

19 trainer for the Marlins were you a member of any

20 organizations as a part of that?

21   A. Yes. I was a member of several

22 organizations. I was a member of the NATA which is

23 the National Athletic Trainers Association, the

24 accrediting body for athletic trainers. So I went

25 through and took a test and become certified and

01 became a certified athletic trainer; that also

02 involved maintaining continuing education to

03 maintain that membership.

04   I was a member of the NSCA which is the

05 National Strength & Conditioning Association. I

06 earned a CSCS or a certified strength and

07 conditioning -- conditioning specialist

08 certification, as well, and maintained that through

09 continuing education and continue to hold both of

10 those certifications.

11   And then I was a member of PBATS which is

12 the Professional Baseball Athletic Trainers

13 Society. And my role in that organization has kind

14 of shifted through the years. I was initially a

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          league member followed         406major
                                 by an active Filed 04/27/22 Page 51 of 371

16 league member. And now I continue to be an alumni

17 member since I stepped down in 2016.

18   Q. Were you a member of PBATS for the

19 entirety of your time with the Marlins?

20   A. Yes, I was. And the -- and the

21 entirety of my time with the Expos. So I have been

22 a member of PBATS in some capacity for the full

23 30 -- 30 -- 30 years that I was in professional

24 baseball; and then four years since then, as well.

25   Q. So are there qualifications that a

01 athletic trainer has to meet in order to be a

02 member of PBATS?

03   A. A lot of it -- it's more of a -- from

04 the standpoint when you say qualifications --

05 qualifications are you have to be a member in

06 standing. You have to be -- have the -- you have

07 to have a role in professional baseball as an

08 athletic trainer in some capacity. And again,

09 there's -- there are several bodies to that.

10 There's a minor league body to it. There's a major

11 league component and then there's an alumni

12 component.

13   Q. So what's the purpose of the PBATS

14 organization?

15   A. It's an opportunity for the -- for

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        industry -- you know, forDocument     406 Filed 04/27/22 Page 52 of 371
                                 us -- for us as

17 athletic trainers to get together, you know, within

18 the industry to talk about ongoing -- it could be

19 ongoing concerns within the industry, medical

20 concerns within the industry. It's a way for us to

21 get together and discuss products and supplies that

22 we own. It's a way for to us get together and to

23 discuss ongoing medical terms. A lot of times we

24 would meet with -- as a member of the PBATS we

25 would meet with the physicians; they had a similar

01 association, and we would do a medical seminar.

02 And a lot of times that would touch on hot topics

03 within the industry.

04   So there were educational components to it

05 as well as, you know -- as well as a social

06 component to it. It's just an opportunity to get

07 together with other peers within the industry and

08 discuss whatever you might want to discuss;

09 professional or even personal for that matter. But

10 it's an opportunity for all of us to get together

11 when we would meet annually at the winter meetings

12 which would typically -- typically happen in early

13 December; first week in December when Major League

14 Baseball would have the winter meetings. And so it

15 could be an opportunity to kind of get together as

16 a group rather than during the season, you know,

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        just basically see the person         406 Filed
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18 field from you in three-day increments.

19   Q. And did the winter meetings -- annual

20 winter meetings happen every year during your time

21 with the Marlins?

22   A. As far as I can remember they did,

23 yes.

24   Q. What was the purpose of the annual

25 meetings?

01   A. Again, the purpose of the annual

02 meetings were for us to get -- to get -- to get

03 together as a group and discuss any ongoing

04 business or ongoing topics of discussion, we would

05 do that. But, you know, we would also -- they --

06 we had a format where we would bring vendors in --

07 or vendors -- well, let me rephrase that. Vendors

08 would have an opportunity to come in to speak to

09 the body as a -- as a group.

10   Q. And what was the role of these

11 vendors at the annual meetings?

12   A. It was twofold -- or actually,

13 threefold. A lot of them it was networking for

14 their part. They would have whatever their product

15 might be. They would basically describe their

16 product -- and the format over the years changed a

17 little bit. Initially it was a format where the

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    individual would stand up inDocument     406 of
                                front of the group Filed 04/27/22 Page 54 of 371

19 roughly 60 to 75 athletic trainers and kind of let

20 them know what the product was -- and introduce

21 themselves, let them know what the product was.

22 And then at that point in time they'd make

23 themselves available after the fact for anyone that

24 might -- anyone whose interest might -- anyone that

25 might have interest in what they were -- what they

01 were there representing.

02   That moved on to a little bit different

03 format where they each had their booths -- each of

04 vendors had their booths and you went around as a

05 team to -- or as a staff to meet with them

06 individually in five -- what would amount to be

07 five or 10-minute increments to do the same thing,

08 discuss -- discuss what new products might be, what

09 they might have or discuss the product

10 specifically, possibly do some ordering right at

11 that point in time, or if not, at least do an

12 exchange of business cards if you hadn't already

13 done that so that you could have a relationship

14 moving forward.

15   Q. When did this transition to booths

16 take place approximately?

17   A. Probably in the neighborhood of 2010

18 to '12. I mean, it was -- it happened -- it was

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    recent.                       Document
            It was fairly recent. And         406 Filed 04/27/22 Page 55 of 371
                                      when I say

20 recent, you know, I kind of attribute everything to

21 knowing that I left there in 2016. I didn't attend

22 any more winter meetings after 2016. And so that's

23 what I equate when I say fairly recent. It was

24 before that. We probably did three of four booth

25 things -- you know, formats.

01   Q. And as a head athletic trainer for

02 the Marlins and a member of the PBATS, were you

03 familiar any products in particular clothing

04 companies?

05   A. Yeah. I mean, there were some

06 clothing companies that presented, but obviously,

07 one of them was SWEAT IT OUT would come and Efraim

08 would do -- and I remember Efraim doing -- Efraim

09 would do a talk, you know, stand up in front of

10 everybody and have his product with him and show us

11 what he considered the unique stretchiness of it,

12 the cool compression characteristics that it had,

13 and kind of stretch the fabric in every way. He

14 would talk about the quality of his -- how he had

15 been in the textile industry for, you know,

16 whatever the years were. It was, you know, 30 or

17 40 years, and how he, you know, made sure -- made

18 sure that everything of quality of his material was

19 second to nobody else's on the market.

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20                             Document
        So you mentioned the term "cool 406 Filed 04/27/22 Page 56 of 371

21 compression". Does the phrase "cool compression"

22 mean something to you?

23   A. Yeah. Well again, that was just --

24 he gave a very similar speech every year when he

25 was up there. And I mean, for me specifically -- I

01 mean, when I was in Montreal it didn't mean --

02 necessarily mean a lot to me be it because we were

03 playing indoors and obviously we really wouldn't be

04 exposed to the temperatures.

05   But when I got down to Miami it was

06 something that had a little bit more -- little bit

07 more of a ring to it. But it was something that --

08 I became very -- you know, the cool compression was

09 just that, it was something where they didn't heat.

10   Some of the products that were on the

11 market at the time -- one of the problems that the

12 athletes ran into it that it just got too hot in

13 it -- or it created too hot. And, you know, the

14 compression or the neoprene or the rubber that was

15 being used made it just too hot. And what his

16 product didn't do is -- there weren't complaints

17 from the athletes that it was too hot or it was too

18 constricting.

19   Q. Do you recall when you started

20 hearing the phrase "cool compression"?

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        It was -- you know, I would have to 406 Filed 04/27/22 Page 57 of 371

22 say that it was probably in the neighborhood of

23 the -- you know, the mid to late 2000's. You know,

24 it was something that -- that was when it really

25 struck me. You know, again, I went down to Miami

01 in 2002. We had some -- we had some -- some of the

02 SWEAT IT OUT product that was already in inventory.

03 I was familiar with the SWEAT IT OUT products from

04 when we were -- when we were in Montreal. It was

05 in our inventory in Montreal, as well. But, you

06 know, when I got -- you know, when I got down to

07 Miami where I was outdoors in the heat that was

08 when it really struck me.

09   Q. Do you recall any of the players when

10 you first began using SWEAT IT OUT products for --

11 or -- strike that. Do you recall any of the first

12 players that began using SWEAT IT OUT garments when

13 you were at the Florida Marlins?

14   A. Yes. And, you know, one of the big

15 ones was Mike or Giancarlo Stanton. He went by

16 Mike Stanton at the time, but he had a chronic

17 hamstring injury. And SWEAT IT OUT products were

18 products that had, you know -- you know, they

19 profess the cool compression. It was -- they had

20 lower body products and upper body products. And I

21 really didn't have a lot of use for the upper body

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    products, but I found it to beDocument
                                   very useful 406
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23 lower body with people that were looking for a

24 little extra support.

25    Giancarlo Stanton was one of our outfields

01 and he was, you know -- you know, he's every bit of

02 6'7, 260 pounds. He's a big guy. And it was

03 something that he liked. He put it on and he liked

04 it. He wasn't complaining about the heat, the

05 neoprene. He liked the compression. It was giving

06 us the support we were looking for. And one of the

07 things his -- his products offered to us was it

08 provided this multidirectional support and wasn't

09 just strictly constricting, but it had a little bit

10 of give for the guys that were rotating. And

11 Giancarlo Stanton loved it. We had

12 Logan Morrison, who was one of our outfielders, he

13 was another big guy. And so often the problem that

14 we had with products that we were bringing in is

15 was that they were to -- they were too restrictive

16 and they were too hot. And, you know, both of

17 those guys really raved about it providing the

18 support we were looking for to provide and

19 providing the cool compression or not getting too

20 hot.

21    Q. And you said that the stadium moved

22 out in 2012. Do you recall if you began hearing

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        phrase "cool compression" before or406     Filed 04/27/22 Page 59 of 371
                                            after that

24 stadium --

25   A. Oh, no, there -- there was no

01 question it was before that. Again, you know,

02 Giancarlo Stanton played with us -- you know, he

03 came up and I'd have to look, 2008 or 2009, he

04 might have been in spring training -- not might

05 have been, he was in spring training before us.

06 How much I would have known -- I mean, I certainly

07 would have known about him but I wouldn't say

08 that -- but this was something that we started --

09 there's absolutely no doubt in my mind we started

10 using this product -- we were outdoors, so it was

11 the old stadium. And again, you equate the old

12 stadium to the years 2002 to 2012. But it wasn't

13 until really that crew came through that all off a

14 sudden, you know, the word was out and we were

15 using a product. It was a product that the players

16 liked. They were talking about it amongst

17 themselves within the clubhouse. And -- and so I

18 would probably say in the neighborhood of 2007/2008

19 just based on the players that were using it.

20   Q. Now, did you perceive any benefits to

21 the SWEAT IT OUT garments that were unique to

22 SWEAT IT OUT garments?

23   A. Say that again. I'm sorry, Ben.

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        Did you -- let me strike that. What 406 Filed 04/27/22 Page 60 of 371

25 benefits, if any, did you view the SWEAT IT OUT

01 products as having for the players?

02   A. Oh, I think I alluded to it a little

03 bit earlier. There were two very clear benefits

04 that we had. You know, we -- we were -- we were

05 using it kind of a preventative -- initially as a

06 preventive for people that had chronic-type

07 hamstring and lower body-type injuries, core

08 sports' hernias were real common.

09   We had another player by the name of

10 Chris Coghlan who had had a sports' hernia and, you

11 know, we put him in this and it was something that

12 provided the support that I needed as an athletic

13 trainer. I didn't just want to put a wrap on

14 somebody or put something on it that didn't provide

15 the support. And most importantly it was the

16 support that as they went through their running

17 movements and twisting movements that you see in --

18 in all -- all your baseball players, whether it's a

19 pitcher throwing or a hitter hitting, the

20 SWEAT IT OUT products provided that support that I

21 was looking for.

22   And then just as importantly it provided

23 the cool compression from the standpoint of not

24 being too tight, too constrictive, not holding the

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            in the body which a lot of the 406 Filed 04/27/22 Page 61 of 371

  01 neoprene-sleeved -- some of the other companies

  02 were providing -- it -- it -- it counteracted that

  03 or alleviated that concern.

  04   Q. So over what period of time while you

  05 were at the Marlins were players using

  06 SWEAT IT OUT products?

  07   A. What -- what I can tell you is based

  08 on the players that it was it would have been the

  09 last 2000's, mid-2000's. We had a little bit -- I

  10 saw -- I saw the product in Montreal. We had the

  11 product in Montreal. We didn't use it a lot in

  12 Montreal leading up to 2002. As we moved to the

  13 new stadium and down in Miami all of a sudden, you

  14 know, we had a lot of product that was on hand or

  15 already in inventory from the sale, and so we used

  16 some of that. But very clearly I know that we were

  17 using it and purchasing it regularly with the

  18 advent of Hanley Ramirez in 2006/2007;

  19 Chris Coghlan; Logan Morrison in like the

  20 2008/2009/2010 range.

  21   Q. So from the mid to late 2000 when

  22 players began using it under your watch, until you

  23 left in 2016, what years were players using

  24 SWEAT IT OUT garments?

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                                -- we were

03 using -- we were using it all the time. We --

04 again, a lot of times from a purchasing --

05 purchasing standpoint if I had a product that I

06 knew a player liked -- any product that I knew the

07 player liked -- we would order it and keep it

08 inventoried. So we were using it that entire time

09 because it was a product that as I mentioned -- you

10 know, serviced our needs both from a comfort

11 standpoint and a functional support standpoint. I

12 can't tell you because I don't have records to the

13 purchasing, but the bottom line is if we had some

14 in stock it was a durable material -- if we had

15 some in stock we didn't necessarily order more of

16 it. If I had the players that were utilizing it --

17 if I had their size in stock I usually didn't --

18 wouldn't order more.

19   Q. So you said players used SWEAT IT OUT

20 products --

21   A. I'm sorry, wouldn't necessarily order

22 more of it.

23   Q. So you said that players would use

24 the SWEAT IT OUT products. What was your role in

25 the players using SWEAT IT OUT products?

01   A. Well, our role was A. -- A.,

02 purchasing or providing it. But they would come to

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04 we would end up -- again, from the standpoint of

05 how we treat our injuries and how we treat the

06 players coming in, if it was something where we

07 thought it could benefit them both from a recovery

08 standpoint and then also an injury prevention

09 standpoint, a support standpoint while they're

10 doing rehab or maybe nursing it back it back to 100

11 percent; we were the ones they hey -- "hey, you

12 know, you might want to try this. We're looking to

13 put a little support and this is -- this is -- you

14 know, this is a product that we use or something

15 that we use and it should help, try it out." And

16 at the end of the day it would be the players would

17 either like it or not like it. And if they liked

18 they would continue to use it. If they didn't like

19 it we had to come up -- or didn't don't what they

20 needed it to do, we would have to come up with some

21 sort of alternative.

22    But a lot of times -- again, what we

23 found -- we would -- we would be the ones

24 suggesting that specific product for the purpose of

25 the -- addressing the injury component to it or the

01 functional component to it.

02    Q. Outside of player injuries did

03 players for the Marlins wear SWEAT IT OUT garments

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                                                                          Page 18 of 36
 Case
04  for2:18-cv-05623-MMB
        non-injury purposes? Document 406 Filed 04/27/22 Page 64 of 371

05   A. Yes, they would; for comfort

06 purposes. A lot of guys would come in and they

07 could come from -- might come from other

08 organization, they might come from our organization

09 or come up through the minor leagues, but at the

10 end of the day if -- if they had been exposed to

11 the product ahead of time there were people that

12 brought it in. Who they were, I wouldn't

13 necessarily -- couldn't necessarily tell you off of

14 recollection, but they could bring it in with them

15 and use it. And again, this was -- a lot of times

16 this was something we recommended, but sometimes we

17 didn't have to recommend it, the players that were

18 looking for compression may have already found what

19 they were looking for in SWEAT IT OUT product.

20   Q. So while you're at the Marlins did

21 you attend spring training with the team?

22   A. Yes, I did. Again, that was maybe --

23 it was hard -- when you asked earlier what the job

24 of an athletic trainer was it's all encompassing.

25 But that's certainly one of them. You're with the

01 team. You're covering -- you're covering the

02 sports. You're with the team all the time. You're

03 covering the games during the -- during the

04 season. But obviously our spring training facility

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 Case
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                Florida for six weeks, I'm there406
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06 there every day with the team throughout spring

07 training.

08   Q. And did you ever see Efraim Nathan at

09 the spring training events?

10   A. Occasionally we would. Basically I

11 would see Efraim always at the winter meetings;

12 occasionally he would come down to spring training.

13 I wouldn't be able to tell you exactly when. He

14 would let us know -- he might call and let us know

15 he was in town or circulating through. It -- it

16 might have happened a few times -- I know it

17 happened. How many times or what years it

18 happened, I couldn't tell you. I know it happened.

19   A lot of times we would -- he was based out

20 of Philadelphia, and a lot of times we would hit

21 him during the season. You know, being with the

22 Marlins in the National League East we would -- we

23 would go into Philadelphia three times. And of

24 those three times, we would always almost -- three

25 times a season -- we would almost always see him

01 once, sometimes twice. I would say -- I would say

02 we never saw him all three times -- all three trips

03 in. And that might -- and that might have to do

04 with whether or not he saw us in spring training.

05 If he saw us in spring training in March and then

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 Case
06  we2:18-cv-05623-MMB        Document
       saw him in April, he wouldn't         406 Filed 04/27/22 Page 66 of 371
                                     -- we probably

07 wouldn't, you know, whatever connect I guess for

08 lack of a better word.

09   Q. What was the nature -- what was the

10 nature of the conversations you would have --

11 strike that. Did you have conversations with

12 Mr. Nathan when you would come into town and he

13 would meet with you --

14   A. Yeah.

15   Q. -- or the team?

16   A. Yeah. When we'd come into town, you

17 know, a lot of it was we would -- you know, to some

18 extent we'd bring him into the training room. We'd

19 usually do it at a time when the players weren't

20 around; and the reason being is that we didn't

21 want, you know, players would all come in and say,

22 "Oh, I want two of those, three of those." So a

23 lot of it was -- was inventory control-type thing.

24 And so we would bring him in early and he -- he

25 would kind of go through the same thing. If there

01 were players around, he would go through almost the

02 some type of speech or -- or explanation of his

03 product showing us the stretchiness of it. You

04 know, we again, like to keep him away from players

05 from the standpoint of he would -- might -- might

06 take garments that they were wearing and have

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 Case
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    them -- have that individual Document
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08 garments and then he'd talk about the cool

09 compression component. Again, down in Miami that's

10 a -- it was always the selling point of his product

11 because we're dealing with heat all the time.

12   Q. Have you ever heard anyone else other

13 than Mr. Nathan refer to stretch technology of

14 SWEAT IT OUT garments as cool compression?

15   A. Not at that time I hadn't. While I

16 was the -- you know, while I was with the Marlins

17 at no point in time was there ever a -- ever an

18 indication where somebody was else using -- where I

19 thought someone else was using that. You know, he

20 came out with dri-fit terms and things like that.

21   But after -- after I got out I had noticed

22 a -- some signage in a DICK'S Sporting Goods about

23 SWEAT IT -- not about SWEAT IT OUT about the cool

24 compression. And my impression when that happened

25 was that Efraim had been bought out or made some

01 sort of deal with -- with Nike.

02   Q. You said signage, what products was

03 the signage for?

04   A. It was for the stretch products. It

05 was for undergarments; upper body, lower body

06 products.

07   Q. And you said Nike, is that the brand

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                                                                          Page 22 of 36
   Case
  08  of 2:18-cv-05623-MMB       Document 406 Filed 04/27/22 Page 68 of 371
         the garments that you saw?

  09   A. Pardon me?

  10   Q. You said Nike in your prior answer,

  11 is the Nike garments the brand that you were

  12 referring to?

  13   A. Yeah. That was the brand I was

  14 referring to.

3. Page 28:03 to 38:19 (Running 00:12:29.861)

  03   Q. You said that from mid -- sometime in

  04 mid to late 2000's is when the Marlins' players

  05 began using SWEAT IT OUT garments under your watch,

  06 is that correct?

  07   A. Correct.

  08   Q. From -- and you went to we went

  09 training -- sorry, you went to winter meeting for

  10 PBATS during that time onward as well, correct?

  11   A. Correct.

  12   Q. From that time until you retired in

  13 2016 from the Marlins, do you recall an annual

  14 meeting where the term "cool compression" was not

  15 used by Mr. Nathan in his presentation?

  16   A. That was a regular -- like I said,

  17 that was a regular presentation whether it happened

  18 in -- happened in the winter meetings when he was

  19 talking in front of everybody; whether it happened

  20 in the winter meetings when he was talking in his

                                                                   Total Number of Clips:1
                                                               Total Number of Segments:9
                                                           Total Running Time:00:42:11.417

                                                                            Page 23 of 36
 Case
21    2:18-cv-05623-MMB
    booth                         Document
          with the athletic trainers,         406-- ifFiled 04/27/22 Page 69 of 371
                                      or when we

22 he came down to spring training, or if we -- or if

23 we meet him in Philadelphia. It would be

24 referred -- you know, he would talk about

25 SWEAT IT OUT. He would talk about the stretchiness

01 of it. He would pull his material in every

02 direction to kind of show the quality of it and

03 then he -- and then he -- and he would refer to it

04 as cool compression without fail every time.

05   And -- and -- and, you know, it was one of

06 those things where at times it would be like well,

07 do we need -- you know, Efraim had reached out to

08 us and wants to meet us in Philadelphia as we're

09 going in. And I would -- usually my assistant

10 athletic trainer would help with -- Mike Kozak was

11 his name, and he would help with purchasing and a

12 lot -- and do a lot of the inventory and the

13 packing. And a lot of times it would be, "Hey do

14 we need -- do we need to go -- do we need to see

15 Efraim? How are we for supplies?" that type of

16 thing.

17   Q. While you were with the Marlins and

18 begun having players use SWEAT IT OUT garments, did

19 you handle the garments yourself?

20   A. Yes. Yes.

21   Q. How frequently?

                                                                     Total Number of Clips:1
                                                               Total Number of Segments:9
                                                          Total Running Time:00:42:11.417

                                                                               Page 24 of 36
 CaseA.2:18-cv-05623-MMB
22      Pardon me?       Document 406 Filed 04/27/22 Page 70 of 371

23   Q. How frequently?

24   A. Well, whatever -- whenever we needed

25 to hand it to the player basically or give it to

01 the player. You know, we would pull it out, it

02 would be in its packaging and we would pull it out

03 and make sure that we had the right size for the

04 individual. We had the individual try it on to

05 make sure that it fit and was providing the support

06 that we were looking for to support.

07   There might be somebody that was in between

08 sizes or didn't like the fit. At the end of the

09 day we needed the player to like the fit because if

10 the player didn't like the fit he wasn't going to

11 wear it. So we would have them try it on at that

12 time and we'd be a part of that process.

13   And then every now and then there might

14 be -- a piece of garment might be left somewhere or

15 thrown in the laundry or thrown in the laundry

16 basket or left somewhere to the point where they

17 wouldn't -- the clubhouse person wouldn't know

18 where -- wouldn't know where -- who it belonged or

19 where it belonged to and then I'd bring it back to

20 us and we might take it to them.

21   Q. And how would you know who to take it

22 to?

                                                                 Total Number of Clips:1
                                                             Total Number of Segments:9
                                                         Total Running Time:00:42:11.417

                                                                          Page 25 of 36
 CaseA.2:18-cv-05623-MMB
23      They had -- there was a Document
                                little tag on 406 Filed 04/27/22 Page 71 of 371

24 the inside of the garment. And on that tag we

25 would usually write a number -- the player's number

01 on that tag. And so we had to look at the tag to

02 identify -- that was kind of the identifying mark

03 of who it belonged to.

04   Q. Can you remember anything else about

05 what was on that tag?

06   A. Cool compression. SWEAT IT OUT might

07 have been on it. Cool compression was on it, as

08 well. Those two words were typically on it

09 somewhere.

10   Q. And did that presence of cool

11 compression of that tag change over the course of

12 your time with the Marlins?

13   A. No.

14   Q. Did you have opportunity over that

15 entire course to observe on a regular basis the

16 inside tag?

17   A. Yes. Again, any time that we handed

18 it out we were usually the one putting the number

19 on it. Because the one thing we didn't want to do

20 is have it thrown into a laundry up here and then

21 have it not be -- not know where it goes.

22   Q. If cool compression had only

23 appeared -- strike that. How can you be sure that

                                                                 Total Number of Clips:1
                                                             Total Number of Segments:9
                                                         Total Running Time:00:42:11.417

                                                                           Page 26 of 36
 Case
24    2:18-cv-05623-MMB
    cool                      Document
         compression was on there          406
                                  the entire time Filed
                                                  that 04/27/22 Page 72 of 371

25 you saw the garments at the Marlins?

01    A. Just recollection I guess is the best

02 way. You just saw it. It was on there. You saw

03 it. You were writing a number on it so you saw it.

04 And it was -- it just became recognizable with the

05 SWEAT IT OUT -- cool compression and

06 SWEAT IT OUT.

07    Q. What are the responsibilities of the

08 Marlins' equipment managers?

09    A. They're -- they're involved in

10 basically purchasing all things baseball. They

11 do -- they usually help in coordinate travel with

12 trucks and equipment trucks and transporting the

13 equipment. They're involved in the purchase of

14 baseballs, bats, uniforms, garments, uniforms,

15 undergarments; a lot of times shorts and T-shirts

16 are part of the -- part of the process as well as

17 far as cold weather gear, warm weather gear.

18 They're in charge or ordering all of that and then

19 distributing it to the players so that -- so that

20 in affect the team is, you know -- is in uniform.

21    They also go through -- you know, they

22 manage the clubhouse so they help with the food and

23 things like that, as well. It's just like athletic

24 trainers, their -- their role is all encompassing

                                                                 Total Number of Clips:1
                                                             Total Number of Segments:9
                                                         Total Running Time:00:42:11.417

                                                                          Page 27 of 36
 Case
25     2:18-cv-05623-MMB
    within the clubhouse. Document 406 Filed 04/27/22 Page 73 of 371

01   Q. And how often did you interact with

02 the equipment managers?

03   A. We interacted with them every day

04 regarding different things. But every day when we

05 would interact with them they -- there was the

06 equipment manager and there was also -- and he

07 usually had a staff of two, three, four people,

08 maybe bigger. But the interaction with them was

09 daily. When you went on the road the head

10 equipment manager was usually the one that

11 traveled. Only one person would go on the road and

12 it was usually the head equipment manager with the

13 Marlins; every now and then it might be one of his

14 associates.

15   Q. Was there a purpose to those

16 interactions?

17   A. Just -- a lot of it is just

18 communication. It's a matter of making sure --

19 there is -- a lot of times there was equipment --

20 you know, he had his budget, we had our budget. A

21 lot of times there was equipment that was -- that

22 might kind of fall in a gray area in between -- who

23 orders the shin guard that protects you against

24 fouling a ball off. Who orders the elbow guard

25 that protects you from getting hit by a pitch.

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                                                         Total Running Time:00:42:11.417

                                                                          Page 28 of 36
 CaseSo2:18-cv-05623-MMB
01                             Document
        he was always interested            406 Filed 04/27/22 Page 74 of 371
                                 in getting --

02 getting things that might fall under his guise as

03 uniform, sliding it over to our responsibility as

04 injury or protective gear for the purpose of

05 keeping his -- you know, the budget separate I

06 guess for the lack of a better word.

07   Q. Now, while you were at the Marlins

08 how did the -- how did Nike products fit into the

09 Marlins?

10   A. That -- that -- that fell -- the Nike

11 products typically fell under the guise of

12 John Silverman who was our head of equipment. And

13 the -- again, the -- when you start talking about

14 what his role was, anything that was being

15 distributed to all 32 players -- or when a player

16 got called -- all 25 players and seven coaches or

17 when a player got called up in the minor leagues

18 and they're giving him gear, it was his -- you

19 know, he was the one that was distributing that.

20 And so the Nike products fell under him typically

21 and so they might be getting something directly

22 from, you know, the Nike contact that they had.

23   The SWEAT IT OUT products and the cool

24 compression products coming from Efraim were

25 much -- (Unstable Internet) -- a function of it was

01 injury-related, one; and then two, he was looking

                                                                 Total Number of Clips:1
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                                                         Total Running Time:00:42:11.417

                                                                          Page 29 of 36
 Case
02  to 2:18-cv-05623-MMB
       protect his budget and notDocument
                                  have -- we 406  Filed 04/27/22 Page 75 of 371
                                             were --

03 when talked with -- you know, why we wanted to keep

04 Efraim away from the players to some extent, we

05 didn't want all -- have to purchase something for

06 all 32 players if it wasn't necessarily needed from

07 a cost standpoint.

08   Q. Now, how many of the years that you

09 were at the Marlins did the team have Nike gear?

10   A. I --I wouldn't know the answer to

11 that question. They had Nike gear in some form or

12 another. I mean, we were in -- we had Nike shirts

13 as part of our uniform for the athletic trainers.

14 Coaches had Nike shoe contracts, so there was Nike

15 gear in some form or another every year.

16   But they -- they had deals with

17 Major League Baseball where -- where the team were,

18 you know, distributing it and some of them were

19 exclusive. Other -- other people had deals that

20 were -- you know, a Rawlings guy might not be

21 allowed to wear Nike or something along -- or if an

22 Under Armour guy had a contract with Under Armour,

23 he wasn't allowed to necessarily wear Nike. So

24 some of the things that were visible had to be

25 closely monitored. And again, that fell -- really

01 fell under the department of the equipment manager.

02   Q. So you mentioned earlier coming upon

                                                                 Total Number of Clips:1
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                                                         Total Running Time:00:42:11.417

                                                                           Page 30 of 36
 Case
03    2:18-cv-05623-MMB
    some                      Document
         Nike clothing in DICK'S;          406that
                                  do you recall Filed 04/27/22 Page 76 of 371

04 testimony?

05   A. Yes. It was again, right after I got

06 out, so probably 2017. It was pretty quick.

07 Again, I --I -- I stepped down in April of 2016 and

08 it was within a year of stepping down; so 2016 or

09 2017.

10   Q. Did you say anything to Mr. Nathan at

11 the time?

12   A. No, I did not. Because I didn't

13 really have any interaction with him after I

14 stepped down. It was just something that I had --

15 I had made note of. And I know I would have said

16 something to him had I still been in the game

17 because I would have seen him, so I would have made

18 a statement to him. But I did not -- I didn't

19 speak with Efraim after I stepped down from the

20 Marlins.

21   Q. How long have you known about this

22 lawsuit?

23   A. Probably in the neighborhood of about

24 a year, year and a half. Maybe May of 2020; April,

25 May of 2020, right after COVID.

01   Q. So I'm sure you saw the DICK'S cool

02 compression signage before you found out about this

03 lawsuit?

                                                                 Total Number of Clips:1
                                                             Total Number of Segments:9
                                                         Total Running Time:00:42:11.417

                                                                          Page 31 of 36
 CaseA.2:18-cv-05623-MMB
04                                Document
        Oh, it was well -- it was well before 406 Filed 04/27/22 Page 77 of 371

05 that. I haven't -- I didn't -- I didn't -- I

06 didn't see -- I didn't know about the lawsuit until

07 just a year, year and a half ago. And I saw in the

08 DICK'S Sporting Goods it was right after -- right

09 after I had gotten out. And again, I resigned in

10 2016 and so it would have been within a year of

11 that no doubt in my mind.

12    Q. Do you recall which DICK'S Sporting

13 Goods this was?

14    A. Yeah. It was a DICK'S Sporting Goods

15 on -- in Wellington, Florida which is -- I'm

16 trying -- well, it's in Wellington. DICK'S

17 Sporting Goods in Wellington, Florida.

18    Q. And do you recall --

19    A. It may be West Palm Beach, but I

20 think the address is Wellington. So it's a local

21 one from where I'm at.

22    Q. Are there multiple DICK'S Sporting

23 Goods in that area?

24    A. No.

25    Q. Okay. So at that DICK'S Sporting

01 Goods do you recall where the signage was?

02    A. It was over near the apparel section.

03    Q. Was it men's apparel or women's

04 apparel?

                                                                 Total Number of Clips:1
                                                             Total Number of Segments:9
                                                         Total Running Time:00:42:11.417

                                                                           Page 32 of 36
   CaseA.2:18-cv-05623-MMB
  05      Men's apparel.   Document 406 Filed 04/27/22 Page 78 of 371

  06   Q. Do you recall anything about the

  07 signage?

  08   A. Just that it had the cool

  09 compression -- kind of the blue logo -- the black

  10 and blue wording and logo.

  11   Q. Do you recall how it was displayed on

  12 signage? In other words, was it on a hang-down

  13 display, on a table display, some other sort of

  14 display?

  15   A. No. It was on like -- kind of like a

  16 little table placarded display.

  17   Q. Was it on some sort of glossy paper

  18 or was it on some sort of --

  19   A. I couldn't tell you that.

4. Page 38:22 to 39:05 (Running 00:00:32.745)

  22   THE WITNESS: I couldn't tell you that in

  23 detail.

  24 BY MR. WAGNER:

  25   Q. Did you have any question in your

  01 mind at the time about that products' name having

  02 cool compression in their -- strike that. Were you

  03 unsure of whether that product with its cool

  04 compression signage was related to SWEAT IT OUT's

  05 garments when you saw it?

5. Page 39:10 to 39:22 (Running 00:00:38.321)

                                                                  Total Number of Clips:1
                                                              Total Number of Segments:9
                                                          Total Running Time:00:42:11.417

                                                                           Page 33 of 36
   CaseA.2:18-cv-05623-MMB
  10                              Document
          That was the reference that I made. 406 Filed 04/27/22 Page 79 of 371

  11 You know, the reference or the association that I

  12 made with it as I was walking by was that it was

  13 with the SWEAT IT OUT/cool compression. And again,

  14 specifically thought of Efraim at the time and his

  15 products thinking that maybe -- maybe he had been

  16 bought out or struck a deal or something like that

  17 with Nike.

  18   Q. What, if anything, do you recall

  19 thinking about -- strike that. Do you recall

  20 thinking about the composition of the clothing

  21 based on the term "cool compression" when you saw

  22 it?

6. Page 39:25 to 40:15 (Running 00:00:42.129)

  25   THE WITNESS: Again, I didn't necessarily

  01 make that association. It was just kind of -- I

  02 didn't pick up that material. I didn't look to

  03 stretch it out or do any of that stuff. I wasn't

  04 looking to buy it, so I really didn't -- it was

  05 nothing other than the -- the -- the -- seeing the

  06 sign and kind of making the association of the cool

  07 compression with the SWEAT IT OUT and with Efraim.

  08 And that was really the only association. It

  09 wasn't anything where I looked at it, checked it,

  10 made any reference as to whether or not it was

  11 actually SWEAT IT OUT -- actually SWEAT IT OUT

                                                                   Total Number of Clips:1
                                                               Total Number of Segments:9
                                                           Total Running Time:00:42:11.417

                                                                            Page 34 of 36
   Case
  12    2:18-cv-05623-MMB
      material                     Document 406 Filed 04/27/22 Page 80 of 371
               or anything like that.

  13   Q. Outside of that, do you associate

  14 cool compression with anybody other than Nike or

  15 SWEAT IT OUT?

7. Page 40:18 to 41:04 (Running 00:00:24.981)

  18   THE WITNESS: I really don't -- yeah, I

  19 don't even necessarily -- I associate it --

  20 associate the term cool compression with -- with

  21 the SWEAT IT OUT products and Efraim. That's how

  22 I've always -- that's just what I've associated it

  23 with.

  24 BY MR. WAGNER:

  25   Q. Do you -- strike that. Have you

  01 heard other companies refer to their products --

  02 other than this Nike example -- as cool compression

  03 in some way?

  04   A. No.

8. Page 41:08 to 41:09 (Running 00:00:07.940)

  08   Q. And how many compression brands have

  09 you seen in your time as a head athletic trainer?

9. Page 41:12 to 41:17 (Running 00:00:18.140)

  12   THE WITNESS: Numerous -- numerous --

  13 numerous brands and numerous types. There are --

  14 there are a lot of different manufacturers that

  15 come up with different types of compression --

  16 compression gear meant for recovery.

                                                                   Total Number of Clips:1
                                                               Total Number of Segments:9
                                                           Total Running Time:00:42:11.417
                                                                            Page 35 of 36
Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 81 of 371
17   MR. WAGNER: Your witness, Mr. Hynes.




                                                      Total Number of Clips:1
                                                  Total Number of Segments:9

                                              Total Running Time:00:42:11.417
                                                               Page 36 of 36
      Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 82 of 371

                             Designation Run Report




                     CunninghamCross


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                         Cunningham, Sean 08-25-2021
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                    Cross Examination by Mr. Hynes01:34:23
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                             Total Time01:34:23




ID:CunninghamCross
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 83 of 371

                                                     CunninghamCross

   Page/Line                                              Source                             ID

                                                                                       CunninghamCross.1
   41:19 - 44:7          Cunningham, Sean 08-25-2021 (00:03:18)
                         41:19 CROSS-EXAMINATION
                         41:20 BY MR. HYNES:
                         41:21 Q. Thank you, Mr. Cunningham. You seem
                         41:22 to have a pretty precise memory on some things. I
                         41:23 think one of the things that you said was that
                         41:24 Hanley Ramirez enjoyed using the Lontex products,
                         41:25 is that right?
                         42:1 A. Correct.
                         42:2 Q. Okay. I'd like -- and you're
                         42:3 confident in that testimony?
                         42:4 A. Yes.
                         42:5 Q. Okay. Could you please open the
                         42:6 documents that you have in front of you. It should
                         42:7 be like a little binder with a couple of tabs in
                         42:8 there.
                         42:9 A. Oh, it's got -- it's taped shut.
                         42:10 Hold on.
                         42:11 Q. Take your time. I'm sorry.
                         42:12 A. I have one binder, I believe.
                         42:13 Q. That's it. Yep.
                         42:14 A. Oh, okay.
                         42:15 Q. I'll try to be efficient with your
                         42:16 time here, sir.
                         42:17 A. Okay.
                                                                                            DX916.1
                         42:18 Q. Just let me know when you have the
                         42:19 binder out, Mr. Cunningham. I have one more
                         42:20 question.
                         42:21 A. I have the binder out.
                         42:22 Q. Okay. Perfect. So you -- I think
                         42:23 you also testified that players didn't find the
                         42:24 Lontex products too restrictive either, right?
                         42:25 A. Some did. Some -- some did.
                         43:1 Q. Okay. But not Mr. Ramirez?
                         43:2 A. Don't know for sure. The -- from the
                         43:3 standpoint of whether or not -- I didn't like using
                         43:4 it for upper body injuries because I found that to
                         43:5 be consistently too restrictive. I did like it for
                         43:6 lower body stuff; hamstrings, chronic hamstrings
                         43:7 and chronic hamstrings and chronic, you know, like



Cross Examination by Mr. Hynes
                                                                                    Page 2/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 84 of 371

                                                     CunninghamCross

   Page/Line                                              Source                              ID


                         43:8 the sports' hernia-type injury.
                         43:9 Q. Okay. Well, you testified earlier
                         43:10 that Mr. Hanley Ramirez did like the Lontex
                         43:11 products but --
                         43:12 A. I said he used the Log -- I believe I
                         43:13 said he used the products.
                         43:14 Q. I think you said he liked it, but if
                         43:15 you want to -- you want to clarify that?
                         43:16 A. I -- I -- again, with all of these
                         43:17 products and with the players sometimes they like
                         43:18 them and sometimes they don't.
                         43:19 Q. Yeah, but you said earlier today --
                         43:20 A. I would be more inclined to say --
                         43:21 Q. I'm sorry. Go ahead.
                         43:22 A. That's all right. Again, when you
                         43:23 start talking about specifics I'd be more inclined
                         43:24 to say I know -- I have an idea of some of the
                         43:25 players that were using them, not all of the
                         44:1 players that were using them. I know that
                         44:2 sometimes it wasn't unusual for a player that said
                         44:3 he liked something to stop using it. There was
                         44:4 also -- it wasn't unusual for people that said they
                         44:5 didn't like it to try -- try it again and like it.
                         44:6 Q. Yeah. And it's hard remember that
                         44:7 far back, isn't it?
                                                                                        CunninghamCross.2
   44:9 - 44:15          Cunningham, Sean 08-25-2021 (00:00:14)
                         44:9 BY MR. HYNES:
                         44:10 Q. I'm sorry, did you say -- is it hard
                         44:11 to remember that far back which players liked which
                         44:12 product or is it not hard for you?
                         44:13 A. I think -- I think that I need to be
                         44:14 careful about being specific about what I say
                         44:15 there.
                                                                                        CunninghamCross.3
   44:16 - 51:8          Cunningham, Sean 08-25-2021 (00:07:28)
                         44:16 Q. I think that's -- that's good advice.
                                                                                             DX916.3
                         44:17 Can you flip behind DX916 in your binder, sir?
                         44:18 A. 916?
                         44:19 Q. Yes, sir.
                         44:20 MR. WAGNER: Counsel, I have share screen
                         44:21 here. I don't know if you want that on the



Cross Examination by Mr. Hynes
                                                                                     Page 3/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 85 of 371

                                                     CunninghamCross

   Page/Line                                              Source                            ID


                         44:22 recording.
                         44:23 MR. HYNES: I really don't. But I'm
                         44:24 putting it up for your benefit, so...
                         44:25 VIDEOGRAPHER: This is Spencer, the
                         45:1 videographer. The document doesn't show up on --
                         45:2 MR. WAGNER: Spence, did you say the
                         45:3 document doesn't show up even when you do share
                         45:4 screen?
                         45:5 VIDEOGRAPHER: It does not come out on the
                         45:6 final video.
                         45:7 MR. WAGNER: Okay. That -- that solves the
                         45:8 problem.
                         45:9 MR. HYNES: Yeah, there -- there wasn't a
                         45:10 problem there, but thank you.
                         45:11 BY MR. HYNES:
                         45:12 Q. You can look at DX916,
                         45:13 Mr. Cunningham. And if you flip -- you see at the
                         45:14 beginning document which has a little number at the
                         45:15 bottom, it has 39533 in the bottom right-hand
                         45:16 corner.
                         45:17 A. Say that again, I'm sorry.
                                                                                           DX916.1
                         45:18 Q. Sure. So I'm showing you a document
                         45:19 that's been marked as DX916.
                         45:20 A. Okay. I'm looking at that.
                         45:21 (DX916 identified.)
                         45:22 Q. Yeah. Do you see at the bottom
                                                                                          DX916.1.1
                         45:23 right-hand corner there's a little box that says
                         45:24 "Lontex Corp. vs. Nike, Inc." and then it has the
                         45:25 number DX916 in the bottom right-hand corner?
                         46:1 A. Okay. I see that, yes.
                         46:2 Q. And then beneath that there's another
                         46:3 number, 39531.
                         46:4 A. Yes.
                         46:5 Q. Are you with me?
                         46:6 A. Yes.
                         46:7 Q. Okay. Now, what I want you to do is
                                                                                           DX916.3
                         46:8 go two pages in to 39533.
                         46:9 A. Okay.
                                                                                          DX916.3.1
                         46:10 Q. And do you see that it's an email
                                                                                          DX916.3.2
                         46:11 from Lontex to you and the subject matter is



Cross Examination by Mr. Hynes
                                                                                     Page 4/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 86 of 371

                                                    CunninghamCross

   Page/Line                                             Source                             ID

                                                                                          DX916.3.3
                         46:12 "Hanley Ramirez shoulder".
                         46:13 A. Okay.
                         46:14 Q. All right. Do you recognize that
                         46:15 email?
                         46:16 A. Yes.
                         46:17 Q. Okay. What is that email?
                         46:18 A. That's an email from me to Efraim
                         46:19 regarding -- regarding conversation -- or I guess
                         46:20 just regarding communication between him and I
                         46:21 regarding getting some SWEAT IT OUT material.
                         46:22 Q. Okay. And then can you turn -- turn
                                                                                           DX916.1
                         46:23 back to the first page of this document which is
                         46:24 39531 of Exhibit DX916. Are you with me?
                         46:25 A. Okay. Yes.
                                                                                          DX916.1.2
                         47:1 Q. So the at the bottom there's an email
                                                                                          DX916.1.3
                         47:2 from Lontex to you and it says, "Hi Sean. Just
                                                                                          DX916.1.4
                         47:3 wanted to follow-up and see if Hanley Ramirez tried
                         47:4 the improved posture compression shirts we sent out
                                                                                          DX916.1.5
                         47:5 to you back in February. If so, please let me know
                         47:6 what his experience was."; do you see that?
                         47:7 A. Yes.
                         47:8 Q. Now, he calls the shirts improved
                                                                                          DX916.1.6
                         47:9 posture compression shirt, doesn't he?
                         47:10 A. Yes.
                         47:11 Q. It doesn't say cool compression
                         47:12 shirts, right?
                         47:13 A. No, it does not.
                         47:14 Q. Okay. So when you testified earlier
                         47:15 that Hanley Ramirez wore cool compression shirts,
                         47:16 was that accurate?
                         47:17 A. I -- I -- cool compression products.
                         47:18 Q. Okay. So is it your testimony that
                         47:19 the improved posture compression shirt is a cool
                         47:20 compression product?
                         47:21 A. Not necessarily. Again, at the time
                         47:22 there were some companies coming out with what they
                         47:23 call "smart wear" that were designed for postural
                         47:24 improvements.
                         47:25 Q. Okay. But this is Lontex, right?
                         48:1 A. Yes.



Cross Examination by Mr. Hynes
                                                                                     Page 5/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 87 of 371

                                                      CunninghamCross

   Page/Line                                               Source                          ID


                         48:2 Q. Okay. So this is Lontex. And -- and
                         48:3 Efraim is the president of Lontex, right?
                         48:4 A. Yeah. I guess that's his role, yes.
                         48:5 Q. Well, you have look down at the end
                         48:6 of the email if you -- if you -- if you're not
                         48:7 sure.
                         48:8 A. Yes. I see it, yes.
                         48:9 Q. Okay. And so he's describing the
                         48:10 shirts he sent you for Hanley Ramirez not as cool
                         48:11 compression shirts but as improved posture
                         48:12 compression shirts, right?
                         48:13 A. Okay.
                                                                                         DX916.1.7
                         48:14 Q. And you reply to him, right -- you
                         48:15 reply, "Unfortunately Hanley did not like the
                         48:16 compression shirt.", right?
                         48:17 A. Right.
                         48:18 Q. Okay. So does that refresh your
                         48:19 recollection that contrary to your prior testimony
                         48:20 that Hanley Ramirez actually did not like the
                         48:21 Lontex product?
                         48:22 A. That particular product, yes.
                         48:23 Q. Okay. So your memory was a little
                         48:24 bit flawed about Hanley -- Hanley Ramirez, right?
                         48:25 A. Well, I think -- and again, I'm not
                         49:1 sure exactly what I said earlier, but I think I
                         49:2 was -- I thought I was pretty clear about the fact
                         49:3 that I liked and found that they liked the lower
                         49:4 body stuff much better than the upper body stuff.
                         49:5 Q. So is it your testimony that you
                         49:6 bought lower body products for Hanley Ramirez?
                         49:7 A. Yes.
                         49:8 Q. Okay. What lower body products did
                         49:9 you buy for Hanley Ramirez?
                         49:10 A. Hamstring -- the ones that the
                         49:11 players liked were basically the pant leg sleeves.
                         49:12 Q. Pant leg sleeves?
                         49:13 A. Yeah. They were pants and we had --
                         49:14 we had short and -- we had short and long pants.
                                                                                           clear
                         49:15 Q. Okay. Okay. Good. Let's get to
                         49:16 that. All right. One more question. I just --



Cross Examination by Mr. Hynes
                                                                                    Page 6/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 88 of 371

                                                     CunninghamCross

   Page/Line                                              Source                           ID


                         49:17 you said -- you testified earlier that you put the
                         49:18 player's number on the tags of their Lontex gear;
                         49:19 is that right?
                         49:20 A. That was usually how it was done,
                         49:21 yes.
                         49:22 Q. Okay. Is it your testimony that you
                         49:23 personally put the numbers on every single tag for
                         49:24 every single Lontex garment?
                         49:25 A. No.
                         50:1 Q. Whose job was that primarily?
                         50:2 A. It wasn't anyone's job, it was
                         50:3 just -- it was something that -- it might be
                         50:4 something I did, it might be something that the
                         50:5 equipment people did.
                         50:6 Q. Okay. So how many tags --
                         50:7 A. It might be something that the
                         50:8 assistant athletic trainer did, Mike Kozak. It
                         50:9 might be something that any one of the clubhouse
                         50:10 people might have done.
                         50:11 Q. Okay. So let's just -- let's divide
                         50:12 that up. Okay? So it's your testimony that
                         50:13 Mike Kozak -- is that what you said his name was?
                         50:14 A. Yeah. He was -- my assistant trainer
                         50:15 was Mike Kozak.
                         50:16 Q. Okay. So Mike Kozak might have put
                         50:17 the number on the tag, right?
                         50:18 A. Correct.
                         50:19 Q. For the Lontex product.
                         50:20 A. It's possible.
                         50:21 Q. Yep. And the clubhouse hands -- is
                         50:22 that what you said? I don't want to use the wrong
                         50:23 term.
                         50:24 A. Yeah. The clubhouse, the equipment
                         50:25 manager or some of his -- or some of the other
                         51:1 clubhouse personnel may have, as well.
                         51:2 Q. Okay. During your time at the
                         51:3 Marlins how many equipment mangers were there?
                         51:4 A. There was one.
                         51:5 Q. What was his name?
                         51:6 A. John Silverman.



Cross Examination by Mr. Hynes
                                                                                    Page 7/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 89 of 371

                                                    CunninghamCross

   Page/Line                                              Source                             ID


                         51:7 Q. Okay. So John Silverman may have
                         51:8 been the one who put the number on the tag?
                                                                                       CunninghamCross.4
   51:10 - 53:8          Cunningham, Sean 08-25-2021 (00:01:53)
                         51:10 THE WITNESS: He may have.
                         51:11 BY MR. HYNES:
                         51:12 Q. Yeah, okay. I'm just asking you
                         51:13 testified earlier that any number of people would
                         51:14 put numbers on the tag of the garments used by the
                         51:15 players, right?
                         51:16 A. That's certainly possible, yes.
                         51:17 Q. All right. And one of those people
                         51:18 is Mike Kozak, right?
                         51:19 A. Correct.
                         51:20 Q. Another one of those people is
                         51:21 John Silverman, right?
                         51:22 A. Correct.
                         51:23 Q. Who else worked in the clubhouse
                         51:24 that -- that put numbers on garment tags?
                         51:25 A. That number is -- it could have been
                         52:1 any one of the clubhouse personnel.
                         52:2 Q. How many clubhouse personnel worked
                         52:3 at the --
                         52:4 A. It's varied -- it's varied -- it's
                         52:5 varied from year to year. He usually had a staff
                         52:6 of three or four. That staff changed, as well.
                         52:7 Q. Every year? Did it change --
                         52:8 A. No, it didn't change every year, but
                         52:9 there were new people that came in.
                         52:10 Q. Okay. So you were -- how many -- can
                         52:11 you estimate for me how many clubhouse personnel
                         52:12 were there during your tenure -- tenure apart from
                         52:13 Mr. Kozak and Mr. Silverman?
                         52:14 A. Maybe -- maybe six to eight clubhouse
                         52:15 personnel.
                         52:16 Q. All right. So then that's a total of
                         52:17 11 different people that put the numbers on the
                         52:18 tags of the Lontex --
                         52:19 A. Yes.
                         52:20 Q. -- garments?
                         52:21 A. Yes. But it was usually -- it was



Cross Examination by Mr. Hynes
                                                                                    Page 8/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 90 of 371

                                                     CunninghamCross

   Page/Line                                              Source                              ID


                         52:22 usually myself or Mike Kozak.
                         52:23 Q. Okay.
                         52:24 A. Because we were the ones -- we were
                         52:25 the ones that were handing them the gear. And I'm
                         53:1 not saying we did it every time, but typically it
                         53:2 was us. That was kind of the first. Every now and
                         53:3 then something might slip through us in which case
                         53:4 if -- if -- if the clubhouse personnel recognized
                         53:5 it was a piece of equipment that didn't have a --
                         53:6 didn't have a number in it they might -- you know,
                         53:7 they might add the number. Because again, that was
                         53:8 the identification process.
                                                                                        CunninghamCross.5
   53:9 - 59:25          Cunningham, Sean 08-25-2021 (00:07:07)
                         53:9 Q. Okay. Can you go to the first
                                                                                             DX904.1
                         53:10 document in your binder there which is a document
                         53:11 that has DX904 on it?
                         53:12 A. Okay.
                                                                                            DX904.1.1
                         53:13 Q. Do you recognize this as an email
                                                                                            DX904.1.2
                         53:14 from Mr. Nathan to yourself? Mr. Cunningham?
                         53:15 A. Yes. I'm -- I'm reading the email.
                         53:16 Q. Okay, okay. Yeah. Go ahead.
                         53:17 A. Yeah, I do recognize that. Again,
                         53:18 just look -- at the end of the day, just looking at
                         53:19 the header it would say that it came to me and to
                         53:20 Mike Kozak and it's signed by Efraim so, yes.
                                                                                            DX904.1.3
                         53:21 Q. Okay. The subject line says,
                         53:22 "SWEAT IT OUT compression apparel". Do you see
                         53:23 that?
                         53:24 A. Yes.
                         53:25 Q. It doesn't say cool compression, does
                         54:1 it?
                         54:2 A. Correct.
                                                                                            DX904.1.4
                         54:3 Q. Okay. And then in the first sentence
                         54:4 there he says, "We have found that over the last 10
                         54:5 years compression apparel is available online" and
                         54:6 it goes on, right?
                         54:7 A. Correct.
                         54:8 Q. He doesn't say cool compression there
                         54:9 either, does he?
                         54:10 A. Correct.



Cross Examination by Mr. Hynes
                                                                                     Page 9/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 91 of 371

                                                    CunninghamCross

   Page/Line                                             Source                             ID

                                                                                          DX904.1.5
                         54:11 Q. And in the last sentence he says,
                         54:12 "Please review the attached brochure to review the
                         54:13 TRUE COMPRESSION, all capitals, that -- that true
                         54:14 compression, right?
                         54:15 A. Yes.
                         54:16 Q. Both words all caps, right?
                         54:17 A. Yes.
                         54:18 Q. Okay. He doesn't say cool
                         54:19 compression either?
                         54:20 A. Correct.
                         54:21 Q. But true rhymes with cool, doesn't
                         54:22 it?
                         54:23 A. I don't think of it that way, but --
                         54:24 Q. Both long U sounds; cool, true,
                         54:25 right?
                         55:1 A. I don't -- I don't associate it that
                         55:2 way.
                                                                                          DX904.1.6
                         55:3 Q. Okay. Can you -- and attached to it
                         55:4 as you can see this email attached says,
                         55:5 "Lontexbrochure2.pdf", right?
                         55:6 A. I'm sorry, say that one more time.
                         55:7 Q. Sure. If you look at the email under
                         55:8 attachments it ways, "Lontexbrochure2.pdf", right?
                         55:9 A. I'm not -- I'm not --
                         55:10 Q. No problem. Let me back up.
                         55:11 A. Yes, I do see that. I'm sorry, I do
                         55:12 that. I do see that.
                         55:13 Q. No problem.
                         55:14 A. Bear with me, I do you have trouble
                         55:15 focusing right now.
                         55:16 Q. No, no. I -- I should go more
                         55:17 slowly, Mr. Cunningham. I'm moving too fast. I'll
                         55:18 slow down. So it's definitely my fault. I
                         55:19 apologize.
                         55:20 So do you -- do you understand what
                         55:21 attachment means-- the word attachment means in the
                         55:22 top of an email like that?
                         55:23 A. Yes. Yes.
                         55:24 Q. Okay. So it says, "Lontex
                         55:25 brochure2.pdf", right?



Cross Examination by Mr. Hynes
                                                                                     Page 10/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 92 of 371

                                                       CunninghamCross

   Page/Line                                                 Source                         ID


                         56:1 A. Okay.
                                                                                           DX904.2
                         56:2 Q. Now, if you turn the page you're
                         56:3 going to see the attached brochure.
                         56:4 A. Okay.
                         56:5 Q. Do you recognize these two pages here
                         56:6 as a Lontex product brochure?
                         56:7 A. Yes.
                         56:8 Q. Okay. I just want to go through with
                         56:9 you briefly. So I'm looking at these two pages of
                                                                                           DX904.3
                         56:10 the brochure. And I'm just going -- I want you to
                         56:11 just walk through -- through this with me. So do
                         56:12 you know what SWEAT IT OUT is?
                         56:13 A. I'm not sure what you're asking.
                                                                                           DX904.2
                         56:14 Q. Do you know what -- have you ever
                         56:15 heard of the term "SWEAT IT OUT"?
                         56:16 A. Yes.
                         56:17 Q. Okay. What -- what does it mean to
                         56:18 you?
                         56:19 A. Means -- means what you do after you
                         56:20 have too much to drink one night -- but that's
                         56:21 not -- that's not necessarily -- I just always knew
                         56:22 his product to be SWEAT IT OUT.
                         56:23 Q. Okay. So you recognize that as a --
                         56:24 A. Yes.
                         56:25 Q. -- Lontex --
                         57:1 A. Absolutely. Yeah, his -- his product
                         57:2 was always -- always SWEAT IT OUT.
                         57:3 Q. All right. And then -- and then --
                         57:4 and then you testified earlier -- I thought you
                         57:5 testified that his product was also known as cool
                         57:6 compression?
                         57:7 A. Correct.
                         57:8 Q. Okay. So in this brochure do you see
                         57:9 SWEAT IT OUT in the brochure?
                         57:10 A. Yes.
                         57:11 Q. Okay. So if -- if I start on the
                                                                                          DX904.2.1
                         57:12 left-hand column here where it says, you know,
                         57:13 "900AK Performance Tights".
                         57:14 A. Yes.
                         57:15 Q. Are you with me on that left side?



Cross Examination by Mr. Hynes
                                                                                     Page 11/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 93 of 371

                                                   CunninghamCross

   Page/Line                                            Source                             ID


                         57:16 A. Yes.
                                                                                         DX904.2.2
                         57:17 Q. So you go down to the bottom of that
                         57:18 column, do you see two references to SWEAT IT OUT?
                         57:19 A. Yes. The sweatitout.com and the
                         57:20 SWEAT IT OUT with the logo.
                         57:21 Q. Right. And then if you go to the top
                                                                                         DX904.2.3
                         57:22 of the next column you see SWEAT IT OUT again,
                         57:23 right?
                         57:24 A. Correct.
                         57:25 Q. So that's three times. If you go
                         58:1 down that column you see the website there
                                                                                         DX904.2.4
                         58:2 SWEAT IT OUT, right?
                         58:3 A. Yes.
                         58:4 Q. That's four times. Then right below
                                                                                         DX904.2.5
                         58:5 that you see SWEAT IT OUT by Lontex Corp., right?
                         58:6 That's five times, right?
                         58:7 A. Right.
                         58:8 Q. And then below that you can see an
                                                                                         DX904.2.6
                         58:9 email address with sweatitout.com. So that's six
                         58:10 times, right?
                         58:11 A. Yes.
                                                                                         DX904.2.7
                         58:12 Q. And then if you fire over just to the
                         58:13 right-hand side there is two more SWEAT IT OUT's.
                         58:14 So seven and eight times, right?
                         58:15 A. Right.
                         58:16 Q. Just on this page. And then if you
                         58:17 go to the top of the right-hand column you see the
                                                                                         DX904.2.8
                         58:18 word TRUE COMPRESSION again, right?
                         58:19 A. Yes.
                         58:20 Q. All caps.
                         58:21 A. TRUE COMPRESSION, yes.
                         58:22 Q. And then below that you see the word
                                                                                         DX904.2.9
                         58:23 compression appears in the next three paragraphs
                         58:24 four times, correct?
                         58:25 A. I'm going to trust your math but,
                         59:1 yes.
                         59:2 Q. Okay. And there's actually another
                                                                                         DX904.2.10
                         59:3 SWEAT IT OUT in there I missed, so that's nine
                         59:4 times. But nowhere on here do you the words cool
                         59:5 compression, do you?



Cross Examination by Mr. Hynes
                                                                                    Page 12/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 94 of 371

                                                     CunninghamCross

   Page/Line                                              Source                              ID


                         59:6 A. No.
                                                                                             DX904.3
                         59:7 Q. All right. And if we go the next
                         59:8 page of this same brochure, you see SWEAT IT OUT
                                                                                            DX904.3.1
                         59:9 two more times in the bottom, one in each corner,
                         59:10 right?
                         59:11 A. Correct.
                                                                                            DX904.3.2
                         59:12 Q. Another TRUE COMPRESSION, in all
                         59:13 caps, in the bottom middle, right?
                         59:14 A. Yes.
                                                                                            DX904.3.3
                         59:15 Q. And then you can see Performance
                         59:16 Compression on the left-hand side; do you see that?
                         59:17 All caps -- just caps on the first letters.
                         59:18 A. Yes.
                         59:19 Q. But you don't see true -- excuse me,
                         59:20 cool compression anywhere on this page either?
                         59:21 A. Correct.
                         59:22 Q. But it's still your testimony that at
                         59:23 this time cool compression was what you associated
                         59:24 with the Lontex product, correct?
                         59:25 A. Correct.
                                                                                        CunninghamCross.6
    60:3 - 60:3          Cunningham, Sean 08-25-2021 (00:00:01)
                         60:3 MR. HYNES: He just said okay.
                                                                                        CunninghamCross.7
   60:4 - 66:16          Cunningham, Sean 08-25-2021 (00:07:05)
                         60:4 BY MR. HYNES:
                         60:5 Q. All right. Let's keep going. Let's
                                                                                             DX906.1
                         60:6 go to the tab DX906 in your binder, please, sir.
                         60:7 (DX906 identified.)
                         60:8 A. Okay.
                         60:9 Q. Let me know when you're there.
                         60:10 A. I think I'm there.
                         60:11 Q. Okay. So this is -- are you with me
                         60:12 on DX906, Mr. Cunningham?
                         60:13 A. I believe I am, yes.
                         60:14 Q. All right. So do you see at the
                                                                                            DX906.1.1
                         60:15 bottom email is from Mr. Nathan to yourself?
                         60:16 A. Correct.
                         60:17 Q. July 13, 2009?
                         60:18 A. Okay. Correct.
                                                                                            DX906.1.2
                         60:19 Q. And then at the top it's -- it's
                         60:20 another email from Mr. Nathan to yourself with an



Cross Examination by Mr. Hynes
                                                                                     Page 13/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 95 of 371

                                                     CunninghamCross

   Page/Line                                              Source                           ID


                         60:21 attachment this time that says, "Lontex Four-Panel
                         60:22 Brochure --
                         60:23 A. Okay.
                         60:24 Q. -- 11-2008".
                         60:25 A. Okay.
                         61:1 Q. Do you see that?
                         61:2 A. Yes.
                                                                                         DX906.1.4
                         61:3 Q. Okay. Now, in this top email you see
                         61:4 the word Lontex in the front line, right?
                         61:5 A. Yes.
                         61:6 Q. Okay. And then the email address is
                                                                                         DX906.1.5
                         61:7 @sweatitout.com, right?
                         61:8 A. Yes.
                                                                                         DX906.1.6
                         61:9 Q. And then the attachment you see the
                         61:10 word Lontex, right?
                         61:11 A. Correct.
                         61:12 Q. And then underneath Mr. Nathan's
                                                                                         DX906.1.7
                         61:13 title it says, "SWEAT IT OUT by Lontex, Corp."
                         61:14 A. Correct.
                         61:15 Q. Right? And then there's two more
                                                                                         DX906.1.8
                         61:16 references to SWEAT IT OUT in his auto signature
                         61:17 there; do you see that?
                         61:18 A. Oh, at the bottom.
                         61:19 Q. Yeah.
                         61:20 A. Yes.
                         61:21 Q. Okay. And there's no references to
                         61:22 cool compression in this top email, right?
                         61:23 A. Correct.
                                                                                         DX906.1.9
                         61:24 Q. Okay. And then in the bottom
                                                                                         DX906.1.10
                         61:25 email -- this is again from Mr. Nathan -- in the
                                                                                         DX906.1.11
                         62:1 third sentence he writes, "Choose the right
                         62:2 Performance Compression" with a capital P and a
                         62:3 capital C, garment to help players --
                         62:4 A. I'm not sure -- how, where are you
                         62:5 at? I'm sorry. I'm sorry.
                         62:6 Q. That's no problem. So can I take you
                         62:7 to the bottom email on this page, the second email.
                         62:8 A. Okay.
                         62:9 Q. Do you see it says July 13, 2009,
                         62:10 1:41 p.m.



Cross Examination by Mr. Hynes
                                                                                    Page 14/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 96 of 371

                                                     CunninghamCross

   Page/Line                                              Source                           ID


                         62:11 A. Yes.
                         62:12 Q. Okay. And if you go to the third
                         62:13 line in the text there it says, "Choose the right
                         62:14 Performance Compression garment to help your
                         62:15 players make it through", right?
                         62:16 A. I see that.
                         62:17 Q. With a capital P and a capital C,
                         62:18 right?
                         62:19 A. Yes.
                         62:20 Q. Okay. So he's offering Performance
                         62:21 Compression garments to you, right?
                         62:22 A. Correct.
                         62:23 Q. He's not offering cool compression
                         62:24 garments to you, is he?
                         62:25 A. Not in this -- not in this email, no.
                         63:1 Q. Okay. In fact, if you go down a
                                                                                         DX906.1.12
                         63:2 couple more lines Performance Compression with a
                         63:3 capital P and a capital C is referenced three more
                         63:4 times, right?
                         63:5 A. Right.
                         63:6 Q. Tights; short; long-sleeve, right?
                         63:7 A. Yes.
                         63:8 Q. And he's not offering you cool
                         63:9 compression products here, is he?
                         63:10 A. No. That's not what it states, no.
                         63:11 Q. Okay. And do you see again -- I'm
                                                                                         DX906.1.13
                         63:12 directing your attention back to the top of the
                         63:13 page where it says attachment, "Lontex Four-Panel
                         63:14 Brochure"; do you see that?
                         63:15 A. Lontex Four -- yes, I do.
                         63:16 Q. Okay. And so now I'm going to take
                                                                                          DX906.3
                         63:17 you to the attachment. Okay? So if you turn the
                         63:18 page in your binder you're going to see a two-page
                         63:19 brochure.
                         63:20 A. Yes.
                         63:21 Q. All right. If we -- and this -- this
                         63:22 is the brochure that corresponds with the 11/2008
                         63:23 attachment, right?
                         63:24 A. 11/2000 --
                         63:25 Q. Yep. If you go back and look at the



Cross Examination by Mr. Hynes
                                                                                    Page 15/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 97 of 371

                                                   CunninghamCross

   Page/Line                                            Source                            ID


                         64:1 prior email.
                         64:2 A. July 13th? The July 13th? There's a
                         64:3 July --
                         64:4 Q. Yes, sir.
                         64:5 A. Okay. Yeah.
                         64:6 Q. Okay. I just want to make sure
                         64:7 you're with me. Now, if you look at the left-hand
                                                                                        DX906.3.1
                         64:8 column of the first page of this brochure --
                         64:9 A. Yes.
                         64:10 Q. -- you see Performance Compression
                         64:11 shirts, right?
                         64:12 A. Yes.
                                                                                        DX906.3.3
                         64:13 Q. And then there's some pictures of
                         64:14 shirts up there, right?
                         64:15 A. Yes.
                         64:16 Q. Are those the shirts that you
                         64:17 described as cool compression earlier?
                         64:18 A. Yeah. Those -- those are similar
                         64:19 shirts to what -- and again, the upper body stuff
                         64:20 body I didn't order nearly as much of but, yes.
                                                                                        DX906.3.1
                         64:21 Q. Okay. And then we have another
                         64:22 reference on the right-hand side to
                                                                                        DX906.3.2
                         64:23 TRUE COMPRESSION again in all caps; do you see
                         64:24 that?
                         64:25 A. Yes.
                         65:1 Q. What's -- do you know what the
                         65:2 difference is between TRUE COMPRESSION and cool
                         65:3 compression?
                         65:4 A. The -- what do you mean do I know the
                         65:5 difference?
                         65:6 Q. Well, you described Mr. Nathan's
                         65:7 products as cool compression products before.
                         65:8 A. That -- that was how he described
                         65:9 them, yes --
                         65:10 Q. Okay.
                         65:11 A. -- when he was giving -- giving the
                         65:12 different, you know, the speech and things like
                         65:13 that.
                         65:14 Q. So he's describing it as true -- his
                         65:15 products as TRUE COMPRESSION in this pamphlet.



Cross Examination by Mr. Hynes
                                                                                   Page 16/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 98 of 371

                                                   CunninghamCross

   Page/Line                                            Source                               ID


                         65:16 He's also describing them as Performance
                         65:17 Compression. I'm asking you, do you know what the
                         65:18 difference is between Performance Compression,
                         65:19 TRUE COMPRESSION and cool compression?
                         65:20 A. Well, cool compression was -- was --
                         65:21 was kind of how he referred to it and from the
                         65:22 standpoint of -- when he was giving his different,
                         65:23 you know, sales pitches I guess for lack of a
                         65:24 better word. He would usually -- I mean, the
                         65:25 compression was there. Cool compression was a term
                         66:1 that he used when he was doing that.
                         66:2 Q. Well, did you think he was referring
                         66:3 to products that are different from the ones that
                         66:4 are advertised in this brochure?
                         66:5 A. No, no. I mean it's hard for me to
                         66:6 say but, no. Not at the time I don't believe so.
                         66:7 Q. All right. Again --
                         66:8 VIDEOGRAPHER: This is Spencer the
                         66:9 videographer, we have lost Mr. Wagner.
                         66:10 MR. HYNES: Okay. I'm going to -- we're
                         66:11 just going to have to take a little break off the
                         66:12 record, Mr. Cunningham, until Mr. Wagner joins
                         66:13 because that's the right --
                         66:14 THE WITNESS: Okay.
                         66:15 MR. HYNES: -- thing to do. Okay?
                         66:16 THE WITNESS: Okay.
                                                                                       CunninghamCross.8
  66:23 - 68:12          Cunningham, Sean 08-25-2021 (00:02:10)
                         66:23 VIDEOGRAPHER: Back on the record. Time is
                         66:24 3:31 p.m.
                         66:25 BY MR. HYNES:
                         67:1 Q. Okay. Okay. Sorry. Mr. Cunningham,
                                                                                           DX906.3.2
                         67:2 can we go back to the brochure that we were looking
                         67:3 at which was attached to the email and attachment
                         67:4 that we marked as DX906.
                         67:5 A. Okay.
                         67:6 Q. All right. Are you -- are -- let me
                         67:7 see. All right. So we've been through the first
                         67:8 page. Have you looked at the second page yet? Can
                                                                                            DX906.4
                         67:9 I ask you to turn to the second page.
                         67:10 A. Okay.



Cross Examination by Mr. Hynes
                                                                                    Page 17/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 99 of 371

                                                  CunninghamCross

   Page/Line                                           Source                                ID


                         67:11 Q. Do you see that at top where it
                                                                                           DX906.4.1
                         67:12 says -- top left it says, "1900 Performance
                         67:13 Shorts"?
                         67:14 A. Yes.
                                                                                           DX906.4.2
                         67:15 Q. And if you scroll down to the bottom
                         67:16 of that column it says, "This Performance
                         67:17 Compression short helps prevent injuries from
                         67:18 occurring"; do you see that?
                         67:19 A. Yes.
                         67:20 Q. Okay. So do you see that Lontex is
                         67:21 describing that short as a Performance Compression
                         67:22 short and not a cool compression short?
                         67:23 A. Yes.
                         67:24 Q. Okay. And then again, we have the
                                                                                           DX906.4.3
                         67:25 all caps TRUE COMPRESSION in the middle of the
                         68:1 bottom page of the second page of the brochure,
                         68:2 right?
                         68:3 A. Yes.
                         68:4 Q. And it doesn't say cool compression
                         68:5 there either, does it?
                         68:6 A. No.
                         68:7 Q. Okay. So is it fair to say that this
                         68:8 particular brochure references SWEAT IT OUT 13
                         68:9 times; compression without the word cool twice;
                         68:10 Performance Compression twice; TRUE COMPRESSION
                         68:11 twice, and cool compression zero times?
                         68:12 A. Yes.
                                                                                       CunninghamCross.9
  68:13 - 70:14          Cunningham, Sean 08-25-2021 (00:03:36)
                         68:13 Q. All right. Let's go -- let's go to
                         68:14 the next document, sir, which is marked as -- hang
                         68:15 on -- DX907 is the next document in your binder I
                         68:16 think.
                         68:17 A. Okay.
                         68:18 Q. And do you -- actually, we can skip
                         68:19 that one, sir, I'm sorry. If you could go to -- if
                                                                                            DX913.1
                         68:20 you could go to the document that's DX913. We'll
                         68:21 skip a little bit ahead.
                         68:22 (DX913 identified.)
                         68:23 A. I think I'm there, yes.
                         68:24 Q. Do you recognize this as an email



Cross Examination by Mr. Hynes
                                                                                    Page 18/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 100 of 371

                                                     CunninghamCross

   Page/Line                                              Source                            ID


                         68:25 exchange between you and Mr. Nathan?
                         69:1 A. Yes.
                                                                                           DX913.2
                         69:2 Q. All right. Now, if you turn the
                         69:3 page -- this is DX913 -- if you turn to the back
                                                                                          DX913.2.1
                         69:4 you're going to see a SWEAT IT OUT logo back here;
                         69:5 do you see that?
                         69:6 A. Okay.
                                                                                          DX913.2.2
                         69:7 Q. And what are the words are kind of
                         69:8 above the sun there?
                         69:9 A. Cool performance wear.
                         69:10 Q. So it says, "cool performance wear",
                         69:11 it doesn't say "cool compression", right?
                         69:12 A. Yes.
                         69:13 Q. So Mr. Nathan's added the phrase to
                         69:14 his logo cool performance wear; do you recall that?
                         69:15 A. Yes.
                         69:16 Q. Do you recall any other phrases that
                         69:17 Mr. Nathan used with the word cool besides cool
                         69:18 performance wear and cool compression?
                         69:19 A. Not specifically, no.
                                                                                           DX913.1
                         69:20 Q. Okay. So it's now 2011 Sorry, this
                         69:21 email was sent in 2012. Do you recall Mr. Nathan
                         69:22 ever sending you an email or a brochure with the
                         69:23 words cool compression in them before 2012?
                         69:24 A. No, I do not.
                         69:25 Q. So your memory of his use of cool
                         70:1 compression is limited to oral -- oral
                         70:2 presentations that you testified that you heard him
                         70:3 give, is that right?
                         70:4 A. Correct.
                         70:5 Q. None of the marketing material he
                         70:6 gave contained the words cool compression, right?
                         70:7 A. None of the marketing material, no.
                         70:8 Q. None of the emails he sent?
                         70:9 A. I thought -- I thought there was cool
                         70:10 compression on tags.
                         70:11 Q. You thought?
                         70:12 A. A recollection.
                         70:13 Q. Okay. We'll get to that, sir.
                         70:14 A. Okay.



Cross Examination by Mr. Hynes
                                                                                     Page 19/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 101 of 371

                                                   CunninghamCross

   Page/Line                                            Source                                 ID

                                                                                        CunninghamCross.10
  70:15 - 73:11          Cunningham, Sean 08-25-2021 (00:03:17)
                                                                                             DX915.1
                         70:15 Q. Can we now go to DX915 in the binder?
                         70:16 (DX915 identified.)
                         70:17 A. Okay.
                         70:18 Q. Hang on for one second, I'm sorry.
                         70:19 A. Mm-hmm.
                         70:20 Q. All right. So do you recognize this
                                                                                            DX915.1.1
                         70:21 as another email from Mr. Nathan to you?
                         70:22 A. Yes.
                         70:23 Q. And the re line is "Skin Rash
                         70:24 Problems", right?
                         70:25 A. Yes.
                         71:1 Q. All right. Now, if we go down the
                                                                                            DX915.1.2
                         71:2 email do you see there's all caps in the word
                         71:3 SOLUTION with italics?
                         71:4 A. Yes.
                         71:5 Q. Excuse me -- yeah. Okay. Sorry, not
                         71:6 italics. Parentheses. Right above that he writes,
                                                                                            DX915.1.3
                         71:7 "This problem is related to socks, T-shirts,
                         71:8 compression garments, underwear and equipment made
                         71:9 with latex and rubber", right?
                         71:10 A. Yes.
                         71:11 Q. Okay. And he's referring to other
                         71:12 compression garments when he is talking about that,
                         71:13 right?
                         71:14 A. Let me look and reread.
                         71:15 Q. Sure. Yeah. Take your time.
                         71:16 A. Yeah. No, I don't want to speak for
                         71:17 Efraim and what Efraim's saying in the email.
                         71:18 Q. That's a fair question.
                         71:19 A. Yeah.
                         71:20 Q. So why don't you review it and my
                         71:21 question -- I'll withdraw the question and ask you
                         71:22 a different one which is, did you understand
                         71:23 Mr. Nathan to be referring to non-Lontex
                         71:24 compression garments when he said --
                         71:25 A. Yes.
                         72:1 Q. Okay.
                         72:2 A. Yes.
                         72:3 Q. All right. Thank you. And then he



Cross Examination by Mr. Hynes
                                                                                     Page 20/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 102 of 371

                                                     CunninghamCross

   Page/Line                                              Source                               ID


                         72:4 says, "Solution"; do you see that?
                         72:5 A. Yes.
                                                                                            DX915.1.4
                         72:6 Q. And he says, "The only garment to
                         72:7 wick moisture away for the life of the garment is
                         72:8 made from cool max fabric."
                         72:9 A. Okay.
                         72:10 Q. Do you remember I just asked you
                         72:11 whether you'd ever -- could ever recall Mr. Nathan
                         72:12 using the word cool other than cool compression and
                         72:13 cool performance wear?
                         72:14 A. Yes.
                         72:15 Q. Yeah. And you said you couldn't
                         72:16 remember him using the word cool to describe
                         72:17 anything else, right?
                         72:18 A. Right.
                         72:19 Q. Okay. But here he is using it to
                         72:20 describe his own garments cool -- with cool max
                         72:21 fabric, right?
                         72:22 A. Year.
                         72:23 Q. Do you ever recall him saying cool
                         72:24 max?
                         72:25 A. No. Not with the -- not with the
                         73:1 repetition that he did cool compression.
                         73:2 Q. Mm-hmm. And then the next sentence
                                                                                            DX915.1.5
                         73:3 says, "Results and healthy skin cool max dries
                         73:4 faster than any other fiber forever", right?
                         73:5 A. Right.
                         73:6 Q. And that's important for the heat,
                         73:7 right; for it to dry faster?
                         73:8 A. Yes.
                         73:9 Q. Okay. We can move on from that
                         73:10 document, sir. Bear with me for one second.
                         73:11 A. Mm-hmm.
                                                                                        CunninghamCross.11
  73:12 - 76:20          Cunningham, Sean 08-25-2021 (00:03:27)
                         73:12 Q. Okay. So the email we just looked at
                         73:13 was DX915. It was dated 3/19/2012. And now I'd
                                                                                             DX919.1
                         73:14 like to direct your attention to DX919 which is an
                                                                                            DX919.1.1
                         73:15 email from Mr. Nathan to you dated February 15,
                         73:16 2013.
                         73:17 (DX919 identified.)



Cross Examination by Mr. Hynes
                                                                                     Page 21/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 103 of 371

                                                    CunninghamCross

   Page/Line                                             Source                             ID


                         73:18 A. Okay.
                                                                                           DX919.1
                         73:19 Q. Does this email look familiar to you?
                         73:20 A. Yes. Familiar in the sense that it's
                         73:21 sent to me and my email address so, yes.
                         73:22 Q. Yeah. And also it's kind of the
                         73:23 exact same email -- or pretty much the same email
                         73:24 he sent to you a year prior that we just looked at,
                         73:25 right?
                         74:1 A. Correct.
                                                                                          DX919.1.2
                         74:2 Q. Okay. And he says again underneath
                                                                                          DX919.1.3
                         74:3 solution -- he again referenced the cool max
                                                                                          DX919.1.4
                         74:4 fabric?
                         74:5 A. Correct.
                         74:6 Q. Do you see that?
                         74:7 A. Yes.
                                                                                          DX919.1.5
                         74:8 Q. And then he again says, "Cool max
                         74:9 dries faster than any other fiber", right?
                         74:10 A. Yes.
                         74:11 Q. So that also was a phrase that he
                         74:12 repeatedly used containing the word cool, isn't it?
                         74:13 A. In these two emails, yes.
                         74:14 Q. Okay. Let's go to the next document.
                                                                                           DX920.1
                         74:15 This is DX920.
                         74:16 (DX920 identified.)
                         74:17 A. Okay.
                         74:18 Q. Do you recognize DX920 from
                                                                                          DX920.1.1
                         74:19 Mr. Nathan to you dated March 21, 2013?
                         74:20 A. Yes.
                         74:21 Q. Okay. And then in the third
                                                                                          DX920.1.2
                         74:22 paragraph he says, "The compression garments by
                         74:23 SWEAT IT OUT made in the USA will do just that and
                         74:24 much more"; do you see that?
                         74:25 A. Yes.
                         75:1 Q. And he doesn't use the words cool
                         75:2 compression there either, does he?
                         75:3 A. Correct.
                         75:4 Q. Okay. And then if we -- he --
                                                                                          DX920.1.3
                         75:5 actually is directing you to some specific
                         75:6 products, isn't he?
                         75:7 A. Correct. Yes.



Cross Examination by Mr. Hynes
                                                                                     Page 22/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 104 of 371

                                                     CunninghamCross

   Page/Line                                              Source                               ID

                                                                                            DX920.1.4
                         75:8 Q. And he calls the first product
                         75:9 Performance Compression back support shorts, right?
                         75:10 A. Correct.
                         75:11 Q. Not cool compression?
                         75:12 A. Correct.
                                                                                            DX920.1.5
                         75:13 Q. The third one says, "Performance
                         75:14 Compression, thigh; groin; hip and knee support",
                         75:15 right? Also not cool compression, right?
                         75:16 A. Correct.
                                                                                            DX920.1.6
                         75:17 Q. And the next one is improved posture
                         75:18 compression short-sleeve -- shirt short-sleeve,
                         75:19 right?
                         75:20 A. Correct.
                         75:21 Q. Also not cool compression?
                         75:22 A. Correct.
                                                                                            DX920.1.7
                         75:23 Q. And then it says, "Arm supporter
                         75:24 compression sleeve", also not cool compression,
                         75:25 right?
                         76:1 A. Correct.
                                                                                            DX920.1.8
                         76:2 Q. Next one, "Elbow supporter sleeve",
                         76:3 also not cool compression?
                         76:4 A. Correct.
                         76:5 Q. Did you buy any of these products?
                         76:6 A. We probably didn't. I can't say for
                         76:7 sure. I -- I can't answer because we -- sometimes
                         76:8 we got some stuff on -- as samples, sometimes we
                         76:9 purchased some. So without looking at records I
                                                                                              clear
                         76:10 wouldn't be able to tell you for sure.
                         76:11 Q. Okay. So we've gone over a bunch of
                         76:12 emails where Mr. Nathan is advertising his products
                         76:13 to you and brochures where he's advertising to you,
                         76:14 and in not one of them has he used the phrase "cool
                         76:15 compression", right?
                         76:16 A. Correct.
                         76:17 Q. But your testimony is that he's
                         76:18 repeatedly used the phrase "cool compression" at
                         76:19 the PBATS conferences, correct?
                         76:20 A. Correct.
                                                                                        CunninghamCross.12
   76:21 - 81:1          Cunningham, Sean 08-25-2021 (00:04:45)
                                                                                             DX923.1
                         76:21 Q. All right. Let's go to the DX923.



Cross Examination by Mr. Hynes
                                                                                     Page 23/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 105 of 371

                                                    CunninghamCross

   Page/Line                                             Source                             ID


                         76:22 Do you recognize DX923 as an email from Mr. Nathan
                                                                                          DX923.1.2
                         76:23 to you dated January 9 --
                         76:24 A. Yes.
                         76:25 Q. -- 2014? Okay. And he says -- and
                                                                                          DX923.1.3
                         77:1 also he's copied Mike Kozak also, correct?
                         77:2 A. In almost all of them he did.
                         77:3 (DX923 identified.)
                         77:4 Q. Okay. And you guys work together at
                         77:5 the --
                         77:6 A. Yeah. He was my assistant athletic
                         77:7 trainer, correct.
                         77:8 Q. Okay. Thank you for reminding me.
                                                                                          DX923.1.4
                         77:9 And he writes, "Sean and Mike, it was exciting to
                         77:10 see you at PBATS in Orlando this past December"; do
                         77:11 you see that?
                         77:12 A. Yes.
                         77:13 Q. Okay. So that's December 2013,
                         77:14 correct?
                         77:15 A. Correct.
                         77:16 Q. And your testimony here today is that
                         77:17 you -- I want to make sure I wrote this down -- you
                         77:18 said, "Without fail every time Mr. Nathan used the
                         77:19 phrase cool compression at the PBATS conferences",
                         77:20 right?
                         77:21 A. Correct.
                         77:22 Q. Okay. So this is a month after
                         77:23 the -- a month or less after the PBATS conference
                         77:24 that occurred in December of 2013 when he's writing
                         77:25 this email, right?
                         78:1 A. Yes.
                         78:2 Q. Okay. In the second sentence he
                                                                                          DX923.1.5
                         78:3 says, "Thank you for continuing to purchase
                         78:4 SWEAT IT OUT Performance Compression apparel",
                         78:5 right?
                         78:6 A. Yes.
                         78:7 Q. So even though your testimony is he
                         78:8 consistently used cool compression a month earlier,
                         78:9 he describes his apparel as Performance Compression
                         78:10 in this email, right?
                         78:11 A. Yes.



Cross Examination by Mr. Hynes
                                                                                     Page 24/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 106 of 371

                                                    CunninghamCross

   Page/Line                                             Source                            ID


                         78:12 Q. Could I direct your attention,
                                                                                          DX927.1
                         78:13 Mr. Cunningham, to DX926. I'm sorry, DX927 is what
                         78:14 I would like you to turn to.
                         78:15 (DX927 identified.)
                         78:16 A. Okay.
                         78:17 Q. Did you say the PBATS conferences are
                         78:18 typically in December each year?
                         78:19 A. Yes.
                         78:20 Q. Okay. All right. So this is an
                                                                                         DX927.1.1
                         78:21 email -- do you recognize this as an email from
                         78:22 Mr. Nathan to you in January of 2015?
                         78:23 A. Yes.
                         78:24 Q. Okay. I want to direct your
                                                                                         DX927.1.2
                         78:25 attention to the attachments line. Remember at the
                         79:1 top of the email; do you see that?
                         79:2 A. Yes.
                         79:3 Q. It says, "MLB
                         79:4 Performanecompression.docx; compression socks and
                         79:5 leggings..x and Lontex brochure2014
                         79:6 finalNathan.pdf"; do you see that?
                         79:7 A. Yes.
                         79:8 Q. Okay. In this email today he wants
                         79:9 to the make a suggestion to you about purchasing
                         79:10 certain products, right?
                         79:11 A. Yes.
                         79:12 Q. Okay. And he talks about -- he says,
                                                                                         DX927.1.3
                         79:13 "Attached you will find a photo catalog of our
                         79:14 styles, a list of styles and descriptions of the
                         79:15 advantage for each style, and see as compression
                         79:16 socks style", right?
                         79:17 A. Yes.
                                                                                         DX927.1.4
                         79:18 Q. And then he has a suggested order for
                         79:19 you below, correct?
                         79:20 A. Yes.
                                                                                         DX927.1.5
                         79:21 Q. Okay. This first one is the
                         79:22 double-ply thigh groin hip support shorts, right?
                         79:23 A. Yes.
                         79:24 Q. Doesn't call that cool compression,
                         79:25 does he?
                         80:1 A. Not in this email, no.



Cross Examination by Mr. Hynes
                                                                                    Page 25/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 107 of 371

                                                     CunninghamCross

   Page/Line                                              Source                               ID


                         80:2 Q. Not in this email. Not in any of the
                         80:3 emails, right?
                         80:4 A. Okay.
                                                                                            DX927.1.6
                         80:5 Q. Yeah. And the second one says,
                         80:6 "Double-ply thigh; groin; hip support Capri with
                         80:7 knee stabilizer", right?
                         80:8 A. Right.
                         80:9 Q. Okay. No cool compression there
                         80:10 either, right?
                         80:11 A. Correct.
                                                                                             DX927.3
                         80:12 Q. Okay. Let's go to the attachment
                         80:13 which you will be able identify -- and this is an
                         80:14 attachment to DX927. If you look at the number on
                         80:15 the bottom right-hand side it says 7847. Let me
                         80:16 know when you're there.
                         80:17 A. I don't -- I don't see -- I've got
                         80:18 the --
                         80:19 Q. Oh, you're right. I'm sorry. Let me
                         80:20 apologize, Mr. Cunningham. I'm going to have to
                         80:21 ask you to look at the screen for these
                         80:22 attachments.
                         80:23 A. Okay.
                         80:24 Q. They were advertently omitted from
                         80:25 your binder.
                         81:1 A. Okay.
                                                                                        CunninghamCross.13
   81:2 - 86:15          Cunningham, Sean 08-25-2021 (00:05:31)
                         81:2 Q. We'll start at the top here, sir.
                         81:3 A. Okay.
                         81:4 Q. This says at the top of this
                         81:5 attachment which is the list -- it -- it looks like
                         81:6 a list of styles and descriptions of the advantage
                         81:7 of each style.
                         81:8 A. Okay.
                         81:9 Q. Does that make sense?
                         81:10 A. I'm following you. Mike, just bear
                         81:11 with me because this is a little harder for me to
                         81:12 follow. But, yes, I do you see that.
                         81:13 Q. We're going to go slow. Okay? I'm
                         81:14 not going -- Val won't move anything unless you say
                         81:15 you're ready to do so. Okay?



Cross Examination by Mr. Hynes
                                                                                     Page 26/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 108 of 371

                                                   CunninghamCross

   Page/Line                                            Source                              ID


                         81:16 A. Okay.
                         81:17 Q. All right. So at the top it says,
                                                                                          DX927.3.1
                         81:18 "SWEAT IT OUT Performance Compression" and that's
                         81:19 the title of all of these -- that's the title on
                         81:20 the top of all of these product descriptions,
                         81:21 right?
                         81:22 A. Yes.
                         81:23 Q. It doesn't say "cool compression" it
                         81:24 says "Performance Compression", right?
                         81:25 A. Correct.
                         82:1 Q. And did you ever hear him say,
                         82:2 "Performance Compression" at PBATS?
                         82:3 A. Maybe on occasion. I can't say
                         82:4 specifically because again, I just always
                         82:5 associated with -- with cool compression. That's
                         82:6 what stood out and seemed to happen more regularly.
                         82:7 And I can't say he didn't call it Performance
                         82:8 Compression he may have.
                         82:9 Q. He may have. All right. So here it
                         82:10 says, "Performance Compression" once at the top
                         82:11 right?
                         82:12 A. Yes.
                                                                                          DX927.3.2
                         82:13 Q. And then we -- then right below it it
                         82:14 says, "Performance Compression shorts", right?
                         82:15 A. Yes.
                         82:16 Q. That's two Performance Compressions,
                                                                                          DX927.3.3
                         82:17 right? And then right below that it says, "Full
                         82:18 length Performance Compression tights". So that's
                         82:19 three references to Performance Compression so far,
                         82:20 right?
                         82:21 A. Correct.
                                                                                          DX927.3.4
                         82:22 Q. All right. Then you're going to see
                         82:23 in the underlying -- so do you see, Mr. Cunningham,
                         82:24 the underlined sentence there?
                         82:25 A. Yes.
                         83:1 Q. "This is the best compression short
                         83:2 for baseball"?
                         83:3 A. Yes.
                         83:4 Q. Okay. He doesn't use the word cool
                         83:5 there, right?



Cross Examination by Mr. Hynes
                                                                                     Page 27/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 109 of 371

                                                     CunninghamCross

   Page/Line                                              Source                           ID


                         83:6 A. Correct.
                         83:7 Q. Okay. Two more references to
                         83:8 compression there without the word cool, right?
                         83:9 A. Correct.
                         83:10 Q. And they're describing his products,
                         83:11 correct?
                         83:12 A. Correct.
                                                                                          DX927.4
                         83:13 Q. Okay. Let's go to the next page. We
                                                                                         DX927.4.1
                         83:14 have another long-sleeve compression shirt where
                         83:15 he's describing his product without using the word
                         83:16 cool, correct?
                         83:17 A. Correct.
                         83:18 Q. Okay. And then the next one says,
                                                                                         DX927.4.2
                         83:19 "Improved posture short-sleeve compression shirt",
                         83:20 right?
                         83:21 A. Correct.
                         83:22 Q. No cool in that title, right?
                         83:23 A. Correct.
                         83:24 Q. And then the sentence right under
                                                                                         DX927.4.3
                         83:25 that it says, this capital "Performance", capital
                         84:1 "Compression shirt" to describe that product,
                         84:2 right?
                         84:3 A. Correct.
                         84:4 Q. It doesn't say cool compression,
                         84:5 right?
                         84:6 A. Correct. I'm sorry.
                         84:7 Q. And then if you -- if you look all
                                                                                         DX927.4.4
                         84:8 the way to the right we see that logo again and we
                                                                                         DX927.4.5
                         84:9 do have the word cool there but it doesn't say cool
                                                                                         DX927.4.6
                         84:10 compression it says, "cool performance wear",
                         84:11 right?
                         84:12 A. Right.
                         84:13 Q. And that's part of his logo, right?
                         84:14 A. Correct.
                         84:15 Q. Do you think that Mr. Nathan might
                         84:16 have said cool performance wear and Performance
                         84:17 Compression at PBATS and not cool compression?
                         84:18 A. Certainly possible, but not my
                         84:19 recollection.
                         84:20 Q. All right. Can you scroll down.



Cross Examination by Mr. Hynes
                                                                                    Page 28/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 110 of 371

                                                    CunninghamCross

   Page/Line                                             Source                           ID


                         84:21 Again we have reference to compression there;
                                                                                        DX927.4.7
                         84:22 compression shirt without a cool, right?
                         84:23 A. Correct.
                                                                                        DX927.4.8
                         84:24 Q. And the first sentence says again,
                         84:25 capital P "Performance", capital C "Compression
                         85:1 shirt" without the word cool, right?
                         85:2 A. Correct.
                         85:3 Q. Okay. Keep going. Very next product
                                                                                        DX927.4.9
                         85:4 again. Performance Compression but not cool
                         85:5 compression, right?
                         85:6 A. Correct.
                         85:7 Q. And then on the right -- if you just
                         85:8 look directly on the right there's a reference to
                                                                                        DX927.4.10
                         85:9 cool power and cool air.
                         85:10 A. Okay.
                         85:11 Q. Have you ever heard of them -- those
                         85:12 phrases used by Lontex?
                         85:13 A. Not -- not familiar with them, no.
                         85:14 Q. But they're right here in this
                         85:15 product description document though?
                         85:16 A. Yes, they are.
                                                                                         DX927.5
                         85:17 Q. All right. Let's go to the next
                                                                                        DX927.5.1
                         85:18 page. Compression socks and leggings. And if you
                                                                                        DX927.5.2
                         85:19 look under knee-high compression socks it says,
                         85:20 "Gradient compression socks"; do you see that?
                         85:21 A. Yes.
                         85:22 Q. It doesn't say, "Cool compression
                         85:23 socks", right?
                         85:24 A. Right.
                         85:25 Q. Do you know what gradient compression
                         86:1 socks means?
                         86:2 A. No.
                                                                                        DX927.5.3
                         86:3 Q. All right. And then you see cool max
                         86:4 again appears right there, right?
                         86:5 A. Yes.
                         86:6 Q. And then right to the right we see
                                                                                        DX927.5.4
                         86:7 that logo again with cool performance wear, right?
                         86:8 A. Correct.
                         86:9 Q. But no cool compression here either?
                         86:10 A. Correct.



Cross Examination by Mr. Hynes
                                                                                   Page 29/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 111 of 371

                                                    CunninghamCross

   Page/Line                                             Source                                ID


                         86:11 Q. All right. And then, Mr. Cunningham,
                                                                                            DX927.5.5
                         86:12 you'll see again cool max; again cool power and
                         86:13 again cool air, but again, no cool compression,
                         86:14 right?
                         86:15 A. Correct.
                                                                                        CunninghamCross.17
  86:16 - 87:25          Cunningham, Sean 08-25-2021 (00:02:27)
                         86:16 Q. This is going to be really hard for
                         86:17 you, I know. So I'm -- I'm going to try to make it
                         86:18 easier for you. All right?
                         86:19 A. Okay.
                                                                                             DX927.6
                         86:20 Q. Okay. Just to go back to the -- to
                         86:21 remind you. This is attached to the January 21,
                         86:22 2015 email that was sent, you know, the month after
                         86:23 your PBATS meeting.
                         86:24 A. Okay.
                         86:25 Q. If we go all the way to the right we
                                                                                            DX927.6.1
                         87:1 see TRUE COMPRESSION, again, right?
                         87:2 A. Right.
                         87:3 Q. But we don't see any reference to
                         87:4 cool compression, do we?
                         87:5 A. I don't, no.
                         87:6 Q. I'm going to make this easy -- I'm
                         87:7 going to make this a little -- I'm going to
                         87:8 short-circuit this because I know this is hard for
                                                                                             DX927.7
                         87:9 you to see. Second page, halfway through, in the
                                                                                            DX927.7.1
                         87:10 middle of the page, do you see there it says,
                         87:11 "TRUE COMPRESSION" again?
                         87:12 A. Right.
                                                                                            DX927.7.2
                         87:13 Q. And on the top left-hand corner of
                         87:14 the screen there it says, "This Performance
                         87:15 Compression short helps prevent injuries from
                         87:16 occurring" on the left-hand side all the way -- all
                         87:17 the way above the logo.
                         87:18 A. Yeah, I see it there. Yeah, "This
                         87:19 Performance Compression short helps prevent
                         87:20 injuries"; I see that.
                         87:21 Q. Yeah. So again, Mr. Nathan is
                         87:22 describing his products as Performance Compression
                         87:23 and TRUE COMPRESSION but not cool compression,
                         87:24 right?



Cross Examination by Mr. Hynes
                                                                                     Page 30/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 112 of 371

                                                      CunninghamCross

   Page/Line                                               Source                            ID


                         87:25 A. Yes.
                                                                                      CunninghamCross.14
  88:1 - 105:25          Cunningham, Sean 08-25-2021 (00:20:11)
                         88:1 Q. All right. Let's go to 931 in your
                                                                                           DX931.1
                         88:2 binder, Mr. Cunningham. Thankfully I think that
                         88:3 will be the end of that.
                         88:4 (DX931 identified.)
                                                                                          DX931.1.1
                         88:5 A. Okay. I'm there.
                         88:6 Q. Okay. Do you recognize this as a
                                                                                          DX931.1.2
                         88:7 email from Mr. Nathan to yourself copied to
                         88:8 Mike Kozak?
                         88:9 A. Yes.
                         88:10 Q. And he's sending you samples, right?
                         88:11 A. Correct.
                                                                                          DX931.1.3
                         88:12 Q. And this is February 2016, right?
                         88:13 A. Yes.
                         88:14 Q. Now, did your -- did your tenure with
                         88:15 the Marlins end after the season or was it before
                         88:16 the end of --
                         88:17 A. It was actually April.
                         88:18 Q. April.
                         88:19 A. April of '16, yes.
                         88:20 Q. Okay. So this is February so you
                         88:21 were with the club for about two more months?
                         88:22 A. Yeah. Not quite that, six weeks,
                         88:23 yes.
                         88:24 Q. About six more weeks, okay. Do you
                         88:25 recall your last interaction with Mr. Nathan as a
                         89:1 member of the Marlins' club?
                         89:2 A. No, I do not.
                         89:3 Q. Okay. Do you another whether or not
                         89:4 this email exchange was your last interaction
                         89:5 with --
                         89:6 A. It may -- it may -- I don't know for
                         89:7 sure. It may very well have been. Our interaction
                         89:8 wasn't -- usually revolved around, you know, once
                         89:9 in -- you know, the winter meetings followed by
                         89:10 maybe spring training followed by Philadelphia
                         89:11 trips during the season. So this very well may
                         89:12 have been the last interaction, but I don't know
                         89:13 that for sure.



Cross Examination by Mr. Hynes
                                                                                   Page 31/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 113 of 371

                                                    CunninghamCross

   Page/Line                                             Source                            ID


                         89:14 Q. Okay. That's fair. So again we have
                         89:15 Mr. Nathan describing his products for you, right?
                         89:16 A. Yes.
                                                                                         DX931.1.4
                         89:17 Q. And number one, he says compression
                         89:18 socks, right?
                         89:19 A. Yes.
                         89:20 Q. Doesn't use the word cool, correct?
                         89:21 A. Correct.
                                                                                         DX931.1.5
                         89:22 Q. Number two he -- he -- he is talking
                         89:23 about legging mid-thigh compression and he doesn't
                         89:24 use the word cool, right?
                         89:25 A. Correct.
                                                                                         DX931.1.6
                         90:1 Q. And the third one says, "Performance
                         90:2 Compression" but he doesn't use the word cool
                         90:3 either, right?
                         90:4 A. Correct.
                                                                                           clear
                         90:5 Q. All right. Now, when was the next
                         90:6 time you talked to Mr. Nathan, communicated with
                         90:7 him in any way after February --
                         90:8 A. Yeah. We -- we -- to be honest --
                         90:9 after I -- after I stepped down we had very few
                         90:10 communications. There was -- and when I say few,
                         90:11 he -- he sent me a text or -- or called me, one of
                         90:12 the two, right after I stepped down just wanted to
                         90:13 make sure that everything was okay. And so that
                         90:14 would have been very early in April of 2016. And
                         90:15 there was no -- no further communication with him
                         90:16 until he contacted me in 2020 to see if I'd --
                         90:17 basically just reaching out just saying that there
                         90:18 was a -- you know, that the lawsuit was going on;
                         90:19 that he was having problems with -- with -- with
                         90:20 Nike.
                         90:21 Q. And what did he -- what did he say to
                         90:22 you about those problems?
                         90:23 A. Just that -- that he was suing Nike
                         90:24 and would I be willing to testify.
                         90:25 Q. Okay. Did he tell you why he was
                         91:1 suing Nike?
                         91:2 A. Yes, he did. Just that there was --
                         91:3 that he was a little guy suing -- trying to go with



Cross Examination by Mr. Hynes
                                                                                    Page 32/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 114 of 371

                                                     CunninghamCross

   Page/Line                                              Source                           ID


                         91:4 the big guy. That they were stealing his -- you
                         91:5 know, thought -- he felt they were stealing his
                         91:6 idea with the SWEAT IT OUT products and the cool
                         91:7 compression.
                         91:8 Q. Do you think Nike was stealing his
                         91:9 idea?
                         91:10 A. I had already thought, as I mentioned
                         91:11 in that trip in 2016 -- stealing his idea, I don't
                         91:12 know if that's the right word. But I had thought
                         91:13 that Nike had made some sort of arrangement with
                         91:14 him based on that DICK'S visit back in what was
                         91:15 probably 2016.
                         91:16 Q. That -- that DICK'S visit five years
                         91:17 ago?
                         91:18 A. Yes.
                         91:19 Q. Let's talk about the DICK'S visit for
                         91:20 a second. You said it was in Palm Beach?
                         91:21 A. West Palm Beach. The store is
                         91:22 actually out in -- I don't know if it's a West Palm
                         91:23 Beach address or a Wellington address.
                         91:24 Q. Okay. What were you shopping for?
                         91:25 A. I -- I -- I am a basketball -- I was
                         92:1 coaching high school basketball so I was going in
                         92:2 there for some scorebooks.
                         92:3 Q. Just some scorebooks?
                         92:4 A. Yes.
                         92:5 Q. What brought you to the apparel
                         92:6 section?
                         92:7 A. It was just on the way in. It's --
                         92:8 again, we were in the store. I had my son with me
                         92:9 I believe and then -- it was just in the store.
                         92:10 Nothing took me to the apparel section, I was just
                         92:11 walking. Nothing specific took me there.
                         92:12 Q. Where in the DICK'S is this -- is
                         92:13 the -- is the scoreboard section?
                         92:14 A. The scorebook section wouldn't be --
                         92:15 depending on -- it's Belvedere -- Belvedere Road on
                         92:16 one side and -- and I think it's Sansbury on the
                         92:17 opposite side. So it's a northwest -- there's a
                         92:18 northwest and an east/south. And basically if you



Cross Examination by Mr. Hynes
                                                                                     Page 33/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 115 of 371

                                                    CunninghamCross

   Page/Line                                             Source                            ID


                         92:19 go into the northwest -- if you go into the
                         92:20 north -- what would be the north entrance of it,
                         92:21 the scorebooks would be over on the west side where
                         92:22 the apparel section is like straight ahead.
                         92:23 Q. Is it more than one floor?
                         92:24 A. Two floors.
                         92:25 Q. It's two floors, right?
                         93:1 A. Yes.
                         93:2 Q. Yeah. So did you need to take the
                         93:3 escalator?
                         93:4 A. No.
                         93:5 Q. Because there is an escalator in
                         93:6 there, right?
                         93:7 A. Yes, there is, to get to the second
                         93:8 floor.
                         93:9 Q. Yeah. But you didn't need -- you
                         93:10 didn't need -- you didn't need to go there?
                         93:11 A. No. Not for -- not for -- I don't --
                         93:12 I don't recall specifically. I do not think I
                         93:13 would need to go there. I recollect the sign being
                         93:14 on the first floor in the apparel section, and then
                         93:15 I was heading over to the left. I don't believe I
                         93:16 went to the upper floor that day. But I -- I can't
                         93:17 tell you for sure.
                         93:18 Q. Okay. So if you're -- if you're
                         93:19 walking down -- well, is the floor plan of that
                         93:20 DICK'S Sporting Goods arranged so that there is
                         93:21 kind of main walkways --
                         93:22 A. Yes.
                         93:23 Q. -- that would take you through the
                         93:24 floor?
                         93:25 A. Yes.
                         94:1 Q. And then the apparel section will be
                         94:2 a little more -- well, there will be less room
                         94:3 where the apparel is showcased, right?
                         94:4 A. Yes.
                         94:5 Q. Okay. So did you see the -- you
                         94:6 know, the sign that you saw was that in the apparel
                         94:7 section or was that in some kind of display along
                         94:8 one of those walkways?



Cross Examination by Mr. Hynes
                                                                                     Page 34/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 116 of 371

                                                     CunninghamCross

   Page/Line                                               Source                          ID


                         94:9 A. It was -- I saw it off the walkway.
                         94:10 Q. All right. So it wasn't prominently
                         94:11 displayed on the walkway, is that fair?
                         94:12 A. Yeah. I -- I don't know what you
                         94:13 mean by prominently displayed, but --
                         94:14 Q. Let me -- let me make it a little bit
                         94:15 easier to understand. All right. So you walk into
                         94:16 DICK'S Sporting Goods and there's a walkway, you
                         94:17 know, straight ahead, right, that takes you into
                         94:18 the store?
                         94:19 A. Correct.
                         94:20 Q. All right. And then in the middle of
                         94:21 that way they sometimes have like display cases of
                         94:22 products that they just want put there for the
                         94:23 people to see on the way in, right?
                         94:24 A. Right.
                         94:25 Q. Okay. Was the sign you saw one of
                         95:1 those displays?
                         95:2 A. No. It was -- it was -- it was off
                         95:3 the -- it was off the main walkway and I saw it,
                         95:4 but I -- like I -- as I mentioned earlier, I didn't
                         95:5 go in it or even -- I wasn't there for apparel so I
                         95:6 didn't really investigate or go further or go into
                         95:7 the apparel section.
                         95:8 Q. All right. So how far away was the
                         95:9 sign from you when you saw it?
                         95:10 A. Hard to say. It's just hard to say.
                         95:11 Was it 15 feet? It wasn't that far. It wasn't
                         95:12 that far, but it wasn't right on the -- it wasn't
                         95:13 right on the main walkway.
                         95:14 Q. Okay. And what color -- what color
                         95:15 was the sign?
                         95:16 A. Hard to say.
                         95:17 Q. Okay.
                         95:18 A. Again, you're kind of -- and I get
                         95:19 everything that's at stake and everything else, but
                         95:20 it was -- it was there. It was off to the right
                         95:21 and I saw it. And my recollection of seeing it
                         95:22 was, "Oh, look, the -- Efraim must have struck a
                         95:23 deal" because it was the cool compression kind of



Cross Examination by Mr. Hynes
                                                                                     Page 35/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 117 of 371

                                                     CunninghamCross

   Page/Line                                              Source                          ID


                         95:24 logo there on that sign.
                         95:25 Q. Okay. What color --
                         96:1 A. It would have been a white -- and
                         96:2 again, I'm under oath so I want to the careful what
                         96:3 say, but it would have been like a white sign
                         96:4 with -- kind of the logo and the cool compression
                         96:5 coming across in like a black or blue; and then I
                         96:6 headed over to the left to where I was going.
                         96:7 Q. Just trying -- I'm sorry that I
                         96:8 wasn't there and we don't have a picture of it, so
                         96:9 I'm going to have to keep asking you some questions
                         96:10 about the logo.
                         96:11 A. Yes.
                         96:12 Q. So you said -- when you say the logo
                         96:13 do you mean the swoosh?
                         96:14 A. No. It was like the cool compression
                         96:15 words.
                         96:16 Q. Okay. So it wasn't a logo it was
                         96:17 just the words cool compression?
                         96:18 A. Right.
                         96:19 Q. Were they stacked on top of one
                         96:20 another or was it like in a sentence?
                         96:21 A. Like in a sentence coming across.
                         96:22 Q. All right. So cool compression
                         96:23 across the sign, right?
                         96:24 A. Correct.
                         96:25 Q. And was it a white sign?
                         97:1 A. Yes.
                         97:2 Q. And what color were the letters?
                         97:3 A. Like a black -- it had like a black
                         97:4 and a blue tint to it. Like a black with a blue --
                         97:5 maybe blue trim or blue with a black trim.
                         97:6 Q. You mean like a round -- I'll just
                         97:7 use the C. Like the C had black around it and the
                         97:8 blue was in the middle or like blue was on the
                         97:9 outside and black --
                         97:10 A. Again, I don't -- it's hard for me to
                         97:11 say.
                         97:12 Q. Okay.
                         97:13 A. I wasn't looking at it specifically,



Cross Examination by Mr. Hynes
                                                                                    Page 36/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 118 of 371

                                                     CunninghamCross

   Page/Line                                               Source                          ID


                         97:14 Michael. I was walking by it, I saw it. The
                         97:15 association that I made was the cool compression
                         97:16 and I immediately made it with Efraim's product.
                         97:17 And that was kind of the association -- the
                         97:18 association that I made. And I didn't think
                         97:19 anything of it. Never brought it up. Never did
                         97:20 anything after that because I just went about my
                         97:21 business. But my thinking at the time was, "Oh,
                         97:22 Efraim made -- you know, got a deal with Nike and
                         97:23 got himself put into a DICK'S Sporting Goods".
                         97:24 Q. Yeah. I heard you say that earlier.
                         97:25 A. That wasn't how he -- that's wasn't
                         98:1 really how he sold his stuff in my -- in my
                         98:2 dealings with him.
                         98:3 Q. No, it isn't. So other than -- I'm
                         98:4 sorry, I want to make sure I got this. So do you
                         98:5 remember whether it was the black on the -- black
                         98:6 trim in blue or blue in --
                         98:7 A. Yeah. That's what I'm saying, I
                         98:8 don't remember that.
                         98:9 Q. All right. So other than the words
                         98:10 cool compression in a sentence on a sign -- what
                         98:11 else was on the sign?
                         98:12 A. There was a -- there was a Nike
                         98:13 swoosh.
                         98:14 Q. Oh, there was a swoosh?
                         98:15 A. Because I knew -- well, I knew -- I
                         98:16 knew it was a Nike product. So -- so whether there
                         98:17 was swoosh or whether it just with -- or whether it
                         98:18 was on a -- or whether it was on a stand that had a
                         98:19 Nike swoosh next to it, above it -- but the
                         98:20 association that I made was that it was a Nike
                         98:21 product.
                         98:22 Q. Okay. So the Nike swoosh might have
                         98:23 been on a different sign next to cool compression?
                         98:24 A. Or above it or just with Nike gear.
                         98:25 Q. Okay. Well, did you look at the
                         99:1 gear?
                         99:2 A. No. That's what I'm saying.
                         99:3 Q. All right. So the Nike swoosh was on



Cross Examination by Mr. Hynes
                                                                                     Page 37/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 119 of 371

                                                    CunninghamCross

   Page/Line                                             Source                          ID


                         99:4 a different sign than the cool compression?
                         99:5 A. That's what I'm saying, I don't know
                         99:6 whether it was on that sign or next to that sign,
                         99:7 but I connected the two.
                         99:8 Q. Okay. In your head you connected the
                         99:9 two. All right. Did you -- but you didn't go look
                         99:10 at the garment?
                         99:11 A. No, I did not.
                         99:12 Q. All right. Is that the only time you
                         99:13 ever saw the words cool compression in a --in a
                         99:14 store?
                         99:15 A. Yes.
                         99:16 Q. All right. Just that one time? That
                         99:17 one instance? That one --
                         99:18 A. Correct.
                         99:19 Q. -- off the -- off the runway on your
                         99:20 way to get the scoreboard?
                         99:21 A. Correct.
                         99:22 Q. Did you say anything to your son
                         99:23 about Mr. Nathan at that time?
                         99:24 A. No. No, I did not. He didn't know
                         99:25 Efraim.
                         100:1 Q. I hear ya, yeah. All right. Okay.
                         100:2 I want to take you now, sir -- well, let me go
                         100:3 back. So Mr. Nathan called you -- do you remember
                         100:4 when -- when he called you? Like I know -- so let
                         100:5 me make sure we have this right. We have the
                         100:6 February 2016 email that may have been your
                         100:7 communication with Mr. Nathan while you were a
                         100:8 member of the Marlins, right?
                         100:9 A. Yes.
                         100:10 Q. And then after you left the Marlins
                         100:11 he checked in just to make sure everything was
                         100:12 cool, right?
                         100:13 A. Yes.
                         100:14 Q. And that was the next time you spoke
                         100:15 to him after --
                         100:16 A. And it was very -- it was very
                         100:17 shortly after I had stepped down, yes.
                         100:18 Q. Makes sense. Very kind of him. And



Cross Examination by Mr. Hynes
                                                                                   Page 38/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 120 of 371

                                                     CunninghamCross

   Page/Line                                              Source                            ID


                         100:19 then after that happened the next time you heard
                         100:20 from him is when he contacted you for -- to ask for
                         100:21 your assistance in this lawsuit?
                         100:22 A. He had asked me if I would be willing
                         100:23 to testify, yes.
                         100:24 Q. Yeah. Okay. Did he -- did he -- he
                         100:25 tell you what he wanted you say?
                         101:1 A. No.
                         101:2 Q. Did you have any idea what he meant
                         101:3 when he said --
                         101:4 A. Yeah, I did. I did -- I knew -- he
                         101:5 asked if I'd be willing to testify. I said, "What
                         101:6 are you talking about?" And he said, "My products
                         101:7 are -- you know, the cool compression and the
                         101:8 SWEAT IT OUT and Nike is trying to -- they tell me
                         101:9 that I didn't use that. And I did use -- you know
                         101:10 that I used that." And I said, "Yeah, you used it.
                         101:11 You said it every time you were in the -- every
                         101:12 time you were in the winter meetings, you stood up
                         101:13 and said that -- said that -- you know, said that
                         101:14 the products were -- you know, the stretchy
                         101:15 products were -- you stood up gave your spiel about
                         101:16 it and that there were -- you know -- what -- you
                         101:17 know, the cool performance." And he says, "Well,
                         101:18 if it's okay with you I'm going to have my lawyer
                         101:19 contact you."
                         101:20 Q. And what did you say?
                         101:21 A. I said -- I said, "That would be
                         101:22 fine."
                         101:23 Q. Okay. And when did that conversation
                         101:24 happen?
                         101:25 A. Specifically I couldn't tell you.
                         102:1 Maybe April -- April, May 2020. Late April, early
                         102:2 May 2020.
                         102:3 Q. And have you spoken to Mr. Nathan
                         102:4 since then?
                         102:5 A. Yes, I have. There's been two or
                         102:6 three conversations and it was essentially that --
                         102:7 it was essentially -- one of them was when --
                         102:8 because he had asked me when I'd be available or --



Cross Examination by Mr. Hynes
                                                                                      Page 39/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 121 of 371

                                                    CunninghamCross

   Page/Line                                             Source                             ID


                         102:9 and we -- he had said there might be something in
                         102:10 June or July, and he had asked -- he was kind of
                         102:11 trying to get a feel for my schedule I think more
                         102:12 than anything; and so he had reached out and said
                         102:13 that. Another time he had said that the lawyer
                         102:14 would be calling about a schedule change because
                         102:15 again, initially be were talking I think dates; and
                         102:16 he was asking me what dates were good to -- to do
                         102:17 it -- to do it, whether it be a deposition or a
                         102:18 statement. And so I had given him what my schedule
                         102:19 was going to be. I was wide open in June. I was
                         102:20 scheduled to travel the whole month of July and I
                         102:21 knew July would be bad.
                         102:22 Q. So you had two or three conversations
                         102:23 with Mr. Nathan about this litigation?
                         102:24 A. Yes. And it was mostly -- not
                         102:25 mostly, the content was really strictly about
                         103:1 availability.
                         103:2 Q. Well --
                         103:3 A. And whether or not --
                         103:4 Q. -- the second two were. The first
                         103:5 one where he said he wanted you to testify --
                         103:6 A. Right. Right.
                         103:7 Q. -- cool compression, right?
                         103:8 A. Correct.
                         103:9 Q. Okay. And then did you end up
                         103:10 talking to his lawyer?
                         103:11 A. Yes.
                         103:12 Q. And that's Mr. Wagner, right?
                         103:13 A. Yes.
                         103:14 Q. Okay. Did you talk to anybody else
                         103:15 in Mr. Wagner's law firm or just Mr. Wagner?
                         103:16 A. Just Mr. Wagner.
                         103:17 Q. Okay. How many times have you talked
                         103:18 to him?
                         103:19 A. Maybe three or four total.
                         103:20 Q. Okay. Are they telephone?
                         103:21 Videoconference?
                         103:22 A. Telephone.
                         103:23 Q. Telephone? What did you guys talk



Cross Examination by Mr. Hynes
                                                                                      Page 40/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 122 of 371

                                                    CunninghamCross

   Page/Line                                             Source                             ID


                         103:24 about?
                         103:25 A. We talked about a statement as far
                         104:1 as, you know, what my recollection was of the --
                         104:2 what my recollection was with the PBATS thing.
                         104:3 What my recollection was with regards to looking at
                         104:4 catalogs, kind of my -- what my recollection was to
                         104:5 the product and how it was -- how it was presented
                         104:6 by Efraim.
                         104:7 Q. Mm-hmm. And that was three or four
                         104:8 conversations about that?
                         104:9 A. No, no. Then -- other things really
                         104:10 revolved around whether or not I would be willing
                         104:11 to come to New York to testify; talking about a --
                         104:12 the possibility of what my preference was traveling
                         104:13 versus a Zoom deposition, and then scheduling about
                         104:14 that, as well.
                         104:15 Q. Mm-hmm. Did you guys talk about
                         104:16 whether you'd agree to appear at a live trial in
                         104:17 Philadelphia?
                         104:18 A. Yes, we did.
                         104:19 Q. And what did you say?
                         104:20 A. I said no because of my job.
                         104:21 Q. Which job is that?
                         104:22 A. I'm the athletic trainer at
                         104:23 Palm Beach Atlantic University right now.
                         104:24 Q. Okay.
                         104:25 A. And -- and the availability --
                         105:1 availability and -- even though I'm off the months
                         105:2 of June and July I knew I was going to travel the
                         105:3 whole month of July. And just with -- with things
                         105:4 going on I didn't want to travel for a in-person
                         105:5 just because of family time.
                         105:6 Q. Okay. So you're unavailable to
                         105:7 testify at trial in October because of your job and
                         105:8 family time?
                         105:9 A. Correct. But specifically my job.
                         105:10 But I don't even think we got to October as a
                         105:11 specific date, we may have. But at the time I
                         105:12 don't know if I knew a date was given to me. But I
                         105:13 wasn't really interested in traveling -- if --



Cross Examination by Mr. Hynes
                                                                                      Page 41/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 123 of 371

                                                    CunninghamCross

   Page/Line                                             Source                                 ID


                         105:14 if -- if that was an option.
                         105:15 Q. Understood. But there's nothing
                         105:16 physically prevent -- preventing you from going to
                         105:17 Philadelphia to testify at a trial in October,
                         105:18 right? You don't have a medical problem or
                         105:19 anything like that?
                         105:20 A. Well, right now I -- I -- I have
                         105:21 stopped traveling because of the eye surgery, so
                         105:22 that becomes a problem. I just got out of jury
                         105:23 duty down here in Palm Beach County; I was excluded
                         105:24 from it. My vision right now is very affected.
                         105:25 Traveling isn't fun. Seeing things isn't fun.
                                                                                         CunninghamCross.15
 106:1 - 122:25          Cunningham, Sean 08-25-2021 (00:19:05)
                         106:1 Q. Okay. All right. Can you turn to
                                                                                              DX935.1
                         106:2 DX935, please, sir?
                         106:3 (DX935 identified.)
                         106:4 A. Yes.
                                                                                             DX935.1.1
                         106:5 Q. All right. Do you see -- do you
                                                                                             DX935.1.2
                         106:6 recognize this an email from Mr. Wagner to you
                         106:7 dated May 18, 2020?
                         106:8 A. Yes.
                         106:9 Q. Is that your email address down
                         106:10 there?
                         106:11 A. Yes.
                         106:12 Q. Personal email address?
                         106:13 A. Personal email, correct.
                         106:14 Q. Okay. And did you search that
                         106:15 personal email address for any communications that
                         106:16 you may have had with Mr. Nathan?
                         106:17 A. Yes, I did.
                         106:18 Q. Okay. And you didn't have any email
                         106:19 address -- exchanges with him?
                         106:20 A. Correct.
                         106:21 Q. Okay. Do you have any text message
                         106:22 exchanges? I don't know if you're a texter. Any
                         106:23 text message exchanges with Mr. Nathan or
                         106:24 Mr. Wagner?
                         106:25 A. Well, I am -- I do not.
                         107:1 Q. Okay. All right. So this document
                                                                                             DX935.1.3
                         107:2 says, "Hi, Mr. Cunningham, my client, Mr. Nathan,



Cross Examination by Mr. Hynes
                                                                                      Page 42/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 124 of 371

                                                    CunninghamCross

   Page/Line                                              Source                             ID


                         107:3 is so appreciative of you. Per his request I am
                                                                                           DX935.1.4
                         107:4 sending you a declaration for your review for the
                         107:5 Lontex vs. Nike case. It is written based on our
                         107:6 understanding of what you know, but I sent it in
                                                                                           DX935.1.5
                         107:7 Word in case you need to make changes before
                         107:8 signing, sending it back to me. Signed by email
                                                                                           DX935.1.6
                         107:9 works perfect. Please do not hesitate to reach out
                         107:10 with questions"; do you see that?
                         107:11 A. Yes.
                         107:12 Q. Okay. Do you have any -- do you know
                         107:13 how Mr. Wagner obtained an understanding of what
                         107:14 you knew?
                         107:15 A. We had spoken by phone.
                         107:16 Q. Okay. You had spoken prior to him
                         107:17 sending you this declaration?
                         107:18 A. I had either spoken to him or to
                         107:19 Efraim.
                         107:20 Q. Well, do you know which one?
                         107:21 A. I believe him.
                         107:22 Q. Mr. Wagner?
                         107:23 A. Yes.
                         107:24 Q. Okay. So your testimony is you had a
                         107:25 conversation with Mr. Wagner prior to May 18, 2020?
                         108:1 A. I'm not sure about the specifics.
                         108:2 Q. Okay. So you may or may not have
                         108:3 spoken with Mr. Wagner before he sent you this
                         108:4 declaration, you're not sure --
                         108:5 A. Correct.
                         108:6 Q. -- is that fair?
                         108:7 A. Yes.
                         108:8 Q. Okay. Let's turn to the attachment
                                                                                           DX935.1.7
                         108:9 attorney. Do you see where it says, "Attachment
                         108:10 Draft Declaration Sean Cunningham"?
                         108:11 A. Yes.
                                                                                            DX935.2
                         108:12 Q. Okay. So who wrote this?
                         108:13 A. This is -- he -- had -- handwrote
                         108:14 this and I edit -- I edited it some. What edits I
                         108:15 made I'm not sure.
                         108:16 Q. We're going to go through that.
                         108:17 A. Okay.



Cross Examination by Mr. Hynes
                                                                                      Page 43/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 125 of 371

                                                    CunninghamCross

   Page/Line                                              Source                             ID


                         108:18 Q. Okay. All right. I want -- I want
                         108:19 to stick with this first. All right. I want -- I
                                                                                           DX935.2.1
                         108:20 want to direct your attention to Paragraph 6 of
                         108:21 this attachment that Mr. Wagner sent to you.
                         108:22 A. Okay.
                         108:23 Q. All right. In your prior -- in your
                         108:24 prior testimony when Mr. Wagner was asking you
                         108:25 questions, I think you said something like you had
                         109:1 been speaking to Mr. Nathan since the mid to late
                         109:2 2000's. And this says --
                         109:3 A. Even before then, yes.
                                                                                           DX935.2.2
                         109:4 Q. Okay. And this says, "In these
                         109:5 interactions consistently since at least 2008"; do
                         109:6 you see that?
                         109:7 A. Yes.
                         109:8 Q. Well, where did the 2008 come from?
                         109:9 A. That -- they come from -- where he
                         109:10 was trying to put a timeline on it and there was no
                         109:11 doubt in my mind that it -- that it was occurring
                         109:12 after, you know, we moved into the new stadium in
                         109:13 2002 and that was where I got -- got more involved
                         109:14 in purchasing as the head athletic trainer with the
                         109:15 Miami Marlins. So it came after that, but it was
                         109:16 before -- before -- you know, I knew that we moved
                         109:17 into the new stadium in 2012 and so...
                         109:18 Q. So you knew it was between 2002 and
                         109:19 2012?
                         109:20 A. And then -- and then I knew some of
                         109:21 the players that we had -- had used from the
                         109:22 standpoint of products. And so that's kind of
                         109:23 where the 2008 came from.
                         109:24 Q. Did you pick 2008?
                         109:25 A. No, I did not.
                         110:1 Q. All right. And then we see the words
                                                                                           DX935.2.3
                         110:2 in COOL COMPRESSION in all caps here technology,
                         110:3 right?
                         110:4 A. Yes.
                         110:5 Q. And that's what you've been
                         110:6 testifying about all day today, right?
                         110:7 A. Yes.



Cross Examination by Mr. Hynes
                                                                                      Page 44/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 126 of 371

                                                    CunninghamCross

   Page/Line                                             Source                              ID

                                                                                           DX935.3.1
                         110:8 Q. All right. Then in Paragraph 7 it
                                                                                           DX935.3.2
                         110:9 says, "In my experience over these conversations
                         110:10 with Mr. Nathan and listening to his presentations
                         110:11 since at least 2008" -- let's -- let's stop there.
                         110:12 So I think you testified earlier that you
                         110:13 definitely would interact with him at PBATS and
                         110:14 that was once a year, right?
                         110:15 A. Correct.
                         110:16 Q. Spring training sometimes, right?
                         110:17 A. Correct.
                         110:18 Q. And then when you came up to Philly
                         110:19 for your three series with the Phillies, you might
                         110:20 see him once or twice a year as part of that visit,
                         110:21 right?
                         110:22 A. Correct.
                         110:23 Q. All right. So I'll throw in -- even
                         110:24 throw in a spring training. So you're talking
                         110:25 about, you know, three or four times a year you saw
                         111:1 him?
                         111:2 A. Yes, about that. That's -- yeah,
                         111:3 that seems -- that's reasonable.
                         111:4 Q. And in PBATS he's kind of you said
                         111:5 delivering his spiel on his products, right?
                         111:6 A. Correct.
                         111:7 Q. Okay. Does he -- does he deliver his
                         111:8 spiel at spring training, too?
                         111:9 A. Well, yeah. Well he -- he doesn't do
                         111:10 it in the same forum, but he comes in and has
                         111:11 the -- does the same vernacular, yes.
                         111:12 Q. He says the same things at spring
                         111:13 training as he does at the conference?
                         111:14 A. From the -- yeah, very similar in
                         111:15 nature. He's got a -- he's got a -- he would come
                         111:16 in, and again, depending on exactly the form of it,
                         111:17 he might lay -- we would get the players -- we
                         111:18 would set up a time to meet with him while the
                         111:19 players were out on the field because we didn't
                         111:20 necessarily want him to have access to the players.
                         111:21 He would come in and maybe lay the product down on
                         111:22 our athletic training table and then he'd talk



Cross Examination by Mr. Hynes
                                                                                      Page 45/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 127 of 371

                                                    CunninghamCross

   Page/Line                                             Source                             ID


                         111:23 about if he had new product or he would show us
                         111:24 some of the old product. And he would do the same
                         111:25 thing as far as, "Hey, feel this. Feel this." He
                         112:1 was proud of the way his product from the
                         112:2 stretchiness standpoint is. And then again, with
                         112:3 us being down in the heat in Florida he would -- he
                         112:4 would -- he would refer to it as cool compression.
                         112:5 Q. So three or four times a year for
                         112:6 eight years, that's 24 times, he gave you the same
                         112:7 spiel?
                         112:8 A. Very similar, yes.
                         112:9 Q. Wow. So in 7 here -- let me just go
                         112:10 back to that. So he gave you the same spiel 24
                         112:11 times over eight years where you say he
                         112:12 consistently used the word cool compression but he
                         112:13 never used that phrase in any of the brochures he
                         112:14 sent you or in any of the emails he sent you in
                         112:15 that same time period, is that your testimony?
                         112:16 A. Yes.
                         112:17 Q. All right. So in 7 here it says, "In
                         112:18 my experience over these conversations with
                         112:19 Mr. Nathan" -- I'm sorry, are you there? I didn't
                         112:20 want to get ahead of you.
                         112:21 A. Yes, I'm here.
                         112:22 Q. Okay. "In my experience over these
                         112:23 conversations with Mr. Nathan and in listening to
                         112:24 his presentations since at least 2008, Lontex cool
                                                                                          DX935.3.3
                         112:25 compression technology is the main item covered by
                         113:1 Mr. Nathan. And by hearing him he has always
                         113:2 referred to the cool compression technology by that
                         113:3 name. I have always understood cool compression to
                         113:4 mean the unique stretch that Lontex garments have."
                         113:5 Now, Mr. Wagner wrote that, right?
                         113:6 A. Correct.
                         113:7 Q. Okay. Now, when you say it's the
                         113:8 main thing -- the main item that he covered, you
                         113:9 mean that's the main item that he covered and it
                         113:10 wasn't Performance Compression, it wasn't
                         113:11 TRUE COMPRESSION, it wasn't cool --
                         113:12 A. No. His two -- his two selling



Cross Examination by Mr. Hynes
                                                                                     Page 46/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 128 of 371

                                                     CunninghamCross

   Page/Line                                               Source                            ID


                         113:13 points to us or to me -- and I say us being myself
                         113:14 or Mike Kozak -- was the support, the stretchiness,
                         113:15 that it provided from an injury prevention
                         113:16 standpoint and then the cool compression or the
                         113:17 fact that it didn't make hot and cause some of the
                         113:18 skin rashes and some of the other things that were
                         113:19 referred to in some of the -- the different emails
                         113:20 he saw -- or pointed out earlier.
                         113:21 Q. Yeah, that stretchy stuff, right?
                         113:22 The unique --
                         113:23 A. Yeah. The stretch stuff and the cool
                         113:24 compression stuff both.
                         113:25 Q. Right. But he never wrote down cool
                         114:1 compression in any document that you've seen,
                         114:2 right?
                         114:3 A. No. Not to my knowledgeable, no.
                         114:4 Q. In fact, you have never seen the
                         114:5 words cool compression written down in a document
                         114:6 related to Mr. Nathan until Mr. Wagner sent you
                         114:7 this declaration, right?
                         114:8 A. Not my knowledge, no.
                         114:9 Q. Okay. Sorry, did you have something
                         114:10 to say there?
                         114:11 A. No that's fine. That's fine.
                                                                                           DX935.3.4
                         114:12 Q. The next -- the next paragraph in
                         114:13 this declaration Mr. Wagner sent you has a picture
                         114:14 of a couple of labels here; do you see those
                         114:15 labels?
                         114:16 A. Yes.
                         114:17 Q. Do you know where those labels came
                         114:18 from?
                         114:19 A. I recognize those as labels that were
                         114:20 on some of the SWEAT IT OUT products.
                         114:21 Q. Were they on the products that you
                         114:22 bought? Was this label -- is this a picture of a
                         114:23 product you bought?
                         114:24 A. It looks like one, yes.
                         114:25 Q. It looks like one. What kind of
                         115:1 product does that look like?
                         115:2 A. It looks like the tag that was on the



Cross Examination by Mr. Hynes
                                                                                      Page 47/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 129 of 371

                                                     CunninghamCross

   Page/Line                                              Source                             ID


                         115:3 inside of these SWEAT IT OUT products that he sent.
                         115:4 Q. Yeah. I'm hearing you. Is that
                         115:5 shirt? Is that a pair of shorts? Is that an
                         115:6 elbow? What is that?
                         115:7 A. The -- the -- I can't tell you what
                         115:8 that particular one came off of. Again, the
                         115:9 products that we used are mostly the pants and the
                         115:10 shorts; and it looks like ones that were on -- it
                         115:11 looks like ones that I saw on pants and shorts.
                         115:12 Q. But you don't know whether this tag
                         115:13 is on a pair of pants, a pair of shorts, a shirt,
                         115:14 an elbow sleeve or any -- or other kind of product,
                         115:15 do you?
                         115:16 A. No, I don't.
                         115:17 Q. Okay. And you don't know when this
                         115:18 product was manufactured either, do you?
                         115:19 A. No.
                         115:20 Q. Okay. Or who took this picture?
                         115:21 A. Correct.
                         115:22 Q. All right. And the one on the left
                                                                                           DX935.3.5
                         115:23 says, "Small"; do you see that?
                         115:24 A. Yes.
                         115:25 Q. Have you ever ordered a small product
                         116:1 from Mr. Nathan?
                         116:2 A. I have not. That's just where the
                         116:3 size -- again, this was an identifying mark about
                         116:4 the size of the -- I took this to mean the
                         116:5 identifying mark of the size of the garment,
                         116:6 whatever the garment might have been. But I never
                         116:7 ordered a small. Doesn't mean I couldn't of, never
                         116:8 did.
                         116:9 Q. No. Just major league baseball
                         116:10 players don't wear smalls, right? I mean --
                         116:11 A. Right.
                         116:12 Q. -- as a general matter?
                         116:13 A. As a general matter, correct.
                         116:14 Q. Yeah. Okay. All right. Let's go to
                                                                                           DX935.4.1
                         116:15 the next page. Do you see Paragraph 10 here?
                         116:16 A. Yes.
                                                                                           DX935.4.2
                         116:17 Q. And it says, "I have reviewed the



Cross Examination by Mr. Hynes
                                                                                      Page 48/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 130 of 371

                                                    CunninghamCross

   Page/Line                                             Source                              ID


                         116:18 examples below of Nike using cool compression in
                         116:19 the product name and they make me believe that Nike
                         116:20 is using Lontex's cool compression technology in
                         116:21 these compression garments"; do you see that?
                         116:22 A. Yes.
                         116:23 Q. You don't reference that story about
                         116:24 seeing cool compression in DICK'S Sporting Goods
                         116:25 here though, do you?
                         117:1 A. No.
                         117:2 Q. Mr. Wagner didn't mention it either,
                         117:3 right?
                         117:4 A. No.
                         117:5 Q. Is that statement true?
                         117:6 A. Yes.
                         117:7 Q. All right. I just want to make sure.
                         117:8 So you're looking at this Ohio State stock football
                         117:9 photograph --
                         117:10 A. I'm sorry, when you say, "Is that
                         117:11 statement true" is that what you're referring to?
                         117:12 Q. Yeah.
                         117:13 A. Yeah. Okay. Yes.
                         117:14 Q. Do you believe it?
                         117:15 A. Yes. The cool compression -- I
                         117:16 associated cool compression with the SWEAT IT OUT.
                         117:17 Q. Well, I'm asking you right now right
                         117:18 where you're sitting, as you sit here today, when
                         117:19 you look and you see this picture of this
                                                                                           DX935.4.3
                         117:20 Ohio State -- or this man wearing this Ohio State
                                                                                           DX935.4.4
                         117:21 garment that says, "Stock Football" and it says
                                                                                           DX935.4.5
                         117:22 "Pro Cool Compression Half-Sleeve Top", just that
                         117:23 photograph, that makes you think -- that makes you
                         117:24 believe Nike is using Lontex technology?
                         117:25 A. Yes. Because I associated Lontex's
                         118:1 stuff with cool compression.
                         118:2 Q. All right. Have you ever handled
                         118:3 that garment?
                         118:4 A. No, I have not.
                         118:5 Q. You do think you could tell if you
                         118:6 handled it whether it was a Lontex product versus
                         118:7 another --



Cross Examination by Mr. Hynes
                                                                                      Page 49/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 131 of 371

                                                     CunninghamCross

   Page/Line                                              Source                             ID


                         118:8 A. Yes. I -- I believe I could given
                         118:9 the -- given the quality of the -- or not the
                         118:10 quality but the characteristics would be a better
                         118:11 word -- the characteristics of the SWEAT IT OUT
                         118:12 products.
                         118:13 Q. All right. Have you ever seen that
                         118:14 picture of that Ohio State -- that guy wearing that
                         118:15 Ohio State shirt before Mr. Wagner sent it to you?
                         118:16 A. No.
                         118:17 Q. Do you know where it comes from?
                         118:18 A. No.
                                                                                           DX935.4.2
                         118:19 Q. All right. There's another picture
                                                                                           DX935.4.7
                         118:20 below that that says, "Nike Pro Cool Compression
                         118:21 Half-Sleeve Top, $30"; do you see that?
                         118:22 A. Yes.
                         118:23 Q. Have you ever seen that before
                         118:24 Mr. Wagner sent it to you?
                         118:25 A. No.
                         119:1 Q. Okay. And that also makes you
                         119:2 believe that Nike is using Lontex's cool
                         119:3 compression technology?
                         119:4 A. Well, I -- I take a look at that and
                         119:5 I see the price and I wonder what the -- to me that
                         119:6 would lead me to believe what the deal is. What's
                         119:7 the difference between that and -- and the Lontex
                         119:8 product? Because, you know, just from a pricing
                         119:9 standpoint we weren't getting any of the Lontex
                         119:10 product for $30.
                         119:11 Q. Yeah. So did it -- or does it or
                         119:12 does it not lead you to believe that Nike is using
                         119:13 Lontex cool compression technology?
                         119:14 A. I would -- I would -- I would have to
                         119:15 look at it. The cool compression I -- I -- when I
                         119:16 see the word cool compression I associate that with
                         119:17 Lontex. When I see the price, not so much so. I
                         119:18 would want -- I would want to feel it and see it
                         119:19 and figure out what the quality was.
                                                                                           DX935.5.1
                         119:20 Q. All right. So, if we go to the next
                         119:21 page you see a Nike logo and then there's a
                         119:22 baseball -- a guy playing baseball there; do you



Cross Examination by Mr. Hynes
                                                                                      Page 50/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 132 of 371

                                                    CunninghamCross

   Page/Line                                             Source                              ID


                         119:23 see that?
                         119:24 A. Right. Yes.
                         119:25 Q. And then it also -- and then if you
                                                                                           DX935.5.2
                         120:1 look down to the left it says, "Nike Pro Cool
                                                                                           DX935.5.3
                         120:2 Compression, $30" again?
                         120:3 A. Yes.
                         120:4 Q. All right. Had you -- had you seen
                         120:5 this picture and these words before Mr. Wagner sent
                         120:6 them to you?
                         120:7 A. No, I had not.
                         120:8 Q. All right. Is your answer any
                         120:9 different with this image as it is to the other?
                         120:10 A. No.
                                                                                           DX935.4.2
                         120:11 Q. Okay. So just to confirm, on these
                         120:12 Pages 3 and 4 of the declaration Mr. Wagner sent
                         120:13 you, you had never seen these pictures before he
                         120:14 sent them to you, right?
                         120:15 A. Correct.
                         120:16 Q. And he wrote in this declaration,
                         120:17 "That you have reviewed the examples below", and he
                         120:18 wrote that before you had even seen these pictures,
                         120:19 right?
                         120:20 A. Yes.
                                                                                           DX935.4.8
                         120:21 Q. And then he wrote, "I have
                         120:22 reviewed" -- Mr. Wagner wrote, "I have reviewed the
                         120:23 examples below of Nike using cool compression in
                         120:24 the product name and they make be believe that Nike
                         120:25 is using Lontex's cool compression technology in
                         121:1 these compression garments." So he wrote that
                         121:2 sentence before he had shown you the pictures,
                         121:3 right?
                         121:4 A. Correct.
                         121:5 Q. And so he wrote them --
                         121:6 A. Well, he -- he -- he sent that to me
                         121:7 for the purpose of review and making sure that --
                         121:8 reviewing the entire statement.
                         121:9 Q. I'm just asking you -- I'm just
                         121:10 asking a simple question. Did he send you these
                         121:11 images in a different email before he sent you the
                         121:12 declaration?



Cross Examination by Mr. Hynes
                                                                                      Page 51/54
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 133 of 371

                                                    CunninghamCross

   Page/Line                                             Source                                 ID


                         121:13 A. No.
                         121:14 Q. Okay. So the declaration was already
                         121:15 prepared when you first saw these pictures?
                         121:16 A. For me to review, correct.
                                                                                             DX935.4.2
                         121:17 Q. Yeah. So do you have any
                         121:18 understanding of how Mr. Wagner could know that you
                         121:19 would be -- that you would look at these pictures
                         121:20 and think anything about them?
                         121:21 A. Because I believe we had had a
                         121:22 conversation just prior to that to kind of go over
                         121:23 the -- the concept of, you know, what the lawsuit
                         121:24 was. When he had -- when they had asked - then
                         121:25 they were inquiring about whether or not I'd be
                         122:1 willing to testify.
                         122:2 Q. Yeah. I understand. So if you go to
                                                                                              DX935.6
                         122:3 the next two pages, which are Pages 5 and 6 in the
                         122:4 declaration Mr. Wagner drafted for you; do you see
                         122:5 these pictures?
                         122:6 A. Yes.
                         122:7 Q. Had you seen these pictures before
                         122:8 Mr. Wagner had put them in your declaration?
                         122:9 A. No.
                         122:10 Q. All right. The cool compression --
                                                                                             DX935.6.1
                         122:11 the Nike Pro Cool Compression pants at the top, do
                         122:12 you know where that image came from?
                         122:13 A. No.
                                                                                             DX935.6.2
                         122:14 Q. Is it 40 -- or 40 -- I don't know, is
                         122:15 it $40 or $48, I can't tell. But does that make
                         122:16 you believe that their Lontex -- they have Lontex
                         122:17 technology in them?
                         122:18 A. That doesn't in and of itself, but
                         122:19 the term cool compression makes me wonder.
                                                                                             DX935.6.3
                         122:20 Q. Okay. And then -- then you have the
                         122:21 shorts at the -- well, cool compression tights on
                                                                                             DX935.7.1
                         122:22 the next page is $26.25. Does that make you
                         122:23 think -- think they have Lontex technology in them?
                         122:24 A. The pricing doesn't necessarily. The
                         122:25 term cool compression does.
                                                                                         CunninghamCross.16
 123:1 - 124:13          Cunningham, Sean 08-25-2021 (00:02:40)
                                                                                              DX936.2
                         123:1 Q. All right. Go to DX936,



Cross Examination by Mr. Hynes
                                                                                      Page 52/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 134 of 371

                                                      CunninghamCross

    Page/Line                                              Source                            ID

                                                                                           DX936.3.1
                          123:2 Mr. Cunningham. Paragraphs 7 and 8 are still,
                          123:3 right?
                          123:4 (DX936 identified.)
                          123:5 A. Yes.
                          123:6 Q. Paragraph 9 has disappeared, right?
                          123:7 You took that one out. Or at least you took out
                                                                                            DX936.4
                          123:8 most of it, right?
                          123:9 A. Yes.
                                                                                            DX936.7
                          123:10 Q. Okay. And then you signed it under
                                                                                           DX936.7.1
                          123:11 penalty of perjury and you sent it in, right?
                          123:12 A. Yes.
                          123:13 Q. Okay. Okay. Mr. Cunningham, I -- I
                                                                                             clear
                          123:14 am going to just take a few minutes to look at my
                          123:15 notes and go -- and take a quick break. So can you
                          123:16 give me five or 10 minutes to see if I have
                          123:17 anything else?
                          123:18 A. Yes.
                          123:19 Q. Okay. Thank you.
                          123:20 VIDEOGRAPHER: Off the record counsel?
                          123:21 Okay. The time is 4:38 p.m. We are off the
                          123:22 record.
                          123:23 (Off the record for a break.)
                          123:24 VIDEOGRAPHER: Back on the record. The
                          123:25 time is 4:47 p.m.
                          124:1 BY MR. HYNES:
                          124:2 Q. Mr. Cunningham, did you have any
                          124:3 communications with anybody about your testimony
                          124:4 during this deposition?
                          124:5 A. When you say -- no, I did not.
                          124:6 Q. Yeah. Did you -- did you speak to
                          124:7 Mr. Wagner just now or something like that?
                          124:8 A. No. No.
                          124:9 MR. HYNES: Okay. That's it. I have no
                          124:10 more questions subject to -- I'm sure Mr. Wagner
                          124:11 has a few questions for you and I might have a few
                          124:12 after him, but for now I'm done. Thank you.
                          124:13 THE WITNESS: Okay. Thank you.
_____________________________________________________________________




 Cross Examination by Mr. Hynes
                                                                                      Page 53/54
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 135 of 371

                                            CunninghamCross

    Page/Line                                    Source                              ID

Cross Examination by Mr. Hynes = 01:34:23
Total Time = 01:34:23

Documents Shown
DX904
DX906
DX913
DX915
DX916
DX919
DX920
DX923
DX927
DX931
DX935
DX936




 Cross Examination by Mr. Hynes
                                                                               Page 54/54
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 136 of 371
                              Case Clips Detailed Report
                                           10290_Lontex v Nike


   CUNNINGHAM, SEAN - VOL 1 - 8/25/2021 1 Clips (Running 00:13:33.349)


       CUNNINGHAM REDIRECT (Running          00:13:33.349)

         1. Page 124:14 to 124:19 (Running 00:00:12.240)

            14   REDIRECT EXAMINATION

            15 BY MR. WAGNER:

            16   Q. Mr. Cunningham, do you recall

            17 spending about an hour with counsel going over a

            18 number of exhibits that showed cool performance or

            19 some other phrase, cool compression?

         2. Page 124:22 to 126:10 (Running 00:01:56.220)

            22   THE WITNESS: Yes, I do.

            23 BY MR. WAGNER:

            24   Q. Do you usually spend that much time

            25 looking over a set of marketing material from

            01 SWEAT IT OUT?

            02   A. No.

            03   Q. In fact, how much time do you spend

            04 looking at emails, marketing, SWEAT IT OUT

            05 products sent to you by Mr. Nathan?

            06   A. Not a lot. I would typically check

            07 to see, one, who the email was from. I knew what

            08 the product was, determine what the -- you know,

            09 whether or not there was any new product or new

            10 thing along with it, and determine whether or

                                                                               Total Number of Clips:1
                                                                          Total Number of Segments:14
                                                                     Total Running Time:00:13:33.349
                                                                                         Page 1 of 12
  Case 2:18-cv-05623-MMB
  11 not                        Document
         -- determine what the price was and406   Filed 04/27/22 Page 137 of 371
                                             determine

  12 whether or not we were in the need for anything

  13 along that line.

  14   Q. How important were the marketing

  15 details provided in marketing emails sent by

  16 Mr. Nathan to you in your opinion?

  17   A. Not something that I -- not something

  18 that I looked at closely. I was looking at -- I

  19 was looking at what the product was and from the

  20 standpoint of was it an upper body, was it a lower

  21 body, you know, the socks -- you know, he just

  22 pointed out the socks, that was a late addition.

  23 You know, when you pointed out that email that was

  24 something that wasn't on there initially. It

  25 wasn't one of his initial product lines, so I might

  01 have taken a quick glance at that. But pricing is

  02 what I was -- you know, the two things I was

  03 interested in were product type and pricing.

  04   Q. And I noticed -- I made sure to write

  05 it down. At one point after looking at all those

  06 documents you had mentioned the winter meetings'

  07 spiel that Mr. Nathan did. And you mentioned him

  08 saying "cool performance". Did that term "cool

  09 performance" mean anything to you before counsel

  10 went over all those exhibits with you?

3. Page 126:13 to 126:21 (Running 00:00:18.050)

                                                                    Total Number of Clips:1
                                                              Total Number of Segments:14
                                                           Total Running Time:00:13:33.349

                                                                              Page 2 of 12
  Case 2:18-cv-05623-MMB
  13 THE                    Document
          WITNESS: Not specifically, no. 406 Filed 04/27/22 Page 138 of 371

  14 BY MR. WAGNER:

  15   Q. Do you recall Mr. Nathan ever saying

  16 the term cool performance at a winter meeting?

  17   A. Not specifically, no.

  18   Q. Do you recall him ever saying the

  19 term cool performance in any setting other than the

  20 exhibits that you've just seen?

  21   A. No.

4. Page 126:25 to 129:23 (Running 00:03:52.819)

  25   Q. How important were the marketing

  01 emails -- strike that. How important to you were

  02 the marketing materials that Lontex sent you

  03 compared to the spiels that Mr. Nathan would give

  04 at the winter meetings?

  05   A. I don't -- I don't necessarily think

  06 either were more important than the other. I

  07 just -- the spiels had a tendency to resonate

  08 because again, as a group it would be -- it might

  09 be something that we talk about with the other

  10 athletic trainers after the fact. It was a -- the

  11 fact that it was kind of the same thing it was -- I

  12 don't want to say a joke -- but a point of context

  13 that, "Oh, Efraim's going to talk and it's going to

  14 be -- you know, the same -- same conversation about

  15 the SWEAT IT OUT material and the cool

                                                                    Total Number of Clips:1
                                                              Total Number of Segments:14
                                                           Total Running Time:00:13:33.349

                                                                              Page 3 of 12
Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 139 of 371
16 compression".

17   Q. Do you recall testifying about DX916

18 2012 email involving a sample that Hanley had been

19 provided?

20   A. Give me a second and let me pull that

21 up. DX916, is that what you said?

22   Q. Yes.

23   A. Okay. I think -- when you say, "Do I

24 recall" specifically I think I did kind of

25 reference the fact that we used the -- I liked

01 using the -- personally I liked using the lower

02 body better than the upper body garments. And a

03 lot of that had to do with patient -- patient

04 comfort.

05   Q. Do you know why in 2012 Hanley was

06 being singled out for a sample rather than any

07 other Marlins' players?

08   A. Yeah. He had had shoulder surgery.

09 He was undergoing -- just -- not knowing I'm

10 allowed to talk about it, is there HIPAA with -- is

11 there HIPAA with --

12   Q. This has all got a protective order

13 so we can designate whatever we need to

14 confidential.

15   A. Okay. All right. Good. But he

16 had -- he had had shoulder surgery. He had had a

                                                                  Total Number of Clips:1
                                                            Total Number of Segments:14
                                                         Total Running Time:00:13:33.349

                                                                            Page 4 of 12
Case 2:18-cv-05623-MMB
17 labrum                    Document
          tear. He had a subluxing       406
                                   shoulder thatFiled
                                                he 04/27/22 Page 140 of 371

18 had to -- that we were trying to nurse through.

19   Q. So when we're talking about one

20 exhibit, specifically DX904, I wrote down that you

21 at one point said you were having trouble focusing.

22 Because the jury wasn't privy to the conversations

23 you had with us counsel before, can you explain

24 what you mean by having trouble focusing?

25   A. Oh, yes. I had detached a retina and

01 I've had retina surgery within the last month.

02 I've actually had two eye -- three -- two eye

03 surgeries in the last six weeks now. And they've

04 reattached the retina. The procedure that was used

05 there's still oil in the eye, so I'm -- I'm -- my

06 left eye -- I'm basically not seeing out of my left

07 eye right now.

08   Q. So you're talking about visibly

09 focusing, not mental focusing, correct?

10   A. Correct; visible focus. I have

11 issues with depth perception, focusing, depth

12 perception. When my eye level changes it -- it

13 just takes a second for everything to catch up.

14   Q. You also have been talking about

15 DX915 and talked about non-Lontex compression

16 garments as things that Mr. Nathan would compare

17 SWEAT IT OUT garments to; do you recall that

                                                                  Total Number of Clips:1
                                                            Total Number of Segments:14
                                                         Total Running Time:00:13:33.349

                                                                            Page 5 of 12
  Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 141 of 371
  18 testimony?

  19   A. Yes.

  20   Q. To your understanding when Mr. Nathan

  21 was making references to non-Lontex compression

  22 garments, was Nike compression garments included in

  23 that group?

5. Page 130:01 to 130:16 (Running 00:00:43.750)

  01   THE WITNESS: Yeah, I -- I can't

  02 specifically say -- I can't specifically say.

  03 Sometimes -- they were different products that were

  04 not -- and it might be whatever -- whatever was

  05 laying around.

  06   Q. Fair enough.

  07   A. I can't specifically say it was or

  08 wasn't a Nike product.

  09   Q. Do you recall him ever making a

  10 comparison to Nike compression garments?

  11   A. Nike compression garments, no.

  12   Q. When referred as a group other

  13 people's compression garments, whatever he meant --

  14 I'm asking your understanding -- do you understand

  15 that group to include Nike compression products or

  16 not?

6. Page 130:19 to 132:01 (Running 00:01:30.460)

  19   THE WITNESS: Nike -- Nike, Under Armour

  20 and there were some other products, as well.

                                                                    Total Number of Clips:1
                                                              Total Number of Segments:14
                                                           Total Running Time:00:13:33.349

                                                                              Page 6 of 12
Case 2:18-cv-05623-MMB
21 Bennick had some stuff out.Document  406
                               Cramer had someFiled
                                               stuff 04/27/22 Page 142 of 371

22 out. Franklin had some stuff out.

23 BY MR. WAGNER:

24   Q. When you refer to Cramer, who is

25 Cramer?

01   A. Cramer is the name of a medical

02 supply company. They're famous for lineaments and

03 ointments. They also at one point in time tried to

04 bring in some compression garments into the -- into

05 the pool. And I have no idea what the timing of

06 that was.

07   Q. You spoke with counsel about DX935,

08 your declaration, specifically about some of the

09 pricing on some of the Nike images; do you recall

10 that testimony?

11   A. Say that again now. I'm sorry, I was

12 flipping to 935. Sorry.

13   Q. Yes. It had -- talking about DX935

14 you had spoken about -- provided some testimony

15 about the pricing details on some of the Nike

16 products that you had included in that declaration;

17 do you recall that testimony a moment ago?

18   A. Where I was talking about there being

19 a difference between the SWEAT IT OUT pricing of

20 Efraim's and Nike pricing?

21   Q. Yes.

                                                                  Total Number of Clips:1
                                                            Total Number of Segments:14
                                                         Total Running Time:00:13:33.349

                                                                            Page 7 of 12
  Case
  22 A.2:18-cv-05623-MMB          Document 406 Filed 04/27/22 Page 143 of 371
        Is that what -- yes, I do recall

  23 that.

  24   Q. Would you assume that Nike's

  25 production costs are the same of Lontex's for the

  01 same garment?

7. Page 132:04 to 132:09 (Running 00:00:08.680)

  04   THE WITNESS: No, I do -- I would assume

  05 that.

  06 BY MR. WAGNER:

  07   Q. Would you assume that Nike's

  08 production costs are higher or lower than Lontex?

  09   A. Lower than Lontex.

8. Page 132:14 to 132:16 (Running 00:00:12.631)

  14 Would it surprise you if Nike's products were two

  15 or three times cheaper at retail because of costs

  16 savings of Nike's production?

9. Page 132:19 to 133:06 (Running 00:00:30.099)

  19   THE WITNESS: I would expect -- I would

  20 expect them to be cheaper. It would be hard for me

  21 to know really determine how much cheaper. But I

  22 would expect them to be significantly cheaper just

  23 from a production standpoint; from what little I

  24 know on production and -- and size of companies. I

  25 knew -- I knew that Efraim was a small company and,

  01 you know, there might be more markup with that.

  02 BY MR. WAGNER:

                                                                    Total Number of Clips:1
                                                              Total Number of Segments:14
                                                           Total Running Time:00:13:33.349
                                                                              Page 8 of 12
  Case
  03 Q.2:18-cv-05623-MMB
         So when you saw Nike'sDocument
                                products a406 Filed 04/27/22 Page 144 of 371

  04 moment ago at $30, would that disqualify those

  05 products in your mind from containing the same cool

  06 compression technology as SWEAT IT OUT?

10. Page 133:09 to 134:25 (Running 00:01:46.990)

  09   THE WITNESS: Not -- not necessary. Again,

  10 I would -- I would -- I would look to see what the

  11 quality of that material was. I just wasn't in

  12 a -- in a setting to do that. But if I were

  13 purchasing I would like to compare the two.

  14 BY MR. WAGNER:

  15   Q. Do you have any financial interest in

  16 this lawsuit?

  17   A. No.

  18   Q. Do you have any incentive to provide

  19 testimony that's more favorable to one party?

  20   A. No.

  21   Q. Would you testify to anything that

  22 was untruthful?

  23   A. No.

  24   Q. Would you sign a declaration under

  25 penalty of perjury to anything that you believe was

  01 untruthful?

  02   A. Sorry. You confused me with that.

  03   Q. Let me break it down. You recall the

  04 statement shown to you by counsel that you had

                                                                    Total Number of Clips:1
                                                              Total Number of Segments:14
                                                           Total Running Time:00:13:33.349

                                                                              Page 9 of 12
  Case 2:18-cv-05623-MMB
  05 signed                      Document 406 Filed 04/27/22 Page 145 of 371
            earlier in 2020, correct?

  06   A. Correct.

  07   Q. Did you provide any information in

  08 there that you believe not to be true?

  09   A. No.

  10   Q. Would you have signed under penalty

  11 of perjury that statement if you believed any of

  12 the statements in there to be untrue?

  13   A. No.

  14   Q. And how well would you say you know

  15 Mr. Nathan?

  16   A. You see him as a vendor. I don't

  17 know him very well. I couldn't -- from a personal

  18 standpoint. It was strictly a professional

  19 relationship. He was a vendor of a product that we

  20 used and, you know, as the head athletic trainer I

  21 needed to maintain that relationship because we

  22 purchased from him.

  23   Q. Do you know him well enough to opine

  24 on whether he has a character of honesty or

  25 dishonesty?

11. Page 135:03 to 135:24 (Running 00:01:02.681)

  03   THE WITNESS: I mean, he was somebody -- he

  04 was somebody that I trusted. I don't -- typically

  05 I try not to do business with people that I don't

  06 trust. He was -- you know, I found him to be

                                                                   Total Number of Clips:1
                                                             Total Number of Segments:14
                                                          Total Running Time:00:13:33.349

                                                                            Page 10 of 12
  Case 2:18-cv-05623-MMB
  07 reliable,                   Document
               dependable. I found           406 Filed 04/27/22 Page 146 of 371
                                   him to be honest

  08 about his products. You know, I didn't buy his

  09 products because it was a good sale pitch. I

  10 brought -- I bought his product because it was

  11 working, what he -- you know, how he described his

  12 product was -- was accurate. It served our needs

  13 and did what -- did what he said it did and did

  14 what we needed it to do.

  15 BY MR. WAGNER:

  16   Q. One moment. You also testified

  17 earlier after looking at all the documents that it

  18 was "certainly possible that something other than

  19 cool compression was how Mr. Nathan reported things

  20 at the annual conferences"; do you recall that

  21 testimony?

  22   A. Yes.

  23   Q. Was that you speculating or you

  24 testifying from your memory?

12. Page 136:02 to 136:15 (Running 00:00:37.669)

  02   THE WITNESS: Yeah. It's -- it's just one

  03 of those things where I can't -- I don't think I

  04 can be realistically expect to know everything that

  05 was or wasn't said somewhere. I can really only --

  06 what I recall and how I associate things. That's

  07 how I associate things. Did he -- if you asked me

  08 if me did or didn't, I don't under -- under perjury

                                                                    Total Number of Clips:1
                                                              Total Number of Segments:14
                                                           Total Running Time:00:13:33.349

                                                                             Page 11 of 12
  Case 2:18-cv-05623-MMB
  09 I don't want to say that he --Document    406 Filed 04/27/22 Page 147 of 371
                                    I'm absolutely

  10 positive he did or I'm absolutely positive he

  11 didn't. I just know how I associate it.

  12 BY MR. WAGNER:

  13   Q. And that association that you formed

  14 about his use of cool compression was based on may

  15 years of firsthand interactions, correct?

13. Page 136:18 to 137:02 (Running 00:00:27.050)

  18   THE WITNESS: Hearing -- hearing -- hearing

  19 the spiel on a regular basis, on a yearly basis

  20 several times. Whether it was two times, three

  21 times our four times. Whatever it was. But very

  22 rarely did I meet him where he didn't -- he didn't

  23 do his stretchy and the cool compression narrative.

  24 BY MR. WAGNER:

  25   Q. Is that the type of regular

  01 interaction that you believe would have any real

  02 possibility of misremembering?

14. Page 137:05 to 137:10 (Running 00:00:14.010)

  05   THE WITNESS: Again, in some -- that's what

  06 I remember. That's what -- I mean, that's what I

  07 remember from my interaction with SWEAT IT OUT and

  08 with my interaction with Efraim; how I associated

  09 it.

  10   MR. WAGNER: No more questions.



                                                                    Total Number of Clips:1
                                                              Total Number of Segments:14
                                                           Total Running Time:00:13:33.349

                                                                             Page 12 of 12
      Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 148 of 371

                             Designation Run Report




                 CunninghamReCross


     __________________________________________________________________
                         Cunningham, Sean 08-25-2021
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                  Re-Cross Examination by Mr. Hynes00:02:20
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    ____________________________________________________________________
                             Total Time00:02:20




ID:CunninghamReCross
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 149 of 371

                                                   CunninghamReCross

   Page/Line                                             Source                                ID

                                                                                        CunninghamReCross.1
 137:11 - 139:16         Cunningham, Sean 08-25-2021 (00:02:20)
                         137:11 RECROSS-EXAMINATION
                         137:12 BY MR. HYNES:
                         137:13 Q. Mr. Cunningham, do you have any
                         137:14 actual knowledge of Nike's production costs?
                         137:15 A. No, I don't.
                         137:16 Q. Do you have any actual knowledge of
                         137:17 Lontex production costs?
                         137:18 A. Only in that he would reference to
                         137:19 how he had to make -- make a living and how -- no,
                         137:20 I don't to answer your question. No, I don't.
                         137:21 Q. What do you mean he had to make a
                         137:22 living? What -- what are you talking about?
                         137:23 A. He was -- he was -- he was a small
                         137:24 company. He would often -- "Oh, I'm not going to
                         137:25 come down to spring training because I have a
                         138:1 budget" might come out in a conversation that we
                         138:2 had. He might make a reference in spring training
                         138:3 -- or in -- at the winter meetings about how, you
                         138:4 know, cost, "Oh, I had to get my own hotel". He
                         138:5 would -- not often but at times he would talk about
                         138:6 his costs which isn't typically somebody that's --
                         138:7 you know, when EvoShield which is a bigger company
                         138:8 would come in, you wouldn't hear them reference it,
                         138:9 just as an example or a contrast.
                         138:10 Q. Are you talking about -- I mean --
                         138:11 A. Efraim -- I took Efraim to be a small
                         138:12 company and with that I took that to be that --
                         138:13 that his margin might be a little bit different.
                         138:14 Q. But you don't know what that margin
                         138:15 was, do you?
                         138:16 A. I have no idea what that margin was.
                         138:17 Q. And you don't have any experience
                         138:18 with production costs of garments?
                         138:19 A. Correct. Correct.
                         138:20 MR. HYNES: Okay. Thank you,
                         138:21 Mr. Cunningham.
                         138:22 MR. WAGNER: One question before we go off
                         138:23 the record. Mr. Hynes, do you intend to move any
                         138:24 of the exhibits into evidence?



Re-Cross Examination by Mr.
Hynes                                                                                Page 2/3
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 150 of 371

                                                   CunninghamReCross

    Page/Line                                            Source                               ID


                          138:25 MR. HYNES: Yeah. I think they've been
                          139:1 authenticated and produced and all of the exhibits
                          139:2 have been marked and moved into evidence either now
                          139:3 or at the hearing.
                          139:4 MR. WAGNER: I have no objection to that.
                          139:5 Thank you for your time, Mr. Cunningham. I
                          139:6 think you can sign off. I think we have some
                          139:7 discussion to have with the court reporter.
                          139:8 THE WITNESS: All right. Thank you.
                          139:9 VIDEOGRAPHER: Would you like to go off the
                          139:10 record counsel?
                          139:11 MR. HYNES: Please.
                          139:12 MR. WAGNER: Yes.
                          139:13 VIDEOGRAPHER: Okay. The time 5:04 p.m.
                          139:14 This is the end of the videotaped deposition of
                          139:15 Sean Cunningham, volume one, dated August 25, 2021.
                          139:16 We are off the record.
_____________________________________________________________________

Re-Cross Examination by Mr. Hynes = 00:02:20
Total Time = 00:02:20




 Re-Cross Examination by Mr.
 Hynes                                                                                 Page 3/3
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 151 of 371
                              Case Clips Detailed Report
                                          10290_Lontex v Nike


   DUGGER, KEITH - VOL 1 - 7/20/2021 1 Clips (Running 00:26:14.820)


       DUGGER DIRECT (Running      00:26:14.820)

         1. Page 05:21 to 15:13 (Running 00:12:25.089)

            21   Will counsel please identify yourselves and

            22 state whom you represent.

            23   MR. WAGNER: Yes. This is Ben Wagner with

            24 Troutman Pepper. I represent Plaintiff Lontex

            25 Corporation. I have with me Rosa Namgoong who is a

            01 summer associate with us who will be observing.

            02   MR. HYNES: This is Michael Hynes. I'm a

            03 lawyer with DLA Piper. With me are my colleagues Marc

            04 Miller and Valerie Fadis. And welcome, Rosa.

            05   MR. GAFFNEY: This is Brian Gaffney. I'm the

            06 vice president/general counsel of the Colorado Rockies

            07 Baseball Club, and I'm here on behalf of Keith Dugger.

            08   APTUS VIDEO TECHNICIAN: The court reporter

            09 today is Laura Corning, and she may now swear in or

            10 affirm the deponent.

            11   KEITH DUGGER,

            12 having been first duly sworn was examined and testified

            13 as follows:

            14   DIRECT EXAMINATION

            15 BY MR. WAGNER:

            16   Q. Will you state your name for the record.

                                                                                  Total Number of Clips:1
                                                                             Total Number of Segments:9
                                                                         Total Running Time:00:26:14.820
                                                                                            Page 1 of 20
Case
17 A.2:18-cv-05623-MMB
      Keith Dugger.    Document 406 Filed 04/27/22 Page 152 of 371

18   Q. And you understand you're here today for a

19 trial deposition?

20   A. I do.

21   Q. And the testimony you're giving today is under

22 penalty of perjury, the same as if you were appearing

23 directly in front of the jury?

24   A. Yes.

25   Q. Who do you work for?

01   A. Colorado Rockies Baseball Club.

02   Q. And what league are they in?

03   A. We're in the National League in the west

04 division.

05   Q. That's Major League Baseball?

06   A. That is a Major League Baseball club.

07   Q. And how long have you worked them?

08   A. Just shy of 30 years.

09   Q. What is your current job title?

10   A. I'm the head athletic trainer for the Major

11 League club.

12   Q. And how long have you been in the role of head

13 athletic trainer?

14   A. Since 2004.

15   Q. And what do you do in that role?

16   A. Well, my main job is prevention of injuries,

17 control all medical issues, rehabilitation, oversee all

                                                                      Total Number of Clips:1
                                                                 Total Number of Segments:9
                                                             Total Running Time:00:26:14.820

                                                                                Page 2 of 20
Case 2:18-cv-05623-MMB
18 Minor                      Documentoperations,
         League injuries, the day-to-day 406 Filedthe04/27/22 Page 153 of 371

19 communication between front-office management and

20 baseball operations.

21   Q. And how many people are on your team?

22   A. On our Major League team?

23   Q. On --

24   A. On the Major League team we have 40 -- 40

25 players available. Throughout our organization, it's

01 just shy of 200 that I oversee.

02   Q. Are you the only training staff, yourself?

03   A. No. I have two assistants here at the Major

04 League level and approximately eight or nine at the Minor

05 League level.

06   Q. And are you a member of any organization as a

07 part of your head-athletic-trainer position?

08   A. The National Athletic Trainers Association,

09 Professional Baseball Athletic Trainers association,

10 Colorado Athletic Trainers Association.

11   Q. And for the Professional Baseball association,

12 is the acronym for that PBATS?

13   A. That is correct.

14   Q. And how long have you been a member?

15   A. You're not officially a member until you're in

16 the Major League, so that would have been 1998.

17   Q. So as a general -- as a general matter, who

18 are the other members of PBATS?

                                                                    Total Number of Clips:1
                                                               Total Number of Segments:9
                                                           Total Running Time:00:26:14.820

                                                                              Page 3 of 20
Case
19 A.2:18-cv-05623-MMB        Document
      All professional head and           406 Filed 04/27/22 Page 154 of 371
                                assistant athletic

20 trainers, both the National League and American League.

21 There is associates, which are all the Minor League

22 athletic trainers.

23   Q. What's the purpose of the PBATS organization?

24   A. Well, the main purpose is we're a philanthropy

25 group. We're also the spokespeople for Major League

01 Baseball and -- I'm sorry. I got the other phone I

02 didn't hang up.

03   I'm the spokesperson for MLB, the players'

04 association. An example would be Spit Tobacco, Play

05 Campaign, Childhood Obesity. You've seen some of the

06 commercials on TV on baseball MLB channel. We also have

07 our educational foundation. We provide scholarships for

08 many undergraduate athletic trainers and graduate

09 athletic trainers and some of our own members of the

10 secondary school.

11   Q. Have you had any leadership roles in that

12 organization?

13   A. Yeah. I was the National League rep for 10

14 years and the assistant National League rep for

15 approximately eight years. So I -- I was on the board

16 roughly 18 -- 18 years, I guess.

17   Q. And do you know approximately what year that

18 started and when that board membership ended?

19   A. See, I have been off the board now for two

                                                                      Total Number of Clips:1
                                                                 Total Number of Segments:9
                                                             Total Running Time:00:26:14.820

                                                                                Page 4 of 20
Case 2:18-cv-05623-MMB
20 years,                     Document
          so -- '19 was probably           406on the
                                 my last year    Filed 04/27/22 Page 155 of 371
                                                     board.

21 Now go back -- probably '07. Around '06 or '7.

22   Q. And during that time, did PBATS have any

23 annual meetings?

24   A. Yes. We -- we have an annual meeting every

25 year, usually at the baseball winter meetings which is in

01 early December.

02   Q. Are those meetings in person?

03   A. Those are in-person meetings.

04   Q. What are the purpose of those annual meetings?

05   A. Well, it's educational-based meetings. We

06 also go over new rules and regulations for the coming

07 season. And then we bring in vendors and products, and

08 we have our own little in-house seminar, and vendors will

09 speak to us about their various products.

10   Q. So what's the role of a vendor at an annual

11 meeting?

12   A. Well, we pick and choose what vendors

13 typically we -- we want to come to our seminar. We

14 usually have around 50 vendors a year that come, and it's

15 from -- anywhere from physical modalities -- which are

16 machines that help us with rehab -- to garments, to

17 compression, to nutritional supplements, to new types of

18 tape that are out there, any other new advancements in

19 the sports science world. And they just give short

20 presentations and sometimes they give us demos and

                                                                        Total Number of Clips:1
                                                                   Total Number of Segments:9
                                                               Total Running Time:00:26:14.820

                                                                                  Page 5 of 20
Case 2:18-cv-05623-MMB
21 sometimes                Document
             they give us samples       406know,
                                  and, you    Filed
                                                 the04/27/22
                                                     hopes   Page 156 of 371

22 are that we purchase something from them.

23    Q. So as an athletic trainer and a member of

24 PBATS, are you familiar with any particular clothing

25 companies?

01    A. I am, yes.

02    Q. Which companies?

03    A. Well, Under Armour, Nike, SWEAT IT OUT,

04 Bioskin, X2, Adidas.

05    Q. I apologize. Please complete your answer.

06    A. X2 and Adidas.

07    Q. So when you say "SWEAT IT OUT," are there any

08 other names that you know that company by?

09    A. I do. I know it by "Lontex," "SWEAT IT OUT."

10 "COOLMAX" and "COOL COMPRESSION" were by association of

11 that company.

12    Q. And does the phrase "COOL COMPRESSION" mean

13 something to you?

14    A. It does.

15    Q. What does it mean?

16    A. Well, we've been educated by one of the

17 spokespeople for the company SWEAT IT OUT that, you know,

18 it's -- it's a fabric or a textile that is able to

19 stretch in multiple directions. It's able to wick sweat

20 away from the body, which allows faster evaporation. I

21 guess that's pretty much it.

                                                                      Total Number of Clips:1
                                                                 Total Number of Segments:9
                                                             Total Running Time:00:26:14.820

                                                                                Page 6 of 20
Case
22 Q.2:18-cv-05623-MMB        Document
       And does sweat out -- are        406
                                 SWEAT IT OUTFiled 04/27/22 Page 157 of 371

23 products used by Rockies players?

24   A. They are on occasion.

25   Q. And who was that spokesperson you spoke of a

01 moment ago?

02   A. Efraim Nathan.

03   Q. Are you involved in the players using SWEAT IT

04 OUT products from the Rockies?

05   A. Yes, the majority of the time.

06   Q. And how so?

07   A. I have a running stockpile, plus most of my

08 garments from Efraim are kind of specialized to fit the

09 specific person. I also have plenty of other samples,

10 from socks to tights to -- to undersleeves to arm

11 sleeves. I've had various products from -- you know,

12 specialized, we call it "hip flexor padding" put in, or

13 buttocks padding. You know, just kind of the one-off

14 orders.

15   Q. And how long have your players been wearing

16 SWEAT IT OUT products?

17   A. Well, I know I've been ordering for at

18 least 15 years from them on and off.

19   Q. Does that mean your players have been using it

20 on and off for 15 years?

21   A. That is correct, yeah.

22   Q. And why SWEAT IT OUT products instead of other

                                                                      Total Number of Clips:1
                                                                 Total Number of Segments:9
                                                             Total Running Time:00:26:14.820

                                                                                Page 7 of 20
Case 2:18-cv-05623-MMB
23 products                   Document 406 Filed 04/27/22 Page 158 of 371
            available on the market?

24   A. Well, one is -- from the presentation and what

25 we've learned is that -- again, excuse me if I'm saying

01 this wrong -- the textile or the fabric stretches in

02 multiple directions versus, you know, the Spandex type

03 of -- or nylon type of thing that just only moves in one

04 direction.

05   The other thing is it's very durable for us.

06 It holds up. You know, one garment can last almost a

07 whole season, if not a half a season. These things are

08 being washed and used every day. These guys are very

09 rough on these type of garments.

10   Q. In your experience as an athletic trainer for

11 the Colorado Rockies, have you observed any benefits to

12 the players from using SWEAT IT OUT products?

13   A. Absolutely. I mean, just simple things, from

14 just the posture shirts that we've used, you know, where

15 the stitching and the -- and the -- I guess the way

16 Efraim develops the shirts for these guys to hold them in

17 a certain position. And again, the constant compression

18 where it's not squeezing them off, they're not cramping

19 wearing this type of product, because their legs do swell

20 during competition.

21   And sometimes we even put these guys in

22 this -- these garments to fly on airplanes. You know, if

23 we're trying to prevent contusion or strain, these --

                                                                        Total Number of Clips:1
                                                                   Total Number of Segments:9
                                                               Total Running Time:00:26:14.820

                                                                                  Page 8 of 20
Case 2:18-cv-05623-MMB
24 these guys will wear these Document
                              products on 406
                                          flights,Filed
                                                   as far04/27/22
                                                          as      Page 159 of 371

25 recovery.

01   Q. Any other benefits you can think of?

02   A. Well, again, one -- one of the key things from

03 this, the guys don't get too hot in this product. Even

04 though it's a thicker product compared to some of the

05 other vendors that are out there, it seems like the --

06 the moisture is being wicked away from their body, which

07 increases the evaporation. So the guys seem a little bit

08 cooler in this type of product, and it's -- and it's

09 comfortable to them.

10   Q. Have you noticed any benefits to their

11 performance?

12   A. I would say if anything can assist these guys

13 to stay on the field, then there's a benefit to their

14 performance.

15   Q. And do you attend spring training with the

16 team?

17   A. I do.

18   Q. How often?

19   A. Yearly since I've been in professional

20 baseball.

21   Q. So at least since -- what year would that be?

22   A. 1998 was my first year in professional

23 baseball.

24   Q. So how would you define COOL COMPRESSION?

                                                                       Total Number of Clips:1
                                                                  Total Number of Segments:9
                                                              Total Running Time:00:26:14.820

                                                                                 Page 9 of 20
  Case
  25 A.2:18-cv-05623-MMB     Document
        How would I define COOL       406 Filed
                                COMPRESSION?    04/27/22 Page 160 of 371
                                             Well,

  01 COOL COMPRESSION to me is exactly what I just said:

  02 It's -- it's a -- a product where the body is able to

  03 wick the moisture; it's able to move in different

  04 directions, stretch in different directions, to allow

  05 maximum compression without choking off a certain body

  06 part.

  07   Q. Have you ever heard anyone refer to SWEAT IT

  08 OUT's clothing technology as "COOL COMPRESSION

  09 technology"?

  10   A. One more time. Can you repeat the question?

  11   Q. Have you ever heard anyone refer to SWEAT IT

  12 OUT's stretch technology as "COOL COMPRESSION

  13 technology"?

2. Page 15:16 to 19:11 (Running 00:05:07.440)

  16   THE WITNESS: Yes. I've heard of people

  17 associate COOL COMPRESSION with SWEAT IT OUT.

  18   Q. (By Mr. Wagner) Who can you recall, sitting

  19 here today?

  20   A. Efraim Nathan.

  21   Q. Anyone else?

  22   A. Pretty much every Major League athletic

  23 baseball trainer.

  24   Q. In what settings did you hear Mr. Nathan refer

  25 to "COOL COMPRESSION technology"?

  01   A. Well, I've met with Efraim at our seminars,

                                                                      Total Number of Clips:1
                                                                 Total Number of Segments:9
                                                             Total Running Time:00:26:14.820

                                                                               Page 10 of 20
Case 2:18-cv-05623-MMB
02 which                       Document
         are yearly, in the winter meetings.406   Filed
                                             I've met    04/27/22 Page 161 of 371
                                                      with

03 him in person. He's come out to spring training to our

04 facilities. That's basically been his main talking point

05 is "COOL COMPRESSION" and the stretch of the material

06 from the very first time I've been associated with

07 Nathan.

08   Q. So let's break -- let's break that down.

09   You said "in-person." How far back do you

10 remember in-person meetings with Mr. Nathan having him

11 refer to clothing technology and COOL COMPRESSION?

12   A. Right around 2010 was the first time that I

13 ever saw him, and that definitely was at a PBATS seminar.

14 He presented his garments to us, gave us all samples.

15   You know, you -- you individually meet with

16 the vendors after they give their speech. So basically

17 each vendor has a time slot to talk about their product,

18 the benefits of their product; then you go up and you

19 actually have a few minutes for each team to go through

20 and meet with the -- the presenter.

21   Q. And I'm sorry if we spoke over each other a

22 moment ago.

23   At this first meeting around 2010 that you

24 said, the annual meeting, did he refer to the technology

25 of the clothing by any particular name?

01   A. "COOLMAX" has always been a stretch [sic] and

02 "lycra" and -- you know, the stretch in multiple

                                                                       Total Number of Clips:1
                                                                  Total Number of Segments:9
                                                              Total Running Time:00:26:14.820

                                                                                Page 11 of 20
Case 2:18-cv-05623-MMB
03 directions                  Document
              is how I associate SWEAT IT406
                                         OUT. Filed 04/27/22 Page 162 of 371

04   Q. Was the term "COOL COMPRESSION technology"

05 used; do you recall?

06   A. Yeah. I -- I believe so, because it's the

07 only thing I can remember him ever saying from the very

08 beginning was talk about COOL COMPRESSION, and he was the

09 very first person that basically talked about body

10 fluids, sweat, being wicked away from the body in

11 evaporation.

12   Q. So other than these annual meetings -- oh, and

13 let me ask one more question. Are there any annual

14 meetings that you attended where Mr. Nathan presented

15 that you recall him having given a presentation without

16 using the term "COOL COMPRESSION" to describe his

17 technology?

18   A. Seminars or meetings? I guess --

19   Q. The annual meetings, the PBATS.

20   A. No. That's been one of his -- his spiels

21 since we've known him. You know, it's -- he's always

22 talked about the COOL COMPRESSION. There's been plenty

23 of meetings -- you know, just one-on-one conversations --

24 where he hasn't necessarily mentioned COOL COMPRESSION to

25 me.

01   Q. And are there -- where do you -- other than

02 the annual meetings, you said there were in-person

03 occasions where you would meet. What are you referring

                                                                      Total Number of Clips:1
                                                                 Total Number of Segments:9
                                                             Total Running Time:00:26:14.820

                                                                               Page 12 of 20
Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 163 of 371
04 to?

05   A. Well, again, Efraim has come out to spring

06 training in various years. Not -- I don't believe

07 yearly, but majority of years, he's actually come out to

08 the facilities. He's come into the clubhouse in

09 Philadelphia when we've been in town. He's met me at the

10 hotel before, and in phone calls and text messages and

11 emails.

12   Q. So are you familiar with the appearance of

13 SWEAT IT OUT garments?

14   A. Yes.

15   Q. How -- how are you familiar?

16   A. I'm familiar with the stitching. I'm familiar

17 with most of the labeling that's in there, the type of

18 material that's used in most of the packaging.

19   Q. When was the first time you had SWEAT IT OUT

20 garments in your possession; do you recall?

21   A. Well, I know I have been ordering at least

22 since 2015/'16/'17, for sure, all the way up to present,

23 on and off.

24   Q. So you had mentioned earlier that you had been

25 buying from SWEAT IT OUT for 15 years. Did I recall that

01 right or am I mistaken?

02   A. No, that's correct, at least 15 years.

03   Q. So going back 15 years, were you the one that

04 would hold the garments in your hands or was it always

                                                                       Total Number of Clips:1
                                                                  Total Number of Segments:9
                                                              Total Running Time:00:26:14.820

                                                                                Page 13 of 20
  Case 2:18-cv-05623-MMB
  05 other people that dealt withDocument
                                 the product?406 Filed 04/27/22 Page 164 of 371

  06   A. It was me and usually some of my associates.

  07   Q. And did you have an opportunity to observe the

  08 front and back and inside of the product at that point?

  09   A. Yes.

  10   Q. And what do you recall about any sort of

  11 phrasing that was included on the clothing?

3. Page 19:14 to 19:18 (Running 00:00:09.701)

  14   THE WITNESS: The phrasing of the -- say that

  15 again. I'm sorry.

  16   Q. (By Mr. Wagner) Let me ask you it this way:

  17 Do you recall there being any -- any words that appeared

  18 on the garments?

4. Page 19:21 to 22:18 (Running 00:04:07.309)

  21   THE WITNESS: I -- I remember seeing

  22 "COOLMAX," "COOL COMPRESSION," "lycra," "SWEAT IT OUT."

  23   Q. (By Mr. Wagner) And do you recall where the

  24 phrase "COOL COMPRESSION" appeared on the SWEAT IT OUT

  25 garments?

  01   A. Yeah. I've seen it on packaging. I've seen

  02 it also on the tags that are usually inside the garments,

  03 you know, either along the side or up on the collar,

  04 depending on what the garment is.

  05   Q. And how long has it been that way?

  06   A. How long has [sic] the garments had the

  07 writing on it?

                                                                          Total Number of Clips:1
                                                                     Total Number of Segments:9
                                                                 Total Running Time:00:26:14.820

                                                                                   Page 14 of 20
Case
08 Q.2:18-cv-05623-MMB  Document
       That COOL COMPRESSION on the406
                                    tag onFiled
                                           the 04/27/22 Page 165 of 371

09 inside.

10   A. Well, again, since I've been ordering, that I

11 can remember, at least some of it.

12   Q. Okay. How often do you look at the labels or

13 what you call the tagging on the garments?

14   A. Well, if we're giving a player a specific

15 garment, I look at it right away. We usually write their

16 names on the tags, or nowadays they actually press their

17 initials or name on the tags so they can be identified.

18 But usually if I'm looking at the product and handing it

19 out, I'm looking at the label.

20   Q. And how regular of an occasion is that during

21 the season?

22   A. Well, it varies. It depends on how many

23 people I have in the garments. Like this year I probably

24 only have one person in the garment. But, you know, I'd

25 say, on an average, it's around four to five garments a

01 year that I'm handing out. Sometimes a little bit more.

02   Q. And is it just one time you're handing out

03 those garments or is it on a regular basis or something

04 different?

05   A. It could be multiple times during the year,

06 yeah.

07   Q. So what are the responsibilities of the team's

08 equipment managers?

                                                                       Total Number of Clips:1
                                                                  Total Number of Segments:9
                                                              Total Running Time:00:26:14.820

                                                                                Page 15 of 20
Case
09 A.2:18-cv-05623-MMB       Document
      Well, the team's equipment       406
                                 manager,     Filed 04/27/22 Page 166 of 371
                                          they've

10 got a big job. They order all the bats, balls, uniforms,

11 undersleeves, underwear. They help us out with the --

12 the packing for our road trips, meaning all my trunks,

13 all the players' bats. And they purchase equipment,

14 basically: the gloves, bats, balls, jockstraps,

15 cups. Anything associated with the day-to-day

16 operations, game -- flip-flops, shoes. I mean, I

17 could go on and on. If they wear it, the clubhouse

18 attendants usually order it, you know, including hats

19 too.

20   Q. So how often do the athletic-training staff

21 and equipment-managing -- -manager staff interact?

22   A. Oh, daily. Multiple times. You know,

23 we're -- we're together 12 to 14 hours a day typically.

24 Usually the -- the clubhouse and the athletic-training

25 staff are the first ones at the field and the last ones

01 to leave.

02   Q. So what kind of interactions do the athletic

03 trainers and the equipment-manager staff have together?

04   A. Well, they help me with all of my trunks, a

05 lot of my ordering; my shirts and pants and shoes that I

06 wear, they order for me typically. So it would be my

07 underwear. They do our laundry for us. And daily, if I

08 need something, they're there to assist me, and I'm there

09 to help them.

                                                                       Total Number of Clips:1
                                                                  Total Number of Segments:9
                                                              Total Running Time:00:26:14.820

                                                                                Page 16 of 20
  Case
  10 Q.2:18-cv-05623-MMB        Document
         So you're aware that Lontex       406
                                     and Nike are Filed
                                                  in a 04/27/22 Page 167 of 371

  11 lawsuit over the phrasing "COOL COMPRESSION," correct?

  12   A. I am.

  13   Q. And I want to ask you some questions now, and

  14 I want you to disregard any knowledge that you have

  15 solely because -- or because you were aware of this

  16 lawsuit or someone in this lawsuit showed you something.

  17 I want to ask you questions just about your knowledge

  18 from outside of this lawsuit. Is that fair?

5. Page 22:20 to 23:10 (Running 00:00:48.770)

  20   Q. (By Mr. Wagner) Do you understand?

  21   A. I do. Yeah.

  22   Q. So from 2016 onward, outside this lawsuit,

  23 have you ever seen Nike compression garments?

  24   A. Yes.

  25   Q. In what circumstances have you seen Nike

  01 compression garments?

  02   A. Well, right around 2016 Nike also got a

  03 baseball contract to provide undergear for MLB. So

  04 players would be wearing these garments inside or

  05 underneath their unforms, and I've seen Nike, you know,

  06 throughout the game in advertising and in stores and

  07 everywhere, basically.

  08   Q. For this same time period of 2016 onward, have

  09 you seen -- what particular advertising have you seen

  10 that showed Nike compression garments?

                                                                        Total Number of Clips:1
                                                                   Total Number of Segments:9
                                                               Total Running Time:00:26:14.820

                                                                                 Page 17 of 20
   Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 168 of 371
6. Page 23:14 to 24:02 (Running 00:00:44.140)

  14   THE WITNESS: I definitely remember Nike,

  15 their big -- their big talk was Dri-FIT, right? So it

  16 was Dri-FIT Cool Compression. And that was the big shirt

  17 that guys started to wear underneath their uniform. And

  18 some of the players didn't like them that much, you know,

  19 at that point in time. It -- there wasn't -- it wasn't

  20 the same shirt that they've worn before. And that was

  21 probably the first time I ever associated Cool

  22 Compression and Nike together.

  23   Q. (By Mr. Wagner) So you said associating Cool

  24 Compression and Nike together. Where, outside of this

  25 lawsuit, materials you've reviewed before this lawsuit,

  01 have you seen Cool Compression in connection with Nike

  02 compression garments?

7. Page 24:04 to 25:10 (Running 00:01:54.051)

  04   THE WITNESS: Well, I definitely remember

  05 seeing a -- a Dick's Sporting Goods ad. I remember going

  06 to the store myself seeing Cool Compression, because even

  07 my own son asked me about Nike Cool Compression shirts.

  08 I've seen like little fliers, I believe, you know,

  09 advertisement type of fliers.

  10   Q. (By Mr. Wagner) So thinking back to the times

  11 you've seen Cool Compression with Nike, where have you

  12 seen it referred to Cool Compression?

  13   A. Where have I seen Nike and Cool Compression?

                                                                        Total Number of Clips:1
                                                                   Total Number of Segments:9
                                                               Total Running Time:00:26:14.820

                                                                                 Page 18 of 20
  Case 2:18-cv-05623-MMB
  14 Well,                    Document
           one, I remember going to a store 406
                                            and Filed 04/27/22 Page 169 of 371

  15 seeing the little poster of Nike Cool Compression. I

  16 remember -- you know, there's pamphlets and little

  17 brochures all the time in clubhouses. I definitely

  18 remember a little pamphlet, seeing Nike Dri-FIT Cool

  19 Compression shirts.

  20   Q. And you mentioned Dick's. Have you seen any

  21 Dick's advertising that referred to Cool Compression?

  22   A. I have.

  23   Q. What advertising is that?

  24   A. That is the pamphlets and also the little --

  25 what do you call it? -- the little stands, you know,

  01 where they're selling the garments in the store.

  02   Q. So have you ever referred to the Dick's online

  03 store page?

  04   A. Have I ever referred to it? Yes.

  05   Q. Do you recall whether you saw compression

  06 garments advertised on their store page?

  07   A. No.

  08   Q. So from 2016 onward, and of course outside

  09 this lawsuit, did you ever believe that Nike and SWEAT IT

  10 OUT had any of the same stretch technology?

8. Page 25:13 to 25:20 (Running 00:00:21.910)

  13   THE WITNESS: Well, I associated COOL

  14 COMPRESSION with -- with SWEAT IT OUT. I didn't know if,

  15 you know, they had any type of deal, you know, between

                                                                       Total Number of Clips:1
                                                                  Total Number of Segments:9
                                                              Total Running Time:00:26:14.820

                                                                                Page 19 of 20
  Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 170 of 371
  16 the two.

  17   Q. (By Mr. Wagner) So when you say you

  18 associated, did you have any belief in your mind as to

  19 whether Nike's Cool Compression and SWEAT IT OUT's COOL

  20 COMPRESSION were related in some way?

9. Page 25:23 to 26:08 (Running 00:00:36.410)

  23   THE WITNESS: Well, again, the only way I had

  24 known COOL COMPRESSION is through Lontex and SWEAT IT

  25 OUT. So, you know, I -- I wasn't really even worried

  01 about is there an association between the two.

  02   Q. (By Mr. Wagner) Can you say that again? I'm

  03 sorry. I want to make sure I heard it.

  04   A. Well, when I saw COOL COMPRESSION, you know, I

  05 only think of SWEAT IT OUT first. That's what I learned.

  06 I didn't know if there was an association between Nike

  07 and SWEAT IT OUT, you know, using the same terms.

  08   MR. WAGNER: No more questions.




                                                                         Total Number of Clips:1
                                                                    Total Number of Segments:9
                                                                Total Running Time:00:26:14.820

                                                                                  Page 20 of 20
      Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 171 of 371

                              Designation Run Report




                        DuggerCross


      __________________________________________________________________
                            Dugger, Keith 07-20-2021
      __________________________________________________________________




                     Cross Examination by Mr. Hynes01:28:31
    _____________________________________________________________________
     ____________________________________________________________________
                              Total Time01:28:31




ID:DuggerCross
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 172 of 371

                                                         DuggerCross

   Page/Line                                                Source                              ID

   26:17 - 28:4                                                                            DuggerCross.1
                         Dugger, Keith 07-20-2021 (00:01:33)
                         26:17 Mr. Dugger. We haven't met before, have we?
                         26:18 A. No, we have not.
                         26:19 Q. My name is Michael Hynes. I am with DLA
                         26:20 Piper, and I'm the lawyer for Nike in the lawsuit that
                         26:21 you just talked about.
                         26:22 But you know Mr. Wagner, don't you?
                         26:23 A. I have met him.
                         26:24 Q. How many times have you met Mr. Wagner?
                         26:25 A. I've talked to him twice. This is the first
                         27:1 time I've ever seen him.
                         27:2 Q. Have you exchanged emails with him?
                         27:3 A. I have.
                         27:4 Q. Have you signed a declaration that he sent to
                         27:5 you?
                         27:6 A. I have.
                         27:7 Q. Have you looked at pictures that have Nike
                         27:8 products that he sent you?
                         27:9 A. I have.
                         27:10 Q. And are some of those pictures Dick's
                         27:11 advertisements?
                         27:12 A. I believe so.
                         27:13 Q. Are they pamphlets like the ones you just
                         27:14 referenced in your testimony?
                         27:15 A. Yes.
                         27:16 Q. And isn't it true that you met Mr. Wagner
                         27:17 because he is your friend Efraim's lawyer?
                         27:18 A. Well, first of all, Efraim is an associate of
                         27:19 mine. He is a business colleague. I wouldn't
                         27:20 necessarily call him my friend.
                         27:21 Q. Does he call you "Doogie"?
                         27:22 A. Yep. Everyone in baseball calls me "Doogie."
                         27:23 Q. Let me make sure I got your testimony --
                         27:24 testimony straight now.
                         27:25 Mr. Efraim is not your friend. He's a
                         28:1 spokesperson or an associate. Is that what you said?
                         28:2 A. He's a colleague. I would consider him a
                         28:3 friend, but he's not someone I'm calling every day or,
                         28:4 you know, once a week, even two weeks.
    28:5 - 33:3                                                                            DuggerCross.2
                         Dugger, Keith 07-20-2021 (00:05:52)



Cross Examination by Mr. Hynes
                                                                                        Page 2/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 173 of 371

                                                        DuggerCross

   Page/Line                                               Source                             ID


                         28:5 Q. Okay. Mr. Dugger, did you sign a declaration
                         28:6 that was sent to you in 2020 by Mr. Wagner?
                         28:7 A. I did.
                         28:8 Q. Did you make any changes to that declaration?
                         28:9 A. I don't understand the question exactly.
                         28:10 Changes on what he sent to me?
                         28:11 Q. I can break it down for you.
                         28:12 A. Yep.
                         28:13 Q. So he sent you a piece of paper, right, by
                         28:14 email?
                         28:15 A. Yep.
                         28:16 Q. And it said, "Keith Dugger declares as
                         28:17 follows," and then it has some numbered paragraphs
                         28:18 underneath it, right?
                         28:19 A. Did you freeze?
                         28:20 Q. No. Do you want me to repeat the question?
                         28:21 A. Yeah.
                         28:22 Q. Okay. So -- you know what, let's do it this
                         28:23 way. When did you first learn about this lawsuit?
                         28:24 A. I can't give you the exact date off the top of
                         28:25 my head. I do remember -- the actual lawsuit, I don't
                         29:1 know. It was in 2020 at some point in time.
                         29:2 Q. How did you come to learn of it?
                         29:3 A. I was contacted by Efraim asking, basically,
                         29:4 if I had any samples or any of his product, if I could
                         29:5 take some pictures of it. But I didn't know it was
                         29:6 necessarily a lawsuit at that point in time.
                         29:7 Q. Okay. And did you send him some pictures?
                         29:8 A. I sure did.
                         29:9 Q. Okay. Where did you get the garments that you
                         29:10 took --
                         29:11 A. They're in my stockpile from spring training,
                         29:12 some of my travel bags and some of it here.
                         29:13 Q. Did you take the pictures?
                         29:14 A. I took the pictures.
                         29:15 Q. Okay.
                         29:16 A. I also had my -- I had some garments here that
                         29:17 I had one of my clubhouse attendants go in and take
                         29:18 pictures and send to me.
                         29:19 Q. What's your clubhouse attendant's name?



Cross Examination by Mr. Hynes
                                                                                       Page 3/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 174 of 371

                                                        DuggerCross

   Page/Line                                               Source                               ID


                         29:20 A. I have Alan Bossart, and I have Mike
                         29:21 Pontarelli, but I believe Alan Bossart might have taken
                         29:22 the picture [sic].
                         29:23 Q. Okay. When you say "stockpile," what do you
                         29:24 mean?
                         29:25 A. I have -- I have a supply of various garments.
                         30:1 Q. When you say "stockpile," are you referring to
                         30:2 just Lontex products?
                         30:3 A. You -- you name a company. I have a stockpile
                         30:4 of everything.
                         30:5 Q. Okay. How many garments are -- how many
                         30:6 Lontex garments are in your stockpile right now?
                         30:7 A. It varies, right? But it could be anywhere
                         30:8 from 10 to 30 different products.
                         30:9 Q. Is it your testimony that you've bought 30
                         30:10 products from Lontex this year?
                         30:11 A. My testimony is not -- I have not purchased
                         30:12 any this year.
                         30:13 Q. I thought what you -- you testified that on
                         30:14 average it was about four or five garments a year.
                         30:15 A. That is correct.
                         30:16 Q. So that means it would have taken about six
                         30:17 years to get a 30-garment stockpile, right?
                         30:18 A. Only on my purchase side. I've bought more at
                         30:19 periods of time. I've also had samples given to me. I
                         30:20 have had -- I've collected this over the years. I don't
                         30:21 throw these things away. They're expensive.
                         30:22 Q. Players --
                         30:23 A. And again, when -- when I say an "order" -- so
                         30:24 an order or a product, that can be six garments for one
                         30:25 individual.
                         31:1 Q. Is it your testimony that you've bought six
                         31:2 Lontex garments for an individual player?
                         31:3 A. Have I before --
                         31:4 Q. Yeah.
                         31:5 A. -- bought six garments?
                         31:6 Q. Yeah.
                         31:7 A. Yes, I have.
                         31:8 Q. Which player?
                         31:9 A. I can't recall.



Cross Examination by Mr. Hynes
                                                                                         Page 4/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 175 of 371

                                                       DuggerCross

   Page/Line                                              Source                              ID


                         31:10 Q. When you say "six garments," are you talking
                         31:11 about six different garments or the same garments?
                         31:12 A. It could be both.
                         31:13 Q. Okay. Can you name any players that got
                         31:14 any -- any combination of any Lontex products six --
                         31:15 six -- six garments in a shot? Any player.
                         31:16 A. Yeah. Charlie Blackman.
                         31:17 Q. Charlie -- Charlie Blackman.
                         31:18 A. Yeah.
                         31:19 Q. What year did you purchase six Lontex
                         31:20 garments?
                         31:21 A. I can't tell the you specific year.
                         31:22 Q. What years did Charlie Blackman play for the
                         31:23 Colorado Rockies?
                         31:24 A. He still plays for the Colorado Rockies.
                         31:25 Q. And when did he start playing for the Colorado
                         32:1 Rockies?
                         32:2 A. So Charlie is probably on his -- this is a
                         32:3 guess -- probably 12 years now.
                         32:4 Q. 12 years.
                         32:5 So is it your testimony that you bought six
                         32:6 garments for Charlie Blackman in the same year or over
                         32:7 the 12-year period?
                         32:8 A. No. At periods of time I've bought Charlie
                         32:9 multiple garments for that single year.
                         32:10 Q. Multiple garments for that single year.
                         32:11 I'm sorry. I don't understand. I'll ask my
                         32:12 question again.
                         32:13 Is it your testimony or is it not your
                         32:14 testimony that you bought Charlie Blackman six Lontex
                         32:15 garments in the same year?
                         32:16 A. My testimony is I have in the past, yes.
                         32:17 Q. Six garments in the same year all for Charlie
                         32:18 Blackman.
                         32:19 A. Yes. And they not necessarily have to be the
                         32:20 same exact garment.
                         32:21 Q. Understood. Okay.
                         32:22 MR. HYNES: Now can we pull up a document for
                         32:23 Mr. --
                         32:24 Q. (By Mr. Hynes) I'm sorry. It's Mr. "Dugger"?



Cross Examination by Mr. Hynes
                                                                                       Page 5/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 176 of 371

                                                         DuggerCross

   Page/Line                                                Source                               ID


                         32:25 A. That's correct.
                         33:1 Q. Okay.
                         33:2 MR. GAFFNEY: -- for Mr. Dugger,
                                                                                              DX892.1
                         33:3 LTX_EDPA_39890.
   33:8 - 47:22                                                                             DuggerCross.3
                         Dugger, Keith 07-20-2021 (00:15:35)
                         33:8 MR. HYNES: See if we can get it on the screen
                                                                                              DX892.1.1
                         33:9 there in front of the -- can you go to the first page of
                         33:10 this exhibit? Okay. Thank you. Okay.
                                                                                              DX892.1.2
                         33:11 Q. (By Mr. Hynes) So that's your name up there
                         33:12 on the top of this invoice, right?
                         33:13 A. That is correct.
                                                                                              DX892.1.3
                         33:14 Q. Okay. And it says, "Lontex Corp." there,
                         33:15 right? Top left-hand corner.
                         33:16 A. It does. Yes.
                                                                                              DX892.1.4
                         33:17 Q. And then it says, "Cool Performance Wear."
                         33:18 Do you see that?
                         33:19 A. I do.
                                                                                              DX892.1.5
                         33:20 Q. It also says, "sweatitout.com," right?
                         33:21 A. That's correct.
                                                                                              DX892.1.6
                         33:22 Q. And on the right-hand side it says, "Cool
                         33:23 Power" with an R in the middle of a circle there.
                         33:24 Do you see that?
                         33:25 A. I do.
                                                                                              DX892.1.7
                         34:1 Q. And then it says, "Cool Air" with a little
                         34:2 TM next to it, right?
                         34:3 A. Um-hum.
                                                                                              DX892.1.8
                         34:4 Q. And then down a little bit it says, "Dry Fire
                         34:5 Performance Wear." Do you see that?
                         34:6 A. I do.
                         34:7 Q. Okay. Now, do you associate "Cool Power" with
                         34:8 Lontex, the phrase?
                         34:9 A. I have seen it, but, honestly, I didn't
                         34:10 remember until you just showed me this invoice right
                         34:11 here.
                         34:12 Q. What about "Cool Air"? Do you remember that
                         34:13 being associated with Lontex?
                         34:14 A. I don't.
                         34:15 Q. Do you remember "Dry Fire" being associated
                         34:16 with Lontex?
                         34:17 A. I do not.



Cross Examination by Mr. Hynes
                                                                                         Page 6/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 177 of 371

                                                     DuggerCross

   Page/Line                                            Source                                   ID


                         34:18 Q. What about "Cool Performance Wear"; do you
                         34:19 remember that being associated with Lontex?
                         34:20 A. I do.
                         34:21 Q. Okay. And "SWEAT IT OUT," do you remember
                         34:22 that being associated with Lontex?
                         34:23 A. Yes.
                         34:24 Q. All right. Do you see COOL COMPRESSION
                         34:25 anywhere on this invoice? Do you see COOL COMPRESSION
                         35:1 referenced anywhere on this invoice?
                         35:2 A. I do not.
                                                                                              DX892.1.9
                         35:3 Q. Okay. It says here that you ordered four
                         35:4 white extra large thigh support shorts, right?
                         35:5 A. Yes.
                         35:6 Q. Okay. And that was -- is that -- and then it
                                                                                              DX892.1.10
                         35:7 says "Todd Helton" written there, right?
                         35:8 A. Yeah.
                         35:9 Q. So did you buy four pairs of shorts for Todd
                         35:10 Helton in 2019 [sic]?
                         35:11 A. Looking at this, it looks like I did.
                         35:12 Q. Um-hum. I'm -- I'm not aware of any other
                         35:13 invoice from 2019.
                         35:14 Does it refresh your recollection that you
                         35:15 bought four pairs of shorts from Lontex in 2009?
                         35:16 A. I'm sure I did.
                         35:17 Q. Did you buy any other products from Lontex in
                         35:18 2009?
                         35:19 A. Yep, I did.
                         35:20 Q. Okay. I don't have any invoices either from
                         35:21 the Rockies or from Lontex reflecting those sales.
                         35:22 Can you tell me what they are?
                         35:23 A. Well, I -- I had -- at that point in time I
                         35:24 had Troy Tulowitzki, and usually I was ordering or
                         35:25 getting at least a couple pair of shorts for him too. It
                         36:1 might not be under his name.
                         36:2 Q. Sorry. I didn't mean to interrupt you. Did
                         36:3 you finish your answer?
                         36:4 A. I did.
                         36:5 Q. Okay. Are you -- is it your testimony that
                         36:6 you bought -- that you're positive that you bought Lontex
                         36:7 garments for Troy Tulowitzki in 2009?



Cross Examination by Mr. Hynes
                                                                                          Page 7/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 178 of 371

                                                         DuggerCross

   Page/Line                                                Source                               ID


                         36:8 A. I'm not positive, but I know I supplied them.
                         36:9 Q. It could have been another year, right?
                         36:10 A. Well, he had surgery that year, so it was that
                         36:11 year for sure.
                         36:12 Q. So it is your testimony that you positively
                         36:13 bought Troy --
                         36:14 A. Positively I gave Troy Tulowitzki shorts. I
                         36:15 don't know if I ordered them specifically that year. It
                         36:16 could have been from one of my stockpiles.
                         36:17 Q. Now, it could have been from one of your
                         36:18 stockpiles?
                         36:19 A. Yeah.
                         36:20 Q. What -- what was the size of your stockpile of
                         36:21 Lontex garments in 2009?
                         36:22 A. Probably about the same as it is now.
                         36:23 Q. Which is what?
                         36:24 A. You know, four to six garments of every size,
                         36:25 maybe a little under that. Kind of varies.
                         37:1 Q. Four to six garments of every size. What are
                         37:2 the sizes?
                         37:3 A. Large and XL.
                         37:4 Q. Four to six. So that means eight to 12?
                         37:5 A. No. I've never had 12 -- 12 on [sic] stock.
                         37:6 Meaning, I've had probably a set of four
                         37:7 shorts, four shirts, sometimes tights, sometimes socks.
                         37:8 Q. Sometimes tights, sometimes socks.
                         37:9 How many? I -- I'm just confused. I don't
                         37:10 know what the size of your stockpile of Lontex is. I
                         37:11 haven't seen it.
                         37:12 A. Well, I don't know exactly either. I'm
                         37:13 telling you that normally I have about four of each size
                         37:14 garment.
                         37:15 Q. And there are two sizes? Is that what you
                         37:16 said?
                         37:17 A. Large and XL. And I have multiple places that
                         37:18 I keep my product.
                         37:19 Q. So four of each is eight, right? Or am I
                         37:20 missing something?
                         37:21 A. You're counting the wrong way.
                         37:22 Q. Okay.



Cross Examination by Mr. Hynes
                                                                                          Page 8/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 179 of 371

                                                     DuggerCross

   Page/Line                                            Source                              ID


                         37:23 A. Four large, four XL.
                         37:24 Q. Four large and four XL.
                         37:25 A. Yes.
                         38:1 Q. So that's a total of eight.
                         38:2 A. Total garments, yes.
                         38:3 Q. That's the stockpile.
                         38:4 A. That's what I'm calling the "stockpile."
                                                                                          DX892.2
                         38:5 MR. HYNES: Okay. Let's go to the next
                         38:6 invoice -- well, just the next page.
                                                                                         DX892.2.1
                         38:7 Q. (By Mr. Hynes) All right. The next invoice
                                                                                         DX892.2.2
                         38:8 is 2010. Do you see that?
                         38:9 A. I do.
                                                                                         DX892.2.3
                         38:10 Q. Okay. And it seems like you bought seven
                         38:11 garments in 2010, right?
                         38:12 A. It looks like at that period of time, yes.
                                                                                         DX892.2.4
                         38:13 Q. Okay. On this invoice do you see SWEAT IT OUT
                         38:14 on the right?
                         38:15 A. I do.
                                                                                         DX892.2.5
                         38:16 Q. Do you see Lontex Corp.?
                         38:17 A. I do.
                                                                                         DX892.2.6
                         38:18 Q. Do you see Cool Power?
                         38:19 A. Yes, sir.
                                                                                         DX892.2.7
                         38:20 Q. Do you see Cool Air?
                         38:21 A. Correct.
                                                                                         DX892.2.8
                         38:22 Q. Do you see Dry Fire?
                         38:23 A. I do.
                         38:24 Q. But you don't see COOL COMPRESSION, do you?
                         38:25 A. I do not.
                         39:1 Q. Okay. So is it -- is it fair to say that
                         39:2 in 2010 you bought -- you bought seven garments from
                         39:3 Lontex for the 200 players you testified you're
                         39:4 responsible for?
                         39:5 A. I'm not -- I'm saying I did purchase that
                         39:6 right there, yeah.
                         39:7 Q. Any others from Lontex?
                         39:8 A. In 2010?
                         39:9 Q. Yes.
                         39:10 A. I can't tell you. But I know who those are
                         39:11 for right there.
                         39:12 Q. You do?



Cross Examination by Mr. Hynes
                                                                                     Page 9/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 180 of 371

                                                       DuggerCross

   Page/Line                                              Source                               ID


                         39:13 A. Yeah.
                         39:14 Q. Who are they for?
                         39:15 A. Troy Tulowitzki, Todd Helton.
                         39:16 Q. And how do you know?
                         39:17 A. Because they had specific injuries:
                         39:18 thigh, groin, hip.
                                                                                             DX892.3
                         39:19 MR. HYNES: Okay. Can we go to the next
                         39:20 invoice, please, Val?
                                                                                            DX892.3.1
                         39:21 Q. (By Mr. Hynes) Okay. So we -- this is
                                                                                            DX892.3.2
                         39:22 from 6/21/2012. Do you see that date?
                         39:23 A. I do.
                                                                                            DX892.3.3
                         39:24 Q. Okay. And again, we see SWEAT IT OUT on the
                         39:25 right-hand side. Do you see that?
                         40:1 A. I do.
                                                                                            DX892.3.4
                         40:2 Q. And you see Cool Performance Wear again,
                         40:3 right?
                         40:4 A. That's correct.
                                                                                            DX892.3.5
                         40:5 Q. And you see Cool Power, right?
                         40:6 A. Yes.
                                                                                            DX892.3.6
                         40:7 Q. And Cool Air again, correct?
                         40:8 A. That's correct.
                         40:9 Q. And again, we don't see COOL COMPRESSION, do
                         40:10 we?
                         40:11 A. I do not.
                                                                                            DX892.3.7
                         40:12 Q. Okay. And then you have "Troy" written in the
                         40:13 bottom there. That's Troy -- Troy Tulowitzki, right?
                                                                                            DX892.3.8
                         40:14 A. That's Troy Tulowitzki, Jorgi de la Rosa,
                         40:15 Jhoulys Chacin. I couldn't tell you who the other guy
                         40:16 is.
                         40:17 Q. Josh -- Josh Outman? Does that sound
                         40:18 familiar?
                         40:19 A. Um-hum.
                         40:20 Q. Okay. So Troy had a groin injury and was out
                         40:21 starting in [sic] about May 30th, 2012; is that right?
                         40:22 A. Troy had an injury every year.
                         40:23 Q. And Jorgi de la Rosa had elbow problems in
                         40:24 May, didn't he, of 2012?
                         40:25 A. That's about the right time he hurt himself,
                         41:1 yeah.
                         41:2 Q. And Josh Outman was actually on the DL because



Cross Examination by Mr. Hynes
                                                                                        Page 10/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 181 of 371

                                                      DuggerCross

   Page/Line                                             Source                                  ID


                         41:3 of arm problems in 2012, right?
                         41:4 A. No. Josh Outman was actually on the DL
                         41:5 because he puked and tore his oblique.
                         41:6 Q. Okay. Injured though, correct?
                         41:7 A. That's correct.
                         41:8 Q. Okay. And Mr. Chasin, pectoral muscle injury?
                         41:9 A. That is correct.
                         41:10 Q. Okay. So these gentlemen had injuries. Is
                         41:11 that why you ordered them the Lontex products?
                         41:12 A. At this point in time, yes, correct.
                         41:13 Q. Isn't it true that the overwhelming majority
                         41:14 of instances where you purchased Lontex products were for
                         41:15 specific players that had suffered specific injuries?
                         41:16 A. Not all the time, no.
                         41:17 Q. That's not what I said.
                         41:18 A. You just asked me is this specific -- did I
                         41:19 order specific garments a majority of the time for these
                         41:20 individuals.
                         41:21 Q. For the -- that's right. For the majority of
                         41:22 purchases you make from -- the majority of purchases
                         41:23 you've made from Lontex over the years were for specific
                         41:24 players that suffered specific injuries, correct?
                         41:25 A. At times. Not all the time.
                         42:1 Q. That's what I said. I said the "majority of
                         42:2 times." Would you agree with me that it's the majority?
                         42:3 A. No. I won't say that because it's not
                         42:4 necessarily the majority. I'll say at periods of time I
                         42:5 am ordering for specific injuries.
                         42:6 Q. All right. So let's look at this invoice.
                         42:7 You have four players listed. They're all injured,
                         42:8 right?
                         42:9 A. Yeah.
                         42:10 Q. And you have six total garments, correct?
                         42:11 A. That's correct.
                         42:12 Q. And sometimes you order multiple garments for
                         42:13 the same player, right?
                         42:14 A. That's correct.
                         42:15 Q. And here, in fact, you have quantities of two
                         42:16 for two of those products, right?
                         42:17 A. That's correct.



Cross Examination by Mr. Hynes
                                                                                           Page 11/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 182 of 371

                                                       DuggerCross

   Page/Line                                              Source                                  ID


                         42:18 Q. Do you recall whether or not all of these
                         42:19 garments were for all these four injured players in 2012?
                         42:20 A. Not a hundred percent. I -- I guarantee I
                         42:21 gave them all at least one of those garments.
                         42:22 Q. And four out of six is a majority, right?
                         42:23 A. Yes, it is.
                                                                                                DX892.4
                         42:24 MR. HYNES: Okay. Let's go to the next
                                                                                               DX892.4.1
                         42:25 invoice.
                                                                                               DX892.4.2
                         43:1 Q. (By Mr. Hynes) That's your name, again, on
                         43:2 the top, 2013, right?
                         43:3 A. That is correct.
                                                                                               DX892.4.3
                         43:4 Q. Okay. SWEAT IT OUT, again, to the right --
                         43:5 A. Yes.
                         43:6 Q. -- correct?
                                                                                               DX892.4.4
                         43:7 Cool Performance Wear, we see that again,
                         43:8 right?
                         43:9 A. I do.
                                                                                               DX892.4.5
                         43:10 Q. Cool Power, you see that again, right?
                         43:11 A. Yes.
                                                                                               DX892.4.6
                         43:12 Q. Cool Air, you see that again, right?
                         43:13 A. Correct.
                         43:14 Q. Do see COOL COMPRESSION anywhere?
                         43:15 A. I do not.
                         43:16 Q. But it's still your testimony that it's COOL
                         43:17 COMPRESSION that you associated with SWEAT IT OUT
                         43:18 in 2013?
                         43:19 A. From the very time I've ever met Efraim, he's
                         43:20 used COOL COMPRESSION in his -- his --
                         43:21 Q. That's not what you -- that's not what your
                         43:22 lawyer asked you. Okay?
                         43:23 A. He asked me if I associated the name with
                         43:24 SWEAT IT OUT, and I do.
                         43:25 Q. Do you associate Cool Performance Wear with
                         44:1 SWEAT IT OUT?
                         44:2 A. At times, yes.
                         44:3 Q. What times?
                         44:4 A. I'm looking at an invoice right here. But not
                         44:5 when Efraim is giving his talks to us and talking about
                         44:6 the product.
                         44:7 Q. So you associate COOL COMPRESSION when he's



Cross Examination by Mr. Hynes
                                                                                           Page 12/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 183 of 371

                                                      DuggerCross

   Page/Line                                             Source                                  ID


                         44:8 talking but not on the invoices. Is that your testimony?
                         44:9 A. I associate -- no. I -- I see COOL
                         44:10 COMPRESSION on various garments I have too.
                         44:11 Q. Do you associate Cool Performance Wear with
                         44:12 SWEAT IT OUT?
                         44:13 A. I do.
                         44:14 Q. Do you associate Cool Power with SWEAT IT OUT?
                         44:15 A. I recall the name, but, no, not part of his
                         44:16 talk. I don't remember Cool Power being on any of the
                         44:17 labels.
                         44:18 Q. I'm just asking you -- I'm staring at these
                         44:19 invoices just like you are. They all say "Cool Power."
                         44:20 I'm asking you if you associate Cool Power with SWEAT IT
                         44:21 OUT? It's a yes or no.
                         44:22 A. I didn't prior to this, no.
                         44:23 Q. Okay. What about Cool Air? Do you associate
                         44:24 Cool Air with SWEAT IT OUT?
                         44:25 A. No.
                         45:1 Q. Do you associate Dry Fire with SWEAT IT OUT?
                         45:2 A. I do not.
                         45:3 Q. Okay. Only COOL COMPRESSION.
                         45:4 A. That's correct.
                         45:5 Q. Okay.
                         45:6 A. And COOLMAX.
                         45:7 Q. And COOLMAX.
                         45:8 A. Yes.
                                                                                               DX892.5
                         45:9 MR. HYNES: Let's go to the next invoice
                         45:10 please, Val.
                                                                                              DX892.5.1
                         45:11 Q. (By Mr. Hynes) Okay. This invoice is
                                                                                              DX892.5.2
                         45:12 dated 2015. It says you bought two garments for your 200
                         45:13 players in 2015 from Lontex.
                         45:14 A. Well, first of all -- can I go back? -- my
                         45:15 players are 25 players. Okay? 200 is what I -- I
                         45:16 oversee. So when you're saying my players, my direct
                         45:17 players is 25 players at the Major League level.
                         45:18 Q. Okay. Because in -- in your testimony when
                         45:19 your lawyer was --
                         45:20 A. My testimony is I oversee 200 players.
                         45:21 Q. Well, you said 40 and 200 in your direct
                         45:22 testimony.



Cross Examination by Mr. Hynes
                                                                                          Page 13/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 184 of 371

                                                        DuggerCross

   Page/Line                                               Source                                ID


                         45:23 A. No. A 40-man roster is -- we have
                         45:24 availability to collect -- to take 25 from the 40-man
                         45:25 roster for a Major League team. And then if you count
                         46:1 the Dominican Republic as part of our network, we're
                         46:2 somewhere between 175 and 200 players.
                                                                                                 clear
                         46:3 Q. I'm just confused.
                         46:4 A. I don't -- well, the problem you're confused
                         46:5 is, I don't purchase for minor leagues. I purchase
                         46:6 solely for the Major League level.
                         46:7 Q. Okay. So you oversee them, but you don't
                         46:8 purchase for them.
                         46:9 A. That is correct.
                         46:10 Q. Okay. And you said 40 players before because
                         46:11 that's the roster, but you don't purchase for 40 players;
                         46:12 you only purchase for -- what? -- 25?
                         46:13 A. So do you understand what a 40-man roster is?
                         46:14 Q. Sounds to me like there's 40 names on a
                         46:15 roster.
                         46:16 A. Yeah. So in the major leagues you have to
                         46:17 draw from your team daily. You have 40 players you can
                         46:18 draw from. 25 can only be with you during the season.
                         46:19 The other 15 can be in the minor leagues, and that's
                         46:20 where they are; they're typically in A ball, in double A
                         46:21 and triple A.
                         46:22 Q. Okay. So your testimony before where you said
                         46:23 you oversaw 40 -- 200 players and there were 40 Major
                         46:24 League Baseball players, that wasn't right. What you
                         46:25 really meant was there was 25 players that you were --
                         47:1 A. No. My testimony was spot-on. It's your
                         47:2 interpretation of what a Major League roster is.
                         47:3 Q. Okay.
                         47:4 A. Major League roster is 25 players.
                         47:5 Q. How many players do you purchase garments for?
                         47:6 A. For me?
                         47:7 Q. Yeah.
                         47:8 A. I'll purchase the garments for the -- whoever
                         47:9 is on my roster here or who is injured, and that can
                         47:10 vary. I could put someone on a 60-day DL, and
                         47:11 that 40-man roster can even go up to 50 to 60 if they're
                         47:12 on a 60-day DL.



Cross Examination by Mr. Hynes
                                                                                           Page 14/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 185 of 371

                                                     DuggerCross

   Page/Line                                            Source                                     ID


                         47:13 Q. So is it 25, 40, 50, 60, or 200 that you --
                         47:14 A. This sounds like a collective-bargaining
                         47:15 agreement instead of exactly what our roster is. I mean,
                         47:16 the argument is -- or what we're talking about is SWEAT
                         47:17 IT OUT and Lontex and COOL COMPRESSION, not our Major
                         47:18 League roster.
                         47:19 Q. No. What we're talking about is how many
                         47:20 players you purchase garments for. And you
                         47:21 testified 20 -- you -- that there are 40 players.
                         47:22 A. I said I oversee --
    48:2 - 53:1                                                                               DuggerCross.4
                         Dugger, Keith 07-20-2021 (00:05:43)
                         48:2 Q. (By Mr. Hynes) I'm going to ask you one more
                         48:3 time, and you can answer it or not.
                         48:4 How many players do you purchase garments for?
                         48:5 A. It varies year to year, but typically my Major
                         48:6 League roster, 25 players. I'm responsible to oversee
                         48:7 all -- all of our players throughout our minor leagues,
                         48:8 but I'll order anywhere from -- whoever is hurt that --
                         48:9 that needs the garment. I can order for a guy that's on
                         48:10 the 40-man roster that's playing in double A if I believe
                         48:11 he needs a garment.
                         48:12 Q. And that's because the primary purpose for
                         48:13 your decision to purchase Lontex garments is because the
                         48:14 player is hurt, right?
                         48:15 A. Or preventive.
                                                                                                DX892.5.2
                         48:16 Q. Well, here we are -- look at this one. 2015,
                         48:17 this invoice, you purchased two garments.
                         48:18 Did you only want to prevent injury to two
                         48:19 players?
                         48:20 A. Maybe that's all I needed at that period of
                         48:21 time.
                         48:22 MR. HYNES: Let's go to the next invoice.
                         48:23 First of all, can we go back, please -- go back to that
                         48:24 invoice.
                         48:25 THE WITNESS: Okay. That is an invoice not to
                         49:1 me. So this is exactly what I'm talking about. It's
                         49:2 attention John Duff (phonetic). This is a Minor League
                         49:3 purchase. So this has nothing to do with me.
                         49:4 Q. (By Mr. Hynes) Okay. If says "2015," right?
                         49:5 A. That's correct.



Cross Examination by Mr. Hynes
                                                                                           Page 15/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 186 of 371

                                                         DuggerCross

   Page/Line                                                Source                               ID


                         49:6 Q. It's the only invoice I have.
                         49:7 Is it fair to say you didn't purchase any
                         49:8 garments for your players in 2015?
                                                                                                clear
                         49:9 A. I can't recall.
                         49:10 Q. I don't have an invoice for 2016.
                         49:11 Is it fair to say you didn't purchase any
                         49:12 Lontex garments in 2016?
                         49:13 A. No, not necessarily.
                         49:14 Q. Do you know? Which garments?
                         49:15 A. I just said I don't know. Can't recall.
                         49:16 Q. Wouldn't there -- wouldn't there be an
                         49:17 invoice?
                         49:18 A. Not necessarily.
                         49:19 Q. Sometimes you purchase garments without an
                         49:20 invoice?
                         49:21 A. That is correct.
                         49:22 Q. How does that work?
                         49:23 A. Efraim can deliver them -- hand-deliver them
                         49:24 right to us when we're in Philadelphia. He can email
                         49:25 [sic] them. He can FedEx.
                         50:1 Q. How does he get paid?
                         50:2 A. Sometimes we -- we've paid him various ways.
                         50:3 I mean, it could -- could be an invoice. I don't know.
                         50:4 I can't recall every time that I've had to give him money
                         50:5 for a garment.
                         50:6 Q. Is it -- sorry. Go ahead.
                         50:7 A. Sometimes he'll even provided samples for us
                         50:8 too -- a lot of times for us.
                         50:9 Q. Do the Colorado Rockies pay vendors without
                         50:10 invoices, in your experience?
                         50:11 A. No, not typically.
                                                                                               DX892.6
                         50:12 MR. HYNES: Go to the next one.
                                                                                              DX892.6.1
                         50:13 Q. (By Mr. Hynes) It's 2017. Six
                                                                                              DX892.6.2
                         50:14 garments, 2017. Does that sound right?
                         50:15 A. That's correct.
                                                                                                clear
                         50:16 MR. HYNES: Okay. Go to the next invoice.
                         50:17 THE WITNESS: Can we go back to the invoice?
                         50:18 Q. (By Mr. Hynes) No. 2018.
                         50:19 A. It says "COOL COMPRESSION" on there too.
                         50:20 Q. That's important to you, isn't it?



Cross Examination by Mr. Hynes
                                                                                          Page 16/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 187 of 371

                                                      DuggerCross

   Page/Line                                             Source                                  ID


                         50:21 A. Well, that's what we're talking about right
                         50:22 here.
                         50:23 Q. Why is it so important to you?
                         50:24 A. It's not that important to me. It's -- it's
                         50:25 exactly what you asked me prior, was do I associate COOL
                         51:1 COMPRESSION with SWEAT IT OUT, and I do.
                         51:2 Q. It sounds like it's important to you, and I'm
                         51:3 just wondering why.
                         51:4 A. Cool --
                         51:5 Q. Did Mr. Wagner tell you it should be important
                         51:6 to you?
                         51:7 A. No. Mr. Wagner didn't tell me it's important
                         51:8 to me.
                                                                                              DX892.7.2
                         51:9 Q. Okay. So this is 2018, this invoice. Six,
                                                                                              DX892.7.3
                         51:10 seven, eight, nine garments in 2018. Does that sound
                         51:11 right?
                         51:12 A. Looks right, yeah.
                         51:13 Q. Would you purchase nine garments if you had a
                         51:14 stockpile?
                         51:15 A. Possibly.
                         51:16 Q. Your budget, you said, is limited for
                         51:17 garments, right?
                         51:18 A. Yeah. I mean, I don't have a huge number I
                         51:19 can go purchase garments.
                         51:20 Q. So why would you buy nine Lontex garments if
                         51:21 you had a stockpile full of Lontex garments?
                         51:22 A. Maybe I had to up my restock or restock my
                         51:23 stockpile.
                         51:24 Q. You don't know one way or the other, do you?
                         51:25 A. I know what I need when I order it.
                         52:1 Q. Well, that's my point, kind of.
                         52:2 Why would you order nine garments if you had a
                         52:3 stockpile?
                         52:4 A. Well, if you look, one of them -- two of them
                         52:5 are socks. I don't typically order socks that much. So
                         52:6 if you took away the socks, then you go right back to
                         52:7 what I've been saying.
                         52:8 Q. Seven?
                         52:9 A. Yeah. Roughly around six garments a year.
                         52:10 Q. Would you keep purchasing six garments a year



Cross Examination by Mr. Hynes
                                                                                          Page 17/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 188 of 371

                                                       DuggerCross

   Page/Line                                              Source                                  ID


                         52:11 even if you had a stockpile?
                         52:12 A. Not necessarily, no.
                         52:13 Q. Because that wouldn't make sense given your
                         52:14 limited budget for garments, right?
                         52:15 A. I think my limited budget has nothing to do
                         52:16 with this.
                         52:17 Q. Are you going to answer my question or . . .
                         52:18 A. I'm answering your question. My limited
                         52:19 budget has nothing to do with what I purchase. If I need
                         52:20 something, I can get approval to order it.
                         52:21 Q. Well, if you had a limited budget, why would
                         52:22 you buy a whole bunch of garments if you already had a
                         52:23 stockpile of garments?
                         52:24 A. I wouldn't.
                         52:25 Q. That's what I thought.
                         53:1 Okay. Let's go back to your declaration.
    53:5 - 56:7                                                                              DuggerCross.5
                         Dugger, Keith 07-20-2021 (00:04:23)
                         53:5 Q. (By Mr. Hynes) Do you have an office line?
                         53:6 A. Do I have an office line?
                         53:7 Q. Yeah. Like a professional telephone number
                         53:8 people can call you for business --
                         53:9 A. Yeah. I have multiple lines.
                         53:10 Q. Okay. Does Mr. Nathan call you from time to
                         53:11 time?
                         53:12 A. Yes, he has.
                         53:13 Q. And what numbers does he use? I don't need
                         53:14 the actual digits. Just like is it -- which numbers does
                         53:15 he call to reach you?
                         53:16 A. Good question. He could call the main line,
                         53:17 which they transfer numbers to me. He could call my
                         53:18 extension. Like in spring training, I have a different
                         53:19 extension.
                         53:20 Q. Do you -- sorry. Keep going.
                         53:21 A. Yeah. All my -- all my phones come to one
                         53:22 email -- excuse me -- one place. So my -- my phone
                         53:23 number in Arizona comes to this phone here in Colorado.
                         53:24 Q. Do you have Mr. Nathan's contact information
                         53:25 saved in your cell phone?
                         54:1 A. I do have a number for him. Yes.
                         54:2 Q. All right.



Cross Examination by Mr. Hynes
                                                                                          Page 18/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 189 of 371

                                                       DuggerCross

   Page/Line                                              Source                                 ID


                         54:3 MR. HYNES: That's not the right document.
                                                                                               DX891.1
                         54:4 It's Rockies 259. She's scrolling. Okay.
                                                                                              DX891.1.1
                         54:5 Q. (By Mr. Hynes) Do you recall receiving a
                                                                                              DX891.1.2
                         54:6 voice -- a voice mail message from Mr. Nathan on
                         54:7 February 12th, 2020 at 11:52 a.m.?
                         54:8 A. On my cell phone?
                                                                                              DX891.1.3
                         54:9 Q. 619 -- 610-909-4802, Mailbox 2010.
                         54:10 A. So I -- I couldn't tell you exactly.
                         54:11 MR. WAGNER: Can you say that number again?
                         54:12 I'm sorry, Michael.
                         54:13 MS. FADIS: Do you know what the date of that
                         54:14 document is? Rockies 259.
                         54:15 MR. HYNES: Rockies 259 is the document.
                         54:16 The number that you asked for is 610-909-4802
                         54:17 for Mailbox 2010.
                         54:18 THE WITNESS: I don't know what that 610 is,
                         54:19 to be honest. My extension is 2010.
                         54:20 Q. (By Mr. Hynes) Okay. The -- Val will pull up
                                                                                              DX891.1.4
                         54:21 the email in a minute, but it says from S-T-A-D-M-I-N at
                         54:22 coloradorockies.com to D-U-G-G-E-R-K at
                         54:23 coloradorockies.com, and it says, "You have received a
                                                                                              DX891.1.5
                         54:24 voice mail message."
                         54:25 A. Yeah. So that probably went to our main line
                         55:1 that was transferred to me on a voice mail.
                         55:2 Q. Do you get emails like that when someone
                         55:3 leaves a voice mail for you?
                         55:4 A. I do, yes.
                         55:5 Q. Okay. Does that refresh your recollection as
                         55:6 to whether you received a telephone call on
                         55:7 February 12th, 2020 from Mr. Nathan?
                         55:8 A. It does not.
                         55:9 Q. Okay. Do you recall speaking to him in or
                         55:10 around February, 2020?
                         55:11 A. Yeah. Roughly towards the end of the month
                         55:12 there somewhere. I don't know the exact date, but yeah.
                         55:13 Q. What did you guys talk about?
                         55:14 A. Actually, he asked if I had any garments left
                         55:15 in my stockpile and if I could take pictures of the
                         55:16 labels.
                         55:17 Q. Okay. And did you do that?



Cross Examination by Mr. Hynes
                                                                                          Page 19/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 190 of 371

                                                       DuggerCross

   Page/Line                                              Source                                 ID


                         55:18 A. I believe I did, yes.
                         55:19 Q. Do you recall how many garments were left in
                         55:20 your stockpile at that time?
                         55:21 A. The exact number of garments I have? No, I
                         55:22 cannot recall.
                         55:23 Q. Yeah. At that time, when he asked you to go
                         55:24 take photographs of garments in your stockpile, do you
                         55:25 remember how many garments were in your stockpile?
                         56:1 A. No. Not exactly the amount, no.
                         56:2 Q. Okay. And then you sent him a text message
                         56:3 with some photographs of garments, right?
                         56:4 A. That's correct.
                         56:5 Q. Okay.
                         56:6 MR. HYNES: Val, can you pull up
                                                                                              DX890.1
                         56:7 LTX_EDPA_39880?
   56:8 - 58:18                                                                             DuggerCross.6
                         Dugger, Keith 07-20-2021 (00:02:37)
                         56:8 Q. (By Mr. Hynes) And I'm sorry for the delay.
                         56:9 I tried to send you some of these documents, but UPS let
                         56:10 us down, but I'm trying to do the best I can here with
                         56:11 your time.
                         56:12 A. No problem.
                                                                                              DX890.1.1
                         56:13 Q. All right. I know this is a crummy copy, but
                         56:14 do you see --
                         56:15 MR. HYNES: Scroll up.
                                                                                              DX890.1.2
                         56:16 Q. (By Mr. Hynes) Do you see where it says "KD"?
                         56:17 A. Year.
                         56:18 Q. And then it says "Keith"?
                         56:19 A. Yeah.
                         56:20 Q. And there is a picture of a garment there, and
                                                                                              DX890.1.3
                         56:21 it says, "Here you go my friend."
                         56:22 A. Yeah.
                         56:23 Q. Do you remember writing, "Here you go my
                         56:24 friend" to Mr. Nathan?
                         56:25 A. Yeah.
                         57:1 Q. Do you want to modify the testimony when you
                         57:2 said you didn't think he was your friend, that he was a
                         57:3 colleague and an associate?
                         57:4 A. No. A close friend would be someone I
                         57:5 associate with weekly and daily. He's an acquaintance.
                         57:6 Q. He's an acquaintance?



Cross Examination by Mr. Hynes
                                                                                         Page 20/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 191 of 371

                                                      DuggerCross

   Page/Line                                             Source                                    ID


                         57:7 A. Yes.
                         57:8 Q. So it wasn't accurate when you wrote "here you
                         57:9 go my friend"?
                         57:10 A. That's what I wrote right there.
                         57:11 Q. Did you --
                         57:12 A. Have you ever called anyone a friend before
                         57:13 that's not truly your friend?
                                                                                                DX890.1.4
                         57:14 MR. HYNES: Can you scroll down?
                         57:15 Q. (By Mr. Hynes) It says, "Hi Keith. Great
                         57:16 picture of the" -- "of the outside shirt. We need the
                         57:17 label inside. It's right at the bottom of the shirt
                         57:18 inside the seam. The label is about 11 1/2 [sic] inches
                         57:19 by 2 inches. Must say on label COOL COMPRESSION" --
                         57:20 circle with an R in the middle. "I will send you an
                         57:21 example photo. Thank you."
                         57:22 Do you see that?
                         57:23 A. I do, yes.
                         57:24 Q. Do you recall this text exchange?
                         57:25 A. I do.
                         58:1 Q. Okay. What did you do after you received the
                         58:2 example photo that he sent?
                         58:3 A. I went and looked at some of my samples that I
                         58:4 had, or my stockpile, to see if I had any of those
                         58:5 labels.
                         58:6 Q. But you don't remember how many garments were
                         58:7 in that stockpile, do you?
                         58:8 A. I do not.
                         58:9 Q. Where was the stockpile?
                         58:10 A. I have -- I told you I have multiple. I have
                         58:11 some in my trunks. I have some at spring training. I
                         58:12 have some here.
                         58:13 Q. How old are the garments in your stockpiles?
                         58:14 A. I can't tell you exactly how old the garments
                         58:15 are.
                         58:16 Q. Okay.
                                                                                                DX894.1
                         58:17 MR. HYNES: Val, can you pull up 36382, which
                         58:18 is the LTX_EDPA?
  58:19 - 62:11                                                                               DuggerCross.7
                         Dugger, Keith 07-20-2021 (00:03:19)
                                                                                                DX894.1.1
                         58:19 Q. (By Mr. Hynes) All right. So this is an
                                                                                                DX894.1.2
                         58:20 e-mail from you to sales@sweatitout.com dated March 30th,



Cross Examination by Mr. Hynes
                                                                                           Page 21/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 192 of 371

                                                         DuggerCross

   Page/Line                                                Source                            ID


                         58:21 2020, 3:48 p.m., right?
                         58:22 A. That is correct.
                         58:23 Q. And you sent this from your business email
                         58:24 address?
                         58:25 A. Yes.
                                                                                           DX894.1.3
                         59:1 Q. Okay. And you signed it "Doogie," right?
                         59:2 A. I did.
                         59:3 Q. But he's not your friend, right?
                         59:4 A. Every single person in baseball calls me
                         59:5 "Doogie."
                         59:6 Q. Okay.
                         59:7 A. There is not a person in this business that
                         59:8 doesn't know me by "Doogie."
                                                                                            DX894.2
                         59:9 MR. HYNES: Let's go to the next page. Behind
                                                                                           DX894.2.1
                         59:10 it. Let's go to the top, please.
                                                                                           DX894.2.2
                         59:11 Q. (By Mr. Hynes) That says "AB, Alan"?
                         59:12 A. Yeah.
                         59:13 Q. Who is that?
                         59:14 A. That's Alan Bossart. He's the clubhouse --
                         59:15 visiting clubhouse attendant.
                         59:16 Q. Okay. So --
                         59:17 A. During spring training, he is kind of the one
                         59:18 that runs this clubhouse here.
                         59:19 Q. So you didn't take this picture, right?
                         59:20 A. I did not. I had him take it and send from my
                         59:21 stockpile that's here.
                                                                                           DX894.2.3
                         59:22 Q. All right. So you see the -- the top photos
                         59:23 of the front of the shirt -- of a shirt, right?
                         59:24 A. I do.
                                                                                           DX894.2.4
                         59:25 MR. HYNES: And then let's scroll down a
                         60:1 little, Val.
                         60:2 Q. (By Mr. Hynes) And then you see this label,
                         60:3 right?
                         60:4 A. I do.
                         60:5 Q. So you -- you can't testify under oath for
                         60:6 certain that this label appeared in that shirt because
                         60:7 you didn't take the picture, right?
                         60:8 A. I did not take the picture.
                         60:9 Q. Yeah. So you don't know if that label appears
                         60:10 in that shirt or not, do you?



Cross Examination by Mr. Hynes
                                                                                       Page 22/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 193 of 371

                                                        DuggerCross

   Page/Line                                               Source                              ID


                         60:11 A. I can probably go in my stockpile right now
                         60:12 and show you that label.
                         60:13 Q. So is it your testimony that I can come
                         60:14 inspect your stockpile?
                         60:15 A. No.
                         60:16 Q. Yeah.
                                                                                             DX894.3
                         60:17 MR. HYNES: All right. Next page, please.
                         60:18 Q. (By Mr. Hynes) It's another shirt, right,
                         60:19 outside of a shirt, correct?
                         60:20 A. Yep.
                         60:21 Q. You didn't take that photograph, did you?
                         60:22 A. I don't know. I mean, I can't say on --
                         60:23 Q. Well, do you --
                         60:24 MR. HYNES: If you could scroll back up to the
                         60:25 top of this.
                         61:1 Q. (By Mr. Hynes) It says, "AB Alan," right?
                         61:2 A. Yeah.
                         61:3 Q. Okay. So doesn't this suggest to you that
                         61:4 Alan took the photographs?
                         61:5 A. That is correct.
                                                                                             DX894.4
                         61:6 MR. HYNES: All right. Let's go back down to
                         61:7 the next page.
                         61:8 Q. (By Mr. Hynes) All right. So you didn't take
                         61:9 this picture, right, either of these two pictures?
                         61:10 A. If this is associated with that same email,
                         61:11 then I did not take those pictures.
                         61:12 Q. So you can't testify under oath, either, that
                         61:13 you know that that tag appears in that shirt, can you?
                         61:14 A. Only based on the picture that Alan took.
                         61:15 Q. But you don't know because you didn't take the
                         61:16 pictures, right?
                         61:17 A. I did not take the picture.
                                                                                             DX894.5
                         61:18 MR. HYNES: Okay. Let's scroll down.
                         61:19 Q. (By Mr. Hynes) There is another shirt here,
                         61:20 right?
                         61:21 A. That's correct.
                         61:22 Q. Alan took that picture, too, right?
                         61:23 A. If it's associated with the same email.
                                                                                             DX894.6
                         61:24 MR. HYNES: Okay. Keep going down.
                         61:25 Q. (By Mr. Hynes) And then there's another



Cross Examination by Mr. Hynes
                                                                                        Page 23/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 194 of 371

                                                       DuggerCross

   Page/Line                                              Source                                  ID


                         62:1 shirt. Alan took that one, too, right?
                         62:2 A. Again, if it's associated with the same email.
                                                                                                DX894.7
                         62:3 MR. HYNES: Let's keep going down.
                         62:4 Q. (By Mr. Hynes) All right. So then there's
                         62:5 this brochure, right?
                         62:6 A. Yeah.
                         62:7 Q. Why did you send a brochure to Mr. Nathan?
                         62:8 A. Why?
                         62:9 Q. Yes.
                         62:10 A. I don't know.
                                                                                               DX894.7.1
                         62:11 Q. Okay. On the brochure --
   62:16 - 63:5                                                                              DuggerCross.24
                         Dugger, Keith 07-20-2021 (00:00:32)
                         62:16 Q. (By Mr. Hynes) But in the meanwhile, you see
                                                                                               DX894.7.2
                         62:17 it says "True Compression" at the top?
                         62:18 A. I do.
                                                                                               DX894.7.3
                         62:19 Q. Okay. And then it says "SWEAT IT OUT" on the
                         62:20 first line. Do you see that?
                         62:21 A. Correct.
                                                                                               DX894.7.4
                         62:22 Q. Use [sic] the word capital C "Compression" at
                         62:23 the end there? At the end of that first line --
                         62:24 A. That is correct.
                         62:25 Q. There is no -- there's no cool in front of it,
                         63:1 right?
                         63:2 A. I don't see any cool.
                         63:3 Q. Actually, there's not COOL COMPRESSION
                         63:4 anywhere in this brochure that you sent Mr. Nathan,
                         63:5 right?
   63:7 - 63:18                                                                              DuggerCross.8
                         Dugger, Keith 07-20-2021 (00:00:33)
                         63:7 THE WITNESS: Again, did I send him this or
                         63:8 did Alan Bossart?
                         63:9 Q. (By Mr. Hynes) You sent -- you sent it to
                         63:10 him. You sent him what you sent him, and it has AB at
                         63:11 the top. And as we just established, the photographs
                         63:12 were taken by -- by Alan, and then you sent those images
                         63:13 to Nathan, right -- Mr. Nathan?
                         63:14 A. I forwarded it to Nathan, yes.
                         63:15 Q. All right. And you don't see COOL COMPRESSION
                         63:16 anywhere in this document?
                         63:17 A. I do not, no.
                                                                                                 clear
                         63:18 Q. All right.



Cross Examination by Mr. Hynes
                                                                                          Page 24/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 195 of 371

                                                       DuggerCross

   Page/Line                                              Source                                  ID

   64:6 - 69:22                                                                              DuggerCross.9
                         Dugger, Keith 07-20-2021 (00:06:43)
                         64:6 Q. (By Mr. Hynes) Okay. Mr. Dugger, so we just
                         64:7 established, did we not, that in March of 2020 or late
                         64:8 February/early March 2020 you had communications with
                         64:9 Mr. Nathan, during which he asked you to send him some
                         64:10 photos of the garments in your stockpile, right?
                         64:11 A. That's correct.
                                                                                               DX893.1
                         64:12 Q. Okay. And I'm showing you this document,
                                                                                               DX893.1.1
                         64:13 Rockies 374, and that's an email from Mr. Wagner, right?
                         64:14 A. Yeah.
                                                                                               DX893.1.2
                         64:15 Q. Okay. And it said -- it says, "Hi Keith.
                         64:16 Efraim and I want to thank you so much for having that
                         64:17 call with me a couple weeks ago just before all the
                         64:18 craziness of COVID began."
                         64:19 Do you see that?
                         64:20 A. I do.
                         64:21 Q. Okay. So is it fair to say that you first met
                         64:22 Mr. Wagner in February of 2020 or was it earlier?
                         64:23 A. No. I actually believe it was in March.
                         64:24 Q. Okay. This says "a couple of weeks ago."
                                                                                               DX893.1.3
                         64:25 It's dated April 4th. So you think it's early March or
                         65:1 mid-March, 2020?
                         65:2 A. I do. I believe it's probably mid-March
                         65:3 sometime.
                         65:4 Q. Okay. And the cc says
                                                                                               DX893.1.4
                         65:5 Craig.Crocket@troutman.com. Do you know who that is?
                         65:6 A. I do not.
                                                                                               DX893.1.5
                         65:7 Q. Okay. Then the second sentence says, "We put
                         65:8 together a written statement that I believe is consistent
                         65:9 with what you talked about with me."
                         65:10 Do you see that?
                         65:11 A. I do.
                         65:12 Q. So okay. So did you have a conversation with
                         65:13 Mr. Wagner prior to April 4th --
                         65:14 A. Yes.
                         65:15 Q. -- April -- sorry -- April 4th, 2020?
                         65:16 A. Yes.
                         65:17 Q. How many conversations?
                         65:18 A. Not many, if -- if -- if more than one.
                         65:19 Q. Do you remember?



Cross Examination by Mr. Hynes
                                                                                          Page 25/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 196 of 371

                                                        DuggerCross

   Page/Line                                               Source                               ID


                         65:20 A. I do not.
                         65:21 Q. You don't remember whether it was one or more
                         65:22 than one?
                         65:23 A. That is correct.
                         65:24 Q. Okay. Do you know how long -- the amount of
                         65:25 time -- you spent speaking with Mr. Wagner prior to
                         66:1 April 4th, 2020?
                         66:2 A. Well, I know one thing. If you get 20 minutes
                         66:3 out of me during that time of the year, you're lucky. So
                         66:4 it wasn't very long.
                         66:5 Q. Okay. So it wasn't a very long conversation?
                         66:6 A. That's correct.
                                                                                             DX893.1.6
                         66:7 Q. Okay. And then he says, "Assuming it is,
                         66:8 would you please sign and send us back the signature
                         66:9 page. If you have questions" -- and then he gives you a
                         66:10 phone number -- "these days (working from home)."
                         66:11 Do you see that?
                         66:12 A. I do.
                         66:13 Q. Okay. And then in the attachment section it
                                                                                             DX893.1.7
                         66:14 says, "Dugger Declaration pdf - Extension."
                         66:15 Do you see that?
                         66:16 A. I do.
                         66:17 Q. Okay. So do you know what a .pdf is?
                         66:18 A. I do.
                         66:19 Q. Are you able to edit a .pdf document?
                         66:20 A. You are not.
                                                                                              DX893.2
                         66:21 MR. HYNES: Okay. Let's go to the next page.
                         66:22 Q. (By Mr. Hynes) And this is -- do you
                         66:23 recognize this?
                         66:24 A. So far, yes. Yeah.
                         66:25 Q. Okay. What is it?
                         67:1 A. The declaration.
                         67:2 Q. Did you make any changes at all to this
                         67:3 declaration?
                         67:4 A. Did -- did I make changes to the declaration?
                         67:5 Q. Yes. That's my question.
                         67:6 A. Well, what I'm reading right here, I don't
                         67:7 think I made any changes.
                         67:8 Q. Do you recall making any changes?
                         67:9 A. I'm not sure, to be honest with you.



Cross Examination by Mr. Hynes
                                                                                         Page 26/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 197 of 371

                                                       DuggerCross

   Page/Line                                              Source                                ID


                         67:10 Q. Okay. You don't know one way or the other
                         67:11 whether you made any changes to the declaration that
                         67:12 Mr. Wagner sent you?
                         67:13 A. Well, I didn't make any changes to a .pdf
                         67:14 file. I know that.
                         67:15 Q. Did you call him on the phone and say I have
                         67:16 to make a change or this is inaccurate or anything like
                         67:17 that?
                         67:18 A. I'd have to talk to Brian about that.
                         67:19 Q. Why? Do you remember or --
                         67:20 I'm sorry. Do you need -- do you need a
                         67:21 moment? I'm sorry. Do you need a moment to deal with
                         67:22 the work?
                         67:23 A. No. Somebody just barged in my door. Sorry.
                         67:24 Q. No. That's okay. If you have to take a
                         67:25 moment to -- to deal with something, just let me know.
                         68:1 A. No. I'm good. Thank you.
                         68:2 Q. Okay. Why would you need to talk to the
                         68:3 Rockies general counsel about that?
                         68:4 A. Well, you're asking about did I make changes
                         68:5 to this. I don't know. There might have been some edits
                         68:6 that we talked about. I'm not sure.
                         68:7 Q. Do you recall talking to somebody about making
                         68:8 edits to the declaration?
                         68:9 A. The only person that I would have talked to is
                         68:10 Brian.
                         68:11 Q. Okay. As you sit here today, do you recall
                         68:12 making any changes to the declaration that Mr. Wagner
                         68:13 sent you on April 4th, 2020?
                         68:14 A. I don't recall.
                                                                                             DX893.2.1
                         68:15 Q. Okay. Can you look at paragraph 6 of this
                         68:16 Rockies 326? Do you see where that paragraph --
                                                                                             DX893.2.2
                         68:17 paragraph 6, it starts with, "In these interactions
                         68:18 consistently since at least prior to 2010."
                         68:19 Do you see that?
                         68:20 A. "Since at least prior to 2010." Yeah.
                         68:21 Q. Yeah.
                         68:22 Do you -- do you -- do you know how -- how
                         68:23 that date was selected?
                         68:24 A. The exact date, 2010?



Cross Examination by Mr. Hynes
                                                                                         Page 27/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 198 of 371

                                                      DuggerCross

   Page/Line                                             Source                           ID


                         68:25 Q. Yeah.
                         69:1 A. That's about the first time I think I ever --
                         69:2 close to the first time I ever met Efraim.
                         69:3 MR. HYNES: Well, can you scroll up to
                                                                                       DX893.2.3
                         69:4 paragraph 4?
                                                                                       DX893.2.4
                         69:5 Q. (By Mr. Hynes) It says you've been familiar
                         69:6 with him for 15 years.
                         69:7 A. I've ordered from him for 15 years.
                         69:8 Q. Yeah. So --
                         69:9 A. I knew of him prior to me ordering from him.
                         69:10 Q. Well, 2020 minus 15 is 2005, but that
                         69:11 says "2010."
                         69:12 A. Yeah.
                         69:13 Q. So my question is do you know how 2010 was
                         69:14 selected?
                         69:15 A. As probably the closest date I could
                         69:16 recollect, but I don't know.
                         69:17 Q. That was probably the closest date you
                         69:18 could --
                         69:19 Did you choose 2010?
                         69:20 A. I believe so.
                         69:21 Q. You don't know one way or the other, though,
                         69:22 do you?
   69:24 - 71:6                                                                      DuggerCross.10
                         Dugger, Keith 07-20-2021 (00:01:28)
                         69:24 THE WITNESS: I -- I believe I chose 2010 as
                         69:25 kind of a guesstimate of the time frame.
                         70:1 Q. (By Mr. Hynes) It's a guesstimate of the time
                         70:2 frame?
                         70:3 A. Yeah.
                         70:4 Q. So you don't know whether it's 2010.
                         70:5 A. It's the -- it's the best guess -- best date I
                         70:6 can give you or closest to the timeline.
                         70:7 MR. HYNES: Go to the next sent- -- next
                         70:8 paragraph, please.
                                                                                       DX893.2.5
                         70:9 Q. (By Mr. Hynes) There's 2010 again.
                         70:10 How was that date selected?
                         70:11 A. Probably the same thing: When he started his
                         70:12 presentations at PBATS.
                         70:13 Q. I thought you testified earlier that you've
                         70:14 been hearing presentations from him since 2005?



Cross Examination by Mr. Hynes
                                                                                  Page 28/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 199 of 371

                                                         DuggerCross

   Page/Line                                                Source                              ID


                         70:15 A. I said approximately 15 years, yes.
                         70:16 Q. And 20 minus 15 is 2005, right?
                         70:17 A. If you take 15 from 20, yes.
                         70:18 Q. Yeah. So why didn't you put 2005 in here?
                         70:19 A. Because probably that's when I started to make
                         70:20 my orders. I don't think I made any orders way back
                         70:21 in 2005.
                         70:22 Q. Well, we -- I showed you an invoice before
                         70:23 from 2009, right?
                         70:24 A. Yes.
                         70:25 Q. Is it your testimony that you didn't make any
                         71:1 purchases from Lontex prior to 2009?
                         71:2 A. No. That isn't my testimony. I'm not sure
                         71:3 when I started my first orders with Lontex.
                         71:4 Q. Yep.
                         71:5 MR. HYNES: Okay. Val, can you pick -- pull
                                                                                              DX895.1
                         71:6 up Rockies 258, please?
    71:7 - 72:4                                                                            DuggerCross.11
                         Dugger, Keith 07-20-2021 (00:00:56)
                                                                                             DX895.1.1
                         71:7 Q. (By Mr. Hynes) All right. This is another
                                                                                             DX895.1.2
                         71:8 e-mail from Mr. Wagner to you. It's -- and it says, "Hi
                                                                                             DX895.1.3
                         71:9 Keith. Resending the declaration with my short note
                                                                                             DX895.1.4
                         71:10 below." Smiley face.
                         71:11 Do you see that?
                         71:12 A. I do see that, yes.
                         71:13 Q. Do you recall Mr. Wagner -- oh, sorry.
                                                                                             DX895.1.5
                         71:14 And again, in the attachment line it says,
                         71:15 "declaration," dot, "pdf," right? Do you see that?
                         71:16 A. I'm looking. I'm sorry.
                         71:17 Q. That's okay. It's right above "Hi Keith." Do
                         71:18 you see it says "Attachment" in the heading there?
                         71:19 A. I do, yes.
                         71:20 Q. Yeah. It says dot, "pdf" again?
                         71:21 A. It does.
                         71:22 Q. Yeah. So that's another document that you're
                         71:23 unable to edit because it's a .pdf, right?
                         71:24 A. That's correct.
                         71:25 Q. Okay. Do -- do you know why he resent it to
                         72:1 you?
                         72:2 A. Not exactly. I don't right now, no.
                         72:3 Q. Okay.



Cross Examination by Mr. Hynes
                                                                                        Page 29/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 200 of 371

                                                        DuggerCross

   Page/Line                                               Source                               ID


                         72:4 MR. HYNES: Val, can you pull up Rockies 171,
   72:6 - 73:13                                                                            DuggerCross.12
                         Dugger, Keith 07-20-2021 (00:01:41)
                                                                                              DX896.1
                         72:6 Q. (By Mr. Hynes) This document goes from
                         72:7 Rockies 171 to 172.
                                                                                             DX896.1.1
                         72:8 All right. This is from you to Mr. Wagner --
                                                                                             DX896.1.2
                         72:9 right -- on April 8th, 2020? Do you see that?
                         72:10 A. I do.
                                                                                             DX896.1.3
                         72:11 Q. All right. It says, "Hi Ben, here is the
                         72:12 signed documents from Efraim."
                         72:13 Do you see that?
                         72:14 A. I do.
                         72:15 Q. And Efraim is Mr. Nathan, right?
                         72:16 A. That's correct. And that's his wrong name.
                         72:17 Q. That's okay. I just assume it's a typo,
                         72:18 right?
                         72:19 A. Yeah.
                         72:20 Q. All right. So you signed this declaration for
                         72:21 Mr. Nathan, right?
                         72:22 A. I believe so.
                         72:23 Q. That's what you wrote, right?
                         72:24 A. Yes.
                         72:25 Q. Okay. But you testified a couple times he's
                         73:1 not your friend, right?
                         73:2 A. It depends on your definition of a friend, and
                         73:3 that's what I was trying to get to you about.
                         73:4 Q. Okay. Are there any other people who aren't
                         73:5 your friends that you've signed sworn declarations for?
                         73:6 A. Sworn declarations for? No. I haven't signed
                         73:7 too many sworn declarations.
                                                                                             DX896.1.4
                         73:8 Q. Okay. Do you see that -- the Subject line is
                         73:9 blank and there is no attachment referenced here?
                         73:10 A. I do.
                         73:11 Q. Okay.
                         73:12 MR. HYNES: Can we go to the next document,
                                                                                              DX897.1
                         73:13 Val, which is LTX_EDPA_39977?
  73:14 - 74:21                                                                            DuggerCross.13
                         Dugger, Keith 07-20-2021 (00:01:39)
                                                                                             DX897.1.1
                         73:14 Q. (By Mr. Hynes) Get it pulled up, but this is
                                                                                             DX897.1.2
                         73:15 an email you send later that same day to Mr. Wagner.
                         73:16 That's your name at the top right of the email?
                         73:17 MR. HYNES: Can you scroll or have the top of



Cross Examination by Mr. Hynes
                                                                                        Page 30/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 201 of 371

                                                       DuggerCross

   Page/Line                                              Source                                 ID


                         73:18 the document so the witness can see it? Thank you, Val.
                         73:19 THE WITNESS: That is my name, yes.
                         73:20 Q. (By Mr. Hynes) Okay. And that -- sorry. And
                         73:21 that's your email address too?
                         73:22 A. Yeah.
                         73:23 Q. All right. What does the subject line say?
                                                                                              DX897.1.3
                         73:24 A. "Coolmax."
                         73:25 Q. And you associate COOLMAX with Lontex, right?
                         74:1 A. I do.
                                                                                              DX897.1.4
                         74:2 Q. All right. And then it says, "Hello Ben.
                                                                                              DX897.1.5
                         74:3 Following is my signed version of the photo's and
                         74:4 statement. If you have any questions please reach out."
                         74:5 Do you see that?
                         74:6 A. That's correct.
                         74:7 Q. Okay. Do you know -- there's no attachment
                         74:8 here, right, on the subject line?
                         74:9 A. Attachment?
                         74:10 Q. Yeah. Do you recall what photos you were
                         74:11 referring to in this email?
                         74:12 A. I do not right now.
                         74:13 Q. Okay.
                         74:14 MR. HYNES: Val, can you please pull
                                                                                               DX898.1
                         74:15 Mr. Dugger's April 8th, 2020 declaration?
                         74:16 THE WITNESS: My name is "Dugger." I'm sorry.
                         74:17 MR. HYNES: You know, I'm really -- it's the
                         74:18 Doogie/Dugger thing. It's my fault. I really don't mean
                         74:19 that, and I sincerely apologize. I've got to get your
                         74:20 name right. It's Mr. Dugger. I'm really sorry.
                         74:21 THE WITNESS: No problem.
  74:22 - 75:18                                                                             DuggerCross.14
                         Dugger, Keith 07-20-2021 (00:01:02)
                         74:22 Q. (By Mr. Hynes) Okay. I'd like -- so you see
                                                                                              DX898.1.1
                         74:23 at the -- at the top it says, "Keith Dugger declares as
                         74:24 follows"?
                         74:25 A. That's correct.
                                                                                               DX898.2
                         75:1 MR. HYNES: Okay. And if -- can we scroll
                         75:2 down to the end, Val. Sorry.
                                                                                              DX898.2.1
                         75:3 Q. (By Mr. Hynes) That's your signature, is it
                         75:4 not?
                         75:5 A. That is.
                                                                                              DX898.2.2
                         75:6 Q. Did you -- and -- and it's 4/8 written in the



Cross Examination by Mr. Hynes
                                                                                         Page 31/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 202 of 371

                                                       DuggerCross

   Page/Line                                              Source                                 ID


                         75:7 date line just above it; is that right?
                         75:8 A. That's correct.
                         75:9 Q. Okay. And it's -- I don't know how to say it.
                         75:10 It's kind of an unusual color. Do you have a pen like
                         75:11 that?
                         75:12 A. That is an unusual color. I couldn't tell you
                         75:13 that.
                         75:14 Q. Okay. I just want to make sure it's your
                         75:15 signature is all I'm trying to --
                         75:16 A. That is -- that is my signature.
                                                                                              DX898.1.2
                         75:17 MR. HYNES: All right. Can we scroll up a
                         75:18 little bit, Val? Please go to paragraph 6.
  75:19 - 80:24                                                                             DuggerCross.15
                         Dugger, Keith 07-20-2021 (00:05:27)
                                                                                              DX898.1.3
                         75:19 Q. (By Mr. Hynes) There is the 2010 date we
                         75:20 talked about, right?
                         75:21 A. Yeah.
                                                                                              DX898.2.3
                         75:22 Q. And then the next paragraph, we see 2010
                         75:23 again, right?
                         75:24 A. I do.
                                                                                              DX898.2.4
                         75:25 Q. Okay. And then paragraph 8, it says,
                         76:1 "Attached as Exhibit A is a true and correct copy of an
                         76:2 email with photographs that I took of a Lontex product
                         76:3 and sent to Efraim Nathan as dated."
                         76:4 Do you see that?
                         76:5 A. I do.
                         76:6 Q. All right.
                                                                                              DX898.4.1
                         76:7 MR. HYNES: Can we scroll down? Keep going.
                         76:8 This is Exhibit A. Stop there.
                         76:9 Q. (By Mr. Hynes) Remember we looked at this
                         76:10 email before?
                         76:11 A. Yeah.
                         76:12 Q. Okay.
                                                                                               DX898.5
                         76:13 MR. HYNES: Keep scrolling down.
                         76:14 Q. (By Mr. Hynes) And that -- that picture is --
                         76:15 we've seen that before. That's Alan. That's the guy you
                         76:16 asked to take the pictures, right?
                         76:17 A. That's correct.
                                                                                              DX898.2.5
                         76:18 MR. HYNES: So can we scroll back up to the
                         76:19 declaration?
                         76:20 THE WITNESS: I took pictures along with Alan



Cross Examination by Mr. Hynes
                                                                                         Page 32/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 203 of 371

                                                        DuggerCross

   Page/Line                                               Source                                ID


                         76:21 too. So that was a combination of Alan's pictures and
                         76:22 myself.
                                                                                              DX898.2.6
                         76:23 Q. (By Mr. Hynes) Well, this says, "Attached as
                         76:24 Exhibit A is a true and correct copy of an email with
                         76:25 photographs that I took of a Lontex product and sent to
                         77:1 Efraim Nathan as dated," right?
                         77:2 A. That's what it says.
                         77:3 Q. That's not accurate, though, is it?
                         77:4 A. In the context, probably not, because Alan
                         77:5 took some of the pictures too.
                         77:6 MR. HYNES: Okay. Let's scroll down. Can you
                                                                                               DX898.5
                         77:7 keep going, Val? I'm sorry.
                         77:8 Q. (By Mr. Hynes) Yeah. So that says "Alan" on
                         77:9 the top there, right?
                         77:10 A. Yeah.
                         77:11 Q. Okay. So then that picture right there is one
                         77:12 that Alan took, right?
                         77:13 A. Yes.
                                                                                               DX898.6
                         77:14 MR. HYNES: Okay. Let's keep going, Val,
                         77:15 please.
                                                                                               DX898.7
                         77:16 Q. (By Mr. Hynes) And then that one, the next
                         77:17 one on the left side, that's a picture that Alan took?
                         77:18 A. How do you know that's from Alan?
                         77:19 MR. HYNES: I'm sorry, Val. Can you just
                                                                                          DX898.5 - DX898.5.1
                         77:20 scroll up to the top where it says "Alan," please?
                         77:21 Q. (By Mr. Hynes) All right. That says "Alan"?
                         77:22 A. Yes.
                         77:23 Q. And you -- you exchange text messages, don't
                         77:24 you?
                         77:25 A. Do I exchange text messages?
                         78:1 Q. Yeah.
                         78:2 A. Yeah.
                         78:3 Q. All right. So this is on the left side of the
                         78:4 screen, right?
                         78:5 A. I don't quite understand what you mean "left
                         78:6 side of the screen."
                         78:7 Q. Well, when you exchange text messages, like,
                         78:8 one person talks, it's on the left side; and the next
                         78:9 person talks, it's on the right. That's how you tell who
                         78:10 said what, right?



Cross Examination by Mr. Hynes
                                                                                         Page 33/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 204 of 371

                                                        DuggerCross

   Page/Line                                               Source                                ID


                         78:11 A. Well, I just learned something. I did not
                         78:12 know that.
                         78:13 Q. You didn't know that?
                         78:14 A. I didn't. And I get a thousand text messages
                         78:15 a day.
                         78:16 Q. So who took this picture on the left side?
                         78:17 A. It's either Alan or myself. It says "Alan."
                         78:18 Q. And your declaration says that you took it.
                         78:19 A. The photos that I sent him I said, yes, these
                         78:20 are the photos that I took.
                         78:21 Q. So who took this photo?
                         78:22 A. This one is saying Alan Bossart.
                                                                                              DX898.5.2
                         78:23 Q. All right. And the second photo --
                         78:24 MR. HYNES: Can you scroll down, Val --
                         78:25 Q. (By Mr. Hynes) -- which has the tag, who took
                         79:1 that one?
                         79:2 A. I couldn't tell you.
                         79:3 MR. HYNES: Okay. Let's keep scrolling down.
                                                                                               DX898.6
                         79:4 Q. (By Mr. Hynes) All right. Who took that one?
                         79:5 A. It's either me or Alan.
                         79:6 Q. You don't know?
                         79:7 A. Well, if you scroll up, and I can look at
                         79:8 where the -- scroll up a little bit, and I can tell you.
                         79:9 Q. Um-hum.
                         79:10 A. That's Alan.
                         79:11 Now go back to the other. Yeah. I -- I don't
                         79:12 know.
                         79:13 MR. HYNES: Okay. Keep scrolling down.
                                                                                           DX898.7 - DX898.7
                         79:14 Q. (By Mr. Hynes) How about this one?
                         79:15 A. I could go into my phone and look to see if I
                         79:16 still have those pictures.
                         79:17 Q. Well, didn't you go back and look into your
                         79:18 phone for documents that related to this lawsuit before
                         79:19 we entered this deposition?
                         79:20 A. I looked at conversations with Lontex. I
                         79:21 didn't look with Alan Bossart.
                         79:22 Q. Well, these -- these photographs were attached
                         79:23 to your declaration by whom?
                         79:24 A. These photographs were attached to the
                         79:25 declaration I sent to them.



Cross Examination by Mr. Hynes
                                                                                         Page 34/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 205 of 371

                                                      DuggerCross

   Page/Line                                             Source                                    ID


                         80:1 Q. Yeah. And they're Lontex, right?
                         80:2 A. That's correct.
                         80:3 Q. So I should have them. If -- if you took the
                         80:4 photographs yourself, I would have them, because you sent
                         80:5 them to Lontex, right?
                         80:6 A. You -- you have everything that I've taken,
                         80:7 yes.
                         80:8 MR. HYNES: Okay. Let's go down. Keep
                         80:9 scrolling.
                                                                                                 DX898.8
                         80:10 Q. (By Mr. Hynes) It's the one with the
                         80:11 stitching. Did you take that one?
                         80:12 A. I -- either -- again, it's either Alan Bossart
                         80:13 or myself.
                         80:14 MR. HYNES: Keep scrolling down, please.
                                                                                                 DX898.9
                         80:15 Q. (By Mr. Hynes) This one? Is that Bossart?
                         80:16 A. No. I know for sure that's Alan Bossart.
                         80:17 MR. HYNES: Okay. Keep scrolling.
                                                                                                DX898.10
                         80:18 Q. (By Mr. Hynes) And here's that pamphlet
                         80:19 again, right?
                         80:20 A. Yeah.
                         80:21 Q. Okay.
                         80:22 MR. HYNES: Keep scrolling down.
                         80:23 All right. That's the end of the document.
                                                                                                  clear
                         80:24 Okay. Let's put that one away.
    81:3 - 81:3                                                                               DuggerCross.16
                         Dugger, Keith 07-20-2021 (00:00:03)
                                                                                                 DX899.1
                         81:3 Val, can you please pull up Rockies 517?
    81:4 - 81:5                                                                               DuggerCross.17
                         Dugger, Keith 07-20-2021 (00:00:09)
                         81:4 Q. (By Mr. Hynes) This document bears the Bates
                         81:5 Stamp Rockies 517 through 520. Okay.
   81:6 - 89:12                                                                               DuggerCross.18
                         Dugger, Keith 07-20-2021 (00:11:05)
                                                                                                 DX899.2
                         81:6 MR. HYNES: Can you go to 518, please, Val, at
                                                                                                DX899.2.1
                         81:7 the bottom?
                         81:8 Q. (By Mr. Hynes) Okay. That's an email from
                                                                                                DX899.2.2
                         81:9 you to Mr. Wagner on March 12th, 2021, right, Mr. Dugger?
                         81:10 A. That is correct.
                                                                                                DX899.2.3
                         81:11 Q. Okay. It says, "I got a text from Efraim" and
                         81:12 would like to talk to me and my attorney -- "that you
                         81:13 would like to talk to me and my attorney Brian Gaffney at
                         81:14 some time soon. Brian and myself are free in the
                         81:15 mornings on Tuesday and Wednesdays from 9:00 to 11:00."



Cross Examination by Mr. Hynes
                                                                                           Page 35/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 206 of 371

                                                      DuggerCross

   Page/Line                                             Source                                 ID


                         81:16 Do you see that?
                         81:17 A. That's correct.
                         81:18 Q. Why did -- do you know why Mr. Nathan wanted
                         81:19 you to talk to Mr. Wagner in or around March, 2021?
                         81:20 A. I think that was the first time, probably, to
                         81:21 talk about items that I sent.
                         81:22 Q. Do you remember anything he said other than
                         81:23 that?
                         81:24 A. During our meeting?
                         81:25 Q. Well, this says, "I got a text from Mr. Nathan
                         82:1 that you wanted to talk to me and my attorney sometime
                         82:2 soon."
                         82:3 Do you remember if he said anything else in
                         82:4 that text message?
                         82:5 A. That's pretty much all I -- I remember is he
                         82:6 needed to talk to Brian and myself.
                                                                                              DX899.2.4
                         82:7 MR. HYNES: Okay. Can we scroll up, please,
                         82:8 Val, to the next email? Here we go.
                         82:9 Q. (By Mr. Hynes) "Keith, that works great for
                         82:10 Mr. Wagner. Just let me know the time for a call," and
                         82:11 he sends a dial-in, right?
                         82:12 A. That's right.
                                                                                              DX899.2.5
                         82:13 MR. HYNES: Okay. Can you scroll up, please?
                         82:14 Q. (By Mr. Hynes) And you say, "I think the 17th
                         82:15 at 10 o'clock Arizona time will work just fine," right?
                         82:16 A. That's correct.
                                                                                              DX899.1.1
                         82:17 MR. HYNES: Okay. Can you scroll up, Val?
                                                                                              DX899.1.2
                         82:18 Q. (By Mr. Hynes) "Thank -- "Thank you. Talk to
                         82:19 you Tuesday on our conference call line, from
                                                                                              DX899.1.3
                         82:20 Mr. Wagner." Scrolling up. And then there is a calendar
                         82:21 invite there, right?
                         82:22 A. Yes.
                         82:23 Q. Okay. Did you talk to Mr. Wagner in
                         82:24 mid-March, 2021?
                         82:25 A. I did.
                         83:1 Q. What did you talk about?
                         83:2 A. We talked about the photos that I sent to
                         83:3 Efraim. We talked about COOLMAX. We talked about how
                         83:4 there was a potential case, I guess, trademarked -- I
                         83:5 don't know the correct lingo -- by Nike, and that was



Cross Examination by Mr. Hynes
                                                                                         Page 36/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 207 of 371

                                                      DuggerCross

   Page/Line                                             Source                                  ID


                         83:6 about it.
                         83:7 Q. How long did that conversation last?
                         83:8 A. I can't tell you exactly. It wasn't too
                         83:9 long. 15, 20 minutes, maybe.
                         83:10 Q. And that was the -- the second time you had
                         83:11 spoken to Mr. Wagner?
                         83:12 A. Yeah. I -- I don't know exactly how many
                         83:13 times I had spoken to Ben, you know --
                         83:14 Q. Well, at least -- at least -- would you agree
                         83:15 with me it was at least twice by this point in time?
                         83:16 A. On the phone, it might be the first time.
                         83:17 Text or email or -- excuse me -- email, maybe -- you
                         83:18 know, you just showed me a couple times prior to that.
                         83:19 Q. Well, I'll tell you what I thought I read in
                         83:20 the documents. If I got it wrong, please help me. But I
                         83:21 thought you had a conversation with Mr. Wagner before you
                         83:22 signed the declaration. Right?
                         83:23 A. I did, yeah. Yeah.
                         83:24 Q. And then there's this conference-call
                         83:25 information here. So this would be the second time you
                         84:1 spoke with him, right?
                         84:2 A. Yeah.
                         84:3 Q. At least.
                         84:4 A. Yes.
                         84:5 Q. Okay. Do you remember whether or not this was
                         84:6 the second time or whether it was more, or are you not
                         84:7 sure?
                         84:8 A. I'm not sure.
                         84:9 MR. HYNES: Okay. Let's scroll up. So is
                         84:10 this the top of the document? I'm sorry.
                                                                                                 clear
                         84:11 Q. (By Mr. Hynes) Okay. So you said you talked
                         84:12 about -- I just wrote it down -- COOLMAX, right?
                         84:13 A. COOLMAX and COOL COMPRESSION.
                         84:14 Q. What did you -- what did you talk -- talk
                         84:15 about those terms for?
                         84:16 A. How I associated the names with SWEAT IT OUT
                         84:17 company.
                         84:18 Q. And who -- who was the first person to raise
                         84:19 the phrase "COOL COMPRESSION" on that call?
                         84:20 A. I have no idea.



Cross Examination by Mr. Hynes
                                                                                           Page 37/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 208 of 371

                                                     DuggerCross

   Page/Line                                            Source                                 ID


                         84:21 Q. What did you talk about COOLMAX? What was
                         84:22 that conversation about COOLMAX?
                         84:23 A. COOLMAX and COOL COMPRESSION are all
                         84:24 associated with SWEAT IT OUT, like I told you. Probably
                         84:25 on -- regarding Efraim's case or potential case.
                         85:1 Q. Okay. Any other -- any- -- anything else you
                         85:2 recall about your conversation with Mr. Wagner about
                         85:3 COOLMAX and COOL COMPRESSION?
                         85:4 A. Most of my conversations with Mr. Wagner are
                         85:5 very short, even the ones when Mr. Gaffney was with me.
                         85:6 Q. I -- I just asked you what else you remembered
                         85:7 about your discussion with Mr. Wagner about COOLMAX and
                         85:8 COOL COMPRESSION in mid-March of 2021.
                         85:9 A. Well, we talked about if I've ever -- if I
                         85:10 ever recalled Nike using Cool Compression.
                         85:11 Q. And what did you say at that time?
                         85:12 A. I'm sure I told him I had.
                         85:13 Q. Do you remember?
                         85:14 A. I remember, yes, I do.
                         85:15 Q. That's what you told him?
                         85:16 A. Yeah.
                         85:17 Q. Okay. Did you tell him where you'd seen Cool
                         85:18 Compression at that time used by Nike?
                         85:19 A. I did.
                         85:20 Q. Okay. Did you send him any information or any
                         85:21 documents that showed Nike using Cool Compression?
                         85:22 A. I don't know. I don't recall.
                         85:23 Q. Did -- did he send you documents after this
                         85:24 call?
                         85:25 A. After this call? I don't know.
                         86:1 Q. You don't know?
                         86:2 A. I don't.
                         86:3 Q. You said you also talked about the photographs
                         86:4 you took. What did you talk about with respect to those
                         86:5 photographs?
                         86:6 A. Just the labeling. Basically where have I
                         86:7 seen COOLMAX and COOL COMPRESSION labeling.
                         86:8 Q. And what did you tell him?
                         86:9 A. I told him I've seen it -- I've seen it on the
                         86:10 labels inside of the garments, on packaging and COOL



Cross Examination by Mr. Hynes
                                                                                         Page 38/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 209 of 371

                                                    DuggerCross

   Page/Line                                           Source                                   ID


                         86:11 COMPRESSION every time Efraim's talked -- spoke to us at
                         86:12 the various events, the PBATS seminars.
                         86:13 Q. Um-hum. Anything else about the photographs
                         86:14 you discussed with Mr. Wagner?
                         86:15 A. Don't recall.
                         86:16 Q. And then you said the "potential case." You
                         86:17 talked about the "potential" -- is that -- is that what
                         86:18 you said?
                         86:19 A. That is what I just said, yeah.
                         86:20 Q. Okay. Well, the case was ongoing at that
                         86:21 time. That's the only reason -- did you understand that
                         86:22 Mr. Nathan had already sued Nike as of March, 2021?
                         86:23 A. I did not know that.
                         86:24 Q. Okay. Well, what -- what -- what did
                         86:25 Mr. Wagner tell you about the potential case at that
                         87:1 time?
                         87:2 A. I believe it was regarding the trademark
                         87:3 COOLMAX and COOL COMPRESSION.
                         87:4 Q. What about -- what specifically did he tell
                         87:5 you?
                         87:6 A. That Nike has used it in some of their
                         87:7 advertising and that have I ever seen it in their
                         87:8 advertising in the past, and I have.
                         87:9 Q. What else did he tell you?
                         87:10 A. That was basically it. We were talking about
                         87:11 SWEAT IT OUT products: COOL COMPRESSION and COOLMAX.
                         87:12 Q. Did he tell you that there was already a
                         87:13 lawsuit pending or did he tell you there was a potential
                         87:14 case?
                         87:15 A. I believe that there -- there was going to be
                         87:16 a lawsuit but not about -- the "potential case" was --
                         87:17 that -- that's my verbiage.
                         87:18 Q. Is it your testimony that when you spoke to
                         87:19 Mr. Wagner in March of 2021 you were not aware that
                         87:20 Lontex had sued Nike?
                         87:21 A. March of 2020 --
                         87:22 Q. I'm sorry. If I misspoke, I'll repeat the
                         87:23 question. Thank you for -- for that.
                         87:24 Is it your testimony that when you had this
                         87:25 conversation with Mr. Wagner in March of 2021 that you



Cross Examination by Mr. Hynes
                                                                                          Page 39/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 210 of 371

                                                      DuggerCross

   Page/Line                                             Source                                    ID


                         88:1 were not aware that Lontex had sued Nike in federal
                         88:2 court?
                         88:3 A. That is correct. I did not know that at that
                         88:4 time.
                         88:5 Q. Okay. You had already signed a declaration,
                         88:6 though, correct?
                         88:7 A. I signed it whatever that date was, April --
                         88:8 Q. April, 2020.
                         88:9 A. Yeah. April. Yeah.
                         88:10 Q. Did you have an understanding of how that
                         88:11 signed declaration would be used?
                         88:12 A. Yes.
                         88:13 Q. What was your understanding?
                         88:14 A. Basically, it's my testimony, if I've ever
                         88:15 answered the questions right there, and potentially you
                         88:16 would be asking me questions, meaning -- "you," meaning
                         88:17 Nike -- about how I understand the term or trademark COOL
                         88:18 COMPRESSION.
                         88:19 Q. Did you have any -- did you cover anything
                         88:20 else in your telephone conversation with Mr. Wagner in
                         88:21 mid-March of 2021?
                         88:22 A. Not that I can recall.
                         88:23 Q. Okay.
                         88:24 A. 2020.
                         88:25 Q. This conversation occurred in March of 2021,
                         89:1 right? That's what I'm talking about right now. If you
                         89:2 look at the email right here, it's only a couple months
                         89:3 ago, right?
                         89:4 A. Yeah. This one did. I'm sorry.
                         89:5 Q. That's okay.
                         89:6 A. Yeah.
                         89:7 Q. Did you talk about a deposition happening
                         89:8 during that call?
                         89:9 A. I don't know.
                         89:10 Q. Okay.
                                                                                                 DX900.1
                         89:11 MR. HYNES: Can you go to Rockies 377, Val,
                         89:12 please?
  89:13 - 92:24                                                                               DuggerCross.19
                         Dugger, Keith 07-20-2021 (00:04:19)
                                                                                                DX900.1.1
                         89:13 Q. (By Mr. Hynes) Okay. This is an email from
                         89:14 you, Mr. Dugger -- it says "Rockies 377" on the bottom



Cross Examination by Mr. Hynes
                                                                                           Page 40/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 211 of 371

                                                        DuggerCross

   Page/Line                                               Source                                ID

                                                                                               DX900.1.2
                         89:15 -- to Jodi.Thomas@troutman.com.
                         89:16 Do you see that?
                         89:17 A. I do see that.
                         89:18 Q. Do you know who Jodi Thomas is?
                         89:19 A. I have no idea.
                                                                                               DX900.1.3
                         89:20 Q. Okay. And it says, Subject line, "Accepted
                         89:21 T," slash, "C, Ben Wagner," slash, "Keith Dugger" --
                         89:22 "Dugger" -- sorry -- "re SWEAT IT OUT," slash, "Efraim's
                         89:23 case."
                         89:24 Do you see that?
                         89:25 A. I do.
                                                                                               DX900.1.4
                         90:1 Q. And that's sent Wednesday, March 17th, 2020.
                         90:2 Do you see that?
                         90:3 A. I do.
                         90:4 Q. Does that refresh your recollection that you
                         90:5 had a telephone conversation with Mr. Wagner on
                         90:6 March 17th, 2021 regarding Mr. Nathan's case?
                         90:7 A. I don't recall the conversation at this point
                         90:8 in time, no.
                         90:9 Q. Okay.
                                                                                               DX901.1
                         90:10 MR. HYNES: Val, can you please pull up
                                                                                               DX901.1.1
                         90:11 Rockies 507? Can you go to the very top of the email,
                         90:12 Val?
                                                                                               DX901.1.2
                         90:13 Q. (By Mr. Hynes) All right. It says "from Ben
                         90:14 Wagner" to -- to you, right?
                         90:15 A. That's correct.
                                                                                               DX901.1.3
                         90:16 Q. And it says, "Hi Keith and Brian - some picks
                         90:17 attached for our call," and there is a whole bunch of
                                                                                               DX901.1.4
                         90:18 attachments, .jpgs and a .pdf.
                         90:19 Do you see that?
                         90:20 A. I do see that.
                         90:21 Q. Did you receive this email?
                         90:22 A. Yes, I believe I received this email.
                         90:23 Q. Did you review all the attachments?
                         90:24 A. I'm sure I did, yes.
                         90:25 Q. Did you go over those attachments with
                         91:1 Mr. Wagner during your call with Mr. Wagner?
                         91:2 A. I believe I did.
                         91:3 Q. All right.
                                                                                               DX901.5
                         91:4 MR. HYNES: Can we go to the first picture,



Cross Examination by Mr. Hynes
                                                                                          Page 41/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 212 of 371

                                                       DuggerCross

   Page/Line                                              Source                               ID


                         91:5 Val, which appears on Rockies 130?
                         91:6 Q. (By Mr. Hynes) What's that, Mr. Dugger?
                         91:7 A. Say that again.
                         91:8 Q. Do you know what that is?
                                                                                             DX901.5.1
                         91:9 A. It looks like a picture of the Dri-FIT Nike
                         91:10 Pro Cool Compression sleeve.
                         91:11 Q. Mr. Wagner sent that to you, didn't he?
                         91:12 A. If it was part of the group of those pictures
                         91:13 that were sent to me, yes.
                         91:14 Q. Do you remember or -- or not?
                         91:15 A. I remember.
                         91:16 Q. Okay. And then you talked about that during
                         91:17 your call with him, right?
                         91:18 A. Yes, I did.
                         91:19 Q. And then you testified under oath today that
                         91:20 Nike advertised Nike Pro Cool Compression in catalogs,
                         91:21 right?
                         91:22 A. In pamphlets.
                         91:23 Q. In pamphlets.
                         91:24 A. Or brochure.
                         91:25 Q. Yeah.
                                                                                             DX901.6
                         92:1 MR. HYNES: Go to Rockies 131.
                                                                                             DX901.6.1
                         92:2 Q. (By Mr. Hynes) What's this?
                         92:3 A. Rockies 130 Nike Pro Cool.
                         92:4 Q. I'm sorry. There you go.
                         92:5 Where is that from? Do you know?
                         92:6 A. I don't know because I don't recognize -- it
                         92:7 doesn't have the baseball guys on there that I --
                         92:8 Q. Yeah. So Mr. Wagner sent it to you, though,
                         92:9 right?
                         92:10 A. I can't recall that. I remember the baseball
                         92:11 guys specifically, you know, the shirts underneath.
                         92:12 MR. HYNES: Can you scroll down a little bit,
                                                                                             DX901.6.2
                         92:13 Val?
                         92:14 Q. (By Mr. Hynes) So that says "Rockies 131" on
                         92:15 the bottom of the page, right?
                         92:16 A. Yeah.
                         92:17 Q. So that means that that -- all this came from
                         92:18 your emails, right?
                         92:19 A. Just -- just means that I don't remember that



Cross Examination by Mr. Hynes
                                                                                        Page 42/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 213 of 371

                                                       DuggerCross

   Page/Line                                              Source                              ID


                         92:20 specific picture.
                                                                                           DX901.6.1
                         92:21 MR. HYNES: All right. Can you go back up to
                         92:22 the picture for me, Val?
                         92:23 Q. (By Mr. Hynes) Do you know where Mr. Wagner
                         92:24 got this picture?
   93:2 - 95:24                                                                          DuggerCross.20
                         Dugger, Keith 07-20-2021 (00:03:06)
                         93:2 Q. (By Mr. Hynes) Mr. Dugger, this picture was
                         93:3 sent to you by Mr. Wagner, right?
                         93:4 A. I can't recall this specific picture, no.
                                                                                           DX901.1.2
                         93:5 MR. HYNES: Okay. Let's go back up to the top
                         93:6 of the document, please.
                         93:7 THE WITNESS: But the one with the baseball, I
                         93:8 do remember.
                         93:9 Q. (By Mr. Hynes) I'm just looking right here.
                         93:10 Okay? This says from "Ben.Wagner@troutman.com."
                         93:11 That's Mr. Wagner, right?
                         93:12 A. That's Mr. Wagner, correct.
                         93:13 Q. And it says "To Keith.Dugger@rockies.com."
                         93:14 That's you, right?
                         93:15 A. It is.
                                                                                           DX901.1.5
                         93:16 Q. And do you see all those attachments?
                         93:17 A. I do.
                         93:18 Q. And it says "Images 006, 007, 008, 009, 0010,
                         93:19 011, 012," right?
                         93:20 A. That's correct.
                         93:21 Q. What does that mean to you?
                         93:22 A. That means pictures.
                                                                                            DX901.5
                         93:23 MR. HYNES: Okay. Let's scroll back down.
                         93:24 First picture, Val. First picture.
                         93:25 Q. (By Mr. Hynes) Isn't it -- do you have any
                         94:1 reason to believe that you didn't get this picture as
                         94:2 part of this email?
                         94:3 A. 100 percent I got that picture as part of the
                         94:4 email.
                                                                                           DX901.6.1
                         94:5 MR. HYNES: All right. Second image, let's go
                         94:6 to that one.
                         94:7 Q. (By Mr. Hynes) How about this email?
                         94:8 A. I can't tell you.
                         94:9 Q. Don't know --
                         94:10 A. Don't --



Cross Examination by Mr. Hynes
                                                                                      Page 43/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 214 of 371

                                                        DuggerCross

   Page/Line                                               Source                               ID


                         94:11 Q. -- one way or the other?
                         94:12 A. Don't recall that picture.
                         94:13 Q. All right. Do you know where this Nike Pro
                         94:14 Cool Compression image comes from originally?
                         94:15 A. Originally?
                         94:16 Q. Yeah. Any idea?
                         94:17 A. Zero idea.
                         94:18 MR. HYNES: All right. Let's go to the next
                                                                                             DX901.7.1
                         94:19 one.
                         94:20 Q. (By Mr. Hynes) What's that?
                         94:21 A. REI ad, Nike Pro Cool Compression tights.
                         94:22 Q. Yep. Mr. Wagner sent this picture to you?
                         94:23 A. I've seen this picture before.
                         94:24 Q. You've seen this picture before?
                         94:25 A. I have, yeah.
                         95:1 Q. When did you see it?
                         95:2 A. Again, I don't know if this was one of the
                         95:3 pictures he sent -- sent to me because I haven't looked
                         95:4 at pictures. I've seen this picture.
                         95:5 Q. Well, I mean, this picture is attached to the
                         95:6 email Mr. Wagner sent you.
                         95:7 Apart from that, have you seen the picture
                         95:8 before? Is that what you're saying? I don't understand.
                         95:9 A. Well, I've seen this picture before.
                         95:10 Q. Where have you seen it other than the picture
                         95:11 Mr. Wagner sent you?
                         95:12 A. Could have been on the Internet, for all I
                         95:13 know.
                         95:14 Q. Well, does it -- who else would know where you
                         95:15 saw it before? Do you know where you saw it before?
                         95:16 A. Do I know exactly where I saw this picture
                         95:17 before? I've seen this picture on the Internet.
                         95:18 Q. When did you go on the Internet and look at
                         95:19 Nike Cool Compression pants?
                         95:20 A. I don't know. I don't necessarily know that I
                         95:21 was looking for Nike Pro Cool Compression pants.
                         95:22 Q. You just stumbled upon this exact
                         95:23 advertisement while you were on the Internet; is that
                         95:24 your testimony?
   96:1 - 98:13                                                                            DuggerCross.25
                         Dugger, Keith 07-20-2021 (00:03:15)



Cross Examination by Mr. Hynes
                                                                                        Page 44/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 215 of 371

                                                        DuggerCross

   Page/Line                                               Source                                 ID


                         96:1 THE WITNESS: My testimony is I've seen this
                         96:2 ad before.
                         96:3 Q. (By Mr. Hynes) My question is where, other
                         96:4 than --
                         96:5 A. My answer is I don't know --
                         96:6 Q. Okay.
                         96:7 A. -- unless it's the photo that was sent to me
                         96:8 or on the Internet.
                         96:9 Q. All right.
                                                                                                DX901.8.1
                         96:10 MR. HYNES: Let's go to the next page.
                         96:11 Q. (By Mr. Hynes) Remember earlier when you
                         96:12 testified that you had seen Nike at Dick's before?
                         96:13 A. I have.
                         96:14 MR. HYNES: Can you scroll -- can you reveal
                         96:15 the top of this picture a little better for me?
                         96:16 Q. (By Mr. Hynes) What does that say? "Dick's,"
                         96:17 right?
                         96:18 A. "Dick's."
                         96:19 Q. So Mr. Wagner sent you an advertisement from
                         96:20 Dick's with Nike's Pro Cool Compression tights, right?
                         96:21 A. He could have sent me pictures from Dick's,
                         96:22 but I've seen pictures from Dick's.
                         96:23 Q. So you had a conversation with Mr. Wagner in
                         96:24 March of 2021. He sent you an advertisement for Dick's
                         96:25 Sporting Goods that has Nike's Pro Cool Compression
                         97:1 tights. And then you testified today in response to
                         97:2 Mr. Wagner's questions that Nike sells Cool Compression
                         97:3 tights at Dick's, right?
                         97:4 A. I testified that I have seen Nike advertise
                         97:5 Pro Cool Compression.
                         97:6 MR. HYNES: Let's scroll down a little bit
                                                                                                DX901.8.2
                         97:7 here. Sorry. A little up, Val. Sorry. The second half
                         97:8 of this page Rockies 133. Right -- right -- sorry, Val.
                         97:9 Right there. That's fine.
                         97:10 Q. (By Mr. Hynes) Do you see where it says, "I
                         97:11 declare under penalty of perjury and under the laws of
                         97:12 the United States of America the foregoing is to true and
                                                                                                DX901.8.3
                         97:13 correct. Executed May 20, 2020," signed by Chris
                         97:14 Peduzzi? Do you see that?
                         97:15 A. I do see that, yes.



Cross Examination by Mr. Hynes
                                                                                           Page 45/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 216 of 371

                                                        DuggerCross

   Page/Line                                                Source                                ID


                         97:16 Q. Who is Chris Peduzzi?
                         97:17 A. I have no idea.
                         97:18 Q. Did you talk about that on your call with
                         97:19 Mr. Wagner: Chris Peduzzi?
                         97:20 A. No. I've never seen that name or paid
                         97:21 attention to this. I've never seen that.
                         97:22 Q. Mr. Dugger, I understand that it's your
                         97:23 preference not to appear at the trial in this case; is
                         97:24 that right?
                         97:25 A. My preference? Yeah. That would be my
                         98:1 preference.
                         98:2 Q. Are you unavailable to appear at the trial in
                         98:3 this case?
                         98:4 A. I am with my job typically.
                         98:5 Q. Do you know when the trial is?
                         98:6 A. I have no idea.
                         98:7 Q. So if you don't know when the trial is, how do
                         98:8 you know that you're unavailable for trial?
                         98:9 A. My preference would be not to be there. It
                         98:10 depends on when the trial is. If it's during the season,
                         98:11 it's almost impossible for me to get away.
                         98:12 MR. HYNES: Can you go to Rockies 379, Val,
                                                                                                DX902.1
                         98:13 please. I'm sorry. Can you make it Rockies 96?
 98:14 - 100:11                                                                              DuggerCross.21
                         Dugger, Keith 07-20-2021 (00:02:05)
                                                                                               DX902.1.1
                         98:14 Q. (By Mr. Hynes) All right. This is an email
                                                                                               DX902.1.2
                         98:15 from Jodi, dot, Thomas@troutman.com to Mr. Gaffney,
                                                                                               DX902.1.3
                         98:16 Mr. Wagner, and yourself, right?
                         98:17 A. That is correct.
                                                                                               DX902.1.4
                         98:18 Q. And it says, "Telephone conference depo prep,
                                                                                               DX902.1.5
                         98:19 Friday, July 16th, 2021."
                         98:20 Do you see that?
                         98:21 A. That is correct.
                                                                                               DX902.1.6
                         98:22 Q. Did you prepare with Mr. Wagner for your
                         98:23 testimony today?
                         98:24 A. I prepared with -- today?
                         98:25 Q. I'm sorry. That was -- that was a poor
                         99:1 question.
                         99:2 Do you recall that -- Mr. Wagner asked you a
                         99:3 series of questions to be presented to the jury in this
                         99:4 case before I started questioning you, right?



Cross Examination by Mr. Hynes
                                                                                          Page 46/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 217 of 371

                                                       DuggerCross

   Page/Line                                              Source                             ID


                         99:5 A. That's correct.
                         99:6 Q. Okay. Did you rehearse that with Mr. Wagner
                         99:7 before it happened?
                         99:8 A. Did I rehearse the questions that he was going
                         99:9 to ask me?
                         99:10 Q. Yeah.
                         99:11 A. We did go over some questions.
                         99:12 Q. Did you go over the questions that he asked
                         99:13 you?
                         99:14 A. Some of them, yes.
                         99:15 Q. And did you tell him what you were going to
                         99:16 say in response to those questions?
                         99:17 A. I just answered the questions. He didn't
                         99:18 respond either way.
                         99:19 Q. During this call that you had with him before
                         99:20 the deposition? Is that your testimony?
                         99:21 A. "During this call." During the call on
                         99:22 Friday, I did talk to him about questions, yes.
                         99:23 Q. Okay. How long did you talk to him on Friday?
                         99:24 A. It wasn't very long; 20 minutes, maybe.
                         99:25 Q. So that's at least the third time you spoke
                         100:1 with Mr. Wagner on the phone about this case, then,
                         100:2 right?
                         100:3 A. If you're counting yesterday, yes.
                         100:4 Q. Four times from -- counting today?
                         100:5 A. I had not spoken to him today.
                         100:6 Q. Well, he asked --
                         100:7 A. Unless the questioning here on the Zoom.
                         100:8 Q. Okay. But you did speak to him in preparation
                         100:9 for today's examination by Mr. Wagner, right?
                         100:10 A. That is correct.
                                                                                            clear
                         100:11 Q. Okay.
 100:16 - 100:17                                                                        DuggerCross.22
                         Dugger, Keith 07-20-2021 (00:00:07)
                         100:16 Hey, Val, can you please pull up the other
                                                                                           DX903.1
                         100:17 declaration, please?
 100:18 - 103:6                                                                         DuggerCross.23
                         Dugger, Keith 07-20-2021 (00:04:59)
                         100:18 Q. (By Mr. Hynes) You signed a second
                         100:19 declaration, Mr. Dugger, didn't you?
                                                                                          DX903.1.1
                         100:20 A. A second declaration?
                         100:21 Q. Yeah. This one that you see on the screen



Cross Examination by Mr. Hynes
                                                                                     Page 47/50
              Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 218 of 371

                                                       DuggerCross

   Page/Line                                              Source                                  ID


                         100:22 now.
                         100:23 MR. HYNES: Val, can you make it bigger? I'm
                         100:24 sorry I don't have a hard copy for you, but Val will
                         100:25 scroll up and down so you can -- you can read it,
                         101:1 Mr. Dugger, and she'll follow your instructions so that
                         101:2 you can see the whole document. Okay?
                         101:3 THE WITNESS: Yes.
                         101:4 Q. (By Mr. Hynes) So I would -- I would ask you
                         101:5 to read it. It's only a couple of pages.
                         101:6 A. If she can scroll up. Yeah. Keep going.
                         101:7 Thank you.
                         101:8 Q. Okay. Do you want to start at the top or are
                                                                                                DX903.2
                         101:9 you on page 2 already?
                         101:10 A. I'm on page 2 already.
                         101:11 Q. Okay.
                         101:12 A. Keep going. Thank you. Again. Thank you.
                         101:13 Again. Okay. That's correct.
                         101:14 Q. Okay. I just have a few questions,
                         101:15 Mr. Dugger.
                                                                                                DX903.2.1
                         101:16 MR. HYNES: Can we go to paragraph 9, please,
                         101:17 Val, of this declaration?
                         101:18 Q. (By Mr. Hynes) Can you read Number
                         101:19 Paragraph 9 for me, Mr. Dugger, please?
                         101:20 A. "I'm not able to assign a date of purchase for
                         101:21 any of the individual Lontex compression garments in the
                         101:22 Colorado -- 'Colorado Rockies' currently stockpiles."
                         101:23 Q. And was that statement true as of June 1st,
                         101:24 2020?
                         101:25 A. That statement is true.
                         102:1 Q. And it's true today?
                         102:2 A. It's true today.
                                                                                                DX903.3.1
                         102:3 Q. Okay. Can you read line 15 for me, please?
                         102:4 A. "I have never mistakenly believed that Lontex
                         102:5 authorized Nike to use its 'COOL COMPRESSION'
                         102:6 technology."
                         102:7 Q. And was that true as of June 1st, 2020?
                         102:8 A. To my understanding, yes.
                         102:9 Q. Is it true today?
                         102:10 A. It's true today, yeah. My understanding.
                                                                                                DX903.3.2
                         102:11 Q. Okay. And can you read 16 for me, please?



Cross Examination by Mr. Hynes
                                                                                           Page 48/50
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 219 of 371

                                                       DuggerCross

    Page/Line                                             Source                                     ID


                          102:12 A. "I have never mistakenly believed that there
                          102:13 were any affiliation or relationship between Lontex and
                          102:14 Nike."
                          102:15 Q. And did you -- did you believe that to be true
                          102:16 as of June 1st, 2020?
                          102:17 A. Yep.
                          102:18 Q. And do you believe that to be true today?
                                                                                                    clear
                          102:19 A. Yes.
                          102:20 Q. Okay. Mr. Dugger, what I'm going to do now is
                          102:21 I'm going to ask Val to identify for the record the
                          102:22 emails and text messages and photographs that I asked you
                          102:23 about today; but may I ask you, when you use your
                          102:24 Colorado Rockies email address, are you sending and
                          102:25 receiving messages in the ordinary course of your
                          103:1 business?
                          103:2 A. Yes.
                          103:3 Q. Do you have any reason to believe you did not
                          103:4 send or receive any of the emails or text messages that I
                          103:5 showed you today where you were identified?
                          103:6 A. No.
  105:18 - 105:19                                                                               DuggerCross.26
                          Dugger, Keith 07-20-2021 (00:00:05)
                          105:18 And with that, I'll tender the witness for
                          105:19 redirect to Mr. Wagner.
_____________________________________________________________________

Cross Examination by Mr. Hynes = 01:28:31
Total Time = 01:28:31

Documents Shown
DX890
DX891
DX892
DX893
DX894
DX895
DX896
DX897
DX898
DX899
DX900




 Cross Examination by Mr. Hynes
                                                                                             Page 49/50
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 220 of 371

                                             DuggerCross

    Page/Line                                   Source                               ID

DX901
DX902
DX903




 Cross Examination by Mr. Hynes
                                                                               Page 50/50
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 221 of 371
                              Case Clips Detailed Report
                                           10290_Lontex v Nike


   DUGGER, KEITH - VOL 1 - 7/20/2021 1 Clips (Running 00:09:48.188)


       DUGGER REDIRECT (Running       00:09:48.188)

         1. Page 105:20 to 108:02 (Running 00:03:35.340)

            20   MR. WAGNER: Thanks for your patience. We're

            21 almost done. I just have a small handful of questions.

            22   REDIRECT EXAMINATION

            23 BY MR. WAGNER:

            24   Q. Do you recall a moment ago speaking about the

            25 June 2020 declaration that you signed?

            01   A. Yes.

            02   Q. Who drafted that declaration, if you know?

            03   A. Who drafted that declaration? Well, it wasn't

            04 me. It was either Mr. Wagner or Mr. Gaffney.

            05   Q. Do you recall Nike contacting you about a

            06 declaration sometime in 2020?

            07   A. I do.

            08   Q. Did you have any conversations with a Nike

            09 representative about the contents of the declaration?

            10   A. Yes. I believe myself and Mr. Gaffney spoke

            11 to some people from Nike.

            12   Q. Did you receive a draft declaration or did you

            13 draft the declaration yourself?

            14   A. I never drafted any declaration. I received

            15 one from Nike, I believe, too.

                                                                                 Total Number of Clips:1
                                                                            Total Number of Segments:9
                                                                        Total Running Time:00:09:48.188
                                                                                            Page 1 of 8
Case
16 Q.2:18-cv-05623-MMB         Document
       Is that the June 1st, 2020           406 Filed 04/27/22 Page 222 of 371
                                  declaration?

17   A. Yes.

18   Q. And before Nike sent that declaration to you,

19 did they send you any pictures to help refresh your

20 recollection?

21   A. Did -- did Nike?

22   Q. Yes.

23   A. I don't recall.

24   Q. Did Nike share any materials with you to help

25 refresh your recollection?

01   A. I don't recall.

02   Q. In paragraph 15 of the June 1st declaration

03 you say, "I have never mistakenly believed that Lontex

04 authorized Nike to use its 'COOL COMPRESSION'

05 technology."

06   When you answered the question about this

07 paragraph a moment ago, you emphasized the word

08 "mistakenly." What did you mean in paragraph 15 of this

09 declaration?

10   A. I mean the way I'm reading it is that they

11 accidentally used the COOL COMPRESSION technology.

12   Q. And paragraph 16 reads, "I have never

13 mistakenly believed that there was any affiliation or

14 relationship between Lontex and Nike."

15   What did you mean by making that statement?

16   A. Well, I didn't think they were a joint venue

                                                                      Total Number of Clips:1
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                                                             Total Running Time:00:09:48.188

                                                                                 Page 2 of 8
  Case 2:18-cv-05623-MMB
  17 [sic].                      Document
            Meaning, I don't necessarily       406
                                         believe theyFiled
                                                      work 04/27/22 Page 223 of 371

  18 together.

  19   Q. So to be clear, do you believe that either of

  20 these paragraphs is inconsistent?

  21   A. Well, the -- the "authorized Nike to use its

  22 'COOL COMPRESSION,'" where -- I mean, how would I know if

  23 Nike -- if Lontex authorized Nike to use it? I . . .

  24   Q. So for paragraph 15, is it your testimony

  25 today that the exact mechanism/authorization is something

  01 you would have no knowledge about?

  02   A. That is correct.

2. Page 108:05 to 108:23 (Running 00:01:12.400)

  05   Q. (By Mr. Wagner) Could you answer the

  06 question? Could you say that again?

  07   A. I have no idea.

  08   Q. And is -- did you mean to say anything more

  09 than that for paragraph 15 here?

  10   A. I did not, no.

  11   Q. On paragraph 16, does that mean that you have

  12 never believed that there was an association between

  13 Nike's use of Cool Compression and Lontex's use of COOL

  14 COMPRESSION?

  15   A. Well, the only thing that throws me off a

  16 little bit is the COOL COMPRESSION, right? It's -- I

  17 don't -- because I wasn't aware if there was an

  18 authorized usage of that COOL COMPRESSION. But I have no

                                                                     Total Number of Clips:1
                                                                 Total Number of Segments:9
                                                            Total Running Time:00:09:48.188

                                                                                 Page 3 of 8
  Case 2:18-cv-05623-MMB
  19 idea if Lontex and Nike hadDocument   406 atFiled
                                 any agreement   all. 04/27/22 Page 224 of 371

  20   Q. Did you at any point, outside this litigation,

  21 understand Nike's use of Cool Compression for a

  22 compression product to indicate that it had obtained the

  23 technology that Lontex used for its compression products?

3. Page 109:01 to 109:13 (Running 00:00:38.289)

  01   THE WITNESS: When I think of COOL

  02 COMPRESSION, I think of Lontex and, you know, the lycra,

  03 meaning what I explained earlier, that it can flex in

  04 multiple directions and wick the moisture. So, you know,

  05 I don't know how, you know, those companies can transfer

  06 over to each other. So I'm not too sure. But when I --

  07 when I actually see COOL COMPRESSION, again, I was

  08 thinking of SWEAT IT OUT because that is -- that was my

  09 only affiliation with COOL COMPRESSION at that point in

  10 time.

  11   Q. (By Mr. Wagner) And that included when you

  12 saw it in reference to Nike's products?

  13   A. That's correct.

4. Page 109:16 to 109:25 (Running 00:00:38.521)

  16   Q. (By Mr. Wagner) How many times before signing

  17 the June 1st declaration did you speak to Nike attorneys?

  18   A. Well, only one that I can remember. I mean,

  19 if I did talk -- talk to them, it's no more than two, but

  20 I can only remember one.

  21   Q. And how long was that conversation?

                                                                          Total Number of Clips:1
                                                                     Total Number of Segments:9
                                                                 Total Running Time:00:09:48.188

                                                                                     Page 4 of 8
  Case
  22 A.2:18-cv-05623-MMB       Document
        Probably 20 minutes -- 20,         406if Filed 04/27/22 Page 225 of 371
                                   30 minutes,

  23 that.

  24   Q. And did you talk about the facts or details

  25 that appeared in the declaration that you received?

5. Page 110:04 to 111:25 (Running 00:02:09.249)

  04   THE WITNESS: Did we talk about the details on

  05 the declaration? Is that what you're asking?

  06   Q. (By Mr. Wagner) Did you talk about -- let's

  07 phrase it that way. Did you talk about the details of

  08 the declaration with the Nike attorneys prior to

  09 receiving the draft of the declaration?

  10   A. Yeah. I believe so.

  11   Q. And was that on the 20-minute call you just

  12 referenced?

  13   A. That's the only call that I can recall.

  14   Q. And prior to today's trial deposition, did

  15 Nike reach out to you again about the logistics for this

  16 deposition?

  17   A. Only on timing. Nothing directly to me that

  18 I'm aware of, no.

  19   Q. Did they tell you or your organization that

  20 they were going to send a set of documents for you to

  21 have prior to today's deposition?

  22   A. I was told I was going to receive some kind of

  23 box, which I still don't quite understand what it was.

  24   Q. What was your understanding as to what was

                                                                         Total Number of Clips:1
                                                                    Total Number of Segments:9
                                                                Total Running Time:00:09:48.188

                                                                                    Page 5 of 8
Case 2:18-cv-05623-MMB
25 going to be in the box? Document 406 Filed 04/27/22 Page 226 of 371

01   A. All I know is it was a sealed box that I would

02 have to open, basically, once I was on the Zoom. I had

03 no idea what was in it.

04   Q. So you testified earlier about Alan Bossart.

05   A. Yeah.

06   Q. How long has Alan Bossart worked with you?

07   A. Probably 20 years.

08   Q. Over the course of that 20 years --

09   A. Wait. Actually, I can rephrase that. He's

10 our longest employee of our Rockies organization.

11   Q. So more than 20 years?

12   A. That's correct.

13   Q. Do you guys often help each other out?

14   A. All the time. Yeah.

15   Q. When Rockies staff does something, do you ever

16 use the first person pronoun "I" when telling other

17 people who did it?

18   A. Sure I have, yeah.

19   Q. So if Alan Bossart took the pictures attached

20 to your declaration, and you sent those and said that "I

21 took those pictures," would that be an inaccurate

22 statement, in your mind, based on your ordinary course of

23 reference --

24   A. It should have been --

25   Q. -- to daily activities and Rockies activities?

                                                                       Total Number of Clips:1
                                                                  Total Number of Segments:9
                                                              Total Running Time:00:09:48.188

                                                                                  Page 6 of 8
   Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 227 of 371
6. Page 112:04 to 112:10 (Running 00:00:16.521)

  04   THE WITNESS: It should have been rephrased "I

  05 sent the pictures," because I did take some of the

  06 pictures, but I don't know which pictures I took too.

  07   Q. (By Mr. Wagner) But it's common for you to

  08 refer to things that other members of the Rockies staff

  09 do in the first person as well, correct?

  10   A. That's right.

7. Page 112:13 to 112:13 (Running 00:00:01.369)

  13   THE WITNESS: Yes.

8. Page 112:14 to 112:21 (Running 00:00:26.810)

  14   Q. (By Mr. Wagner) So Nike counsel showed you a

  15 number of pictures that were, according to counsel, sent

  16 to you by my office prior to conversations that we had.

  17   Did seeing pictures or talking to Lontex's

  18 attorneys ever cause you to create testimony --

  19   A. No.

  20   Q. -- that was not true?

  21   A. No.

9. Page 112:24 to 113:15 (Running 00:00:49.689)

  24   Q. (By Mr. Wagner) Would you ever, under oath,

  25 testify falsely intentionally?

  01   A. No. I have no reason to.

  02   Q. Do you have any financial interest in the

  03 outcome of this litigation?

  04   A. Zero.

                                                                         Total Number of Clips:1
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                                                                Total Running Time:00:09:48.188
                                                                                    Page 7 of 8
Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 228 of 371
05 Q. Do you have any financial interest in Lontex

06 Corporation?

07   A. Zero.

08   Q. Do you have any personal interest in whether

09 Mr. Nathan or Nike prevail in this lawsuit?

10   A. Honestly, I don't -- I don't care. I have no

11 personal interest.

12   MR. WAGNER: No further questions.

13   MR. HYNES: Thank you, Mr. Dugger. I

14 appreciate your time here today. I don't have anything

15 further.




                                                                     Total Number of Clips:1
                                                                Total Number of Segments:9
                                                            Total Running Time:00:09:48.188
                                                                                Page 8 of 8
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 229 of 371
                                Case Clips Detailed Report
                                             10290_Lontex v Nike

   HALL, SHANNON R - VOL 1 - 10/23/2020 55 Clips (Running 00:20:05.705)


       HALL_007-19_07-21_CD (Running         00:00:06.790)

         1. Page 07:19 to 07:21 (Running 00:00:06.790)

            19   Q. Mr. Hall, could you please state your

            20   full name for the record.

            21   A. Yes. It's Shannon Richard Hall.

       HALL_014-03_14-13_D (Running         00:00:34.320)

         1. Page 14:03 to 14:13 (Running 00:00:34.320)

            03   Q. And did Nike.com Assist also have

            04   product names that included cool compression during

            05   the 2015 to 2017 time frame?

            06   A. I'm not sure.

            07   Q. Have you done any investigation to

            08   determine one way or another whether that is so?

            09   A. Yes.

            10   Q. And what did your investigation turn

            11   up?

            12   A. That it's part of the product

            13   description.

       HALL_014-14_14-16_D (Running         00:00:08.420)

         1. Page 14:14 to 14:16 (Running 00:00:08.420)

            14   Q. When you say "product description,"

            15   do you mean the title above the picture of the

            16   product on Nike.com Assist?

                                                                              Total Number of Clips:55
                                                                          Total Number of Segments:55
                                                                       Total Running Time:00:20:05.705
                                                                                          Page 1 of 18
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 230 of 371
   HALL_014-18_14-19_D (Running
                             00:00:05.780)

    1. Page 14:18 to 14:19 (Running 00:00:05.780)
       18   A. Yes, part of our description would be

       19   in that.

   HALL_014-20_D (Running      00:00:01.421)

    1. Page 14:20 to 14:20 (Running 00:00:01.421)

       20   Q. That field?

   HALL_014-23_14-24_D (Running     00:00:06.399)

    1. Page 14:23 to 14:24 (Running 00:00:06.399)

       23   A. It would be there, along with like

       24   short-sleeve, long-sleeve, short, tight.

   HALL_014-25_15-03 (Running     00:00:11.541)

    1. Page 14:25 to 15:03 (Running 00:00:11.541)
       25   Q. And do you know if at any point in

       01   the 2015 to 2017 time frame, that cool compression

       02   moniker in that field would have been removed from

       03   any of the accused products?

   HALL_015-16_D (Running      00:00:02.509)

    1. Page 15:16 to 15:16 (Running 00:00:02.509)
       16   A. I'm not aware.

   HALL_040-18_40-20_D (Running     00:00:09.460)

    1. Page 40:18 to 40:20 (Running 00:00:09.460)
       18   Q. So was there also a store binder or

       19   binders that had information on products?

       20   A. Yes.

   HALL_041-06_41-09_D (Running     00:00:11.710)

                                                                        Total Number of Clips:55
                                                                    Total Number of Segments:55
                                                                 Total Running Time:00:20:05.705
                                                                                    Page 2 of 18
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 231 of 371
    1. Page 41:06 to 41:09 (Running 00:00:11.710)

       06   Q. What were in the binders that you

       07   just testified were in stores?

       08   A. We're talking about the text sheets,

       09   so that was what I was referring to.

   HALL_042-14_42-17_D (Running       00:00:12.630)

    1. Page 42:14 to 42:17 (Running 00:00:12.630)

       14   Q. What was the purpose of these

       15   binders?

       16   A. The binder would have been for

       17   athletes to reference to learn about product.

   HALL_042-18_42-19_CD (Running       00:00:03.071)

    1. Page 42:18 to 42:19 (Running 00:00:03.071)

       18   Q. What products would have been

       19   included in them?

   HALL_042-21_42-25_CD (Running       00:00:17.300)

    1. Page 42:21 to 42:25 (Running 00:00:17.300)

       21   A. We have thousands of products. So, I

       22   mean, there could be something -- a text sheet on

       23   technology. There could be a text sheet focused on

       24   footwear, apparel. It depends on that store and

       25   what product they carry.

   HALL_046-20_46-21_D (Running       00:00:02.450)

    1. Page 46:20 to 46:21 (Running 00:00:02.450)

       20   Q. What else can you tell me about these

       21   binders?

                                                                        Total Number of Clips:55
                                                                    Total Number of Segments:55
                                                                 Total Running Time:00:20:05.705
                                                                                    Page 3 of 18
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 232 of 371
   HALL_046-24_D (Running
                         00:00:03.331)

    1. Page 46:24 to 46:24 (Running 00:00:03.331)

       24   A. That they would contain text sheets.

   HALL_046-25_47-02_D (Running       00:00:11.804)

    1. Page 46:25 to 47:02 (Running 00:00:11.804)

       25   Q. And what are text sheets?

       01   A. It is a description of the product

       02   that includes features and benefits.

   HALL_047-22_47-24_CD (Running       00:00:13.100)

    1. Page 47:22 to 47:24 (Running 00:00:13.100)

       22   Q. Mr. Hall, are employees at Nike-owned

       23   stores assigned to particular areas of the store?

       24   A. Yes, some of them are.

   HALL_048-03_48-21_D (Running       00:01:21.870)

    1. Page 48:03 to 48:21 (Running 00:01:21.870)

       03   Q. How many areas does an athlete

       04   usually cover?

       05   A. Depends on the store and the team and

       06   the size of that team, but I think there is

       07   potentially seven areas.

       08   Q. What are those areas?

       09   A. You could be a cashier, fitting room,

       10   men's apparel, women's apparel, men's footwear,

       11   women's footwear or the stockroom, back of the

       12   house.

       13   Q. Are there any others that you can

                                                                       Total Number of Clips:55
                                                                   Total Number of Segments:55
                                                                Total Running Time:00:20:05.705
                                                                                   Page 4 of 18
       Case 2:18-cv-05623-MMB
       14 think of?           Document 406 Filed 04/27/22 Page 233 of 371

       15   A. Like currently today?

       16   Q. In the 2015 to 2017 time frame?

       17   A. You could be a mobile cashier as well

       18   where you would ring up end zone.

       19   Q. What is end zone?

       20   A. Like on the sales floor, not at your

       21   traditional register.

   HALL_048-22_48-24_D (Running       00:00:09.610)

    1. Page 48:22 to 48:24 (Running 00:00:09.610)

       22   Q. And would those mobile cashiers use

       23   the Nike.com Assist mobile devices?

       24   A. Yes.

   HALL_050-09_50-14_D (Running       00:00:25.120)

    1. Page 50:09 to 50:14 (Running 00:00:25.120)

       09   Q. Okay. So you worked the Philadelphia

       10   Premium Outlets during this time period; correct?

       11   A. During 2015 to 2018?

       12   Q. Correct.

       13   A. I worked there 2015 to 2016. I don't

       14   remember the exact date.

   HALL_052-06_52-11_D (Running       00:00:21.750)

    1. Page 52:06 to 52:11 (Running 00:00:21.750)

       06   Q. Does a majority of time of full-time

       07   associates consist of working in their department of

       08   focus?

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705

                                                                                      Page 5 of 18
       Case
       09 A.2:18-cv-05623-MMB
             What's a majority? Document 406 Filed 04/27/22 Page 234 of 371

       10   Q. Over 50 percent?

       11   A. Yeah.

   HALL_053-02_53-07_CD (Running      00:00:15.520)

    1. Page 53:02 to 53:07 (Running 00:00:15.520)

       02   Q. So how many products does a typical

       03   Nike Factory Store carry at any given time?

       04   A. Thousands.

       05   Q. And are athletes expected to know

       06   about every single product?

       07   A. No.

   HALL_054-01_54-02_D (Running     00:00:05.050)

    1. Page 54:01 to 54:02 (Running 00:00:05.050)

       01   Q. Is it a culture that encourages

       02   associates to know their products well?

   HALL_054-04_54-05_D (Running     00:00:03.880)

    1. Page 54:04 to 54:05 (Running 00:00:03.880)

       04   A. Yeah, we're very passionate about our

       05   product.

   HALL_054-09_54-20_D (Running     00:00:53.060)

    1. Page 54:09 to 54:20 (Running 00:00:53.060)

       09   Q. So with thousands of products at any

       10   given store, how is it that a retail athlete wanting

       11   to know more about a product can do so?

       12   A. Similar to what I explained before.

       13   You have text sheets. You have -- you have your

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705
                                                                                      Page 6 of 18
       Case 2:18-cv-05623-MMB
       14 leadership               Document
                     team who's been           406
                                     trained. You    Filed
                                                  have Nike04/27/22 Page 235 of 371

       15   SKU. You ask fellow employees that have worked

       16   there a while who may have a better understanding of

       17   products.

       18   Q. What about Nike.com Assist?

       19   A. Yes, you can utilize the Assist app

       20   to look up product.

   HALL_054-21_54-22_D (Running      00:00:07.400)

    1. Page 54:21 to 54:22 (Running 00:00:07.400)

       21   Q. And are athletes encouraged in their

       22   downtime to spend that time learning about products?

   HALL_054-25_55-04_D (Running      00:00:15.110)

    1. Page 54:25 to 55:04 (Running 00:00:15.110)

       25   A. We're all about learning and

       01   education. So it's -- yeah, there is not a lot of

       02   downtime at Nike. We're busy all the time, but if

       03   there happens to be, we're all about giving our

       04   employees an opportunity to learn more.

   HALL_057-15_57-17_D (Running      00:00:09.290)

    1. Page 57:15 to 57:17 (Running 00:00:09.290)

       15   Q. And were -- those text sheets, did

       16   they include a product title at the top?

       17   A. Yes.

   HALL_057-18_57-19_D (Running      00:00:05.510)

    1. Page 57:18 to 57:19 (Running 00:00:05.510)

       18   Q. And why did they include a product

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705
                                                                                      Page 7 of 18
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 236 of 371
       19 title?

   HALL_057-22_57-23_D (Running      00:00:08.510)

    1. Page 57:22 to 57:23 (Running 00:00:08.510)
       22   A. Our products have names and then also

       23   descriptions of what the product is in the title.

   HALL_057-24_58-01_D (Running      00:00:14.000)

    1. Page 57:24 to 58:01 (Running 00:00:14.000)
       24   Q. So why is it important for the text

       25   sheets provided to retail athletes to have a title

       01   at the top of the text sheet?

   HALL_058-04_58-05_D (Running      00:00:06.510)

    1. Page 58:04 to 58:05 (Running 00:00:06.510)
       04   A. Yeah, to be able to explain the name

       05   and then also a description of that product.

   HALL_058-06_58-07_D (Running      00:00:03.310)

    1. Page 58:06 to 58:07 (Running 00:00:03.310)
       06   Q. Explain to the customers when they

       07   spoke with them about the product?

   HALL_058-10_58-11_D (Running     00:00:07.470)

    1. Page 58:10 to 58:11 (Running 00:00:07.470)
       10   A. Yeah, ultimately, the text sheets are

       11   to help our athletes service the consumer.

   HALL_063-22_63-25_D (Running      00:00:14.540)

    1. Page 63:22 to 63:25 (Running 00:00:14.540)
       22   Q. Mr. Hall, do you have what is titled

       23   exhibit 26?

                                                                        Total Number of Clips:55
                                                                    Total Number of Segments:55
                                                                 Total Running Time:00:20:05.705

                                                                                    Page 8 of 18
       Case
       24 A.2:18-cv-05623-MMB         Document 406 Filed 04/27/22 Page 237 of 371
             Yes, I can see it on the screen

       25   share. I also downloaded it.

   HALL_064-01_64-04_D (Running     00:00:16.360)

    1. Page 64:01 to 64:04 (Running 00:00:16.360)

       01   Q. So this is a document titled: Nike

       02   Retail Mobile Point of Sale, and at the top shows a

       03   phone with Nike.com Assist.

       04   Do you see that?

   HALL_064-18_65-03_D (Running     00:00:52.270)

    1. Page 64:18 to 65:03 (Running 00:00:52.270)

       18   A. Yes.

       19   Q. So I'm showing you a portion of

       20   exhibit 26 that has three screens under log in. It

       21   shows a Nike.com Assist main screen. Is that how

       22   the main screen for Nike.com Assist looks or looked?

       23   A. Yes, that's how it looked.

       24   Q. And then the next picture shows a

       25   sign-in button with a place to enter employee ID and

       01   password. Is that also an accurate depiction of how

       02   Nike.com Assist looked?

       03   A. Yes.

   HALL_067-21_68-12_D (Running     00:01:09.920)

    1. Page 67:21 to 68:12 (Running 00:01:09.920)

       21   Q. So the best way to access product

       22   information is to scan the bar code for the product

       23   that you want information on; correct?

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705

                                                                                      Page 9 of 18
       Case
       24 A.2:18-cv-05623-MMB
             Correct.         Document 406 Filed 04/27/22 Page 238 of 371

       25   Q. And then this next portion of exhibit

       01   26 is labeled: Product detail, and it has three

       02   screen captures of the mobile device. Is this an

       03   accurate representation of the product detail pages

       04   that would be pulled up when you scanned a bar code

       05   of a product?

       06   A. Yes.

       07   Q. So in the first image, this

       08   particular image is of something called the: Nike

       09   Dri-Knit long-sleeve women's running shirt, product

       10   number 599205-403.

       11   Do you see that?

       12   A. Yes.

   HALL_068-13_68-17_D (Running     00:00:17.480)

    1. Page 68:13 to 68:17 (Running 00:00:17.480)

       13   Q. So is that the portion of the screen,

       14   on the first screen when you scan a product, that

       15   would show the name of the products to the retail

       16   athlete?

       17   A. Yes.

   HALL_068-18_68-20_D (Running     00:00:09.280)

    1. Page 68:18 to 68:20 (Running 00:00:09.280)

       18   Q. And it would have the price next to

       19   it?

       20   A. Yes.

                                                                         Total Number of Clips:55
                                                                     Total Number of Segments:55
                                                                  Total Running Time:00:20:05.705
                                                                                   Page 10 of 18
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 239 of 371
   HALL_070-08_71-10_D (Running
                             00:01:39.430)

    1. Page 70:08 to 71:10 (Running 00:01:39.430)

       08   So you see in the second screen here,

       09   on the product detail, that there are some sizing

       10   options, some color options and some areas labeled

       11   benefits and technology and reviews. Is that format

       12   what you recall Nike.com Assist looking like if you

       13   swiped left to the next screen -- or strike that.

       14   How do you get to this second screen?

       15   A. So that second screen is -- so you

       16   would scroll down or like swipe up, that's below

       17   what's on that first picture, so you have the colors

       18   of the items and then you have the sizes based off

       19   of color, but you're still on the same page. You're

       20   just -- you scroll down now.

       21   Q. I see.

       22   So all three of these pictures would

       23   just be scrolling down to further down parts of the

       24   product detail page?

       25   A. No.

       01   Q. What portion of these three images

       02   would not be accessed through scrolling down?

       03   A. That third one, the reviews just

       04   doesn't pop up. You would have to click on that

       05   little area.

       06   Q. So is that the same for benefits and

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705
                                                                                     Page 11 of 18
       Case 2:18-cv-05623-MMB
       07 technology,              Document
                      you would have to tap that 406   Filed
                                                 area for the 04/27/22 Page 240 of 371

       08   benefits and technology to populate before the

       09   title?

       10   A. That's correct.

   HALL_074-14_74-23_D (Running     00:00:32.620)

    1. Page 74:14 to 74:23 (Running 00:00:32.620)

       14   Q. Did retail athletes use Nike.com

       15   itself to learn about products?

       16   A. It's an option for them.

       17   Q. How often did you refer to Nike.com

       18   while you were working at Philadelphia Premium

       19   Outlets Nike Factory Store?

       20   A. I look at Nike.com daily.

       21   Q. And did you encourage other retail

       22   associates to look at it frequently as well?

       23   A. Yes.

   HALL_075-01_75-12_D (Running     00:00:38.880)

    1. Page 75:01 to 75:12 (Running 00:00:38.880)

       01   What did you encourage them to look

       02   at it for?

       03   A. To understand product. Also, there

       04   is a connection between Nike employees that we all

       05   love the product. So it's a discussion piece of

       06   just being able to talk about what just dropped

       07   online.

       08   Q. Did you encourage them to use

                                                                        Total Number of Clips:55
                                                                    Total Number of Segments:55
                                                                 Total Running Time:00:20:05.705
                                                                                  Page 12 of 18
       Case 2:18-cv-05623-MMB
       09 Nike.com                 Document
                    to educate themselves about406    Filed 04/27/22 Page 241 of 371
                                                the products

       10   available in your stores?

       11   A. It's one of the many options that I

       12   listed, so yes.

   HALL_075-19_76-03_D (Running     00:00:48.450)

    1. Page 75:19 to 76:03 (Running 00:00:48.450)

       19   Q. Did you personally observe any retail

       20   athletes or coaches at the Philadelphia Premium

       21   Outlet Nike Factory Store using the SKU interface?

       22   A. Yes.

       23   Q. How frequently did you observe the

       24   SKU interface being used by retail associates?

       25   A. Depends on the retail athlete. You

       01   have some that are extremely passionate, who ask for

       02   time to spend on SKU, and then you have some that

       03   would never log on to SKU.

   HALL_077-01_77-06_D (Running     00:00:24.260)

    1. Page 77:01 to 77:06 (Running 00:00:24.260)

       01   If a retail associate wants to access

       02   SKU in store, where do they access it on?

       03   A. There is a computer in the break room

       04   that they can access. We have computers in the

       05   office and they also can access SKU from their

       06   personal cell phone or personal computer.

   HALL_079-03_79-11_CD (Running       00:00:26.850)

    1. Page 79:03 to 79:11 (Running 00:00:26.850)

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705

                                                                                    Page 13 of 18
       Case
       03 Do2:18-cv-05623-MMB       Document
              you know if Nike Factory Stores 406 Filed 04/27/22 Page 242 of 371

       04   during this time period had stationary screens that

       05   could be accessed by customers through which

       06   Nike.com Assist was available?

       07   A. No.

       08   Q. You don't know one way or another or

       09   they weren't available?

       10   A. No, there was not Nike.com Assist

       11   available to the consumers.

   HALL_080-20_80-22_D (Running      00:00:06.730)

    1. Page 80:20 to 80:22 (Running 00:00:06.730)

       20   Q. What are brand stations with a

       21   computer?

       22   A. You can access Nike.com.

   HALL_080-23_81-01_CD (Running      00:00:09.400)

    1. Page 80:23 to 81:01 (Running 00:00:09.400)

       23   Q. And does every Nike Factory Store in

       24   the 2015 to 2017 time frame have one of these brand

       25   stations?

       01   A. No.

   HALL_083-19_84-02_D (Running      00:00:25.640)

    1. Page 83:19 to 84:02 (Running 00:00:25.640)

       19   What else was the brand station there

       20   for?

       21   A. Nike.com.

       22   Q. And how would you access Nike.com at

                                                                         Total Number of Clips:55
                                                                     Total Number of Segments:55
                                                                  Total Running Time:00:20:05.705

                                                                                   Page 14 of 18
       Case 2:18-cv-05623-MMB
       23 this brand station? Document 406 Filed 04/27/22 Page 243 of 371

       24   A. That's the only screen available.

       25   Q. So that's the default screen,

       01   Nike.com?

       02   A. Correct.

   HALL_084-12_84-24_D (Running     00:00:41.150)

    1. Page 84:12 to 84:24 (Running 00:00:41.150)

       12   Q. Were you able to search or scroll

       13   through to a product page to learn about a product?

       14   A. Yeah, you could search for a product.

       15   Q. So if you had a product in your hand,

       16   flipped it to where the product number was and you

       17   put -- there was a search bar to put in that product

       18   number and pull up a product page; correct?

       19   A. If that product is available on

       20   Nike.com.

       21   Q. It would pull it up on the brand

       22   station in that way?

       23   A. If it was available to purchase on

       24   Nike.com.

   HALL_189-15_190-12_CD (Running      00:01:03.029)

    1. Page 189:15 to 190:12 (Running 00:01:03.029)

       15   Q. Mr. Hall, what is your current role

       16   at Nike?

       17   A. I am head coach of the Lancaster

       18   Factory Store.

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705
                                                                                    Page 15 of 18
       Case
       19 Q.2:18-cv-05623-MMB       Document 406 Filed 04/27/22 Page 244 of 371
              And what is the head coach's

       20   responsibility?

       21   A. I am the store manager. I oversee my

       22   leadership team, so a management team of currently

       23   six, have two open roles, and ensure that training,

       24   the day-to-day operations are conducted and held by

       25   my leadership team, and that we show up the right

       01   way for our consumers.

       02   Q. How long have you had that position

       03   for as head coach?

       04   A. Been head coach now for a little over

       05   a year.

       06   Q. All right. When did you start your

       07   career at Nike?

       08   A. October 2008.

       09   Q. Wow, okay. So can you give us a

       10   little overview of what your career path has been

       11   since 2008 that has led you to head coach?

       12   A. Sure.

   HALL_190-16_191-14_CD (Running      00:01:35.890)

    1. Page 190:16 to 191:14 (Running 00:01:35.890)

       16   A. Yeah, I started as a seasonal athlete

       17   at Nike Town New York and went from a seasonal, to a

       18   part-time, to full-time, to a lead, to a coach over

       19   my three years at Nike Town.

       20   I then got promoted to assistant head

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705
                                                                                    Page 16 of 18
       Case 2:18-cv-05623-MMB
       21 coach                      Document
                 out in Oregon in Lincoln City on 406   Filed 04/27/22 Page 245 of 371
                                                  the factory

       22   side of business. Spent about a year at Lincoln

       23   City as an assistant head coach, and then I took a

       24   step down to be a coach at the Woodburn Factory

       25   Store. It's a big pilot door and located about 30

       01   minutes from our world headquarters. Spent about a

       02   year at Woodburn where ultimately I missed the east

       03   coast of being close to my friends and family, where

       04   I moved to Pottstown as an assistant head coach.

       05   I also stretched as head coach during

       06   my three plus years at Pottstown, where then the

       07   Ekin role came to Nike Direct. So I thought that

       08   was a big opportunity around product training and

       09   history and heritage for our factory side of the

       10   business. So I was very excited to take on that

       11   role and kind of pilot that role for the company,

       12   where I've spent close to three years as a Nike

       13   Direct Ekin or a DTC Ekin originally before taking

       14   on the head coach role.

   HALL_194-15_194-25_CD (Running      00:00:34.440)

    1. Page 194:15 to 194:25 (Running 00:00:34.440)

       15   How many Nike stores have you been a

       16   part of during your employment at Nike?

       17   A. So I've been a leader, a manager at

       18   five stores. Been a part of multiple districts, and

       19   as an Ekin, I was a partner to anywhere from nine to

                                                                          Total Number of Clips:55
                                                                      Total Number of Segments:55
                                                                   Total Running Time:00:20:05.705
                                                                                    Page 17 of 18
       Case
       20 162:18-cv-05623-MMB
              stores at a time. So 20 Document
                                      plus.    406 Filed 04/27/22 Page 246 of 371

       21   Q. Great.

       22   And so you've worked on the sales

       23   floor of Nike stores interacting with consumers;

       24   right?

       25   A. That's correct.

   HALL_196-11_196-14_CD (Running     00:00:10.030)

    1. Page 196:11 to 196:14 (Running 00:00:10.030)

       11   How many different Nike retail stores

       12   do you think you've visited over the course of your

       13   adult life?

       14   A. Oh, probably another 20.

   HALL_200-23_201-03 (Running    00:00:14.050)

    1. Page 200:23 to 201:03 (Running 00:00:14.050)

       23   Q. And do consumers ever receive text

       24   sheets?

       25   A. No. No, they're an internal document

       01   there for education of our team. They're not to be

       02   shared with consumers. It's to help us service the

       03   consumer.




                                                                         Total Number of Clips:55
                                                                     Total Number of Segments:55
                                                                  Total Running Time:00:20:05.705

                                                                                   Page 18 of 18
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 247 of 371
                               Case Clips Detailed Report
                                           10290_Lontex v Nike

   JOHNSON, NICHOLAS - VOL 1 - 11/21/2019 120 Clips (Running 00:50:05.295)

       JOHNSON_007-01_07-03_D (Running         00:00:04.011)

         1. Page 07:01 to 07:03 (Running 00:00:04.011)
            01   Q. Good morning. Can you state your name for

            02   the record.

            03   A. Nicholas Johnson.

       JOHNSON_017-22_18-04_CD (Running         00:00:45.460)

         1. Page 17:22 to 18:04 (Running 00:00:45.460)
            22   So with that, what is your current role at Nike?

            23   A. My current role at Nike is senior project

            24   manager for Nike apparel innovation.

            25   Q. What is Nike apparel and innovation within

            01   the Nike structure?

            02   A. The -- within the Nike structure, the Nike

            03   apparel innovation group works on creating new

            04   future products and apparel.

       JOHNSON_018-11_18-14_CD (Running         00:00:11.530)

         1. Page 18:11 to 18:14 (Running 00:00:11.530)
            11   Q. So would that include Nike Pro apparel?

            12   A. Potentially, if we came up with an

            13   innovation that was -- could be attributed to that

            14   line, yes.

       JOHNSON_019-04_19-14_CD (Running         00:00:32.401)

         1. Page 19:04 to 19:14 (Running 00:00:32.401)

                                                                              Total Number of Clips:120
                                                                       Total Number of Segments:120
                                                                      Total Running Time:00:50:05.295

                                                                                          Page 1 of 42
       Case
       04 Q.2:18-cv-05623-MMB
              Okay. So then how longDocument   406in Filed 04/27/22 Page 248 of 371
                                     have you been

       05   that position? From what date to the present?

       06   A. Since August 1st, 2017.

       07   Q. And prior to assuming that position, what

       08   was your position within Nike?

       09   A. Prior to that position, my position within

       10   Nike was as the Product Line Manager for Nike Pro.

       11   As a Product Line Manager for Nike Pro.

       12   Q. How many Product Line Managers were there

       13   with you for Nike Pro at that time you served in

       14   that capacity?

   JOHNSON_019-16_19-18_CD (Running        00:00:14.869)

    1. Page 19:16 to 19:18 (Running 00:00:14.869)

       16   THE WITNESS: During my time as a Product

       17   Line Manager for Nike Pro, there were multiple other

       18   Product Line Managers.

   JOHNSON_021-15_21-22_D (Running       00:00:23.561)

    1. Page 21:15 to 21:22 (Running 00:00:23.561)

       15   Q. Was there part of the product line known

       16   as "Cool" during that time frame?

       17   A. There was a product line that we referred

       18   to as Nike Pro Cool. The time -- the time frame --

       19   during that time frame, yeah.

       20   Q. Was that also within your product line

       21   management?

       22   A. Yes.

                                                                         Total Number of Clips:120
                                                                     Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                      Page 2 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 249 of 371
   JOHNSON_021-23_22-05_CD (Running
                                 00:00:28.409)

    1. Page 21:23 to 22:05 (Running 00:00:28.409)

       23   Q. And was there a Nike Pro Warm during that

       24   time frame, as well?

       25   A. For a portion of that time frame, yes.

       01   Q. What portion of that time frame?

       02   A. We had the product that was referred to as

       03   Nike Pro Warm during the entirety of that time frame

       04   with different -- we referenced it with different

       05   naming conventions.

   JOHNSON_031-23_32-09_CD (Running        00:00:39.300)

    1. Page 31:23 to 32:09 (Running 00:00:39.300)

       23   Q. So prior to that time, what role did you

       24   serve in for Nike?

       25   A. Prior to my role as a Product Line Manager

       01   at Nike Pro, I was an associate Product Line Manager

       02   for Nike Pro.

       03   Q. And what -- was that from September 2013

       04   to December of 2015, approximately?

       05   A. Correct.

       06   Q. And during that time, how many -- how many

       07   associate Product Line Managers served within the

       08   Nike Pro product line alongside of you?

       09   A. I was the only one.

   JOHNSON_034-19_35-22_CD (Running        00:01:47.450)

    1. Page 34:19 to 35:22 (Running 00:01:47.450)

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                      Page 3 of 42
Case
19 Q.2:18-cv-05623-MMB
       So do you view the NikeDocument
                               Pro product406
                                           line Filed 04/27/22 Page 250 of 371

20   management as divided within seasons?

21   A. We use seasons -- we use seasons to help

22   guide our work that we're doing and prioritization.

23   Q. And in a particular season, for example,

24   quarter one of 2015, are you mainly working on that

25   season, or are you working on a season in the

01   future?

02   A. Quarter one is not a season.

03   Q. What are the seasons?

04   A. For us fall, holiday, spring and summer.

05   Q. And the year that is ascribed to that

06   season, is that the calendar year that it falls

07   within?

08   A. The calendar year in which that product

09   would be in market.

10   Q. So for holiday, is it given a two-year

11   designation since it spills over from one year to

12   the next?

13   A. No.

14   Q. Is it the earlier year that is designated

15   as the year?

16   A. Holiday doesn't spill over from one year

17   to the next.

18   Q. What period does fall cover?

19   A. Fall covers -- fall covers July, September

                                                                 Total Number of Clips:120
                                                            Total Number of Segments:120
                                                           Total Running Time:00:50:05.295

                                                                              Page 4 of 42
       Case 2:18-cv-05623-MMB
       20 and  August.        Document 406 Filed 04/27/22 Page 251 of 371

       21   Q. And what period does holiday cover?

       22   A. October, November, December.

   JOHNSON_038-11_38-22_CD (Running       00:00:41.290)

    1. Page 38:11 to 38:22 (Running 00:00:41.290)

       11   Q. And did you work at Nike prior to

       12   September 2013?

       13   A. Yes.

       14   Q. Where were you within Nike? Strike that.

       15   What was your role?

       16   A. Prior to my role as an Associate Line

       17   Manager for Nike Pro, I was a social media

       18   specialist.

       19   Q. And what period of time was that for?

       20   A. I was a social media specialist from April

       21   of 2012 until I took the work as the Associate

       22   Product Line Manager in Nike Pro.

   JOHNSON_048-06_CD (Running       00:00:03.819)

    1. Page 48:06 to 48:06 (Running 00:00:03.819)

       06   Q. How would you refer to Nike Pro Cool?

   JOHNSON_048-08_48-11_CD (Running       00:00:16.761)

    1. Page 48:08 to 48:11 (Running 00:00:16.761)

       08   THE WITNESS: I refer to Nike Pro Cool as

       09   a -- as a collection of -- you know, a segment of

       10   our product line is a collection within our product

       11   line.

                                                                        Total Number of Clips:120
                                                                   Total Number of Segments:120
                                                                  Total Running Time:00:50:05.295

                                                                                     Page 5 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 252 of 371
   JOHNSON_048-13_49-22_CD (Running
                                 00:01:54.580)

    1. Page 48:13 to 49:22 (Running 00:01:54.580)

       13   Q. And is there something within Nike called

       14   a silhouette?

       15   A. Yes.

       16   Q. What is a silhouette?

       17   A. A silhouette, in general, would refer to

       18   the -- depending on -- so depending on where you

       19   work in the business of product creation, silhouette

       20   would mean different things to you. In general,

       21   within Nike, a silhouette would reference, you know,

       22   a T-shirt or a long-sleeved shirt or a long-sleeved

       23   shirt with a mock neck or a crew neck or a hoodie.

       24   The pants, short -- it might have the reference to

       25   certain lengths, depending on how you use it.

       01   Q. And each of those are examples of

       02   silhouette, as generally understood?

       03   A. Each of those are examples of -- it's not

       04   an exhaustive list, but each of those are examples

       05   of silhouette.

       06   Q. Is a silo something different?

       07   A. A silo can be used to reference a grouping

       08   of multiple collections of product within a product

       09   line or even within the business.

       10   Q. Within Nike Pro, during your tenure, were

       11   there any silos?

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                      Page 6 of 42
       Case
       12 A.2:18-cv-05623-MMB
             Yes.             Document 406 Filed 04/27/22 Page 253 of 371

       13   Q. What were those silos?

       14   A. During my time in Nike Pro, there were

       15   multiple silos referred to in multiple ways. The

       16   primary silos that we worked with were Cool, Warm,

       17   Recovery, depending on the time frame, and then we

       18   also had a silo that we referenced as

       19   hypercompression --

       20   THE REPORTER: As what compression?

       21   THE WITNESS: Hypercompression. During --

       22   for a period of time.

   JOHNSON_050-04_50-12_D (Running       00:00:40.390)

    1. Page 50:04 to 50:12 (Running 00:00:40.390)

       04   So did a shift take place within 2014 to

       05   move from something known as the Core silo to a Cool

       06   silo?

       07   A. I wouldn't use "silo" in that language.

       08   Q. How would you describe it?

       09   A. We had a product group or collection

       10   within our line that was referred to as -- that was

       11   called Nike Pro Core and that changed to Nike Pro

       12   Cool.

   JOHNSON_050-21_50-25_D (Running       00:00:27.359)

    1. Page 50:21 to 50:25 (Running 00:00:27.359)

       21   Q.                             When did the

       22   idea of changing from Core to Cool first come about,

                                                                         Total Number of Clips:120
                                                                     Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                      Page 7 of 42
       Case 2:18-cv-05623-MMB
       23 general time frame? Document 406 Filed 04/27/22 Page 254 of 371

       24   A. General time frame would probably -- would

       25   be in the -- 2014. In 2014.

   JOHNSON_051-13_51-20_D (Running       00:00:30.801)

    1. Page 51:13 to 51:20 (Running 00:00:30.801)

       13   Q. Let me ask this way: In what season did

       14   the product grouping from Core get replaced with

       15   Cool?

       16   A. In market?

       17   Q. Yes.

       18   A. The product grouping known as Nike Pro

       19   Core was changed to Nike Pro Cool in the summer of

       20   2015.

   JOHNSON_053-22_54-01_D (Running       00:00:21.590)

    1. Page 53:22 to 54:01 (Running 00:00:21.590)

       22   Q. And then I understand, or am I correct in

       23   understanding, that sometime in 2016, there was a

       24   push within Nike Pro to remove "Cool" or the terms

       25   together, "Cool" and "Compression", out of the style

       01   names?

   JOHNSON_054-03_54-10_D (Running       00:00:28.000)

    1. Page 54:03 to 54:10 (Running 00:00:28.000)

       03   THE WITNESS: During the time frame of

       04   2016?

       05   BY MR. WAGNER:

       06   Q. Yes.

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                      Page 8 of 42
       Case
       07 A.2:18-cv-05623-MMB
             There was a -- I wouldn'tDocument   406 Filed 04/27/22 Page 255 of 371
                                       use the word

       08   "push." There was a request for us to modify the

       09   way in which the words like "Cool" and the word

       10   "Compression" were showing up.

   JOHNSON_054-11_54-20_D (Running       00:00:37.851)

    1. Page 54:11 to 54:20 (Running 00:00:37.851)

       11   Q. "Showing up". What do you mean by

       12   "showing up"?

       13   A. So for us, Nike Pro Cool is a part of our

       14   product line that conveys a benefit to the consumer

       15   of keeping them cooler, keeping them cool.

       16   "Compression" is something that we use as a fit.

       17   Often, Nike Pro Cool, with a descriptor for the fit

       18   of compression would show up next to each other, so

       19   we were informed that we were needing to separate

       20   those words from each other.

   JOHNSON_054-21_54-22_D (Running       00:00:04.210)

    1. Page 54:21 to 54:22 (Running 00:00:04.210)

       21   Q. In the style statement name or somewhere

       22   else?

   JOHNSON_054-24_55-04_D (Running       00:00:20.911)

    1. Page 54:24 to 55:04 (Running 00:00:20.911)

       24   THE WITNESS: In general -- in general

       25   use. My understanding was that consumer facing --

       01   we could not have those words. We were -- we were

       02   trying not to have those words next to each other as

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                      Page 9 of 42
       Case
       03 a2:18-cv-05623-MMB
            way of complying, basedDocument      406from
                                    off of direction   Filed 04/27/22 Page 256 of 371

       04   legal.

   JOHNSON_056-17_57-02_D (Running       00:00:41.841)

    1. Page 56:17 to 57:02 (Running 00:00:41.841)

       17   Q. Sure. Was the need to change the name

       18   specific to the U.S., or was it a global change?

       19   A. As a Product Line Manager for Nike Pro, I

       20   operate in a global capacity, so as -- I didn't have

       21   an understanding if there is a specific designation

       22   of a -- as a geography of which the change needed to

       23   happen.

       24   Q. And did you receive the directive to

       25   participate in the changing of how "Cool" and

       01   "Compression" appeared together in the Nike Pro

       02   product line?

   JOHNSON_057-05_57-15_D (Running       00:00:27.300)

    1. Page 57:05 to 57:15 (Running 00:00:27.300)

       05   THE WITNESS: As the Nike Pro -- as a

       06   Product Line Manager of Nike Pro, one of my roles

       07   and responsibilities would be to help to comply with

       08   our direction from Legal in what steps needed to be

       09   taken.

       10   BY MR. WAGNER:

       11   Q. And did you see that as an optional

       12   directive, or was that a mandatory change that you

       13   had to implement?

                                                                         Total Number of Clips:120
                                                                     Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 10 of 42
       Case
       14 A.2:18-cv-05623-MMB           Document
             I don't -- I don't see things         406 Filed 04/27/22 Page 257 of 371
                                           from Legal

       15   as optional.

   JOHNSON_058-23_59-02_CD (Running        00:00:16.200)

    1. Page 58:23 to 59:02 (Running 00:00:16.200)

       23   Did you take any steps to change how

       24   "Cool" was used within catalogs to refer to certain

       25   Nike Pro products?

       01   A. We did not take any steps to change how

       02   "Cool" was used within Nike Pro catalogs.

   JOHNSON_059-05_59-07_CD (Running        00:00:06.961)

    1. Page 59:05 to 59:07 (Running 00:00:06.961)

       05   Why not?

       06   A. There was no directive to change the word.

       07   "Cool".

   JOHNSON_065-21_66-02_D (Running       00:00:36.580)

    1. Page 65:21 to 66:02 (Running 00:00:36.580)

       21   Q.                    What materials prepared

       22   to provide to retailers with respect to Nike Pro

       23   products?

       24   A. Typically, we'll create a tech sheet that

       25   would describe about the product, and we would

       01   provide other materials that showed our offering to

       02   retailers.

   JOHNSON_066-03_66-12_CD (Running        00:00:41.421)

    1. Page 66:03 to 66:12 (Running 00:00:41.421)

       03   Q. When you say other materials showing our

                                                                        Total Number of Clips:120
                                                                   Total Number of Segments:120
                                                                  Total Running Time:00:50:05.295
                                                                                    Page 11 of 42
       Case 2:18-cv-05623-MMB
       04 offerings,                Document
                     what do you have           406 Filed 04/27/22 Page 258 of 371
                                      in your mind?

       05   A. Assortment.

       06   Q. Assortment of materials?

       07   A. An assortment of product that is available

       08   to be purchased by the retailer.

       09   Q. Is this something other than a catalog?

       10   A. There are other materials other than a

       11   catalog that would be presented to a retailer

       12   through the process.

   JOHNSON_077-11_77-15_CD (Running       00:00:15.800)

    1. Page 77:11 to 77:15 (Running 00:00:15.800)

       11   Q. So is there someone that is responsible

       12   for -- at Nike for communicating with retailers

       13   about changes to product descriptions or product

       14   style names that need to take place for Nike

       15   products?

   JOHNSON_077-17_77-22_CD (Running        00:00:18.000)

    1. Page 77:17 to 77:22 (Running 00:00:18.000)

       17   THE WITNESS: When we make changes, there

       18   are people responsible for communicating our changes

       19   to our partners. Our strategic partners, I believe,

       20   would have a representative that when we make a

       21   change, we will make sure that our change is

       22   communicated.

   JOHNSON_079-09_79-12_D (Running       00:00:13.110)

    1. Page 79:09 to 79:12 (Running 00:00:13.110)

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                    Page 12 of 42
       Case 2:18-cv-05623-MMB
       09 THE  WITNESS: In 2016, I Document  406withFiled 04/27/22 Page 259 of 371
                                   communicated

       10   some of our key partners that it was necessary to

       11   make adjustments to how some of the language was

       12   showing up externally facing.

   JOHNSON_081-08_81-21_CD (Running         00:00:35.170)

    1. Page 81:08 to 81:21 (Running 00:00:35.170)

       08   Q. Would it be okay if we call that the

       09   naming change in 2016? I'm just trying to think of

       10   something that doesn't always -- or, how would you

       11   look to reference it so we don't always have to get

       12   the exact wording the same?

       13   A. I would not reference that as a naming

       14   change.

       15   Q. What would you reference it as?

       16   A. I mean -- it was a -- we were -- we were

       17   asked to make a -- we were asked to look at and make

       18   a change, but it's not -- it was not part of

       19   necessarily a naming change. The naming change is

       20   something I refer to as Nike Pro Core becoming Nike

       21   Pro Cool.

   JOHNSON_088-01_88-10_D (Running        00:00:27.300)

    1. Page 88:01 to 88:10 (Running 00:00:27.300)

       01   Q. Okay. So Parker Mangum used to be the

       02   Product Line Manager for Nike Pro above you for a

       03   certain period of time; is that correct?

       04   A. Parker Mangum was the Product Line Manager

                                                                         Total Number of Clips:120
                                                                     Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 13 of 42
       Case 2:18-cv-05623-MMB
       05 for Nike Pro for a period ofDocument
                                      time while I 406   Filed 04/27/22 Page 260 of 371
                                                   was the

       06   APLM, but also for a period of time while I was a

       07   PLM.

       08   Q. So you both shared that title for at least

       09   some period?

       10   A. Yes.

   JOHNSON_140-21_140-22_D (Running       00:00:02.630)

    1. Page 140:21 to 140:21 (Running 00:00:02.630)

       21   Q. Did you receive training on ANAQUA?

   JOHNSON_140-23_141-01_D (Running       00:00:14.551)

    1. Page 140:23 to 141:01 (Running 00:00:14.551)

       23   THE WITNESS: I did not receive official,

       24   like, in-depth training on ANAQUA. I was informed

       25   of ANAQUA and shown ANAQUA by colleagues as a

       01   Project Line Manager.

   JOHNSON_141-03_141-06_CD (Running        00:00:14.280)

    1. Page 141:03 to 141:06 (Running 00:00:14.280)

       03   Q. Was this a part of your -- the prep -- the

       04   education of you when you became an Associate

       05   Product Line Manager for Nike Pro?

       06   A. Yes.

   JOHNSON_141-17_141-19_D (Running       00:00:04.950)

    1. Page 141:17 to 141:19 (Running 00:00:04.950)

       17   Q. Were you able to input information into

       18   it?

       19   A. I never used ANAQUA.

                                                                      Total Number of Clips:120
                                                                 Total Number of Segments:120
                                                                Total Running Time:00:50:05.295
                                                                                  Page 14 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 261 of 371
   JOHNSON_141-20_141-24_CD (Running
                                 00:00:11.060)

    1. Page 141:20 to 141:24 (Running 00:00:11.060)

       20   Q. Do you know if any of your Product Line

       21   Manager colleagues at Nike Pro ever used ANAQUA?

       22   A. Yes.

       23   Q. And did they?

       24   A. Yes.

   JOHNSON_141-25_142-03_D (Running       00:00:12.470)

    1. Page 141:25 to 142:03 (Running 00:00:12.470)

       25   Q. Who, during your tenure, entered

       01   information into ANAQUA from the Nike Pro product

       02   line management group?

       03   A. To my knowledge, Parker Mangum.

   JOHNSON_142-07_142-08_D (Running       00:00:07.419)

    1. Page 142:07 to 142:08 (Running 00:00:07.419)

       07   Q. Who entered information into ANAQUA once

       08   Parker Mangum left Nike Pro?

   JOHNSON_142-10_142-17_D (Running       00:00:47.571)

    1. Page 142:10 to 142:17 (Running 00:00:47.571)

       10   THE WITNESS: The way it works is when we

       11   update product only on certain cadence, during my

       12   tenure at Nike Pro, after Parker's departure, there

       13   was not anything that we thought was necessary for

       14   us to enter into ANAQUA. Can I clarify? When I

       15   said, "we," I was referring to the Nike Pro product

       16   management team.

                                                                        Total Number of Clips:120
                                                                   Total Number of Segments:120
                                                                  Total Running Time:00:50:05.295
                                                                                   Page 15 of 42
       Case
       17 BY2:18-cv-05623-MMB
              MR. WAGNER:     Document 406 Filed 04/27/22 Page 262 of 371

   JOHNSON_142-18_142-22_D (Running        00:00:16.559)

    1. Page 142:18 to 142:22 (Running 00:00:16.559)

       18   Q. Thank you for that clarification. And

       19   when did Parker Mangum leave the Nike Pro team?

       20   A. I don't know the specific date, but I

       21   believe and have been referring to the March/April

       22   time frame of 2016.

   JOHNSON_142-23_143-02_D (Running        00:00:23.490)

    1. Page 142:23 to 143:02 (Running 00:00:23.490)

       23   Q. So from the March/April 2017 time frame

       24   until you left the Nike Pro team in late 2017, no

       25   information was entered into ANAQUA by anyone in the

       01   Nike Pro product line management team; is that

       02   correct?

   JOHNSON_143-04_143-07_D (Running        00:00:11.860)

    1. Page 143:04 to 143:07 (Running 00:00:11.860)

       04   THE WITNESS: To the knowledge that I have

       05   -- I'm not aware of everything the other PLMs may

       06   have done, but to my knowledge, I did not put

       07   anything into ANAQUA during that time frame.

   JOHNSON_144-18_144-22_D (Running        00:00:24.989)

    1. Page 144:18 to 144:22 (Running 00:00:24.989)

       18   Q. Do you know if anyone else outside of Nike

       19   Pro entered information into ANAQUA for Nike Pro

       20   numbers during the 2014 to 2018 time frame?

                                                                         Total Number of Clips:120
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                                                                   Total Running Time:00:50:05.295
                                                                                    Page 16 of 42
       Case
       21 A.2:18-cv-05623-MMB        Document
             I cannot speak definitively         406 Filed 04/27/22 Page 263 of 371
                                         around whether

       22   people did or did not.

   JOHNSON_145-07_145-13_D (Running       00:00:18.150)

    1. Page 145:07 to 145:13 (Running 00:00:18.150)

       07   Q. Did you ask anyone if they did?

       08   A. Yes.

       09   Q. Who did you ask?

       10   A. Parker Mangum.

       11   Q. And he said he did?

       12   A. Parker Mangum has entered things into

       13   ANAQUA during that time frame.

   JOHNSON_150-05_150-10_D (Running       00:00:13.819)

    1. Page 150:05 to 150:10 (Running 00:00:13.819)

       05   Q. What did he indicate with respect to the

       06   term "Cool"?

       07   A. That he had not entered "Cool Compression"

       08   into ANAQUA because that wouldn't make sense given

       09   that fact that compression is a fit and we don't put

       10   fit and silhouette into ANAQUA.

   JOHNSON_150-17_150-24_D (Running       00:00:29.381)

    1. Page 150:17 to 150:24 (Running 00:00:29.381)

       17   Do you know if Parker Mangum entered the

       18   term "Cool" with respect to any Nike Pro products in

       19   the year 2014?

       20   A. Given the work happening during the time

       21   frame and the conversations we were having around

                                                                         Total Number of Clips:120
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                                                                                    Page 17 of 42
       Case 2:18-cv-05623-MMB
       22 the                      Document
              change from Nike Pro Core to Nike406   Filedmy
                                                Pro Cool,  04/27/22 Page 264 of 371

       23   understanding is that he did. My belief is that he

       24   did.

   JOHNSON_152-23_153-05_D (Running       00:00:25.660)

    1. Page 152:23 to 153:05 (Running 00:00:25.660)

       23   Q. Is someone on the business side of Nike

       24   responsible for reviewing the results that come

       25   back?

       01   A. I would imagine, yes. Yes, I believe that

       02   the -- someone on -- the Product Line Manager who

       03   entered the search query would, I believe, be

       04   responsible for reading through whatever the result

       05   was.

   JOHNSON_158-16_158-22_D (Running       00:00:16.360)

    1. Page 158:16 to 158:22 (Running 00:00:16.360)

       16   Q. So when did Nike first become aware of

       17   Lontex?

       18   A. To my understanding, it was when the

       19   letter was sent to Nike from a representative for

       20   Lontex.

       21   Q. Is that about April 2016?

       22   A. That is my understanding.

   JOHNSON_166-18_167-06_D (Running       00:00:45.230)

    1. Page 166:18 to 167:06 (Running 00:00:45.230)

       18   Q. So what was the core refresh in 2014 in

       19   Nike Pro?

                                                                        Total Number of Clips:120
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                                                                  Total Running Time:00:50:05.295

                                                                                   Page 18 of 42
       Case
       20 A.2:18-cv-05623-MMB       Document
             We've discussed that previously. We406 Filed 04/27/22 Page 265 of 371

       21   looked at -- we had a product -- part of our product

       22   line known as Nike Pro Core and we updated in 2014,

       23   we were discussing when that product would be new in

       24   the market again, first season summer '15 of what we

       25   should call it and we decided to call it Nike Pro

       01   Cool.

       02   Q. And who was involved in that discussion?

       03   A. It was a group decision with

       04   representatives from different functions that I've

       05   referenced earlier, mostly brand and the Nike Pro

       06   product management team.

   JOHNSON_169-04_170-13_CD (Running         00:02:10.761)

    1. Page 169:04 to 170:13 (Running 00:02:10.761)

       04   Q. In those discussions, what reasons were

       05   given for why "Cool" would be a good name to use?

       06   A. Prior to having it be a specific product

       07   name, we've talked about cooling as a benefit or

       08   cool as a benefit for consumers. A lot of the

       09   products we do, it's about moisture management and

       10   wicking moisture off the body and spread it and

       11   disperse around the materials so it can evaporate

       12   better, which leads to a cooling enablement for the

       13   athlete. So it's been used prior, commonly

       14   discussing parts of our line.

       15   Q. Were there any other reasons why the team

                                                                         Total Number of Clips:120
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       Case
       16 or2:18-cv-05623-MMB
             portions of the team felt Document     406
                                       that using the termFiled 04/27/22 Page 266 of 371

       17   "Cool" would be good?

       18   A. Yeah. So a lot of our products as they

       19   went out to market were really complex in the

       20   naming. So you would have long names with lots of

       21   the different things around them, starting with Nike

       22   Pro Combat -- that's extra language -- and then you

       23   have the fit and the silhouette and all those things

       24   in there.

       25   So for simplicity, we were trying to

       01   figure out how to communicate concisely what the

       02   intent of use of the product would be for the

       03   consumer. So as we talked about Cool-type products

       04   and Warm-type products, the idea of just simplifying

       05   it, calling it "Cool", made sense.

       06   Q. Were there any other reasons that you can

       07   recall that were discussed about why it would be

       08   good to use the term "Cool"?

       09   A. I think -- not -- kind of what I meant to

       10   say in there, I don't know if it was clear. I'll

       11   say it a little bit differently, too, is -- "Cool"

       12   was intuitive to the consumer about what the product

       13   proposition might be for them.

   JOHNSON_171-16_171-19_D (Running            00:00:22.249)

    1. Page 171:16 to 171:19 (Running 00:00:22.249)

       16   Q. So out of all those people, do you know

                                                                         Total Number of Clips:120
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                                                                                    Page 20 of 42
       Case 2:18-cv-05623-MMB
       17 who                         Document
               had responsibility for making sure 406   Filed
                                                  that Nike   04/27/22 Page 267 of 371
                                                            was

       18   not impinging on any third-party rights in adopting

       19   the term "Cool"?

   JOHNSON_171-21_172-03_D (Running      00:00:23.040)

    1. Page 171:21 to 172:03 (Running 00:00:23.040)

       21   THE WITNESS: In the decision to make a

       22   product called Nike Pro Cool and as the name -- that

       23   would fall to the Product Line Manager to confirm if

       24   that was available or appropriate. I don't know

       25   what the right language is there.

       01   BY MR. WAGNER:

       02   Q. And that was Parker Mangum?

       03   A. At the time, it was Parker Mangum.

   JOHNSON_184-11_184-15_D (Running      00:00:21.911)

    1. Page 184:11 to 184:15 (Running 00:00:21.911)

       11   Q. Yes. If you knew that a company in the

       12   U.S. was selling compression products with the

       13   registered -- with the term "Cool Compression",

       14   would that have impacted the decision to put "Cool"

       15   and "Compression" in a Nike Pro product name?

   JOHNSON_184-17_184-25_D (Running      00:00:28.460)

    1. Page 184:17 to 184:25 (Running 00:00:28.460)

       17   THE WITNESS: It may have as far as the

       18   final decision before we went consumer facing with

       19   it. It may have been something that we would not

       20   have proceeded with, but for me as a proposal of the

                                                                         Total Number of Clips:120
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                                                                   Total Running Time:00:50:05.295

                                                                                    Page 21 of 42
       Case 2:18-cv-05623-MMB
       21 idea,                      Document
                I wouldn't have thought         406be issues
                                        there would   Filed 04/27/22 Page 268 of 371

       22   there as I think of "Cool" as the product benefit

       23   and "Compression" as the fit. And if said company

       24   had that as their trademark, it sounds to me like

       25   they're using it in a different way.

   JOHNSON_185-14_185-15_D (Running         00:00:02.671)

    1. Page 185:14 to 185:15 (Running 00:00:02.671)

       14   Q. I'm going to hand you what is being marked

       15   as the next exhibit.

   JOHNSON_185-22_185-25_D (Running         00:00:15.010)

    1. Page 185:22 to 185:25 (Running 00:00:15.010)

       22   Q. These documents all have a draft watermark

       23   on them. Are there or were there final documents

       24   that look the same as this that were ultimately

       25   published?

   JOHNSON_186-02_186-25_D (Running         00:01:21.270)

    1. Page 186:02 to 186:25 (Running 00:01:21.270)

       02   THE WITNESS: I can't speak specifically

       03   for every document, but documents similar to this

       04   would have been produced.

       05   BY MR. WAGNER:

       06   Q. With the "Nike Pro Cool Compression"

       07   phrase at the top?

       08   A. Yeah, they would have -- they would have

       09   been produced probably with "Nike Pro Cool

       10   Compression". It would have been produced with

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                                                                Total Running Time:00:50:05.295

                                                                                 Page 22 of 42
       Case 2:18-cv-05623-MMB
       11 "Nike                   Document
                Pro Cool Compression sleeveless406
                                                shirt",Filed
                                                        for 04/27/22 Page 269 of 371

       12   example, on there, yeah.

       13   Q. So what are these documents used for by

       14   Nike?

       15   A. So these documents are tech sheets, and

       16   tech sheets are used to educate people throughout --

       17   throughout the process around some of the new --

       18   some products -- new products. It shows some of the

       19   product details.

       20   Q. Are only new products -- strike that.

       21   Are tech sheets made on every product at

       22   some point in the Nike Pro line?

       23   A. Tech sheets should be produced for the new

       24   season of the product and then carried through as

       25   the product states in the offering.

   JOHNSON_187-01_187-14_D (Running       00:00:29.400)

    1. Page 187:01 to 187:14 (Running 00:00:29.400)

       01   Q. And where are these tech sheets made

       02   available to people?

       03   A. These tech sheets are made available

       04   depending on where you were in the organization in

       05   different places. Some of those places are SKU

       06   Sports Knowledge Underground.

       07   THE REPORTER: Are what?

       08   THE WITNESS: SKU Sports Knowledge

       09   Underground.

                                                                         Total Number of Clips:120
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                                                                                    Page 23 of 42
       Case 2:18-cv-05623-MMB
       10 THE                   Document 406 Filed 04/27/22 Page 270 of 371
               REPORTER: Sports what?

       11   THE WITNESS: Sports Knowledge

       12   Underground.

       13   THE REPORTER: Thank you.

       14   THE WITNESS: And also on Nike.net.

   JOHNSON_187-25_188-06_D (Running       00:00:20.730)

    1. Page 187:25 to 188:06 (Running 00:00:20.730)

       25   Q. What is Sports Knowledge Underground?

       01   A. It's a space in which retail associates

       02   can educate themselves about product.

       03   Q. When you say "retail associates," do you

       04   mean people that work for a retailer?

       05   A. People that work retail, either at Nike or

       06   for a retailer.

   JOHNSON_191-21_192-05_D (Running       00:00:37.900)

    1. Page 191:20 to 192:05 (Running 00:00:37.900)

       20   Q. Did you ever speak with any of the retail

       21   associates about their use of the tech sheets?

       22   A. I have been to Nike Portland, and during

       23   our time -- and other various Nike-owned retail, and

       24   during our time visiting those stores on occasion,

       25   we asked them if they accessed the sheets. That's

       01   the depth of knowledge I have there.

       02   Q. And what was the answers you received?

       03   A. Usually, yes. And when I say, "the

       04   sheets," I mean if they use tech sheets in general,

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                                                                                    Page 24 of 42
       Case 2:18-cv-05623-MMB
       05 are                       Document 406 Filed 04/27/22 Page 271 of 371
              they reading up on product.

   JOHNSON_192-12_192-16_D (Running          00:00:11.470)

    1. Page 192:12 to 192:16 (Running 00:00:11.470)

       12   Q. And did they say whether or not the tech

       13   sheets were helpful?

       14   A. Yes.

       15   Q. And were they helpful?

       16   A. Generally, yes.

   JOHNSON_193-22_194-09_D (Running          00:00:33.989)

    1. Page 193:22 to 194:09 (Running 00:00:33.989)

       22   Q. Do you know if it's the general practice

       23   of Nike retailers to familiarize their retail

       24   associates with the tech sheets they offer?

       25   A. Yeah, seems reasonable.

       01   Q. It is?

       02   A. In general, it seems like it was -- as a

       03   practice -- I mean, you want your retail associates

       04   to be educated, there is a tool available for them

       05   to educate themselves about the products. The most

       06   general terms that I can use in my knowledge, I

       07   would say, yes.

       08   Q. You would expect them to use that?

       09   A. Yeah, I would expect them to use that.

   JOHNSON_194-22_195-02_CD (Running          00:00:14.010)

    1. Page 194:22 to 195:02 (Running 00:00:14.010)

       22   Q. And you say, "Stephanie, there is a

                                                                        Total Number of Clips:120
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                                                                                   Page 25 of 42
       Case 2:18-cv-05623-MMB
       23 company-wide           Document
                       product naming       406 reset
                                      convention  Filed  04/27/22
                                                      that is     Page 272 of 371

       24   kicking off in FA-16."

       25   Is that the policy change that we just

       01   spoke about a little while ago?

       02   A. The naming convention change, yes.

   JOHNSON_197-20_197-21_D (Running       00:00:06.821)

    1. Page 197:20 to 197:21 (Running 00:00:06.821)

       20   Q. Please review this document and let me

       21   know when you've familiarized yourself with it.

   JOHNSON_197-24_198-08_D (Running       00:00:20.269)

    1. Page 197:24 to 198:08 (Running 00:00:20.269)

       24   Q. Have you seen this document before?

       25   A. Yes.

       01   Q. What is this document?

       02   A. This document is the fall '16 performance

       03   apparel naming and branding update provided by

       04   global product or for global product and

       05   merchandising --

       06   THE REPORTER: Can you slow down a minute.

       07   THE WITNESS: Yeah. It's the fall '16

       08   performance apparel naming and branding update.

   JOHNSON_199-24_200-19_CD (Running         00:01:02.851)

    1. Page 199:24 to 200:19 (Running 00:01:02.851)

       24   Q. So then I'd like you to turn to Page 15.

       25   A. Marked --

       01   Q. Marked on the bottom right.

                                                                    Total Number of Clips:120
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                                                              Total Running Time:00:50:05.295

                                                                               Page 26 of 42
       Case
       02 A.2:18-cv-05623-MMB
             Okay.            Document 406 Filed 04/27/22 Page 273 of 371

       03   Q. It begins "the discussion of on-garment

       04   branding and hangtags".

       05   A. Uh-huh.

       06   Q. What is on-garment branding?

       07   A. On garment branding is the branding that

       08   shows up on a garment.

       09   Q. And what's your involvement in on-garment

       10   branding for Nike Pro products during your tenure at

       11   which you were at Nike Pro?

       12   A. On-garment branding, it has to be

       13   developed. So as part of any change, we have to

       14   redevelop the on-garment branding items that go on

       15   there. So in my role as a Product Line Manager, I

       16   would be responsible for those updates being

       17   executed and then being put onto the garments, being

       18   ultimately put on the garments. I don't put them on

       19   the garments.

   JOHNSON_201-03_D (Running      00:00:10.762)

    1. Page 201:03 to 201:03 (Running 00:00:10.762)

       03   Q. And let's turn to Page 18. Looks like

   JOHNSON_201-17_201-21_D (Running       00:00:14.439)

    1. Page 201:17 to 201:21 (Running 00:00:14.439)

       17   Q. So interior hangtag and exterior are all,

       18   at a minimum, at least three places in which

       19   branding can be put on a garment, correct?

                                                                         Total Number of Clips:120
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                                                                   Total Running Time:00:50:05.295
                                                                                    Page 27 of 42
       Case
       20 A.2:18-cv-05623-MMB        Document
             They are three of the places that can406
                                                   be Filed 04/27/22 Page 274 of 371

       21   put on a garment.

   JOHNSON_202-20_203-04_D (Running         00:00:58.689)

    1. Page 202:20 to 203:04 (Running 00:00:58.689)

       20   Q. And then turning to Page 28, the document

       21   begins discussing on-garment interior branding, and

       22   at Page 30, specifically, it starts talking about

       23   how to use hangtags and on-garment objectives. What,

       24   at least from this point onward, was the objective

       25   of using an interior branding?

       01   A. Interior branding is used to convey fit

       02   information and the Nike -- the Nike tech platform,

       03   but also, yeah, the fit information and the Nike

       04   tech platform.

   JOHNSON_203-05_CD (Running       00:00:02.810)

    1. Page 203:05 to 203:05 (Running 00:00:02.810)

       05   Q. So when you say, "Nike tech platform," if

   JOHNSON_204-13_204-15_D (Running         00:00:08.400)

    1. Page 204:13 to 204:15 (Running 00:00:08.400)

       13   Why put the Nike tech platform on the

       14   inside label at all?

       15   A. So the consumer knows what they're buying.

   JOHNSON_204-20_205-02_CD (Running         00:00:23.710)

    1. Page 204:20 to 205:02 (Running 00:00:23.710)

       20   Is the consumer supposed to look at the

       21   inside label before making a purchase decision, to

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 28 of 42
       Case 2:18-cv-05623-MMB
       22 your knowledge?     Document 406 Filed 04/27/22 Page 275 of 371

       23   A. They -- supposed to. I wouldn't say if

       24   they are supposed to or not supposed to. It's not

       25   necessarily mandated. The size is available on the

       01   UPC, so they may look there first. I don't know how

       02   they'd interact with the garment specifically.

   JOHNSON_205-11_205-14_D (Running        00:00:12.079)

    1. Page 205:11 to 205:14 (Running 00:00:12.079)

       11   Q. Does Nike obtain an additional benefit to

       12   putting its Nike tech platform on the inside label

       13   as opposed to just putting it on a hangtag that's

       14   taken off after the consumer purchases the product?

   JOHNSON_205-16_205-22_D (Running        00:00:17.091)

    1. Page 205:16 to 205:22 (Running 00:00:17.091)

       16   THE WITNESS: We want the consumer to be

       17   able to know which items they have.

       18   BY MR. WAGNER:

       19   Q. Do you mean down the road, when they are

       20   wearing and they look at it, they can still see what

       21   tech platform is being used in that garment?

       22   A. Yes.

   JOHNSON_206-06_206-12_CD (Running         00:00:20.129)

    1. Page 206:06 to 206:12 (Running 00:00:20.129)

       06   Q. Would you expect a Nike consumer to

       07   continue to look at the inside label as the life

       08   cycle goes on for the product or only at the initial

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                    Page 29 of 42
       Case 2:18-cv-05623-MMB
       09 point of purchase?  Document 406 Filed 04/27/22 Page 276 of 371

       10   A. In my words, I wouldn't expect them to

       11   continue to look at the inside label once they've

       12   had the product for a while.

   JOHNSON_206-20_206-24_D (Running        00:00:20.031)

    1. Page 206:20 to 206:24 (Running 00:00:20.031)

       20   Q. Do you know of any sort of research that

       21   Nike has done into consumer behavior with respect to

       22   the inside labels? Let me clarify. In references

       23   in terms of ongoing reference to the inside labels

       24   by the consumer?

   JOHNSON_207-01_207-05_D (Running        00:00:22.140)

    1. Page 207:01 to 207:05 (Running 00:00:22.140)

       01   THE WITNESS: Not necessarily with that

       02   degree of specificity that was shared with us during

       03   this time. The consumer typical interaction with

       04   hangtags or branding and some preferences basically

       05   saying consumers don't really read hangtags.

   JOHNSON_215-09_215-13_D (Running        00:01:44.280)

    1. Page 215:09 to 215:13 (Running 00:01:44.280)

       09   Q. Take a moment to review this document

       10   which has been Bates designated NIKE41501.

       11   A. Thank you.

       12   Q. Do you recognize this document?

       13   A. Yes. And, for the record, I'd like to

   JOHNSON_216-15_217-02_CD (Running         00:00:55.161)

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 30 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 277 of 371
    1. Page 216:15 to 217:02 (Running 00:00:55.161)

       15   Q. When you say, "Hey, Bill, can you take a

       16   look at the attached list of POs style-color for the

       17   men's styles to ensure that the name in the system

       18   has been updated to remove 'Cool' from the name."

       19   What does "PO" stand for?

       20   A. Product offering.

       21   Q. So is product offering a style number?

       22   A. It's a style and color.

       23   Q. It says that -- it's asking that he ensure

       24   that the name in the system has been updated. What

       25   system were you referring to?

       01   A. Given the context of the email and his

       02   role, MMX.

   JOHNSON_217-03_217-11_D (Running         00:00:38.038)

    1. Page 217:03 to 217:11 (Running 00:00:38.038)

       03   Q. Do you recall if he actually took a look

       04   at the attached list to ensure that the name in the

       05   system was updated to remove "Cool" in the name?

       06   A. I do not recall if he specifically did,

       07   but knowing the context, the importance of it, and

       08   the timeline and how well he performed at his job, I

       09   would assume it was completed, and the fact that

       10   there is not another email attachment beyond that or

       11   a continuing chain.

   JOHNSON_217-23_218-02_CD (Running          00:00:22.280)

                                                                         Total Number of Clips:120
                                                                     Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 31 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 278 of 371
    1. Page 217:23 to 218:02 (Running 00:00:22.280)

       23   Q. Do you know if the update being discussed

       24   here had anything to do with Lontex's assertion of

       25   rights in the phrase "Cool Compression"?

       01   A. In this context, it was not related.

       02   Q. Was it related to a European issue?

   JOHNSON_218-07_CD (Running         00:00:02.510)

    1. Page 218:07 to 218:07 (Running 00:00:02.510)

       07   THE WITNESS: Yes.

   JOHNSON_223-16_223-24_D (Running        00:00:23.679)

    1. Page 223:16 to 223:24 (Running 00:00:23.679)

       16   Q. But as of today, you don't recall one way

       17   or another whether the women's counterpart to you

       18   took care of a similar ensuring of a name change in

       19   MMX system in regards to this issue; is that

       20   correct?

       21   A. Correct.

       22   Q. And you also don't know with regards to

       23   the girls'; is that correct?

       24   A. Correct.

   JOHNSON_224-13_224-21_D (Running        00:01:23.228)

    1. Page 224:13 to 224:21 (Running 00:01:23.228)

       13   (WHEREUPON, a document titled EMAIL THREAD

       14   was marked as Exhibit 211 for identification.)

       15   BY MR. WAGNER:

       16   Q. For the record, Bates designated beginning

                                                                        Total Number of Clips:120
                                                                   Total Number of Segments:120
                                                                  Total Running Time:00:50:05.295
                                                                                   Page 32 of 42
       Case
       16 Q.2:18-cv-05623-MMB        Document
              For the record, Bates designated   406 Filed 04/27/22 Page 279 of 371
                                               beginning

       17   Nike41478. And let me know when you're done

       18   reviewing.

       19   A. Okay.

       20   Q. Do you recognize this email?

       21   A. Yes.

   JOHNSON_230-04_230-10_D (Running        00:00:17.742)

    1. Page 230:04 to 230:10 (Running 00:00:17.742)

       04   Q. So I will ask again. The email reads, "We

       05   (Nike) is being challenged for trademark

       06   infringement on "Cool Compression."

       07   Is that referring to my client, Lontex's

       08   challenge to Nike's usage of the term "Cool

       09   Compression"?

       10   A. Yes.

   JOHNSON_230-17_231-13_CD (Running         00:01:08.611)

    1. Page 230:17 to 231:13 (Running 00:01:08.611)

       17   Q. So this email shows -- says, "The new

       18   naming structure update should resolve the issue as

       19   "Compression" should no longer show up in the

       20   product name. Can you take a look at below styles

       21   and coordinate with your sales brand teams to help

       22   get these updated as soon as possible. The

       23   "Compression" call-out needs to be -- to come out of

       24   the product name. It can be on a silhouette line

       25   below, but not in the product name next to the

                                                                         Total Number of Clips:120
                                                                     Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 33 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 280 of 371
       01 work."

       02   What is the "silhouette line below" for a

       03   Nike Pro product?

       04   A. In this context, it's referencing -- I

       05   believe it's referencing Nike.com.

       06   Q. So your understanding is this email

       07   concerns making changes to usage on Nike.com?

       08   A. Yes.

       09   Q. Does this email concern making changes to

       10   usage in the Nike Pro catalogs?

       11   A. With the context that I have in this

       12   communication, I believe it's referring just to

       13   Nike.com.

   JOHNSON_233-05_233-08_D (Running          00:00:20.971)

    1. Page 233:05 to 233:08 (Running 00:00:20.971)

       05   So did any communication get sent out

       06   within Nike to instruct that "Cool Compression"

       07   should be taken out of the product name beyond just

       08   the product name showing up on Nike.com?

   JOHNSON_233-10_233-13_D (Running          00:00:10.011)

    1. Page 233:10 to 233:13 (Running 00:00:10.011)

       10   THE WITNESS: There is additional

       11   communication to -- beyond this email shown in front

       12   of me around the Lontex issue and actions to be

       13   taken.

   JOHNSON_233-15_233-17_D (Running          00:00:09.290)

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                    Page 34 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 281 of 371
    1. Page 233:15 to 233:17 (Running 00:00:09.290)

       15   Q. Did the actions to be taken concern

       16   changing product names on any place other than Nike.

       17   com?

   JOHNSON_233-19_D (Running      00:00:01.430)

    1. Page 233:19 to 233:19 (Running 00:00:01.430)

       19   THE WITNESS: Yes.

   JOHNSON_233-21_234-04_D (Running       00:00:40.008)

    1. Page 233:21 to 234:04 (Running 00:00:40.008)

       21   Q. Did they concern the catalogs?

       22   A. The communications that I was exposed to

       23   and a part of were more broad in general and

       24   specifying all places in which it needed to come out

       25   of in use of terms like language we need to separate

       01   Nike Pro Cool from the compression fit and consumer

       02   facing, writing, documentation, literature,

       03   whatever, however you would categorize anything that

       04   is in written word.

   JOHNSON_234-05_234-08_D (Running       00:00:12.701)

    1. Page 234:05 to 234:08 (Running 00:00:12.701)

       05   Q. Do you feel that the necessary people

       06   within Nike to fully enact that consumer facing name

       07   change were communicated to with the message of the

       08   name change?

   JOHNSON_234-10_234-19_D (Running       00:00:24.551)

    1. Page 234:10 to 234:19 (Running 00:00:24.551)

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 35 of 42
       Case 2:18-cv-05623-MMB
       10 THE                     Document
               WITNESS: To the extent of my 406 Filed 04/27/22 Page 282 of 371

       11   knowledge, I would answer that question as yes, I

       12   believe all appropriate parties were informed of

       13   necessary steps to take.

       14   BY MR. WAGNER:

       15   Q. What is the basis for that belief?

       16   A. Based on the exposure that I had, I trust

       17   the people who have been involved in this

       18   communication and other communication acted as

       19   instructed to do.

   JOHNSON_235-06_235-18_D (Running       00:00:48.400)

    1. Page 235:06 to 235:18 (Running 00:00:48.400)

       06   Q. Do you know if any communications were

       07   sent to retailers in 2016 advising them that the

       08   term "Cool Compression" should be removed from

       09   product -- Nike Pro Cool products with compression

       10   fit?

       11   A. I do not know.

       12   Q. Do you know if anyone from Nike in the

       13   team sports was contacted to remove "Cool

       14   Compression" from the product names in their

       15   consumer facing literature?

       16   A. Without reviewing all communications I was

       17   a part of, I can't answer that with confidence so I

       18   don't know.

   JOHNSON_236-25_237-03_D (Running       00:00:18.900)

                                                                        Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                  Total Running Time:00:50:05.295
                                                                                   Page 36 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 283 of 371
    1. Page 236:25 to 237:03 (Running 00:00:18.900)

       25   Q. Did you take any steps to ensure that new

       01   people coming into the Nike Pro ecosystem would be

       02   aware of the directive not to use "Cool Compression"

       03   in a product name?

   JOHNSON_237-05_237-12_D (Running         00:00:26.840)

    1. Page 237:05 to 237:12 (Running 00:00:26.840)

       05   THE WITNESS: When you say "Nike Pro

       06   ecosystem", I'm taking that as referencing anyone

       07   that touched Nike Pro product; is that correct?

       08   BY MR. WAGNER:

       09   Q. Yes.

       10   A. And by "Nike Pro product," it means across

       11   all of the different places. I don't -- I was not

       12   informing all new people of this issue.

   JOHNSON_237-15_237-18_D (Running         00:00:14.100)

    1. Page 237:15 to 237:18 (Running 00:00:14.100)

       15   what did you do to ensure if someone came onto the

       16   team in -- in 2017 or any later time, that they

       17   would know that "Cool Compression" could not be used

       18   in a product name?

   JOHNSON_237-20_237-24_D (Running         00:00:23.670)

    1. Page 237:20 to 237:24 (Running 00:00:23.670)

       20   THE WITNESS: For future Nike Pro

       21   products, I -- I assume that as we address the issue

       22   in this time frame, that it would not resurface, so

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                    Page 37 of 42
       Case
       23 no2:18-cv-05623-MMB        Document
              steps were taken to inform people in406   Filed 04/27/22 Page 284 of 371
                                                   the future

       24   of the -- of the situation.

   JOHNSON_241-08_241-09_D (Running       00:00:05.741)

    1. Page 241:08 to 241:09 (Running 00:00:05.741)

       08   Q. So -- this is a document Bates labeled

       09   Nike41487, email from Nick Johnson to Rachel Henry

   JOHNSON_242-18_242-22_D (Running       00:00:12.441)

    1. Page 242:18 to 242:22 (Running 00:00:12.441)

       18   Q. So I'll ask my question again. Do you

       19   have a specific recollection of ever instructing

       20   anybody that "Cool Compression" as a phrase or

       21   adjacent to each other should not be used in a

       22   product description?

   JOHNSON_242-24_243-06_D (Running       00:00:21.860)

    1. Page 242:24 to 243:06 (Running 00:00:21.860)

       24   THE WITNESS: I do not have a specific

       25   recollection of a moment in time, but as part of my

       01   responsibility as PLM for Nike Pro, tech sheets and

       02   other things would be under my review, and if those

       03   were to be updated and I was reviewing them and

       04   something came up, I would imagine that I would

       05   communicate that to the person that needed to be

       06   changed.

   JOHNSON_243-14_243-30_D (Running       00:00:26.401)

    1. Page 243:14 to 243:20 (Running 00:00:26.401)

       14   Q. You're assuming that you must have done it

                                                                        Total Number of Clips:120
                                                                   Total Number of Segments:120
                                                                  Total Running Time:00:50:05.295
                                                                                   Page 38 of 42
       Case 2:18-cv-05623-MMB
       15 because  it's something youDocument   406
                                      should have    Filed
                                                  done;      04/27/22 Page 285 of 371
                                                        is that

       16   correct?

       17   A. I'm assuming that it would have been done

       18   because I believe that I would have done that, yes.

       19   So you can put whatever word you want on that in my

       20   specific instance in which I was referencing.

   JOHNSON_244-07_244-12_D (Running       00:00:23.119)

    1. Page 244:07 to 244:12 (Running 00:00:23.119)

       07   Q. Do you know if the tech sheets were, in

       08   fact, updated to Nike.net to remove "Cool

       09   Compression" from the product name?

       10   A. I do not know if the "compression fit" was

       11   removed to no longer be adjacent next to "Cool" on

       12   tech sheets on Nike.net.

   JOHNSON_244-21_244-24_D (Running       00:00:11.659)

    1. Page 244:21 to 244:24 (Running 00:00:11.659)

       21   Q. Do you know if the descriptor was removed

       22   from catalog references to Nike Pro Cool products

       23   with compression fit?

       24   A. I do not.

   JOHNSON_249-015_249-18_D (Running       00:00:17.019)

    1. Page 249:15 to 249:18 (Running 00:00:17.019)

       15   Q. Do you know if Nike took any steps in 2016

       16   to affirmatively notify retailers that product names

       17   should not use "Cool Compression" for Nike Pro Cool

       18   products?

                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                    Page 39 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 286 of 371
   JOHNSON_249-20_249-22_D (Running
                                00:00:07.970)

    1. Page 249:20 to 249:22 (Running 00:00:07.970)

       20   THE WITNESS: For Nike Pro Cool products,

       21   I do not know if there was specific communication to

       22   retailers.

   JOHNSON_250-06_250-10_D (Running       00:00:16.859)

    1. Page 250:06 to 250:10 (Running 00:00:16.859)

       06   Q. Okay. Would you expect retailers to

       07   change their product names in their websites and

       08   their retail associate vernacular without being

       09   affirmatively told that "Cool Compression" shouldn't

       10   be used?

   JOHNSON_250-12_250-15_D (Running       00:00:07.760)

    1. Page 250:12 to 250:15 (Running 00:00:07.760)

       12   THE WITNESS: Given the hypothetical

       13   situation that you just described, I wouldn't expect

       14   them to change anything because they wouldn't know

       15   there was an issue.

   JOHNSON_256-18_256-20_D (Running       00:00:14.650)

    1. Page 256:18 to 256:20 (Running 00:00:14.650)

       18   Q. I'm handing you what's been marked as

       19   Bates starting Nike00021856, fall 2017 NFL SG Ap.

       20   and EQ USA. Are you familiar with this document?

   JOHNSON_257-06_257-07_D (Running       00:00:02.979)

    1. Page 257:06 to 257:07 (Running 00:00:02.979)

       06   Q. Are you familiar with this document?

                                                                           Total Number of Clips:120
                                                                     Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295
                                                                                      Page 40 of 42
       Case
       07 A.2:18-cv-05623-MMB
             I've seen this document.Document 406 Filed 04/27/22 Page 287 of 371

   JOHNSON_257-13_257-16_CD (Running       00:00:21.740)

    1. Page 257:13 to 257:16 (Running 00:00:21.740)
       13   Q. And what is this document?

       14   A. This document looks like a subsection of

       15   what appears to be some product descriptions from

       16   Nike.net.

   JOHNSON_257-22_257-24_D (Running      00:00:12.210)

    1. Page 257:22 to 257:24 (Running 00:00:12.210)
       22   Q. Do you know why a month after you sent

       23   your email to the team, this material would have

       24   been created for Nike.net still using "Cool COMP"?

   JOHNSON_258-01_D (Running     00:00:01.540)

    1. Page 258:01 to 258:01 (Running 00:00:01.540)
       01   THE WITNESS: I do not know.

   JOHNSON_258-03_258-04_D (Running      00:00:06.640)

    1. Page 258:03 to 258:04 (Running 00:00:06.640)

       03   Q. Would this usage be inconsistent with the

       04   directive that you had given a month earlier?

   JOHNSON_258-20_D (Running     00:00:01.210)

    1. Page 258:20 to 258:20 (Running 00:00:01.210)
       20   A. Correct.

   JOHNSON_280-10_280-14_D (Running      00:00:18.040)

    1. Page 280:10 to 280:14 (Running 00:00:18.040)
       10   Do you know if in response to Lontex's

       11   assertion of rights in "Cool Compression", any

                                                                       Total Number of Clips:120
                                                                  Total Number of Segments:120
                                                                 Total Running Time:00:50:05.295

                                                                                  Page 41 of 42
       Case 2:18-cv-05623-MMB
       12 presentation was made at Document
                                   any of these406   Filed
                                                account rep04/27/22 Page 288 of 371

       13   gatherings about avoiding usage of "Cool" adjacent

       14   to "Compression"?

   JOHNSON_280-16_D (Running       00:00:01.780)

    1. Page 280:16 to 280:16 (Running 00:00:01.780)

       16   THE WITNESS: I do not know.

   JOHNSON_283-08_283-11_D (Running        00:00:13.269)

    1. Page 283:08 to 283:11 (Running 00:00:13.269)

       08   Q. Sitting here today, do you think that you

       09   should have done anything more to make sure that the

       10   directive of ceasing use of "Cool Compression" in

       11   2016 was actually accomplished in full?

   JOHNSON_283-13_283-15_D (Running         00:00:06.250)

    1. Page 283:13 to 283:15 (Running 00:00:06.250)

       13   THE WITNESS: Sitting here today, as I

       14   previously stated, I think I that I took the

       15   necessary steps to enact the action necessary.




                                                                         Total Number of Clips:120
                                                                    Total Number of Segments:120
                                                                   Total Running Time:00:50:05.295

                                                                                    Page 42 of 42
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 289 of 371

                              Designation Run Report




      Nike Initials + Lontex Counters


      __________________________________________________________________
                           Lehrer, Norman 02-19-2020
      __________________________________________________________________




                         Nike Initial Designations00:11:19
    _____________________________________________________________________
     ____________________________________________________________________
                                Total Time00:11:19




ID:Lehrer
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 290 of 371

                                                Lehrer-Nike Initials + Lontex Counters

    Page/Line                                                   Source                          ID

    8:22 - 8:25             Lehrer, Norman 02-19-2020 (00:00:09)                             Lehrer.1

                            8:22 Q. Good morning, Mr. Lehrer. Thank you
                            8:23 for your cooperation in appearing today.
                            8:24 You're a lawyer; right?
                            8:25 A. Correct.
   39:13 - 39:18            Lehrer, Norman 02-19-2020 (00:00:17)                             Lehrer.2

                            39:13 How long have you been a lawyer,
                            39:14 Mr. Lehrer?
                            39:15 A. First admitted in 1974.
                            39:16 Q. And do you practice in the area of
                            39:17 patents and trademarks?
                            39:18 A. I do.
   40:3 - 40:13             Lehrer, Norman 02-19-2020 (00:00:29)                             Lehrer.3

                            40:3 Q. Do you consider yourself a specialist
                            40:4 when it comes to trademarks?
                            40:5 A. Yes.
                            40:6 Q. So when you say you do work related
                            40:7 to trademarks, does that involve prosecution
                            40:8 of trademark applications to registration?
                            40:9 A. Yes.
                            40:10 Q. How many years have you been involved
                            40:11 in prosecuting trademark applications to
                            40:12 registration?
                            40:13 A. Since 1973, '4.
   41:22 - 42:2             Lehrer, Norman 02-19-2020 (00:00:12)                             Lehrer.4

                            41:22 Q. And if you are going to go to the
                            41:23 next step where you file a trademark
                            41:24 application, how do you go about gathering the
                            41:25 -- the information needed to complete that
                            42:1 application?
                            42:2 A. I ask the client.
   43:13 - 43:19            Lehrer, Norman 02-19-2020 (00:00:18)                             Lehrer.5

                            43:13 Q. How do you go about determining
                            43:14 whether an application should be filed on a
                            43:15 use basis or an intent to use basis?
                            43:16 A. I ask the client whether they are
                            43:17 using the mark. If they're using it, I file
                            43:18 it on a use basis. If they're not using the
                            43:19 mark, I file an intent to use.
    44:5 - 44:7             Lehrer, Norman 02-19-2020 (00:00:08)                             Lehrer.6




Nike Initial Designations
                                                                                         Page 2/9
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 291 of 371

                                                 Lehrer-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            44:5 Q. And what types of questions do you
                            44:6 ask clients to determine whether they're
                            44:7 actually using a mark or not?
   44:9 - 44:18             Lehrer, Norman 02-19-2020 (00:00:26)                              Lehrer.7

                            44:9 THE WITNESS: My question usually
                            44:10 is, are you selling product with that mark,
                            44:11 because I always ask for the dates of first
                            44:12 use. And if they are, if they say yes, I file
                            44:13 it as -- as an actual use. If they say no,
                            44:14 then I file it as an intent to use.
                            44:15 I don't -- I don't go to my
                            44:16 clients' place of business and check out what
                            44:17 they're doing. I usually take their word for
                            44:18 it.
   46:19 - 46:21            Lehrer, Norman 02-19-2020 (00:00:06)                              Lehrer.8

                            46:19 Q. Would you ever file an application
                            46:20 without verifying the information, including
                            46:21 that information with the client?
   46:23 - 47:5             Lehrer, Norman 02-19-2020 (00:00:16)                              Lehrer.9

                            46:23 THE WITNESS: I think I said that
                            46:24 before. I always take the client's word for
                            46:25 it. I can't -- I don't independently verify,
                            47:1 if that's what your question is. I take the
                            47:2 information they provide to me. I take that
                            47:3 as truth because I have no way to
                            47:4 independently verify it and I use that
                            47:5 information.
   49:6 - 49:12             Lehrer, Norman 02-19-2020 (00:00:15)                              Lehrer.10

                            49:6 I -- I wanted to clarify that you
                            49:7 do, in fact, alert your clients to the fact
                            49:8 that a statement of use will need to be filed
                            49:9 in order for an intent to use application to
                            49:10 proceed to registration?
                            49:11 A. Yes. And we do that when we receive
                            49:12 the notice of allowance. Yes.
   49:20 - 50:5             Lehrer, Norman 02-19-2020 (00:00:22)                              Lehrer.11

                            49:20 Q. Who prepares statements of use in
                            49:21 your office?
                            49:22 A. I do.
                            49:23 Q. And how do you go about gathering the



Nike Initial Designations
                                                                                          Page 3/9
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 292 of 371

                                                 Lehrer-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            49:24 information for a statement of use?
                            49:25 A. The same way I would when I
                            50:1 originally file. I -- the client provides me
                            50:2 with the information.
                            50:3 Q. And do you, again, take your client's
                            50:4 word for it?
                            50:5 A. Yes.
   51:13 - 52:1             Lehrer, Norman 02-19-2020 (00:00:31)                              Lehrer.12

                            51:13 Q. And when maintenance filings are due
                            51:14 on a registration, do you alert your clients
                            51:15 to those?
                            51:16 A. Yes.
                            51:17 Q. How do you do that?
                            51:18 A. A letter.
                            51:19 Q. And who is responsible for preparing
                            51:20 Section 8 & 15 filings in your office?
                            51:21 A. I am.
                            51:22 Q. How do you gather information for
                            51:23 those filings?
                            51:24 A. The same way. I ask the clients,
                            51:25 they provide me with information. I use that
                            52:1 information and I file.
   52:10 - 52:17            Lehrer, Norman 02-19-2020 (00:00:15)                              Lehrer.13

                            52:10 Q. Who is responsible in your office for
                            52:11 preparing trademark renewal applications
                            52:12 pursuant to Section 8 & 9?
                            52:13 A. I am.
                            52:14 Q. How do you gather the information for
                            52:15 those filings?
                            52:16 A. The same way. I ask the client and I
                            52:17 use that information and I file.
   52:24 - 53:4             Lehrer, Norman 02-19-2020 (00:00:12)                              Lehrer.14

                            52:24 Q. Do you send any correspondence to the
                            52:25 client alerting the client to what information
                            53:1 is needed to file a renewal application?
                            53:2 A. Yes.
                            53:3 Q. And what do you ask for in such
                            53:4 correspondence?
    53:6 - 54:4             Lehrer, Norman 02-19-2020 (00:01:00)                              Lehrer.15

                            53:6 THE WITNESS: Are you still using



Nike Initial Designations
                                                                                          Page 4/9
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 293 of 371

                                               Lehrer-Nike Initials + Lontex Counters

    Page/Line                                                  Source                          ID


                            53:7 the mark? If so, do you want to renew it?
                            53:8 Provide me with whatever it is, evidence of
                            53:9 use. I take that information and I file.
                            53:10 I usually ask them for money, too,
                            53:11 depending on who it is.
                            53:12 BY MS. DURHAM:
                            53:13 Q. And you do understand that trademark
                            53:14 rights are derived through use in the United
                            53:15 States; correct?
                            53:16 A. Yes.
                            53:17 Q. Is it your understanding that use is
                            53:18 required to maintain a trademark registration
                            53:19 in the United States?
                            53:20 A. Yes.
                            53:21 Q. What type of use?
                            53:22 A. Use in commerce.
                            53:23 Q. What is your understanding of the
                            53:24 terminology "use in commerce" when it comes to
                            53:25 the requirement for trademark applications to
                            54:1 proceed to registration in the U.S.?
                            54:2 A. The mark is used on the product, the
                            54:3 product is sold in commerce or it is
                            54:4 transported in commerce.
    55:3 - 55:5             Lehrer, Norman 02-19-2020 (00:00:08)                            Lehrer.16

                            55:3 Q. And do you ever give verbal
                            55:4 explanations as to what is required for use in
                            55:5 commerce?
   55:7 - 55:15             Lehrer, Norman 02-19-2020 (00:00:28)                            Lehrer.17

                            55:7 THE WITNESS: Absolutely.
                            55:8 BY MS. DURHAM:
                            55:9 Q. And I believe you told me a moment
                            55:10 ago that you do know, under Section 45 of the
                            55:11 Trademark Act, that in order for the use to be
                            55:12 deemed use in commerce, the mark need not just
                            55:13 be placed on the goods, but it also must be
                            55:14 sold or transported in commerce; is that
                            55:15 right?
   55:17 - 55:21            Lehrer, Norman 02-19-2020 (00:00:08)                            Lehrer.18

                            55:17 THE WITNESS: Are you asking me
                            55:18 whether I know that or whether the statute



Nike Initial Designations
                                                                                        Page 5/9
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 294 of 371

                                                Lehrer-Nike Initials + Lontex Counters

    Page/Line                                                   Source                          ID


                            55:19 says that? I mean, I'll answer it. As far as
                            55:20 I know, yes, to both, the statute requires it
                            55:21 and yes, I'm aware of it.
   56:20 - 56:23            Lehrer, Norman 02-19-2020 (00:00:11)                             Lehrer.19

                            56:20 Q. And so what would have been the bona
                            56:21 fide use in commerce to support the
                            56:22 registrations for Cool Compression that you
                            56:23 helped secure for Lontex?
   56:25 - 57:7             Lehrer, Norman 02-19-2020 (00:00:18)                             Lehrer.20

                            56:25 THE WITNESS: The mark is applied
                            57:1 to the goods and the goods are transported in
                            57:2 commerce.
                            57:3 BY MS. DURHAM:
                            57:4 Q. So if the mark wasn't actually
                            57:5 applied to the goods, then there wouldn't have
                            57:6 been proper bona fide use in commerce; is that
                            57:7 correct?
   57:9 - 57:11             Lehrer, Norman 02-19-2020 (00:00:03)                             Lehrer.21

                            57:9 THE WITNESS: From a legal
                            57:10 standpoint, I guess that -- that's correct,
                            57:11 yes.
   73:8 - 73:16             Lehrer, Norman 02-19-2020 (00:00:16)                             Lehrer.22

                            73:8 Q. I'm showing you what's been marked                       DX425.1

                            73:9 Lehrer Exhibit 6. I'd like to turn our
                            73:10 attention to that for a moment.
                            73:11 Do you recognize this document,
                            73:12 sir?
                            73:13 A. Yes.
                            73:14 Q. What do you recognize it to be?
                            73:15 A. A letter to the client advising that
                            73:16 the application was allowed.
   74:14 - 74:23            Lehrer, Norman 02-19-2020 (00:00:24)                             Lehrer.23

                            74:14 Q. You go on to state, "This application                  DX425.1.1

                            74:15 was filed under the 'intent to use' provision
                            74:16 of the Trademark Laws."
                            74:17 And so you made it clear to Mr.
                            74:18 Nathan at this point that the application had
                            74:19 been filed under an intent to use provision;
                            74:20 correct?
                            74:21 A. I made that statement. Whether it



Nike Initial Designations
                                                                                         Page 6/9
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 295 of 371

                                                 Lehrer-Nike Initials + Lontex Counters

    Page/Line                                                    Source                          ID


                            74:22 was clear or not, I -- I -- I believe it was
                            74:23 clear.
   75:9 - 75:17             Lehrer, Norman 02-19-2020 (00:00:23)                              Lehrer.24

                            75:9 Q. Next you state, "Although the
                            75:10 Trademark Office has approved your                         DX425.1.2

                            75:11 application, the Office will not issue a
                            75:12 registration to you until the mark has been
                            75:13 used in commerce and a proper statement to
                            75:14 that effect is filed."
                            75:15 So by virtue of this letter, you
                            75:16 told Mr. Nathan that use was required for the
                            75:17 application to issue to registration; correct?
   75:18 - 75:18            Lehrer, Norman 02-19-2020 (00:00:02)                              Lehrer.25

                            75:18 A. That certainly was my intent.
   77:1 - 77:18             Lehrer, Norman 02-19-2020 (00:00:45)                              Lehrer.26

                            77:1 Q. to be clear, you would have had
                            77:2 to have some communication with Mr. -- with
                            77:3 Mr. Nathan in order to file a statement of
                            77:4 use; correct?
                            77:5 A. Yes.
                            77:6 Q. And what type of information would
                            77:7 you need to collect in that sort of
                            77:8 communication?
                            77:9 A. Whether he was actually using the
                            77:10 mark, the dates of use. I'm not sure what
                            77:11 else.
                            77:12 Q. Well, and you'd need a specimen;
                            77:13 correct?
                            77:14 A. Yes, of course.
                            77:15 Q. So you'd need to get all three of
                            77:16 those things from a client before filing a
                            77:17 statement of use; is that correct?
                            77:18 A. Yes.
    78:1 - 78:5             Lehrer, Norman 02-19-2020 (00:00:10)                              Lehrer.27

                            78:1 Q. So you -- you would not have filed a
                            78:2 statement of use for this application without
                            78:3 communicating with Mr. Nathan about those
                            78:4 three things; is that correct?                                 clear

                            78:5 A. Yes.
   79:15 - 80:14            Lehrer, Norman 02-19-2020 (00:01:17)                              Lehrer.28




Nike Initial Designations
                                                                                          Page 7/9
               Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 296 of 371

                                                Lehrer-Nike Initials + Lontex Counters

    Page/Line                                                   Source                          ID


                            79:15 Q. So looking at page 44410, which I                       DX872.70

                            79:16 believe is the actual statement of use, this              DX872.70.1

                            79:17 swears that the Cool Compression mark was
                            79:18 being used on or in connection with all of the
                            79:19 goods in the notice of allowance; is that
                            79:20 correct?
                            79:21 A. Is that correct what it says, yes.
                            79:22 Q. Well, did you, in fact, swear to the
                            79:23 United States Patent and Trademark Office that
                            79:24 the Cool Compression mark was in use in
                            79:25 connection with all those goods?
                            80:1 A. I declared that upon the filing of
                            80:2 this, yes.
                            80:3 Q. And you declared that based on what?
                            80:4 A. Information from my client, I
                            80:5 assumed, or my belief. I'm not sure.
                            80:6 Q. Well, I thought we just talked about
                            80:7 the fact that you needed to gather those three
                            80:8 pieces of information from your client. You
                            80:9 did, in fact, do that; right?
                            80:10 A. Yes, but the three pieces of
                            80:11 information that you discussed were not
                            80:12 necessarily all the goods, and that could have
                            80:13 been an error. I don't know that I ever asked
                            80:14 him whether it was on all the goods.                         clear
  132:11 - 133:5            Lehrer, Norman 02-19-2020 (00:00:58)                             Lehrer.29

                            132:11 Q. I'm showing you what's been marked
                            132:12 Lehrer Exhibit 15. This appears to be another             DX405.2

                            132:13 copy of the March -- at least one page of this
                            132:14 appears to be another copy of the March 9th,
                            132:15 2007, letter we were just looking at in
                            132:16 Exhibit 14.
                            132:17 Do you agree?
                            132:18 A. Yes.
                            132:19 Q. And do you see that there is some                     DX405.2.1

                            132:20 handwriting on this letter as well?
                            132:21 A. Yes.
                            132:22 Q. And whose handwriting is that; do you
                            132:23 know?
                            132:24 A. I do not know.



Nike Initial Designations
                                                                                         Page 8/9
                 Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 297 of 371

                                                  Lehrer-Nike Initials + Lontex Counters

      Page/Line                                                   Source                          ID


                              132:25 Q. Okay.
                              133:1 So it's -- this where it says
                              133:2 here, "Cool Compression, need to sell items
                              133:3 with Cool Compression," that handwriting is
                              133:4 not yours, is it -- is it, sir?
                              133:5 A. It is not mine.
    143:2 - 143:15            Lehrer, Norman 02-19-2020 (00:00:39)                             Lehrer.30

                              143:2 Q. Do you see in the signature section                     DX873.12

                              143:3 on page 44431 that Ben Wagner signed this
                              143:4 revocation of attorney?
                              143:5 A. I see on the document, there's a
                              143:6 signature of Ben L. Wagner, yes.
                              143:7 Q. Do you know why Ben Wagner would have
                              143:8 filed a revocation of attorney to remove you
                              143:9 as lawyer on this registration and replace you
                              143:10 with Andrew Skale?
                              143:11 A. No.                                                      clear

                              143:12 Q. Did you ever ask Mr. Nathan about
                              143:13 that?
                              143:14 A. Quite frankly, I'm not sure I ever
                              143:15 knew.
_____________________________________________________________________

Nike Initial Designations = 00:11:19
Total Time = 00:11:19

Documents Shown
DX405
DX425
DX872
DX873




  Nike Initial Designations
                                                                                           Page 9/9
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 298 of 371
                              Case Clips Detailed Report
                                           10290_Lontex v Nike

   MANGUM, PARKER - VOL 1 - 9/4/2020 66 Clips (Running 00:27:45.319)

       MANGUM_009-09_9-11_D (Running        00:00:12.590)

         1. Page 09:09 to 09:11 (Running 00:00:12.590)
            09   Q Good morning, sir. Can you please state

            10   and spell your name for the record?

            11   A Parker Mangum. P-a-r-k-e-r, M-a-n-g-u-m.

       MANGUM_016-10_16-13_CD (Running         00:00:12.759)

         1. Page 16:10 to 16:13 (Running 00:00:12.759)
            10   Q And it looks like you started as global

            11   brand marketing intern athletic training June 2010

            12   to January 2011; is that correct?

            13   A Yes.

       MANGUM_019-06_19-10_D (Running        00:00:14.889)

         1. Page 19:06 to 19:10 (Running 00:00:14.889)
            06   Q It looks like your next position at Nike

            07   was a global associate product line manager, Nike

            08   Pro Combat apparel from January 2011 to June 2013;

            09   is that correct?

            10   A Yes.

       MANGUM_019-11_19-15_CD (Running         00:00:14.360)

         1. Page 19:11 to 19:15 (Running 00:00:14.360)
            11   Q And what was your general role in that job

            12   function?

            13   A The primary role is to support the product

                                                                               Total Number of Clips:66
                                                                           Total Number of Segments:66
                                                                        Total Running Time:00:27:45.319

                                                                                           Page 1 of 21
       Case 2:18-cv-05623-MMB
       14 management             Document
                      team and product director406   Filed
                                                of Nike Pro04/27/22 Page 299 of 371

       15   Combat.

   MANGUM_020-06_20-13_CD (Running            00:00:28.000)

    1. Page 20:06 to 20:13 (Running 00:00:28.000)

       06   Q And what type of apparel is involved with

       07   Nike Pro Combat apparel?

       08   A Baselayer.

       09   Q And what is baselayer?

       10   A Baselayer, as we defined it, is a first

       11   layer in sport. It's kind of the -- it's the

       12   technical edge, close to your body for

       13   thermoregulation purposes.

   MANGUM_020-20_20-24_CD (Running            00:00:24.080)

    1. Page 20:20 to 20:24 (Running 00:00:24.080)

       20   Q But in terms of what is a baselayer product

       21   or apparel, I guess what I'm asking is Nike has fits

       22   for compression and fitted, correct?

       23   A Yes. Those are our two primary fits for

       24   baselayer.

   MANGUM_026-03_26-13_CD (Running            00:00:40.570)

    1. Page 26:03 to 26:13 (Running 00:00:40.570)

       03   Q It looks like the next position that you

       04   had at Nike was global product line manager Nike Pro

       05   apparel from July 2013 to April 2016; is that

       06   correct?

       07   A Yes.

                                                                          Total Number of Clips:66
                                                                      Total Number of Segments:66
                                                                   Total Running Time:00:27:45.319

                                                                                      Page 2 of 21
       Case
       08 Q2:18-cv-05623-MMB        Document
            How was this role different from the 406 Filed 04/27/22 Page 300 of 371

       09   associate product line manager role you held just

       10   prior to this one?

       11   A As the PLM I had more ownership over the

       12   styles and the briefing process to -- that are

       13   designed in development team.

   MANGUM_027-06_27-08_CD (Running           00:00:08.570)

    1. Page 27:06 to 27:08 (Running 00:00:08.570)

       06   By PLM you're referring to product line

       07   manager when you used that earlier; is that correct?

       08   A Correct.

   MANGUM_027-19_27-22_CD (Running           00:00:13.219)

    1. Page 27:19 to 27:22 (Running 00:00:13.219)

       19   Q It looks like in April 2016 or since

       20   April 2016 you've been global product line manager

       21   for women's running apparel; is that correct?

       22   A Yes.

   MANGUM_029-06_29-09_D (Running           00:00:20.541)

    1. Page 29:06 to 29:09 (Running 00:00:20.541)

       06   Q Can you tell me what a tech sheet is?

       07   A A tech sheet is a standardized form across

       08   the company used to describe the key features and

       09   benefits of individual styles.

   MANGUM_029-10_29-14_CD (Running           00:00:15.130)

    1. Page 29:10 to 29:14 (Running 00:00:15.130)

       10   Q It also has images of products, right?

                                                                          Total Number of Clips:66
                                                                      Total Number of Segments:66
                                                                   Total Running Time:00:27:45.319
                                                                                      Page 3 of 21
       Case
       11 A2:18-cv-05623-MMB
            Yes.             Document 406 Filed 04/27/22 Page 301 of 371

       12   Q And it identifies the different colors the

       13   product is available in, right?

       14   A Yes.

   MANGUM_029-18_29-22_CD (Running           00:00:22.760)

    1. Page 29:18 to 29:22 (Running 00:00:22.760)

       18   Q What has your role been involving

       19   preparation of tech sheets?

       20   A There is a tech sheet writing team at Nike

       21   with whom we meet to go over those benefits and

       22   details and images and colors on the tech sheet.

   MANGUM_031-01_31-03_CD (Running           00:00:11.251)

    1. Page 31:01 to 31:03 (Running 00:00:11.251)

       01   Who actually, you know, boots on the ground

       02   wrote the first draft tech sheet?

       03   A The tech sheet writer.

   MANGUM_031-11_31-16_CD (Running           00:00:25.751)

    1. Page 31:11 to 31:16 (Running 00:00:25.751)

       11   Q So they would do a draft of the tech sheet

       12   and do you know after they prepared the draft what

       13   they would do with the document next?

       14   A We would sit down together and go over the

       15   drafts and I would make edits or suggestions to the

       16   tech sheet.

   MANGUM_033-04_33-07_D (Running        00:00:12.041)

    1. Page 33:04 to 33:07 (Running 00:00:12.041)

                                                                         Total Number of Clips:66
                                                                     Total Number of Segments:66
                                                                  Total Running Time:00:27:45.319
                                                                                     Page 4 of 21
       Case
       04 Q2:18-cv-05623-MMB       Document
            Sure. Are you aware of any         406
                                       instances in Filed 04/27/22 Page 302 of 371

       05   which your edits or suggestions were not

       06   incorporated in the tech sheet?

       07   A I am not aware.

   MANGUM_033-08_33-10_D (Running        00:00:14.340)

    1. Page 33:08 to 33:10 (Running 00:00:14.340)

       08   Q Isn't it correct that tech sheets had to be

       09   approved by you before they would get handed off to

       10   the next group at Nike?

   MANGUM_033-12_33-13_D (Running        00:00:03.471)

    1. Page 33:12 to 33:13 (Running 00:00:03.471)

       12   THE WITNESS: My approval was part of the

       13   overall process, yes.

   MANGUM_034-03_34-10_D (Running        00:00:29.230)

    1. Page 34:03 to 34:10 (Running 00:00:29.230)

       03   Q Are you aware of what Sports Knowledge

       04   Underground is?

       05   A Yes.

       06   Q Can you tell me what it is?

       07   A I don't know specifics, to be totally

       08   honest. I know that at the time it was the group

       09   that housed the tech sheets for access by retail

       10   associates.

   MANGUM_034-11_34-14_CD (Running         00:00:14.430)

    1. Page 34:11 to 34:14 (Running 00:00:14.430)

       11   Q Do you know why the tech sheets were housed

                                                                         Total Number of Clips:66
                                                                     Total Number of Segments:66
                                                                  Total Running Time:00:27:45.319
                                                                                     Page 5 of 21
       Case
       12 on2:18-cv-05623-MMB     Document 406 Filed 04/27/22 Page 303 of 371
              Sports Knowledge Underground?

       13   A Like I said, for access for the sales team

       14   and retail associates.

   MANGUM_034-15_34-16_D (Running        00:00:07.229)

    1. Page 34:15 to 34:16 (Running 00:00:07.229)

       15   Q And why were sales teams and retail

       16   associates given access to these tech sheets?

   MANGUM_034-18_34-22_D (Running        00:00:15.445)

    1. Page 34:18 to 34:22 (Running 00:00:15.445)

       18   THE WITNESS: I don't know all the

       19   purposes, whether it housed there, but one purpose

       20   that I am familiar with is to learn about the

       21   product, to be able to speak to the product

       22   competently to consumers and accounts.

   MANGUM_045-17_45-24_D (Running        00:00:33.990)

    1. Page 45:17 to 45:24 (Running 00:00:33.990)

       17   What types of changes to a product offering

       18   would trigger a need for a new updated tech sheet?

       19   A Anytime a new style number is created with

       20   an update to that style, whether it's fit or

       21   material or end use or benefit, that's when a new

       22   tech sheet is triggered.

       23   Q Or color, right?

       24   A Or color, yes.

   MANGUM_067-25_68-05_CD (Running         00:00:49.850)

    1. Page 67:25 to 68:05 (Running 00:00:49.850)

                                                                        Total Number of Clips:66
                                                                    Total Number of Segments:66
                                                                 Total Running Time:00:27:45.319
                                                                                    Page 6 of 21
       Case
       25 Q2:18-cv-05623-MMB       Document
            I uploaded another document to the 406
                                               chat Filed 04/27/22 Page 304 of 371

       01   starting with Exhibit 3 and it has

       02   LTX_EDPA_00033647. Could you download that, please?

       03   A Downloading. I have it open.

       04   Q Have you ever seen this before?

       05   A I never have.

   MANGUM_068-11_069-05_D (Running        00:01:37.860)

    1. Page 68:11 to 69:05 (Running 00:01:37.860)

       11   Q Near the middle of the page there's a

       12   heading "Tech Sheets" in bold. Just below that it

       13   says, Tech sheets are ground zero for product

       14   descriptions at Nike; do you see that?

       15   A Yes.

       16   Q Do you agree with that statement?

       17   A Not necessarily.

       18   Q And why is that?

       19   A Product descriptions originate amongst the

       20   design team, the developer team, myself, and the

       21   product creation triad. And we discuss what those

       22   product descriptions are when a new style number is

       23   -- a new style is created, the description in terms

       24   of its fit and length and material content, that's

       25   decided ahead of time before it even reaches a tech

       01   sheet writer.

       02   Q Does the tech sheet capture all of that

       03   descriptor information that is discussed amongst the

                                                                          Total Number of Clips:66
                                                                      Total Number of Segments:66
                                                                   Total Running Time:00:27:45.319
                                                                                      Page 7 of 21
       Case 2:18-cv-05623-MMB
       04 triad, I believe you referredDocument
                                        to?     406 Filed 04/27/22 Page 305 of 371

       05   A Yes.

   MANGUM_070-19_71-02_D (Running        00:00:26.419)

    1. Page 70:19 to 71:02 (Running 00:00:26.419)

       19   Q So after that first sentence in that

       20   paragraph we're looking at, the next sentence goes

       21   on, We start with a blank sheet of paper, listen to

       22   a bunch of jargon from product managers and

       23   designers, and turn it into a document that can

       24   travel throughout the company and Nike's retailers,

       25   across languages, across users, and eventually

       01   straight to the consumer; do you see that?

       02   A I do see that.

   MANGUM_071-03_71-05_D (Running        00:00:13.261)

    1. Page 71:03 to 71:05 (Running 00:00:13.261)

       03   Q Based on your understanding of how tech

       04   sheets were generated during the 2015 to 2018 time

       05   frame, do you believe this is an accurate statement?

   MANGUM_071-11_71-20_D (Running        00:00:41.100)

    1. Page 71:11 to 71:20 (Running 00:00:41.100)

       11   A I agree with it as far as it's a document

       12   that can travel throughout the company, to the

       13   retailers; but I want to make sure I clarify or --

       14   yeah, clarify my stance on eventually straight to

       15   the consumer.

       16   To my knowledge tech sheets don't go

                                                                          Total Number of Clips:66
                                                                      Total Number of Segments:66
                                                                   Total Running Time:00:27:45.319

                                                                                      Page 8 of 21
       Case 2:18-cv-05623-MMB
       17 straight                   Document
                   to the consumer. The          406as Filed 04/27/22 Page 306 of 371
                                        information

       18   described from a store associate, for example, may

       19   go to a consumer. But as far as the tech sheet

       20   itself, to my knowledge, is not seen by a consumer.

   MANGUM_079-09_79-10_CD (Running        00:00:07.910)

    1. Page 79:09 to 79:10 (Running 00:00:07.910)

       09   Q Mr. Mangum, I've uploaded Exhibit 5, Nike

       10   00041973.

   MANGUM_079-11_79-23_D (Running        00:00:43.370)

    1. Page 79:11 to 79:23 (Running 00:00:43.370)

       11   (Exhibit 5, 6/9/14 email chain; Bates No.

       12   NIKE-00041973, was marked.)

       13   BY MR. CROCKETT:

       14   Q Do you have that in front of you?

       15   A I do.

       16   Q Do you recognize this document?

       17   A It appears to be a string of emails.

       18   Q And you're an author and recipient of some

       19   of these emails, right?

       20   A I am.

       21   Q Actually, I should say you're either an

       22   author or recipient of all of these emails, right?

       23   A Correct.

   MANGUM_083-17_83-20_D (Running        00:00:22.710)

    1. Page 83:17 to 83:20 (Running 00:00:22.710)

       17   Q Turning to the top email, June 9, 2014, at

                                                                         Total Number of Clips:66
                                                                     Total Number of Segments:66
                                                                  Total Running Time:00:27:45.319

                                                                                     Page 9 of 21
       Case 2:18-cv-05623-MMB
       18 8:27                       Document
               p.m., it refers to "COOL" formerly 406 Filed 04/27/22 Page 307 of 371
                                                  "CORE"

       19   styles; do you see that?

       20   A I do.

   MANGUM_083-25_84-03_D (Running        00:00:22.250)

    1. Page 83:25 to 84:03 (Running 00:00:22.250)

       25   Q What are "COOL" formerly "CORE" styles?

       01   A Core was a designation of styles before we

       02   reset a certain part of our line and renamed it to

       03   Cool.

   MANGUM_084-09_84-14_CD (Running         00:00:21.590)

    1. Page 84:09 to 84:14 (Running 00:00:21.590)

       09                                              I'm

       10   referring to in this email the Nike Pro Combat Core

       11   product line which has been renamed to Nike Pro

       12   Combat Cool for fall '15. Or parts of that Core

       13   line, I should clarify, parts of that Core line were

       14   turned into Cool. Nike Pro Combat Cool.

   MANGUM_084-16_84-18_CD (Running         00:00:06.740)

    1. Page 84:16 to 84:18 (Running 00:00:06.740)

       16   Q Did the word "Combat" eventually get

       17   dropped from that line?

       18   A It did.

   MANGUM_085-07_85-09_CD (Running         00:00:15.030)

    1. Page 85:07 to 85:09 (Running 00:00:15.030)

       07   Q So the Core products were updated with

       08   things such as silhouettes, but otherwise the line

                                                                          Total Number of Clips:66
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                                                                                    Page 10 of 21
       Case 2:18-cv-05623-MMB
       09 was  reset with a new nameDocument
                                     of "Cool"; is406    Filed 04/27/22 Page 308 of 371
                                                   that right?

   MANGUM_085-10_85-19_CD (Running       00:00:38.760)

    1. Page 85:10 to 85:19 (Running 00:00:38.760)

       10   A No. Let me clarify. So Core designated

       11   our entry level product lower price points. Core

       12   then became -- it got split into two. You have Cool

       13   styles and you have Warm styles as material

       14   modifiers, or material descriptors; product that was

       15   designed to keep you warm, product that was designed

       16   to keep you cool.

       17   So Nike Pro Cool and Nike Pro Warm resulted

       18   out of the -- out of the divestment of Nike Pro

       19   Combat Core styles.

   MANGUM_086-02_86-09_CD (Running       00:00:33.380)

    1. Page 86:02 to 86:09 (Running 00:00:33.380)

       02   Q What other parts of the reset were there?

       03   A We reset Nike Pro Combat Hyperstrong, Nike

       04   Pro Combat Hyperrecovery. These are all different

       05   silos within the Nike Pro Combat line.

       06   Within Warm and Cool, I should add, we also

       07   had Nike Pro Combat Hypercool, Nike Pro Combat

       08   Hypercool Max, Nike Pro Combat Hyperwarm, Nike Pro

       09   Combat Hyperwarm Max.

   MANGUM_086-17_86-24_CD (Running       00:00:39.440)

    1. Page 86:17 to 86:24 (Running 00:00:39.440)

       17   Q What's the difference between a Nike Pro

                                                                          Total Number of Clips:66
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                                                                   Total Running Time:00:27:45.319

                                                                                     Page 11 of 21
       Case 2:18-cv-05623-MMB
       18 Hypercool               Document
                    compression short         406
                                      and a Nike Pro Filed
                                                     Cool 04/27/22 Page 309 of 371

       19   compression short?

       20   A Our Nike Pro Hypercool franchise has more

       21   breathability and added zone panels of mesh to keep

       22   our athletes cooler and at a more comfortable state.

       23   It's a higher price point than Nike Pro Combat Cool

       24   and offers more technology and benefits.

   MANGUM_089-14_89-15_CD (Running       00:00:07.590)

    1. Page 89:14 to 89:15 (Running 00:00:07.590)

       14   Q Can you recall what the goals were of the

       15   reset of the Core styles?

   MANGUM_089-17_90-04_CD (Running       00:00:54.340)

    1. Page 89:17 to 90:04 (Running 00:00:54.340)

       17   THE WITNESS: One of the goals of the reset

       18   was to make it more clear what Core actually meant.

       19   We had found in discussions with our athletes and

       20   consumers that they weren't sure when exactly to

       21   wear certain Core product, whether it was to keep

       22   them warm, whether it was to keep them cool, keep

       23   them dry, et cetera.

       24   And the decision was made, again, I don't

       25   know by whom, to delineate out from Core our entry

       01   level Cool styles, Nike Pro Cool styles, and our

       02   Nike Pro Warm styles out of that Core offering to

       03   make it more clear within the product construct of

       04   stay cool and stay warm, Nike Pro product lines.

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                                                                                    Page 12 of 21
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 310 of 371
   MANGUM_092-23_92-25 (Running
                              00:00:12.860)

    1. Page 92:23 to 92:25 (Running 00:00:12.860)

       23                       I'm uploading it now. Please let

       24   me know if you receive it. And it's labeled

       25   Exhibit 6 Nike 00042100.

   MANGUM_093-06_94-04_CD (Running         00:01:43.140)

    1. Page 93:06 to 94:04 (Running 00:01:43.140)

       06   Q Do you recognize this document?

       07   A Again, it appears to be an email exchange

       08   between myself or at least I was maybe

       09   recipient/author.

       10   Q The second email from the top of the page,

       11   the second in this chain here, it refers to an FA15

       12   Core update; do you see that?

       13   A I do.

       14   Q And what is that referring to?

       15   A I'm gathering that the Core update is

       16   updating the -- the reset is updating the name to

       17   Nike Pro Cool.

       18   Q This also refers to a launch plan. And I'm

       19   looking at the bottom email in this chain. We're in

       20   the process of finalizing the launch plan; do you

       21   see that?

       22   A Are you referring to the email from Liz

       23   Terzo?

       24   Q Yes, that's correct.

                                                                          Total Number of Clips:66
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                                                                   Total Running Time:00:27:45.319
                                                                                    Page 13 of 21
       Case
       25 A2:18-cv-05623-MMB
            I see that.      Document 406 Filed 04/27/22 Page 311 of 371

       01   Q Do you know what the launch plan was?

       02   A No, I don't.

       03   Q Do you have any recollection of a launch

       04   plan for this NPC Core update?

   MANGUM_094-06_94-07_CD (Running         00:00:04.229)

    1. Page 94:06 to 94:07 (Running 00:00:04.229)

       06   THE WITNESS: I don't recall anything

       07   specific about the launch plan.

   MANGUM_094-09_94-16_D (Running         00:00:38.210)

    1. Page 94:09 to 94:16 (Running 00:00:38.210)

       09   Q Can you recall anything general about the

       10   launch plan?

       11   A Generally speaking, we updated the systems

       12   to include Nike Pro Cool or Nike Pro Warm and a

       13   divestment of the Core name. And the plan, just to

       14   make sure that it was properly communicated

       15   downstream to the merchandising partners, of which

       16   Liz Terzo is a merchandiser.

   MANGUM_103-02_104-12_CD (Running          00:02:58.080)

    1. Page 103:02 to 104:12 (Running 00:02:58.080)

       02   Q The email after this June 30, 2014, at

       03   5:30 p.m., it says, The geo teams have started

       04   requesting information on the FA15 Core update -- it

       05   looks like a hyphen -- they want to know what is new

       06   and better about this version; do you see that?

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                                                                                    Page 14 of 21
Case
07 A2:18-cv-05623-MMB
     I do.            Document 406 Filed 04/27/22 Page 312 of 371

08   Q What was new and better about this version?

09   A How much time do you have, Counsel?

10   Q Take the time you need.

11   A Based on my memory going back six years, we

12   updated some design lines, we pieced in some areas

13   of mesh for added breathability and ventilation down

14   the center back, for example. We updated the

15   overall look and feel of -- we differentiated

16   between our compression fit and our fitted fit more

17   clearly.

18   Whereas before, during Core, while they

19   were labeled as Core, the compression fit and the

20   fitted fit looked very similar, which was confusing

21   consumers as to how it should fit. So we made it

22   very clear, via the design lines, and even by adding

23   in a side slit hem on the compression fit with a

24   slight drop tail for easy tuck in and just made it

25   more clear which was the compression fit versus

01   which was the fitted fit.

02   We added -- we cleaned up the back neck

03   tape, added the words "Nike Pro" to delineate that

04   this is part of the Nike Pro apparel line. We

05   updated some seam -- some seam colors. We updated

06   the colors of the seams. Some seams were more

07   tonal, some seams were more contrast, but all this

                                                                   Total Number of Clips:66
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                                                                             Page 15 of 21
       Case 2:18-cv-05623-MMB
       08 was  designed to delineate Document     406 and
                                     different features Filed 04/27/22 Page 313 of 371

       09   benefits within the Nike Pro Cool line.

       10   These were all added benefits and features

       11   from the Nike -- the former Nike Pro Combat Core

       12   line.

   MANGUM_106-02_106-10_D (Running       00:00:33.600)

    1. Page 106:02 to 106:10 (Running 00:00:33.600)

       02   Q Mr. Mangum, are you familiar with a program

       03   at Nike or that Nike uses called Anaqua?

       04   A Yes.

       05   Q And what's your understanding of what

       06   Anaqua is?

       07   A My understanding is fairly limited. I know

       08   it is used to submit names through legal to search

       09   for legal terms, trademarks. That's about all I

       10   know about Anaqua.

   MANGUM_108-14_108-15_D (Running       00:00:08.560)

    1. Page 108:14 to 108:15 (Running 00:00:08.560)

       14   Did you use the Anaqua system in the 2014

       15   to 2018 time frame at Nike?

   MANGUM_108-17_108-18_D (Running       00:00:03.320)

    1. Page 108:17 to 108:18 (Running 00:00:03.320)

       17   THE WITNESS: I don't recall if I did or

       18   not.

   MANGUM_111-12_111-13_D (Running       00:00:06.571)

    1. Page 111:12 to 111:13 (Running 00:00:06.571)

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                                                                 Total Running Time:00:27:45.319
                                                                                  Page 16 of 21
       Case
       12 Q2:18-cv-05623-MMB
            Have you spoken to NickDocument  406 Filed 04/27/22 Page 314 of 371
                                    Johnson about

       13   running any searches in the Anaqua system?

   MANGUM_111-15_111-16_D (Running       00:00:09.700)

    1. Page 111:15 to 111:16 (Running 00:00:09.700)

       15   THE WITNESS: During my time as PLM, I

       16   can't recall having ever used the Anaqua system.

   MANGUM_120-16_120-18_CD (Running        00:00:17.850)

    1. Page 120:16 to 120:18 (Running 00:00:17.850)

       16   Q I'm uploading a document for you to

       17   download, please. If you could let me know when you

       18   have it. This is Exhibit 7, Nike 00040506.

   MANGUM_122-07_122-15_D (Running        00:00:40.190)

    1. Page 122:07 to 122:15 (Running 00:00:40.190)

       07   Q Looking at the first page of this document

       08   with Bates ending 40506. In the lower left-hand

       09   portion within the boxed area it says, All style

       10   names continue to be submitted to legal via Anaqua.

       11   Did I read that right?

       12   A Yes.

       13   Q Is this consistent with your understanding

       14   of the policy or directions to employees at Nike?

       15   A Yes.

   MANGUM_123-04_123-06_CD (Running        00:00:08.231)

    1. Page 123:04 to 123:06 (Running 00:00:08.231)

       04   Q And you submitted a single name into

       05   Anaqua. You did not submit every style name into

                                                                         Total Number of Clips:66
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                                                                                   Page 17 of 21
       Case 2:18-cv-05623-MMB
       06 Anaqua;  isn't that right? Document 406 Filed 04/27/22 Page 315 of 371

   MANGUM_123-08_123-13_CD (Running         00:00:19.599)

    1. Page 123:08 to 123:13 (Running 00:00:19.599)

       08   THE WITNESS: I want to make sure this is

       09   very clear. Nick reached out to me asking if I had

       10   submitted to Anaqua the term "cool compression" to

       11   which I replied no, I did not because it's not a

       12   name that we would -- it's not a phrase that we

       13   would normally submit through Anaqua.

   MANGUM_124-25_125-02_CD (Running         00:00:05.660)

    1. Page 124:25 to 125:02 (Running 00:00:05.660)

       25   Q What's your best estimate of how many names

       01   you've submitted to Anaqua in your entire career at

       02   Nike?

   MANGUM_125-04_125-15_CD (Running         00:00:44.490)

    1. Page 125:04 to 125:15 (Running 00:00:44.490)

       04   THE WITNESS: I couldn't give a good

       05   estimate. Again, this is the responsibility of the

       06   product management team. So whether it was myself

       07   or a teammate or a colleague, sometimes that's

       08   unbeknownst to me. So I can't give you an estimate

       09   or a concrete number.

       10   BY MR. CROCKETT:

       11   Q How many people were on the product

       12   management team for Nike Pro Cool in 2014?

       13   A The direct Nike Pro product management team

                                                                         Total Number of Clips:66
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                                                                  Total Running Time:00:27:45.319

                                                                                   Page 18 of 21
       Case 2:18-cv-05623-MMB
       14 included                  Document
                   one product director,         406 and
                                         three PLMs,   Filed
                                                          one04/27/22 Page 316 of 371

       15   APLM.

   MANGUM_126-02_126-12_D (Running         00:00:50.690)

    1. Page 126:02 to 126:12 (Running 00:00:50.690)

       02   Q You wrote the email to the geo merchants

       03   about the approval of the Nike Pro Cool launch,

       04   right?

       05   A I wrote the email indicating that we had

       06   the green light, as mentioned, to rename the styles

       07   from Nike Pro Combat Core to Nike Pro Combat cool

       08   for that product line in that fall '15 time frame.

       09   Q You were responsible for supervising Nike

       10   Pro Cool from the global product line manager

       11   perspective, weren't you?

       12   A Yes.

   MANGUM_129-11_129-15_D (Running         00:00:15.120)

    1. Page 129:11 to 129:15 (Running 00:00:15.120)

       11   So correct me if I'm wrong, but the tech

       12   sheets, catalogs, and Nike online website are

       13   important sources of information for the retailer

       14   associates and consumers to learn about the

       15   products; isn't that right?

   MANGUM_129-18_129-19_D (Running         00:00:05.520)

    1. Page 129:18 to 129:19 (Running 00:00:05.520)

       18   THE WITNESS: They are sources of

       19   information for those third parties, yes.

                                                                         Total Number of Clips:66
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                                                                                   Page 19 of 21
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 317 of 371
   MANGUM_129-21_130-01_D (Running
                                00:00:21.060)

    1. Page 129:21 to 130:01 (Running 00:00:21.060)

       21   Q Are you aware of any other sources of

       22   information other than those?

       23   And specific, are you aware of any other

       24   source of information regarding the Nike Baselayer

       25   products which, as I understand it, includes the

       01   Nike Pro Cool products?

   MANGUM_130-03_130-04_D (Running       00:00:03.861)

    1. Page 130:03 to 130:04 (Running 00:00:03.861)

       03   THE WITNESS: Other than the three you

       04   mentioned, no, none come to mind.

   MANGUM_139-24_140-02_CD (Running        00:00:20.071)

    1. Page 139:24 to 140:02 (Running 00:00:20.071)

       24   Q So let me just clarify here, Mr. Mangum.

       25   Did you tell Mr. Johnson that you searched any

       01   specific terms in Anaqua in 2014 when the Nike Pro

       02   Cool product line launched?

   MANGUM_140-04_140-09_CD (Running        00:00:21.700)

    1. Page 140:04 to 140:09 (Running 00:00:21.700)

       04   THE WITNESS: As I said earlier, Nick

       05   communicated to me asking if I had searched for the

       06   term "cool compression" to which I said I had not,

       07   nor would we because that's not a style name.

       08   Those are not terms or a style name that we

       09   would even submit to Anaqua in the first place.

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                                                                                   Page 20 of 21
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 318 of 371
   MANGUM_141-03_141-06_D (Running
                                00:00:11.921)

    1. Page 141:03 to 141:06 (Running 00:00:11.921)

       03   Q And you have no recollection of actually

       04   submitting any style names that included the words

       05   "cool compression"; is that right?

       06   A Correct.

   MANGUM_141-11_141-13_D (Running       00:00:10.160)

    1. Page 141:11 to 141:13 (Running 00:00:10.160)

       11   Q You have no recollection of submitting any

       12   style names regarding Nike Pro Cool product line

       13   into Anaqua?

   MANGUM_141-15_141-16_D (Running       00:00:08.729)

    1. Page 141:15 to 141:16 (Running 00:00:08.729)

       15   THE WITNESS: Correct. I don't recall. I

       16   do not have recollection of those name submissions.

   MANGUM_145-04_145-12_CD (Running           00:00:25.951)

    1. Page 145:04 to 145:12 (Running 00:00:25.951)

       04   Q Do you know when Nike began using the words

       05   "compression" and "fitted" to describe the fit of

       06   products?

       07   A No, I do not.

       08   Q Was Nike using those terms to describe fit

       09   when you joined Nike?

       10   A Yes.

       11   Q And that was around what year again?

       12   A I started in Nike Pro in 2011.

                                                                         Total Number of Clips:66
                                                                     Total Number of Segments:66
                                                                  Total Running Time:00:27:45.319
                                                                                   Page 21 of 21
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 319 of 371
                               Case Clips Detailed Report
                                           10290_Lontex v Nike

   MUNRO, NEIL - VOL 1 - 12/12/2019 81 Clips (Running 00:32:17.170)


       MUNRO_008-09_08-11_D (Running       00:00:07.037)

         1. Page 08:09 to 08:11 (Running 00:00:07.037)

            09   Q Good morning, Mr. Munro. Can you please

            10 state your name, full name for the record?

            11   A Neil Tappan Munro.

       MUNRO_016-03_16-16_CD (Running        00:00:43.011)

         1. Page 16:03 to 16:16 (Running 00:00:43.011)

            03   Q What are your current job responsibilities

            04 at Nike?

            05   A Currently I work within the global

            06 sustainability team leading the efforts for

            07 sustainable product focused on apparel.

            08   Q What is "sustainable product"?

            09   A It's product that uses materials that

            10 produce less greenhouse gas emissions.

            11   Q And you said that was focused on apparel,

            12 correct?

            13   A Yes, sir.

            14   Q Your work at Nike, has that generally

            15 focused on apparel throughout your time there?

            16   A Yes, sir.

       MUNRO_016-20_17-10_CD (Running        00:00:59.151)

         1. Page 16:20 to 17:10 (Running 00:00:59.151)

                                                                              Total Number of Clips:81
                                                                          Total Number of Segments:81
                                                                       Total Running Time:00:32:17.170
                                                                                          Page 1 of 29
       Case
       20 Q2:18-cv-05623-MMB
            How long have you beenDocument
                                   working on406 Filed 04/27/22 Page 320 of 371

       21 sustainable product at Nike?

       22   A I started the Tuesday after Labor Day. So

       23 that would put it a little over three months.

       24   Q What area did you work on before that?

       25   A I was the global category apparel lead for

       01 men's training.

       02   Q And what were your job duties as global

       03 category apparel lead?

       04   A To lead the product creation efforts for

       05 the apparel of men's training. So everything that's

       06 done in the gym from high intensity workouts to more

       07 low intensity, such as yoga. And that encompasses a

       08 variety of product classifications. So it could be

       09 fleece, performance tops, shorts, as well as

       10 baselayer.

   MUNRO_017-14_18-14_CD (Running       00:01:46.931)

    1. Page 17:14 to 18:14 (Running 00:01:46.931)

       14   Q Did your work with global category apparel

       15 lead include product creation efforts for Nike Pro?

       16   A Yes, sir.

       17   Q How long were you global category apparel

       18 lead at Nike?

       19   A Trying to remember the exact dates. I

       20 started in January of '16 at Nike and then June of

       21 '17 I became the global category apparel lead at

                                                                        Total Number of Clips:81
                                                                    Total Number of Segments:81
                                                                 Total Running Time:00:32:17.170
                                                                                    Page 2 of 29
       Case 2:18-cv-05623-MMB
       22 Nike. And then September Document    406
                                   of '19 I moved     Filed
                                                  to be the 04/27/22 Page 321 of 371

       23 sustainability product lead for apparel.

       24   Q So between January 2016 and June 2017, what

       25 was your job title at Nike?

       01   A Product director.

       02   Q And what did you do as product director,

       03 generally?

       04   A I led the product creation efforts for the

       05 Nike Pro product line.

       06   Q You were focused on the Nike Pro product

       07 line in that role; is that right?

       08   A Yes, sir.

       09   Q And as global category apparel lead, did

       10 you work on other product lines in addition to Nike

       11 Pro?

       12   A Yes, sir. As discussed, fleece, shorts,

       13 performance tops, the rest of the training line to

       14 round out the offering.

   MUNRO_024-09_24-23_D (Running        00:00:55.631)

    1. Page 24:09 to 24:23 (Running 00:00:55.631)

       09   (Exhibit 227, 12/19/16 email to N. Munro

       10   from N. Johnson re FA17 Classification

       11   Constructs; Bates Nos. NIKE-000411489

       12   through 41192, was marked.)

       13 BY MR. CROCKETT:

       14   Q Mr. Munro, the reporter's just handed you

                                                                       Total Number of Clips:81
                                                                   Total Number of Segments:81
                                                                Total Running Time:00:32:17.170
                                                                                   Page 3 of 29
       Case 2:18-cv-05623-MMB
       15 what's been marked ExhibitDocument
                                     227. Could 406   Filed 04/27/22 Page 322 of 371
                                                you please

       16 review this?

       17   A Sure.

       18   Q Have you finished reviewing it?

       19   A Yes.

       20   Q Do you recognize this document?

       21   A Yes.

       22   Q What is this document?

       23   A It's an overview of the Nike Pro business.

   MUNRO_025-07_25-22_CD (Running         00:01:05.040)

    1. Page 25:07 to 25:22 (Running 00:01:05.040)

       07   Q And the subject of this email is Construct

       08 Pyramids, right?

       09   A Correct.

       10   Q What's a construct pyramid?

       11   A A product construct is how product teams

       12 internally create their product hierarchy. It's

       13 typically shaped in a pyramid to show that the top

       14 represents statement or pinnacle product with the

       15 smallest amount of distribution which represents the

       16 smallest part of the triangle.

       17   As you move down the triangle you move down

       18 in price point and that allows for greater levels of

       19 distribution. And also it's at lower price points.

       20   Q So on the second page where we see this

       21 pyramid, is that a construct pyramid for the Nike

                                                                        Total Number of Clips:81
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                                                                                    Page 4 of 29
       Case 2:18-cv-05623-MMB
       22 Pro Cool products?  Document 406 Filed 04/27/22 Page 323 of 371

   MUNRO_025-24_26-02_CD (Running       00:00:11.750)

    1. Page 25:24 to 26:02 (Running 00:00:11.750)

       24   THE WITNESS: That is a product construct

       25 for part of Nike Pro that represents the product

       01 that has the benefit of Cool which is more for warm

       02 weather wear.

   MUNRO_027-07_27-12_CD (Running       00:00:22.000)

    1. Page 27:07 to 27:12 (Running 00:00:22.000)

       07   Q How is this type of construct pyramid used

       08 in terms of product development?

       09   A This is an internal tool that allows the

       10 product development team to understand how we want

       11 to deliver product and create product to the market,

       12 but also for our athletes.

   MUNRO_033-15_33-25_CD (Running       00:00:31.829)

    1. Page 33:15 to 33:25 (Running 00:00:31.829)

       15   Q Now, I guess I'm trying to understand what

       16 is a product line for Nike Pro?

       17   A The product that we deliver for Nike Pro.

       18   Q What is the product you deliver for Nike

       19 Pro?

       20   A It's what's represented in front of me in

       21 this exhibit in the pyramids. So we can look at

       22 page 2 that you referenced a few times. Hyper Cool

       23 Max, Hypercool, Cool, Nike Baselayer. We can turn

                                                                        Total Number of Clips:81
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                                                                                    Page 5 of 29
       Case
       24 to2:18-cv-05623-MMB     Document
             page 3, Hyper Warm Max,         406Warm,
                                     Hyperwarm,   Filed 04/27/22 Page 324 of 371
                                                      Nike

       25 Baselayer.

   MUNRO_035-19_35-24_D (Running      00:00:20.260)

    1. Page 35:19 to 35:24 (Running 00:00:20.260)

       19   Q So I think you mentioned statement

       20 products, perhaps smaller, more targeted offerings.

       21 But overall in terms of Nike Pro, who is your

       22 customer?

       23   Who are you trying to design and market

       24 products for?

   MUNRO_036-01_36-13 (Running     00:00:41.449)

    1. Page 36:01 to 36:13 (Running 00:00:41.449)

       01   THE WITNESS: We have a sharp point with

       02 the consumer. And I'm going to speak from my

       03 experience within men's training. So we will speak

       04 to males typically between the age of 18 and 25, 26.

       05 Those who may have -- currently be a game day

       06 athlete. What I mean by "game day" is they could be

       07 a football player, a soccer player, a baseball

       08 player, et cetera.

       09   But also those athletes may have moved

       10 beyond that but still have a passion for Nike Pro

       11 and the product or being in the gym and working out

       12 at that level knowing that they have the confidence

       13 that Nike delivers through their product line.

   MUNRO_036-15_36-17_D (Running      00:00:15.850)

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                                                                                    Page 6 of 29
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 325 of 371
    1. Page 36:15 to 36:17 (Running 00:00:15.850)

       15   Q So Nike Baselayer, for example, are you

       16 saying the target market is a male 18 to 26 who

       17 wants to go to the gym or be athletic?

   MUNRO_036-19_37-24_D (Running       00:01:21.160)

    1. Page 36:19 to 37:24 (Running 00:01:21.160)

       19   THE WITNESS: So when we design we want to

       20 have a sharp point so that we can get more specific

       21 in who we're building product for.

       22   We also understand that we serve a great

       23 large demographic through our distribution points

       24 and our geography. So Nike Baselayer typically goes

       25 to a lower level of distribution such as moderate

       01 department stores like Kohl's. And it typically is

       02 at a lower price point.

       03   Therefore, it could encompass and be super

       04 democratic, a 15-year-old boy to an 84-year-old man.

       05 So while we don't design for that breadth, because

       06 that's really challenging and difficult to provide a

       07 brief for a designer to do so, we have a target area

       08 that we want to design.

       09   Typically we focus those target design

       10 areas on the top of the pyramid where we're

       11 delivering innovation. And then we let all that

       12 influence kind of trickle down into the lines that

       13 are shown below.

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                                                                                    Page 7 of 29
       Case 2:18-cv-05623-MMB
       14 Whether                    Document
                   it's Hypercool, Cool, Nike 406 Filed 04/27/22 Page 326 of 371

       15 Baselayer, or if you flip the page, again. I love

       16 to go back and use Warm because it's another part of

       17 the construct. Hyper Warm Max is the sharp point

       18 that we're designing for and that's the, really,

       19 specificity.

       20   And then we go to Hyperwarm, Warm, and Nike

       21 Baselayer where we want to bring some of the design

       22 cues, details, or things that are familiar so you

       23 can see the connection from the top of the pyramid

       24 down to the bottom.

   MUNRO_038-04_39-06_CD (Running       00:01:17.200)

    1. Page 38:04 to 39:06 (Running 00:01:17.200)

       04   Q Maybe, could you define what do you mean by

       05 "sharp point"?

       06   A So as I just said, instead of designing for

       07 an individual who is between 15 and 84 years old

       08 that covers the entire globe and does every

       09 activity, our sharp point could be 18- to

       10 24-year-old who plays a field sport or has recently

       11 just moved on from a field sport.

       12   And that's what we really want to look into

       13 and work with to understand the insights. And,

       14 again, if you look on page 2, 3, and 4 you see how

       15 we actually call out these insights, right?

       16   They want to keep me dry, superior sweat

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       Case 2:18-cv-05623-MMB
       17 management.            Document
                      So how do we           406
                                   do that? We     Filed 04/27/22 Page 327 of 371
                                               do that

       18 through our material which is a metallized PET. And

       19 then what is the craft and what we want to bring to

       20 that?

       21   And so that's how we get our sharp points.

       22 We deliver and drive against insights, how we make

       23 our materials, designs.

       24   And, again, that also holds true if you

       25 turn to page 3, if you look at this, keep me warm,

       01 that's thermal regulation. So the insight is a

       02 certain gram fusion twill with a dual density so

       03 that it has lighter weight for the warmth, et

       04 cetera.

       05   So this is really crucial for us to deliver

       06 and be the leader in apparel like Nike is.

   MUNRO_039-17_39-18_CD (Running         00:00:07.320)

    1. Page 39:17 to 39:18 (Running 00:00:07.320)

       17 times. I mean, in general, Nike's target market for

       18 Nike Pro products includes athletes, right?

   MUNRO_039-20_40-05_CD (Running         00:00:25.890)

    1. Page 39:20 to 40:05 (Running 00:00:25.890)

       20   THE WITNESS: Yeah. I mean, Nike has a

       21 statement that was founded and created by one of our

       22 founders, Bill Bowerman, that if you have a body,

       23 you're an athlete. Right? And so that's "athlete"

       24 with an asterisk. So that encompasses that broad

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                                                                                    Page 9 of 29
       Case 2:18-cv-05623-MMB
       25 breadth                    Document 406 Filed 04/27/22 Page 328 of 371
                  of people I mentioned.

       01   But we also have tier one athletes such as

       02 like a LeBron James. So we certainly want to focus

       03 on MOL. But we understand everybody as an athlete

       04 and our job is to really protect sports and deliver

       05 for sports.

   MUNRO_040-13_40-16 (Running      00:00:08.730)

    1. Page 40:13 to 40:16 (Running 00:00:08.730)

       13   Q Well, I'm trying to understand. You said

       14 athlete with an asterisk. And it sounds like it's

       15 really just everybody. Everyone who has a body is

       16 an athlete.

   MUNRO_040-19_41-08_CD (Running       00:00:36.630)

    1. Page 40:19 to 41:08 (Running 00:00:36.630)

       19   THE WITNESS: We want to be inclusive. And

       20 so while we will design into a sharp point so that

       21 we can have a point of view and we can really learn

       22 and lead, we want to allow everybody to have the

       23 ability to wear our product and to feel good about

       24 doing so.

       25   That's why we have the bottom of these

       01 pyramids that are internal documents, but you can

       02 see Cool, Warm, et cetera, that go to the broadest

       03 depths of distribution.

       04   So, again, to reference a Kohl's or a

       05 Dick's Sporting Goods. And these are at really

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       Case 2:18-cv-05623-MMB
       06 attractive                   Documentbut
                     price points for consumers, 406
                                                   theyFiled
                                                       know 04/27/22 Page 329 of 371

       07 that it's stuff that is also worn at the very

       08 pinnacle of athletes.

   MUNRO_083-13_83-19_D (Running       00:00:33.970)

    1. Page 83:13 to 83:19 (Running 00:00:33.970)

       13   Q Have you, in fact, taken on the initiative

       14 to change the name or investigate changing the name

       15 of a product construct?

       16   A Yes, I have.

       17   Q How many times have you done that, do you

       18 think?

       19   A Probably three to four times.

   MUNRO_084-06_84-08_D (Running       00:00:08.480)

    1. Page 84:06 to 84:08 (Running 00:00:08.480)

       06   Q And in those instances where you changed

       07 the name of the product construct, did that take a

       08 matter of months to implement a change?

   MUNRO_084-10_D (Running       00:00:02.540)

    1. Page 84:10 to 84:10 (Running 00:00:02.540)

       10   THE WITNESS: Yes, as discussed earlier.

   MUNRO_086-05_86-11_CD (Running        00:00:16.780)

    1. Page 86:05 to 86:11 (Running 00:00:16.780)

       05   Q Sure. I think we were talking about three

       06 instances where you've changed the name of the

       07 product construct, correct?

       08   A Correct.

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                                                                                  Page 11 of 29
       Case
       09 Q2:18-cv-05623-MMB
            What were the names ofDocument
                                   the product406 Filed 04/27/22 Page 330 of 371

       10 constructs originally and then after the change?

       11 Maybe that will help.

   MUNRO_086-13_86-15_CD (Running      00:00:07.310)

    1. Page 86:13 to 86:15 (Running 00:00:07.310)

       13   THE WITNESS: One construct change was in

       14 Nike Pro, two construct changes were in men's

       15 athletic training.

   MUNRO_086-17_86-18_CD (Running      00:00:03.700)

    1. Page 86:17 to 86:18 (Running 00:00:03.700)

       17   Q And what were the name changes, if you can

       18 recall?

   MUNRO_086-20_86-23_CD (Running      00:00:07.380)

    1. Page 86:20 to 86:23 (Running 00:00:07.380)

       20   THE WITNESS: We don't change the name of

       21 the construct. We change the ingredients in the

       22 construct. So there's a difference there for

       23 clarity point.

   MUNRO_087-18_87-23_CD (Running      00:00:12.790)

    1. Page 87:18 to 87:23 (Running 00:00:12.790)

       18   Q And I want to focus on the name of the

       19 product construct.

       20   A Okay. We don't, again, name product

       21 constructs outside of, I would say, Nike Pro

       22 construct. There's no -- there's names, again,

       23 ingredients within the constructs. So if you could

                                                                      Total Number of Clips:81
                                                                  Total Number of Segments:81
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                                                                                Page 12 of 29
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 331 of 371
   MUNRO_089-12_89-19_CD (Running
                               00:00:21.670)

    1. Page 89:12 to 89:19 (Running 00:00:21.670)

       12   Q And I think you mentioned changes to names

       13 within the Nike Pro construct, at least one that you

       14 specifically worked on, right?

       15   A Yeah.

       16   Q Specifically, what about naming within the

       17 construct did you change, did your team implement

       18 under your direction?

       19   A Sure.

   MUNRO_089-21_90-05_CD (Running      00:00:27.970)

    1. Page 89:21 to 90:05 (Running 00:00:27.970)

       21   THE WITNESS: The naming that we did is we

       22 abolished using the word "cool" in our core product

       23 offering. That was the major name change that we

       24 made.

       25   We also moved away from using the Hyper

       01 Cool Max name. So that was the secondary one. And

       02 I say it's secondary because if you look at the size

       03 of business and you look at the number of styles

       04 presented and all the other metrics that we

       05 discussed, it was not as large.

   MUNRO_095-04_95-06_D (Running     00:00:11.300)

    1. Page 95:04 to 95:06 (Running 00:00:11.300)

       04   Q Do you or your team do any research to see

       05 if, as you're naming a product, any other company

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                                                                                  Page 13 of 29
       Case 2:18-cv-05623-MMB
       06 already                    Document
                  uses a similar product name? 406 Filed 04/27/22 Page 332 of 371

   MUNRO_095-08_95-13_D (Running     00:00:16.850)

    1. Page 95:08 to 95:13 (Running 00:00:16.850)

       08   THE WITNESS: Again, I can't speak if my

       09 team does it. But if there's a name that we're

       10 trying to find for a new technology or something

       11 that's going to be lasting and big, the research

       12 might be just to Google different names as we come

       13 up with them to see if anything pops up.

   MUNRO_097-22_97-24_D (Running     00:00:12.170)

    1. Page 97:22 to 97:24 (Running 00:00:12.170)

       22   Q Sure. In terms of changing product names

       23 to be consistent with the product construct going

       24 forward, how does that happen?

   MUNRO_098-01_98-07_D (Running     00:00:23.920)

    1. Page 98:01 to 98:07 (Running 00:00:23.920)

       01   THE WITNESS: Okay. So I think the clarity

       02 needs to be that we don't change product names, we

       03 create new product. So anything that's going to be

       04 newly created will reflect the new names based off

       05 of the new construct.

       06   We will not go back and change names until

       07 we have new product, if that makes sense.

   MUNRO_116-13_116-15 (Running     00:00:03.960)

    1. Page 116:13 to 116:15 (Running 00:00:03.960)

       13   Q The end customer does not receive those

                                                                      Total Number of Clips:81
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                                                                                Page 14 of 29
       Case 2:18-cv-05623-MMB
       14 tech sheets?        Document 406 Filed 04/27/22 Page 333 of 371

       15   A No.

   MUNRO_127-07_127-10_D (Running         00:00:12.429)

    1. Page 127:07 to 127:10 (Running 00:00:12.429)

       07   Q Let me ask you this: Is there a separate

       08 tech sheet for every season for a style?

       09   A There is not a separate tech sheet for

       10 every style for every season.

   MUNRO_127-21_128-01_CD (Running         00:00:23.281)

    1. Page 127:21 to 128:01 (Running 00:00:23.281)

       21   A Annually. Tech sheets are created when a

       22 product is updated. So through material or design

       23 aesthetic is when we create tech sheets.

       24   Q Do you also create a tech sheet when a

       25 style is initially launched?

       01   A Yeah. Sorry. Yeah, when it's new.

   MUNRO_128-02_128-04_D (Running         00:00:06.440)

    1. Page 128:02 to 128:04 (Running 00:00:06.440)

       02   Q So a tech sheet's created when it's

       03 launched or if there's any significant change to the

       04 product?

   MUNRO_128-06_D (Running     00:00:02.560)

    1. Page 128:06 to 128:06 (Running 00:00:02.560)

       06   THE WITNESS: If it's new, yes.

   MUNRO_129-18_129-21 (Running         00:00:17.021)

    1. Page 129:18 to 129:21 (Running 00:00:17.021)

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                                                                 Total Running Time:00:32:17.170
                                                                                    Page 15 of 29
       Case
       18 Q2:18-cv-05623-MMB        Document
            And, again, for each Nike          406thatFiled 04/27/22 Page 334 of 371
                                      style number

       19 is launched for Nike Pro Cool products, would there

       20 be a tech sheet similar to the format we see in

       21 Exhibit 228?

   MUNRO_129-23_129-25_CD (Running      00:00:11.690)

    1. Page 129:23 to 129:25 (Running 00:00:11.690)

       23   THE WITNESS: For each new product created

       24 within Nike Pro or a product that has a major update

       25 there would be a tech sheet created for it.

   MUNRO_149-02_149-03_D (Running     00:00:06.620)

    1. Page 149:02 to 149:03 (Running 00:00:06.620)

       02   Q If only the style name changed, which

       03 category would that fall into amongst these four?

   MUNRO_149-05_149-08_D (Running     00:00:07.531)

    1. Page 149:05 to 149:08 (Running 00:00:07.531)

       05   THE WITNESS: I can't answer that question

       06 because we wouldn't just change the style name

       07 without changing the style number. So that just

       08 would not happen.

   MUNRO_149-10_149-11_D (Running     00:00:02.849)

    1. Page 149:10 to 149:11 (Running 00:00:02.849)

       10   Q You've never seen that happen in your time

       11 at Nike?

   MUNRO_149-13_149-14_D (Running     00:00:03.720)

    1. Page 149:13 to 149:14 (Running 00:00:03.720)

       13   THE WITNESS: I haven't seen the style name

                                                                          Total Number of Clips:81
                                                                    Total Number of Segments:81
                                                                 Total Running Time:00:32:17.170
                                                                                    Page 16 of 29
       Case 2:18-cv-05623-MMB
       14 change                    Document 406 Filed 04/27/22 Page 335 of 371
                 without a style number.

   MUNRO_158-17_158-19_D (Running       00:00:17.971)

    1. Page 158:17 to 158:19 (Running 00:00:17.971)

       17   Q Do you recall a time where the word

       18 "compression" was phased out of product naming or

       19 descriptors for Nike Pro products?

   MUNRO_158-21_159-04 (Running      00:00:29.011)

    1. Page 158:21 to 159:04 (Running 00:00:29.011)

       21   THE WITNESS: Compression is just another

       22 benefit or feature, like cool to warm, fitted to

       23 compression. The only familiarity I have with

       24 phasing it out is some of the naming work that Nike

       25 did to try to streamline and create consistent

       01 naming convention across the company.

       02   So the phasing out was moving from

       03 compression to tight. And so that was the phasing

       04 out that I'm aware of.

   MUNRO_159-06_159-18_CD (Running        00:00:40.549)

    1. Page 159:06 to 159:18 (Running 00:00:40.549)

       06   Q And are you familiar with what the reasons

       07 are for why that decision was made to, I guess, move

       08 from compression to tight?

       09   A As I just mentioned, in terms of

       10 streamlining and creating consistency across Nike on

       11 all the different preferences, we wanted to create a

       12 simple understandable view that would cross men's

                                                                        Total Number of Clips:81
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                                                                 Total Running Time:00:32:17.170

                                                                                  Page 17 of 29
       Case 2:18-cv-05623-MMB
       13 and                      Document 406 Filed 04/27/22 Page 336 of 371
              women's boys and girls.

       14   And since compression fit has a little more

       15 of a connotation for male sport athletes, we wanted

       16 to be inclusive of women and use the word "tight"

       17 since everybody understood that that meant a tight

       18 fit.

   MUNRO_170-23_171-07_D (Running      00:00:39.199)

    1. Page 170:23 to 171:07 (Running 00:00:39.199)

       23   Q What did you do in late summer 2016 to

       24 implement changes to the use of the word

       25 "compression" for Nike Pro products?

       01   A We reached out to our other category

       02 partners who adopted Nike Pro styles and asked them

       03 not to add the identifier "compression" within the

       04 overall description of the product and instead to

       05 have that as a tertiary or secondary.

       06   And then we reached out to our partners in

       07 Nike Direct and asked them to do the same.

   MUNRO_171-08_171-09_D (Running      00:00:05.111)

    1. Page 171:08 to 171:09 (Running 00:00:05.111)

       08   Q Did you follow up at all to determine if

       09 they implemented that change?

   MUNRO_171-11_171-14_D (Running      00:00:09.851)

    1. Page 171:11 to 171:14 (Running 00:00:09.851)

       11   THE WITNESS: We received confirmation back

       12 from the categories that they had made the change.

                                                                       Total Number of Clips:81
                                                                   Total Number of Segments:81
                                                                Total Running Time:00:32:17.170

                                                                                 Page 18 of 29
       Case 2:18-cv-05623-MMB
       13 And                        Document
               we received confirmation back from406   Filed 04/27/22 Page 337 of 371
                                                  the Nike

       14 Direct partners that they had made the change.

   MUNRO_171-16_171-18_CD (Running      00:00:11.140)

    1. Page 171:16 to 171:18 (Running 00:00:11.140)

       16   Q And was that change to take place going

       17 forward on new style numbers or was it to take place

       18 also on existing style numbers?

   MUNRO_171-20_172-01_CD (Running      00:00:16.180)

    1. Page 171:20 to 172:01 (Running 00:00:16.180)

       20   THE WITNESS: That change was a

       21 combination.

       22 BY MR. CROCKETT:

       23   Q So it's supposed to take place on both

       24 existing style numbers and new; is that correct?

       25   A A bit of both, yes. Correct. Depending on

       01 where we were with the season, et cetera.

   MUNRO_172-02_172-04_D (Running      00:00:12.770)

    1. Page 172:02 to 172:04 (Running 00:00:12.770)

       02   Q And in terms of Nike offerings going

       03 forward, what was the first season that was supposed

       04 to be impacted with the change?

   MUNRO_172-06_172-13_D (Running      00:00:27.460)

    1. Page 172:06 to 172:13 (Running 00:00:27.460)

       06   THE WITNESS: Well, if I recollect, that I

       07 had heard about this in kind of late summer '16,

       08 then I would imagine depending -- the first season

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                                                                                  Page 19 of 29
       Case
       09 for2:18-cv-05623-MMB          Document
              -- the earliest possible season would406
                                                    be Filed 04/27/22 Page 338 of 371

       10 probably holiday of that year. But that's a little

       11 bit of speculation. But that could carry through

       12 for a year because product creation timelines can be

       13 up to 18 months.

   MUNRO_177-12_177-17_D (Running       00:00:27.779)

    1. Page 177:12 to 177:17 (Running 00:00:27.779)

       12   Q Mr. Munro, the reporter's handed you what's

       13 been marked Exhibit 232. Please review this and let

       14 me know when you're done.

       15   A Reviewed.

       16   Q Do you recognize this document at all?

       17   A Yes, sir.

   MUNRO_177-18_177-20_CD (Running        00:00:09.870)

    1. Page 177:18 to 177:20 (Running 00:00:09.870)

       18   Q What is this document?

       19   A The subject of the email is, Use of

       20 compression to describe products.

   MUNRO_177-21_178-02_D (Running       00:00:19.810)

    1. Page 177:21 to 178:02 (Running 00:00:19.810)

       21   Q Do you know what the purpose of this email

       22 was?

       23   A The purpose of this email was to

       24 communicate to cross category partners to remove the

       25 name ID for the fit of compression from product

       01 names. So as discussed earlier in some of the steps

                                                                        Total Number of Clips:81
                                                                    Total Number of Segments:81
                                                                 Total Running Time:00:32:17.170

                                                                                  Page 20 of 29
       Case 2:18-cv-05623-MMB
       02 that we took to reach out. Document 406 Filed 04/27/22 Page 339 of 371

   MUNRO_179-16_179-19_D (Running       00:00:21.090)

    1. Page 179:16 to 179:19 (Running 00:00:21.090)

       16   Q So as you pointed out, the compression

       17 call-out needs to come out of the product name. And

       18 this was a request to these product line managers to

       19 implement that change; is that correct?

   MUNRO_179-21_180-04_D (Running       00:00:31.390)

    1. Page 179:21 to 180:04 (Running 00:00:31.390)

       21   THE WITNESS: This email is providing

       22 context in terms of that there's a trademark

       23 infringement that we're being challenged for; that

       24 there is a new naming structure that is coming out

       25 that I had mentioned earlier around moving away from

       01 the name "compression." And it's asking if we could

       02 update as soon as possible and remove the

       03 "compression" call-out from the product name. And

       04 then put it onto the silhouette line below.

   MUNRO_183-17_183-23_D (Running       00:00:34.391)

    1. Page 183:17 to 183:23 (Running 00:00:34.391)

       17   Q Can you tell me, what is this document?

       18   A This document is a Nike Pro naming on

       19 Nike.com. Instructs on removing the fit call-out.

       20   Q So is this the Nike Direct directive that

       21 you were referring to just a few minutes ago?

       22   A This is the information to Nike Direct,

                                                                        Total Number of Clips:81
                                                                    Total Number of Segments:81
                                                                 Total Running Time:00:32:17.170

                                                                                  Page 21 of 29
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 340 of 371
       23 correct.

   MUNRO_184-06_184-21_D (Running       00:01:11.821)

    1. Page 184:06 to 184:21 (Running 00:01:11.821)

       06   Q So is it correct that even without a

       07 directive from legal the word "compression" should

       08 have come out of the product name?

       09   A According to this email, that's what it's

       10 saying.

       11   Q Is your understanding different than what's

       12 stated in this email?

       13   A My understanding is the naming structure

       14 had asked for the fit call-out to be removed from

       15 any product identifier and have it be secondary.

       16   Q This also says the change should have been

       17 impacted for FA16 forward according to the corporate

       18 naming structure change; I read that correctly?

       19   A You read that second sentence correctly.

       20   Q FA16, is that fall '16?

       21   A Yes.

   MUNRO_189-03_189-06_CD (Running        00:00:15.709)

    1. Page 189:03 to 189:06 (Running 00:00:15.709)

       03   Q And if I'm understanding you correctly, the

       04 removal from Nike's perspective was going to take

       05 possibly up to 18 months based on the product life

       06 cycle; is that right?

   MUNRO_189-08_189-18_CD (Running        00:00:27.919)

                                                                        Total Number of Clips:81
                                                                    Total Number of Segments:81
                                                                 Total Running Time:00:32:17.170

                                                                                  Page 22 of 29
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 341 of 371
    1. Page 189:08 to 189:18 (Running 00:00:27.919)

       08   THE WITNESS: That's a pretty big vague

       09 question, but yes. So while we can impact what we

       10 do and what we own every day, in category there are

       11 downstream partners who can still have habits in the

       12 past on how they articulate or communicate things

       13 that we can't change until we update the product

       14 into a whole new way of working which is why we

       15 talked about some product construct changes.

       16   So that's where I think it would have a bit

       17 of a phased approach versus being a light switch

       18 they can turn overnight.

   MUNRO_190-09_190-13_D (Running      00:00:22.901)

    1. Page 190:09 to 190:13 (Running 00:00:22.901)

       09   Q I am talking about on Nike.com and in Nike

       10 catalogs presented to Nike's wholesale customers.

       11 What was the timeline for when "compression" would

       12 begin coming out of the product name and when that

       13 would be completed?

   MUNRO_190-15_190-17_D (Running      00:00:12.060)

    1. Page 190:15 to 190:17 (Running 00:00:12.060)

       15   THE WITNESS: Nike would expect the product

       16 name to start being removed in fall '16 and it could

       17 be up through spring '18.

   MUNRO_190-19_190-21_D (Running      00:00:07.750)

    1. Page 190:19 to 190:21 (Running 00:00:07.750)

                                                                        Total Number of Clips:81
                                                                    Total Number of Segments:81
                                                                 Total Running Time:00:32:17.170
                                                                                  Page 23 of 29
       Case
       19 Q2:18-cv-05623-MMB       Document
            And there was no directive that it had406
                                                   to Filed 04/27/22 Page 342 of 371

       20 happen immediately or within two months, something

       21 along those lines?

   MUNRO_190-23_D (Running    00:00:01.440)

    1. Page 190:23 to 190:23 (Running 00:00:01.440)

       23   THE WITNESS: I don't know.

   MUNRO_191-01_191-13_D (Running     00:00:38.261)

    1. Page 191:05 to 191:13 (Running 00:00:38.261)

       05   Q The reporter's handed you what's been

       06 marked as Exhibit 234. I'll note a gap in Bates

       07 number. This is an excerpt from a much larger Nike

       08 catalog.

       09   Please review this and let me know when

       10 you're done.

       11   A Finished.

       12   Q Do you recognize this?

       13   A I do.

   MUNRO_192-16_192-17_D (Running     00:00:03.919)

    1. Page 192:16 to 192:17 (Running 00:00:03.919)

       16   Q Where did this information come from for

       17 the catalog, if you're aware?

   MUNRO_192-19_192-24_D (Running     00:00:15.179)

    1. Page 192:19 to 192:24 (Running 00:00:15.179)

       19   THE WITNESS: Came from MMX. So the data

       20 system that we've talked about that gives you size

       21 ranges and other information. It came from tech

                                                                      Total Number of Clips:81
                                                                  Total Number of Segments:81
                                                               Total Running Time:00:32:17.170
                                                                                Page 24 of 29
       Case 2:18-cv-05623-MMB
       22 sheets                     Document
                 to provide the product           406
                                        details and that'sFiled 04/27/22 Page 343 of 371

       23 where the imagery all came from between the two of

       24 those.

   MUNRO_193-01_193-03_CD (Running       00:00:05.829)

    1. Page 193:01 to 193:03 (Running 00:00:05.829)

       01 BY MR. CROCKETT:

       02   Q Is it the copywriting department at Nike

       03 that takes the lead in assembling the catalogs?

   MUNRO_193-05_193-14_CD (Running       00:00:30.301)

    1. Page 193:05 to 193:14 (Running 00:00:30.301)

       05   THE WITNESS: Since Nike Pro doesn't work

       06 on the catalogs I don't have familiarity with who

       07 takes the lead on those.

       08 BY MR. CROCKETT:

       09   Q So looking at the second product down on

       10 the page ending 44, Nike Pro Cool compression short

       11 sleeve top; do you see that?

       12   A I do.

       13   Q So the word "compression" is being used in

       14 the product name here, right?

   MUNRO_193-16_193-21_CD (Running       00:00:19.069)

    1. Page 193:16 to 193:21 (Running 00:00:19.069)

       16   THE WITNESS: As stated, the product name

       17 is the Nike Pro Cool short sleeve top. And they're

       18 adding the fit so that people can tell the

       19 difference between the second one and the first one

                                                                        Total Number of Clips:81
                                                                   Total Number of Segments:81
                                                                Total Running Time:00:32:17.170

                                                                                   Page 25 of 29
       Case 2:18-cv-05623-MMB
       20 where                         Document
                it calls out fitted since they have 406
                                                    very Filed 04/27/22 Page 344 of 371

       21 similar design lines and details to them.

   MUNRO_197-14_197-17_D (Running         00:00:12.111)

    1. Page 197:14 to 197:17 (Running 00:00:12.111)

       14   Q And this is a Nike Team Sports 2017

       15 catalog, right?

       16   A It says Nike Team Sports 2017 Men's

       17 Football, yes.

   MUNRO_199-06_199-14_D (Running         00:00:31.940)

    1. Page 199:06 to 199:14 (Running 00:00:31.940)

       06   Q Was the word "compression" removed from the

       07 product name for this catalog, Exhibit 234?

       08   A In Exhibit 234 the name "compression" is

       09 still represented in the top line of the product

       10 item as is the fit call-out for "fitted" in the top

       11 name of the one above. Because the directive, if

       12 you read the email from the previous, was to remove

       13 "fit" from all product names, not just specific to

       14 "compression."

   MUNRO_209-02_209-08_D (Running         00:01:24.500)

    1. Page 209:02 to 209:08 (Running 00:01:24.500)

       02   Q The reporter's handed you what's been

       03 marked Exhibit 236. Please take time to review this

       04 and let me know when you've completed.

       05   A (Witness complies.)

       06   Okay.

                                                                       Total Number of Clips:81
                                                                   Total Number of Segments:81
                                                                Total Running Time:00:32:17.170

                                                                                  Page 26 of 29
       Case
       07 Q2:18-cv-05623-MMB       Document 406 Filed 04/27/22 Page 345 of 371
            Do you recognize this document?

       08   A Yes.

   MUNRO_209-09_209-11_CD (Running        00:00:09.240)

    1. Page 209:09 to 209:11 (Running 00:00:09.240)

       09   Q Can you please tell me what it is.

       10   A It's a document discussing the fit intent

       11 labeling for men's pro.

   MUNRO_209-25_210-07_D (Running        00:00:37.028)

    1. Page 209:25 to 210:07 (Running 00:00:37.028)

       25   Q The email -- the top email in the chain

       01 says, I sent this email based on TV's request. Who

       02 is TV?

       03   A TV is Tancredi Vitale. I'll say that

       04 again: T-a-n-c-r-e-d-i, last name V-i-t-a-l-e.

       05   Q What was his job title in January 2017?

       06   A Global category apparel lead for men's

       07 training.

   MUNRO_210-14_211-04_D (Running        00:00:57.300)

    1. Page 210:14 to 211:04 (Running 00:00:57.300)

       14   Q This reference to TV's request, are you

       15 familiar with what that request was?

       16   A I am familiar with that request, yes.

       17   Q What was his request at that time?

       18   A If you read through the document, this

       19 addresses some conversations we've had earlier

       20 around the changing of the names from "compression"

                                                                       Total Number of Clips:81
                                                                   Total Number of Segments:81
                                                                Total Running Time:00:32:17.170

                                                                                 Page 27 of 29
       Case
       21 to2:18-cv-05623-MMB
             "tight."         Document 406 Filed 04/27/22 Page 346 of 371

       22   Since "compression" is a term that is used

       23 regularly across sports to represent a tight fit

       24 garment underneath pads, he wanted to be sure we

       25 were able to still utilize in some portion in the

       01 product description the word "compression" where it

       02 was appropriate as a name for those athletes to be

       03 able to identify it since "tight" for male does not

       04 always equal compression in the sports world.

   MUNRO_212-17_212-19_D (Running       00:00:10.281)

    1. Page 212:17 to 212:19 (Running 00:00:10.281)

       17   Q And I gather from this email, it says, and

       18 we agreed as well. So did you personally agree with

       19 TD's request?

   MUNRO_212-21_213-01_D (Running       00:00:22.451)

    1. Page 212:21 to 213:01 (Running 00:00:22.451)

       21   THE WITNESS: I agreed that the name

       22 "compression" was important to have within PDP for

       23 our athletes because of the familiarity with that

       24 term for sports kits. And it's very common if you

       25 look at Under Armour, adidas, or some of these

       01 other companies that we look to as competitors.

   MUNRO_246-17_246-24_CD (Running        00:00:24.789)

    1. Page 246:17 to 246:24 (Running 00:00:24.789)

       17   Is there a consistent way that people

       18 across the board in Nike use that phrase, "product

                                                                       Total Number of Clips:81
                                                                   Total Number of Segments:81
                                                                Total Running Time:00:32:17.170

                                                                                 Page 28 of 29
Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 347 of 371
19 name"?

20   A No. The word "product name" at Nike is

21 used different across category, function, geography.

22 That's why the style number is so important because

23 that will not change and that is truly anchored to

24 everything in that product.




                                                                 Total Number of Clips:81
                                                             Total Number of Segments:81
                                                          Total Running Time:00:32:17.170

                                                                           Page 29 of 29
            Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 348 of 371
                              Case Clips Detailed Report
                                            10290_Lontex v Nike


   WHITE, DEBORAH ANNE - VOL 1 - 8/14/2020 98 Clips (Running 00:25:21.834)


       WHITE_013-05_14-03_D (Running       00:01:10.730)

         1. Page 13:05 to 14:03 (Running 00:01:10.730)

            05   Q. So, Ms. White, I see from your LinkedIn title

            06 at least it reads: "Senior director, global Nike

            07 athlete training and service excellence." It says you

            08 had that position from January 2005 to the present; is

            09 that accurate?

            10   A. The name is accurate. It shouldn't be

            11 January 2005.

            12   Q. I'm sorry. January 2015.

            13   A. Okay. That's correct.

            14   Q. Then it says that here in your responsibilities

            15 that you were:

            16   "Responsible for setting the service

            17   vision across retail and consumer services

            18   and designing curriculum, training

            19   programs, and the internal knowledge base

            20   in a way that drives the service culture

            21   and engages, inspires, and connects

            22   athletes across the globe. Responsible for

            23   the creation of digital content for

            24   Nike.com Get Help."

            25   Is that an accurate description of your

                                                                               Total Number of Clips:98
                                                                           Total Number of Segments:98
                                                                        Total Running Time:00:25:21.834
                                                                                           Page 1 of 24
       Case 2:18-cv-05623-MMB
       01 responsibilities in the 2015 Document
                                       to 2017 time406   Filed 04/27/22 Page 349 of 371
                                                    frame?

       02   A. It's accurate for today. It's not accurate for

       03 2015.

   WHITE_014-04_14-20_D (Running      00:00:58.330)

    1. Page 14:04 to 14:20 (Running 00:00:58.330)

       04   Q. So from -- and this is another good point of

       05 clarification. The deposition notice is for the 2015 to

       06 2017 time period. So unless I ask you otherwise or you

       07 let me know otherwise, we'll be talking about that time

       08 period. So -- and if there's different answers based on

       09 a part of that time period, just go ahead and let me

       10 know because it's not my goal to sort of lump everything

       11 together.

       12   So, so in 2015 to 2017, did you have a set of

       13 responsibilities that whole time that was the same?

       14   A. Slightly -- they were slightly different.

       15   Q. And what were your responsibilities in 2015 to

       16 2017 time period?

       17   A. So, from that description on LinkedIn, I would

       18 remove consumer services. That was not in my scope in

       19 2015. And I would remove Nike.com Get Help. The rest

       20 would be accurate regarding retail.

   WHITE_014-21_15-04_CD (Running       00:00:33.770)

    1. Page 14:21 to 15:04 (Running 00:00:33.770)

       21   Q. It says that you were responsible for setting

       22 the service vision across retail. What does "retail"

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                        Page 2 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 350 of 371
       23 mean?

       24   A. That retail means our owned and/or partner

       25 doors. So, to be clear on "partner door," that is our

       01 mono-brand stores that are owned by another person or

       02 entity. A bit like franchise but we call it partner.

       03 It's a different kind of contract. It does not include

       04 wholesale.

   WHITE_015-09_15-12_CD (Running       00:00:13.320)

    1. Page 15:09 to 15:12 (Running 00:00:13.320)

       09   Q. So in your understanding of Nike's retail,

       10 there's owned, and then there's partner, and then

       11 outside of that is wholesale partner like Dick's?

       12   A. Correct.

   WHITE_018-23_19-11_D (Running      00:01:08.990)

    1. Page 18:23 to 19:11 (Running 00:01:08.990)

       23   Q. And in your role as being responsible for

       24 setting the service vision across retail, what does that

       25 role entail?

       01   A. So, in 2015 to 2017 time frame, I worked

       02 collaboratively with a cross-functional group to set the

       03 service ethos statements, the guiding statement for our

       04 retail what we call athletes, which would be sales

       05 associates and management in the stores, with a set of

       06 behaviors that can help them achieve that set of ethos.

       07   We also root all of our training in service and

       08 make sure that it ties to, you know, this aspect of your

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                        Page 3 of 24
       Case 2:18-cv-05623-MMB
       09 job,                       Document
               promotes our ethos in this         406
                                          way, so all     Filed 04/27/22 Page 351 of 371
                                                      training

       10 materials I consider to be a part of our service

       11 strategy.

   WHITE_043-01_43-02_D (Running    00:00:04.920)

    1. Page 43:01 to 43:02 (Running 00:00:04.920)

       01   Q. Are tech sheets ever reviewed by retail

       02 athletes?

   WHITE_043-04_43-09_D (Running    00:00:23.810)

    1. Page 43:04 to 43:09 (Running 00:00:23.810)

       04   THE WITNESS: My answer will be not based on

       05 witnessing but general knowledge.

       06   The tech sheets were accessible but not -- my

       07 team does not have anything to do with them, so I know

       08 that they were accessible by athletes who chose to get

       09 those.

   WHITE_066-24_66-25_D (Running    00:00:06.580)

    1. Page 66:24 to 66:25 (Running 00:00:06.580)

       24   Q. Okay. Do you know where tech sheets are made

       25 available to Nike retail athletes?

   WHITE_067-02_67-03_D (Running    00:00:06.090)

    1. Page 67:02 to 67:03 (Running 00:00:06.090)

       02   THE WITNESS: In 2015 to 2017 tech sheets were

       03 posted an a platform called SKU.

   WHITE_069-22_70-01_D (Running    00:00:14.515)

    1. Page 69:22 to 70:01 (Running 00:00:14.515)

       22   Q. So to your understanding in general, the SKU

                                                                            Total Number of Clips:98
                                                                      Total Number of Segments:98
                                                                   Total Running Time:00:25:21.834
                                                                                       Page 4 of 24
       Case 2:18-cv-05623-MMB
       23 system                     Document
                 and the training system and the406  Filed
                                                materials   04/27/22 Page 352 of 371
                                                          that

       24 are created for each during that time period were

       25 separate systems and processes that didn't

       01 cross-pollenate?

   WHITE_070-03_70-04_D (Running     00:00:04.680)

    1. Page 70:03 to 70:04 (Running 00:00:04.680)

       03   THE WITNESS: That is a true statement. These

       04 were separate systems. They were not linked.

   WHITE_070-24_71-03_D (Running     00:00:10.070)

    1. Page 70:24 to 71:03 (Running 00:00:10.070)

       24   Q. Other than that limited instance, are you aware

       25 of any other instances where your team's training

       01 materials have been made available to third-party

       02 retailers?

       03   A. Not that I am aware of.

   WHITE_073-22_74-06_D (Running     00:00:38.550)

    1. Page 73:22 to 74:06 (Running 00:00:38.550)

       22   Q. How many people are on that SKU team?

       23   A. Is the question -- what's the time frame of

       24 that question?

       25   Q. At present.

       01   A. At present that SKU team was just dissolved

       02 into other roles. We're going through a reorganization

       03 at Nike right now.

       04   And I've obtained the SKU platform within the

       05 last three weeks. It's now in my remit, and one

                                                                          Total Number of Clips:98
                                                                      Total Number of Segments:98
                                                                   Total Running Time:00:25:21.834

                                                                                      Page 5 of 24
       Case 2:18-cv-05623-MMB
       06 individual moved from that Document
                                     SKU team to406   Filed 04/27/22 Page 353 of 371
                                                 my team.

   WHITE_074-07_74-25_D (Running      00:02:45.890)

    1. Page 74:07 to 74:25 (Running 00:02:45.890)

       07   Q. I'd like you to refer to Exhibit 12, which I

       08 will be introducing now.

       09   (Exhibit No. 12 was marked for

       10   identification.)

       11   THE WITNESS: Okay. I reviewed it.

       12 BY MR. WAGNER

       13   Q. What is this document?

       14   A. Quick Start Guide, Domain Admin Users.

       15   Q. Have you seen this document before?

       16   A. Yes.

       17   Q. And when did you see this document

       18 approximately?

       19   A. Yesterday.

       20   Q. Do you know if Nike has a more updated version

       21 of the quick start guide?

       22   A. They do not.

       23   Q. Are you familiar with this quick start guide

       24 other than having seen it yesterday?

       25   A. I was not until yesterday.

   WHITE_076-10_76-11_D (Running      00:00:04.320)

    1. Page 76:10 to 76:11 (Running 00:00:04.320)

       10   Q. Have you been on the SKU platform?

       11   A. Yes.

                                                                       Total Number of Clips:98
                                                                   Total Number of Segments:98
                                                                Total Running Time:00:25:21.834
                                                                                   Page 6 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 354 of 371
   WHITE_076-12_76-13_D (Running
                             00:00:14.830)

    1. Page 76:12 to 76:13 (Running 00:00:14.830)

       12   Q. Turning to Page 3, is this an accurate

       13 depiction of the layout of SKU?

   WHITE_076-15_76-22_D (Running     00:00:24.320)

    1. Page 76:15 to 76:22 (Running 00:00:24.320)

       15   THE WITNESS: So there's no -- I just counted

       16 three pages. There's no page number. It's the one with

       17 a screen grab of a green Nike Flyknit Zoom Agility?

       18 BY MR. WAGNER

       19   Q. That's correct.

       20   A. I can't say specifically that this was accurate

       21 to that time, but this generally looks like a SKU screen

       22 shot, yeah.

   WHITE_076-23_76-25_D (Running     00:00:10.690)

    1. Page 76:23 to 76:25 (Running 00:00:10.690)

       23   Q. So turning to the next page that has a picture

       24 captioned "Nike Flex Run 2014"?

       25   A. Yes.

   WHITE_077-09_77-15_D (Running     00:00:18.660)

    1. Page 77:09 to 77:15 (Running 00:00:18.660)

       09   Q. Did you look at SKU in the 2015 and 2017 time

       10 frame?

       11   A. Yes.

       12   Q. And does this general layout look consistent

       13 with how the product-specific layout was from your

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                        Page 7 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 355 of 371
       14 recollection?

       15   A. Yes, from my recollection.

   WHITE_077-16_77-20_CD (Running      00:00:15.960)

    1. Page 77:16 to 77:20 (Running 00:00:15.960)

       16   Q. So the top right of a product-specific page on

       17 SKU during that time frame, it had the product tech

       18 sheet available in .pdf?

       19   A. To my recollection. I don't think there was

       20 always a product tech sheet available.

   WHITE_080-24_81-03_D (Running     00:00:12.770)

    1. Page 80:24 to 81:03 (Running 00:00:12.770)

       24 I'm asking for your general understanding of whether

       25 this layout is a fair representation of the general

       01 layout of --

       02   A. I would say --

       03   Q. -- the products?

   WHITE_081-06_81-07_D (Running     00:00:08.530)

    1. Page 81:06 to 81:07 (Running 00:00:08.530)

       06   THE WITNESS: I would say my general

       07 recollection, this is a familiar view of a SKU page.

   WHITE_082-04_82-05_D (Running     00:00:07.130)

    1. Page 82:04 to 82:05 (Running 00:00:07.130)

       04   Q. Who would have access to SKU in the Nike and

       05 Nike retailer ecosystem?

   WHITE_082-11_82-13_D (Running     00:00:12.580)

    1. Page 82:11 to 82:13 (Running 00:00:12.580)

                                                                          Total Number of Clips:98
                                                                    Total Number of Segments:98
                                                                 Total Running Time:00:25:21.834
                                                                                     Page 8 of 24
       Case
       11 Q.2:18-cv-05623-MMB        Document
             In the Nike and Nike retailer       406 soFiled 04/27/22 Page 356 of 371
                                           ecosystem,

       12 whether it's a Nike personnel or a part of the ecosystem

       13 that sells Nike products, for example, Dick's?

   WHITE_082-16_83-06_D (Running    00:00:59.940)

    1. Page 82:16 to 83:06 (Running 00:00:59.940)

       16   THE WITNESS: Thank you for the clarification.

       17   At the time, 2015 to 2017, the primary users

       18 that had access to this were wholesale accounts like

       19 Dick's.

       20   I cannot speak to the level of access the

       21 employee base at a Dick's store has. That would be an

       22 assumption that they had direct access. But I know this

       23 was made available to the Dick's organization.

       24   And it was also made available by the SKU team

       25 to Nike employees or Nike stores' partner. Those are

       01 the partner stores I had described earlier. And they

       02 would have to request access.

       03 BY MR. WAGNER

       04   Q. So Nike -- give me an example of a Nike partner

       05 store.

       06   A. There are no Nike partner stores in the U.S.

   WHITE_083-09_CD (Running    00:00:04.380)

    1. Page 83:09 to 83:09 (Running 00:00:04.380)

       09 stores, would every employee in Nike have access to SKU?

   WHITE_083-11_83-12_CD (Running     00:00:04.150)

    1. Page 83:11 to 83:12 (Running 00:00:04.150)

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834

                                                                                        Page 9 of 24
       Case 2:18-cv-05623-MMB
       11 THE                      Document
               WITNESS: If they requested     406they
                                          access,   Filed 04/27/22 Page 357 of 371

       12 could get access.

   WHITE_083-14_83-15_CD (Running        00:00:04.420)

    1. Page 83:14 to 83:15 (Running 00:00:04.420)

       14   Q. Do you know who are assigned access without

       15 having to request it?

   WHITE_083-17_83-18_CD (Running        00:00:03.090)

    1. Page 83:17 to 83:18 (Running 00:00:03.090)

       17   THE WITNESS: I don't know of anyone assigned

       18 access.

   WHITE_084-21_84-23_D (Running       00:00:14.510)

    1. Page 84:21 to 84:23 (Running 00:00:14.510)

       21   Q. Is the purpose of SKU in 2015 to 2017 to train

       22 retail associates of third-party retailers, or is it a

       23 broader constituency that also use SKU?

   WHITE_084-25_85-04_D (Running       00:00:22.970)

    1. Page 84:25 to 85:04 (Running 00:00:22.970)

       25   THE WITNESS: The primary purpose of SKU was to

       01 provide access to product knowledge for our third-party

       02 wholesale -- we called them customers at the time. It

       03 was made available as an option for all retail and NSP

       04 folks as well.

   WHITE_086-04_86-05_D (Running       00:00:05.720)

    1. Page 86:04 to 86:05 (Running 00:00:05.720)

       04   At the present, do you know what level of

       05 retail associate engagement the Nike SKU Pro gets?

                                                                             Total Number of Clips:98
                                                                       Total Number of Segments:98
                                                                    Total Running Time:00:25:21.834
                                                                                       Page 10 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 358 of 371
   WHITE_086-07_86-08_D (Running
                             00:00:03.270)

    1. Page 86:07 to 86:08 (Running 00:00:03.270)

       07   THE WITNESS: At present I have a general

       08 understanding.

   WHITE_086-10_86-11_D (Running      00:00:04.090)

    1. Page 86:10 to 86:11 (Running 00:00:04.090)

       10   Q. How much engagement does it get by retail

       11 associates?

   WHITE_086-13_86-22_D (Running      00:00:34.740)

    1. Page 86:13 to 86:22 (Running 00:00:34.740)

       13   THE WITNESS: Can you clarify the retail

       14 associate population you're meaning?

       15 BY MR. WAGNER

       16   Q. Yes. Managers or associates that work at an

       17 actual third-party retailer store location.

       18   A. Oh, the third-party retail. Okay.

       19   I don't -- I can't share numbers, but I can

       20 give a -- like, generally a percentage. It has gone

       21 down, and it's around 25 percent of the usage today of

       22 SKU is wholesale.

   WHITE_087-13_87-15_D (Running      00:00:10.500)

    1. Page 87:13 to 87:15 (Running 00:00:10.500)

       13   Q. So out of all the log-ins that have -- I'm

       14 sorry -- out of all the accounts that have been assigned

       15 for SKU, 25 percent of them have a log-in, correct?

   WHITE_087-17_87-23_D (Running      00:00:14.150)

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                       Page 11 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 359 of 371
    1. Page 87:17 to 87:23 (Running 00:00:14.150)

       17   THE WITNESS: Is there -- this is an

       18 approximation.

       19 BY MR. WAGNER

       20   Q. Yes.

       21   A. And a generalization. Okay.

       22   So of the current log-ins on the most recent

       23 run of the numbers, yes.

   WHITE_088-16_88-18_D (Running       00:00:08.830)

    1. Page 88:16 to 88:18 (Running 00:00:08.830)

       16   Q. So 25 percent -- you say it went down to

       17 25 percent. What's the highest that engagement has

       18 been?

   WHITE_088-20_D (Running     00:00:02.800)

    1. Page 88:20 to 88:20 (Running 00:00:02.800)

       20   THE WITNESS: I also don't know that answer.

   WHITE_088-22_D (Running     00:00:02.880)

    1. Page 88:22 to 88:22 (Running 00:00:02.880)

       22   Q. Do you know if it's ever been above 50 percent?

   WHITE_088-24_88-25_D (Running       00:00:03.600)

    1. Page 88:24 to 88:25 (Running 00:00:03.600)

       24   THE WITNESS: I do know it's been above

       25 50 percent.

   WHITE_092-03_92-04_D (Running       00:00:11.570)

    1. Page 92:03 to 92:04 (Running 00:00:11.570)

       03   How, if at all, are Nike retail athletes

                                                                        Total Number of Clips:98
                                                                    Total Number of Segments:98
                                                                 Total Running Time:00:25:21.834
                                                                                  Page 12 of 24
       Case 2:18-cv-05623-MMB
       04 advised that information onDocument   406
                                     a product has    Filed 04/27/22 Page 360 of 371
                                                   changed?

   WHITE_092-06_92-08_D (Running     00:00:11.500)

    1. Page 92:06 to 92:08 (Running 00:00:11.500)

       06   THE WITNESS: If that were to occur -- that is

       07 a very rare instance -- it would be communicated in the

       08 huddle or the athlete check-in.

   WHITE_092-10_92-12_D (Running     00:00:14.610)

    1. Page 92:10 to 92:12 (Running 00:00:14.610)

       10   Q. Do you know if any of the accused products ever

       11 had a rare instance where information was conveyed in

       12 this fashion to the Nike retail athletes?

   WHITE_092-14_92-16_D (Running     00:00:13.610)

    1. Page 92:14 to 92:16 (Running 00:00:13.610)

       14   THE WITNESS: I don't recall -- regarding the

       15 accused products, I don't recall any information needing

       16 to be shared about a change in this product.

   WHITE_092-18_92-20_D (Running     00:00:10.970)

    1. Page 92:18 to 92:20 (Running 00:00:10.970)

       18   Q. So when you say it's a rare instance when

       19 there's a product change that needs to be advised, would

       20 a name change qualify as such rare instance?

   WHITE_092-22_93-01_D (Running     00:00:19.960)

    1. Page 92:22 to 93:01 (Running 00:00:19.960)

       22   THE WITNESS: I have no memory of the name

       23 change communication regarding any product. The rare

       24 instance is typically when there is a quality or safety

                                                                              Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                        Page 13 of 24
       Case 2:18-cv-05623-MMB
       25 issue                       Document
                with a product that's been       406
                                           removed fromFiled
                                                        the 04/27/22 Page 361 of 371

       01 assortment for inspection or something like that.

   WHITE_093-03_93-06_D (Running      00:00:15.800)

    1. Page 93:03 to 93:06 (Running 00:00:15.800)

       03   Q. Do you know if the -- I apologize if we already

       04 covered this -- the retail, third-party retail associate

       05 engagement of SKU was higher or lower in 2015 to '17

       06 than it is now?

   WHITE_093-08_93-10_D (Running      00:00:09.980)

    1. Page 93:08 to 93:10 (Running 00:00:09.980)

       08   THE WITNESS: I generally know that the usage

       09 of the SKU platform by our wholesale audience was higher

       10 in 2015 to '17 than it is today.

   WHITE_096-23_96-25_D (Running      00:00:20.185)

    1. Page 96:23 to 96:25 (Running 00:00:20.185)

       23   Q. Do you know of any time that a Nike store or

       24 its retail athletes have been advised to cease use of a

       25 term because of a naming dispute?

   WHITE_097-11_97-20_CD (Running      00:00:38.370)

    1. Page 97:11 to 97:20 (Running 00:00:38.370)

       11   THE WITNESS: A clarifying question again. Is

       12 this referring to Nike retail or wholesale third-party

       13 retail?

       14 BY MR. WAGNER

       15   Q. Nike-owned retail.

       16   A. I have no memory of a name change direction for

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                      Page 14 of 24
       Case
       17 a 2:18-cv-05623-MMB
            product.          Document 406 Filed 04/27/22 Page 362 of 371

       18   Q. How about for third-party retailers?

       19   A. No. At the time I wasn't working with

       20 third-party -- or with wholesale, rather.

   WHITE_105-09_105-11_D (Running      00:00:16.800)

    1. Page 105:09 to 105:11 (Running 00:00:16.800)

       09   Q. So why would a retailer athlete or retail

       10 associate be less likely to use this phrase at the top

       11 simply because you believe it's descriptive?

   WHITE_105-13_105-15_D (Running      00:00:10.010)

    1. Page 105:13 to 105:15 (Running 00:00:10.010)

       13   THE WITNESS: Again, I can share my opinion.

       14 This is a very long -- this is like a sentence, and I

       15 don't believe that they would say all of that.

   WHITE_105-17_105-18_D (Running      00:00:04.680)

    1. Page 105:17 to 105:18 (Running 00:00:04.680)

       17   Q. So do you think they'd break it down to

       18 something like Nike Pro Combat Cool Compression shirt?

   WHITE_105-22_105-24_D (Running      00:00:06.400)

    1. Page 105:22 to 105:24 (Running 00:00:06.400)

       22   I don't know what they would break it down to,

       23 but I'm pretty confident they wouldn't say this entire

       24 sentence.

   WHITE_106-02_106-03_D (Running      00:00:06.970)

    1. Page 106:02 to 106:03 (Running 00:00:06.970)

       02   Q. Do you know if they would use the term "cool

                                                                            Total Number of Clips:98
                                                                      Total Number of Segments:98
                                                                   Total Running Time:00:25:21.834
                                                                                      Page 15 of 24
       Case 2:18-cv-05623-MMB
       03 compression" in referring toDocument
                                       the product406    Filed 04/27/22 Page 363 of 371
                                                   with customers?

   WHITE_106-05_106-06_D (Running     00:00:02.940)

    1. Page 106:05 to 106:06 (Running 00:00:02.940)
       05   THE WITNESS: I don't know if they would use

       06 that.

   WHITE_106-08_106-09_D (Running     00:00:04.179)

    1. Page 106:08 to 106:09 (Running 00:00:04.179)
       08   Q. Even though it's right there in bold at the top

       09 of the page of the tech sheet?

   WHITE_106-11_106-13_D (Running     00:00:10.470)

    1. Page 106:11 to 106:13 (Running 00:00:10.470)
       11   THE WITNESS: That would -- that would be --

       12 not an assumption, but it would be me supposing what

       13 someone would do. I can't do that.

   WHITE_106-15_106-17_D (Running     00:00:11.006)

    1. Page 106:15 to 106:17 (Running 00:00:11.006)
       15   Q. Why does Nike have tech sheets where the name

       16 at the top is twice as big of text as any other text on

       17 the page?

   WHITE_106-19_106-21_D (Running     00:00:07.741)

    1. Page 106:19 to 106:21 (Running 00:00:07.741)
       19   THE WITNESS: I can't answer for this format or

       20 this document. This is not something that I was

       21 responsible for or involved with.

   WHITE_106-23_106-24_D (Running     00:00:06.930)

    1. Page 106:23 to 106:24 (Running 00:00:06.930)

                                                                           Total Number of Clips:98
                                                                       Total Number of Segments:98
                                                                    Total Running Time:00:25:21.834

                                                                                     Page 16 of 24
       Case
       23 Q.2:18-cv-05623-MMB       Document
              Why would Nike put a name       406 Filed
                                        or descriptive name04/27/22 Page 364 of 371

       24 at the top of the tech sheet?

   WHITE_107-01_107-02_D (Running      00:00:04.720)

    1. Page 107:01 to 107:02 (Running 00:00:04.720)

       01   THE WITNESS: I would be making an assumption.

       02 I don't think I could answer that on behalf of Nike.

   WHITE_107-04_107-11_D (Running      00:00:28.450)

    1. Page 107:04 to 107:11 (Running 00:00:28.450)

       04   Q. Why did Nike at the left first sentence of this

       05 tech sheet once again use the same term, only this time

       06 with capital first letters in the form of a sentence,

       07 when it said:

       08   "Stay locked in with Nike Pro Combat

       09   Cool Compression men's short sleeve shirt

       10   and free to move with four-way stretch and

       11   raglan sleeves"?

   WHITE_107-13_107-14_D (Running      00:00:07.300)

    1. Page 107:13 to 107:14 (Running 00:00:07.300)

       13   THE WITNESS: I can't answer the question of

       14 why because I have no involvement in this document.

   WHITE_107-16_107-19_D (Running      00:00:12.669)

    1. Page 107:16 to 107:19 (Running 00:00:12.669)

       16   Q. Isn't the purpose of using the same name twice

       17 in this document, or any tech sheet, to emphasize to the

       18 viewer that this is a name that should be used for the

       19 product?

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                      Page 17 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 365 of 371
   WHITE_107-21_107-22_D (Running
                              00:00:06.821)

    1. Page 107:21 to 107:22 (Running 00:00:06.821)
       21   THE WITNESS: I would answer that the same that

       22 I can't make that assumption or answer.

   WHITE_107-24_108-03_D (Running       00:00:17.720)

    1. Page 107:24 to 108:03 (Running 00:00:17.720)

       24   Q. And isn't it correct that using capital letters

       25 to offset each of the terms in this name, even when

       01 speaking of it in a sentence, is to make sure that the

       02 viewer sees it as an important name and not just a mere

       03 description?

   WHITE_108-05_108-07_D (Running       00:00:10.979)

    1. Page 108:05 to 108:07 (Running 00:00:10.979)

       05   THE WITNESS: Again, I have no responsibility

       06 or editing of this document, so I have no idea why they

       07 did it. I can't answer that for someone else.

   WHITE_108-09_108-10_D (Running       00:00:05.281)

    1. Page 108:09 to 108:10 (Running 00:00:05.281)
       09   Q. In preparing materials for your own training

       10 materials, do you use bold to emphasize text?

   WHITE_108-12_D (Running     00:00:01.950)

    1. Page 108:12 to 108:12 (Running 00:00:01.950)
       12   THE WITNESS: We sometimes do, yes.

   WHITE_108-14_D (Running     00:00:03.290)

    1. Page 108:14 to 108:14 (Running 00:00:03.290)
       14   Q. Do you use larger size text to emphasize text?

                                                                           Total Number of Clips:98
                                                                       Total Number of Segments:98
                                                                    Total Running Time:00:25:21.834

                                                                                     Page 18 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 366 of 371
   WHITE_108-16_108-17_D (Running
                              00:00:07.950)

    1. Page 108:16 to 108:17 (Running 00:00:07.950)
       16   THE WITNESS: In formatting we have title case,

       17 subtitle case, body, text at different case levels.

   WHITE_108-19_108-20_D (Running     00:00:07.990)

    1. Page 108:19 to 108:20 (Running 00:00:07.990)

       19   Q. And the highest case level is larger text to

       20 emphasize it, correct?

   WHITE_108-22_108-23_D (Running     00:00:05.089)

    1. Page 108:22 to 108:23 (Running 00:00:05.089)
       22   THE WITNESS: It's simply a technique to make

       23 different things stand out on a page.

   WHITE_108-25_109-01_D (Running     00:00:03.830)

    1. Page 108:25 to 109:01 (Running 00:00:03.830)
       25   Q. Because a larger text will stand out more than

       01 smaller text, correct?

   WHITE_109-03_D (Running     00:00:02.500)

    1. Page 109:03 to 109:03 (Running 00:00:02.500)
       03   THE WITNESS: It would, yes.

   WHITE_109-05_109-08_D (Running     00:00:14.730)

    1. Page 109:05 to 109:08 (Running 00:00:14.730)
       05   Q. And when you're creating training materials, do

       06 you repeat names or benefits or concepts multiple times

       07 to emphasize their importance and make sure they stay in

       08 the trainee's head?

   WHITE_109-10_109-11_D (Running     00:00:05.700)

                                                                           Total Number of Clips:98
                                                                       Total Number of Segments:98
                                                                    Total Running Time:00:25:21.834
                                                                                     Page 19 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 367 of 371
    1. Page 109:10 to 109:11 (Running 00:00:05.700)

       10   THE WITNESS: That's situational based on the

       11 topic, the document, the type of training it is.

   WHITE_109-13_D (Running     00:00:01.720)

    1. Page 109:13 to 109:13 (Running 00:00:01.720)

       13   Q. Have you used that technique?

   WHITE_109-15_109-17_D (Running      00:00:06.188)

    1. Page 109:15 to 109:17 (Running 00:00:06.188)

       15   THE WITNESS: Generally, I would say I'm sure

       16 there are documents where we repeat information to make

       17 it stick.

   WHITE_164-14_164-17_D (Running      00:00:12.639)

    1. Page 164:14 to 164:17 (Running 00:00:12.639)

       14   For Nike-owned retail athletes engaging

       15 customers, when a customer comes in the store, what are

       16 they trying to do in terms of when and how to approach

       17 that customer?

   WHITE_164-19_165-02_D (Running      00:00:34.451)

    1. Page 164:19 to 165:02 (Running 00:00:34.451)

       19   THE WITNESS: So we call that moment the

       20 welcome, and so the objective is to make consumers feel

       21 welcome by giving them a warm greeting, a warm hello in

       22 their own words. Again, we don't script that to them.

       23   And we also ask them to begin with open-ended

       24 questions so that they understand why the consumer has,

       25 you know, come in and they can direct them to where in

                                                                          Total Number of Clips:98
                                                                      Total Number of Segments:98
                                                                   Total Running Time:00:25:21.834
                                                                                    Page 20 of 24
       Case 2:18-cv-05623-MMB
       01 the store they need to go orDocument
                                       direct them406   Filed 04/27/22 Page 368 of 371
                                                   to another

       02 athlete, you know, to start working with them.

   WHITE_165-15_165-18_D (Running     00:00:15.879)

    1. Page 165:15 to 165:18 (Running 00:00:15.879)

       15   Q. And when they come in the door and an

       16 open-ended question is asked, at that point are the

       17 specific products discussed, or is it a general area

       18 that they're taken to or is it both?

   WHITE_165-20_166-06_D (Running     00:00:39.147)

    1. Page 165:20 to 166:06 (Running 00:00:39.147)

       20   THE WITNESS: I would say it's situational

       21 based on the response. Sometimes a consumer comes in,

       22 and they know exactly what they want. They've seen it

       23 on the website and they just need to be directed to that

       24 and helped with a size and fitting room.

       25   At other times they come in and they're less

       01 clear about why they're here. So they're, like, I want

       02 to start running. So then the athlete would probably do

       03 a handoff to another athlete who's zoned in the running

       04 section or is well trained in that category, and they

       05 could hand them off to them for a more in-depth

       06 experience.

   WHITE_171-15_171-17_D (Running     00:00:10.970)

    1. Page 171:15 to 171:17 (Running 00:00:10.970)

       15   Do Nike retail athletes in the Nike-owned

       16 stores focus on higher-priced products more than

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834

                                                                                      Page 21 of 24
       Case 2:18-cv-05623-MMB
       17 lower-priced products? Document 406 Filed 04/27/22 Page 369 of 371

   WHITE_171-19_171-20_D (Running      00:00:07.011)

    1. Page 171:19 to 171:20 (Running 00:00:07.011)

       19   THE WITNESS: We do not provide training that

       20 indicates that or directs that.

   WHITE_171-23_171-25_D (Running      00:00:11.451)

    1. Page 171:23 to 171:25 (Running 00:00:11.451)

       23   When you provide training, do you encourage

       24 Nike retail athletes to focus on selling the more

       25 expensive items over the less expensive items?

   WHITE_172-02_172-07_D (Running      00:00:13.480)

    1. Page 172:02 to 172:07 (Running 00:00:13.480)

       02   THE WITNESS: We do not.

       03 BY MR. WAGNER

       04   Q. Does the training emphasize spending more time

       05 with customers for expensive products than less

       06 expensive products?

       07   A. We do not.

   WHITE_172-13_172-25_D (Running      00:00:34.210)

    1. Page 172:13 to 172:25 (Running 00:00:34.210)

       13   Are retail athletes encouraged to spend the

       14 necessary time based on the customer's needs regardless

       15 of how much or how expensive a product they wish to

       16 purchase?

       17   A. Yes, they are encouraged to spend as much time

       18 or as little time as is right for that consumer.

                                                                        Total Number of Clips:98
                                                                    Total Number of Segments:98
                                                                Total Running Time:00:25:21.834
                                                                                  Page 22 of 24
       Case
       19 Q.2:18-cv-05623-MMB         Document
              And it's not based on the            406
                                        value of the     Filed 04/27/22 Page 370 of 371
                                                     purchase

       20 to Nike, correct?

       21   A. Absolutely not.

       22   Q. So if someone came in to buy socks, they should

       23 get just as much level of attention that's necessary to

       24 them as someone who came in to buy $200 shoes, correct?

       25   A. Yes.

   WHITE_200-14_200-16_D (Running     00:00:06.444)

    1. Page 200:14 to 200:16 (Running 00:00:06.444)

       14   Q. And you have never ascribed a particular

       15 importance to the term "cool" adjacent to "compression,"

       16 correct?

   WHITE_200-18_D (Running      00:00:01.920)

    1. Page 200:18 to 200:18 (Running 00:00:01.920)

       18   THE WITNESS: I have not.

   WHITE_200-20_200-22_D (Running     00:00:09.480)

    1. Page 200:20 to 200:22 (Running 00:00:09.480)

       20   Q. And you're familiar with both of those terms

       21 being used in training materials in some way in 2015 and

       22 2017, correct?

   WHITE_200-25_201-03_D (Running     00:00:11.890)

    1. Page 200:25 to 201:03 (Running 00:00:11.890)

       25   THE WITNESS: Yes, I generally know that we

       01 would use "cool" as an adjective and "compression" as a

       02 noun describing products, but "Cool Compression" is not

       03 a thing together.

                                                                            Total Number of Clips:98
                                                                        Total Number of Segments:98
                                                                     Total Running Time:00:25:21.834
                                                                                      Page 23 of 24
       Case 2:18-cv-05623-MMB Document 406 Filed 04/27/22 Page 371 of 371
   WHITE_201-22_202-02_D (Running
                              00:00:18.750)

    1. Page 201:22 to 202:02 (Running 00:00:18.750)

       22   Q. Yes. Is there any reason that you can think of

       23 why in 2015 to 2017, as you're looking at training

       24 materials that are coming across your desk, seeing

       25 "cool" adjacent to "compression" would have stood out to

       01 you more so than seeing "cool" somewhere and

       02 "compression" somewhere else?

   WHITE_202-04_202-09_D (Running      00:00:19.580)

    1. Page 202:04 to 202:09 (Running 00:00:19.580)

       04   THE WITNESS: I mean, "Cool Compression"

       05 together sounds like it's a thing, like it's almost

       06 hyphenated, becoming a noun in and of itself. That

       07 would -- I would think that would stand out to me like

       08 "Dri-FIT." Dry is an adjective. Fit is a noun.

       09 Dri-FIT together becomes a thing.

   WHITE_202-11_202-13_D (Running      00:00:08.330)

    1. Page 202:11 to 202:13 (Running 00:00:08.330)

       11   Q. And that would have stood out to you because

       12 that's sort of more than just an adjective and a noun,

       13 it's a new thing that's being referred to, correct?

   WHITE_202-15_D (Running     00:00:02.569)

    1. Page 202:15 to 202:15 (Running 00:00:02.569)

       15   THE WITNESS: Yes.




                                                                          Total Number of Clips:98
                                                                      Total Number of Segments:98
                                                                   Total Running Time:00:25:21.834
                                                                                    Page 24 of 24
